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6                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
7
        STATE OF WASHINGTON, et al.,                         NO.
8
                                    Plaintiff,               DECLARATION OF FRANK ABE
9
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                    Defendants,
12
            I, Frank Abe, declare as follows:
13
            1.        I am an independent writer, journalist, and filmmaker. I am over the age of 18
14
     and competent to testify. I make this declaration based on my personal knowledge.
15
            2.        I have lived in Seattle for the past 45 years, and worked professionally as a
16
     senior news reporter for KIRO Newsradio 710 and communications director for both the King
17
     County Executive and the Metropolitan King County Council. During this time I also
18
     researched numerous little-known or untold stories of Japanese American incarceration in
19
     World War II, writing and producing an award-winning film for PBS, Conscience and the
20
     Constitution (2000), writing and editing an award-winning book for the University of
21
     Washington Press on the great Seattle novelist, JOHN OKADA: The Life and Rediscovered
22
     Work of the Author of No-No Boy (2018), and authoring a forthcoming graphic novel for the
23
     Wing Luke Museum of the Asian Pacific American Experience with funding from the National
24
     Park Service, We Hereby Refuse: Japanese American Resistance to Wartime Incarceration
25
26


     DECLARATION OF FRANK ABE                      1                 ATTORNEY GENERAL OF WASHINGTON
                                                                          Complex Litigation Division
                                                                           800 5th Avenue, Suite 2000
                                                                            Seattle, WA 98104-3188
                                                                                 (206) 464-7744


                                                                                                    001
1    (Chin Music Press, 2021), which features the story of Minidoka, Idaho draft resister Jim
2    Akutsu of Seattle. I share much of my work on my website and blog at Resisters.com.
3           3.      Characters in each of my works served time for draft resistance at the federal
4    penitentiary at McNeil Island, Washington, and I was grateful to have a local archive where I
5    could examine the records of the U.S. Bureau of Prisons which are housed there. The prison
6    logs are not digitized, so it was invaluable for me to be able to personally examine the logbooks
7    in search of the particular names I sought. It was also extremely important for me to be able to
8    sort through the prison mug shots to pick out the ones I needed for my work and pay for the
9    scanning of only those I needed.
10          4.      Details from the prison logbooks and the mug shot photos appeared in my PBS
11   documentary, in the Okada book, and in the graphic novel. An image of the logbook entry for
12   Jim Akutsu also graced a John Okada exhibit I curated for the Washington State History
13   Museum in Tacoma.
14          5.      The Bureau of Prisons records I researched at the National Archives at Sand
15   Point helped me accurately capture the story of Jim Akutsu’s prison term at McNeil Island for
16   my graphic novel, which is funded by a Japanese American Confinement Sites Grant from the
17   National Parks Service. Congress established this grant program to preserve and interpret U.S.
18   confinement sites where Japanese Americans were incarcerated during World War II, and my
19   graphic novel reveals important new information to aid visitor interpretation at the NPS
20   Minidoka National Historic Site in Idaho and the NPS Tule Lake National Monument near the
21   Oregon-California border.
22          6.      I first learned of the impending sale of the National Archives at Sand Point from
23   news reports by Feliks Banel on KIRO Radio. At the time I was on a tight deadline for the
24   graphic novel and unable to take the time to do more than share these stories on social media.
25   When I learned of this legal action, I was glad to have the opportunity to express my outrage
26   at this hurried and unnecessary closure, and the lack of transparency around it.

     DECLARATION OF FRANK ABE                      2                  ATTORNEY GENERAL OF WASHINGTON
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                                                                                                     002
 1          7.      I plan several more works on the Japanese American camp resistance, and if

 2   these records are moved out of the Pacific Northwest, I would find the extra expense of travel

 3   and lodging necessary to dig further into these invaluable federal records to be extremely

 4   burdensome.

 5   I declare under penalty of perjury that the foregoing is true and correct.

 6
     DATED this 24 nd day of December, 2020 at Seattle, Washington.
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     DECLA RATION OF FRANK ABE                     3                  ATTORNEY GENERAL OF WASI-I INGTON
                                                                           Complex Litigation Division
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                                                                             Seattl e, WA 98104-3 I 88
                                                                                  (206) 464-7744



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     6                              UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHING TON
     7
             STATE OF WASHINGTON, et al.,                         NO.
     8
                                         Plaintiff,               DECLARATION OF
     9                                                            BRADLEY KENT ALLEN
                      V.
 IO
             RUSSELL VOUGHT, et al.,
11
                                         Defendants.
12
13               I, Bradley Kent Allen, declare as follows:
14               1.        I am a volunteer history researcher, author, and contributor for the US Forest

15       Service and the Snoqualmie Valley Historical Society. I make this declaration based on my
16       personal knowledge.
17              2.         I have regularly volunteered for both the US Forest Service (USFS) and the

18       Snoqualmie Valley Historical Society over the past twelve years. This has included a variety

19       of tasks including producing a historical documentary film, writing two special purpose

20       historical books, writing articles, and producing text and art for interpretive signs. In addition
21       I own a small business, AditNW, and have worked in various engineering and marketing roles
22       in the Pacific Northwest since 1992. I am a Seattle native, UW graduate, and USAF veteran.
23              3.         The National Archives in Seattle provide a unique research record for local

24       historians like myself. In February 2011 I requested a large collection of unsorted material
25       related to the Mt Baker-Snoqualmie National Forest and the Snoqualmie Valley for review. I
26       spent an entire day going through this material looking for stories, facts, reports, and photos


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                                                                                  Seattle, WA 98104-3188
          DECLARATlON OF BRADLEY KENT                                                   206.464.7744
          ALLBN

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       that gave unique insight into local history. I took notes and recorded some material with digital
 2     photographs. This research would have been impossible without the local archives. I was able
 3     to review over 45 boxes of material which clearly could not have been remotely requested an d
 4     reviewed. l also had the ability to get additional material. I have returned since then to review
 5     documents and photos I found during that review.
 6             4.     The material I found during this research was critical in a number of projects
 7     over the past 9 years. These included an interpretive book used in the Granite Mountain
 8     Lookout (Historical site managed by USFS), history of Goldmyer Hotsprings detailing the
 9     relationship of the Hotsprings to USFS and US Government investigations from 1908 to 1920,
10     and the interpretive sign program, discussed below. None of the material I collected and used
11     was indexed or documented in any way. It included historical narratives, US government
12     reports, old US government publications, and photographs from I 930's lookout surveys.
               5.      Over the past year, I have volunteered for the US Forest Service producing text,
14     artwork, and photos for trailhead signs and trail signs.       I have produced historical and
15     interpretive material for 19 signs, eight of which have been installed and viewed by visitors.
16     One trail, the Camp Brown Nature Trail in the Snoqualmie Middle Fork Valley, received over
17     4000 visitors in just its first few months after opening. Material from the National Archives in

18     Seattle were key to the historical accounts produced for these signs.             They included

19 ·   photographs of the Snoqualmie Middle Fork Valley in the 1930's, historical records of the
20     Cascade Crest and Pacific Crest Trails, and the history of Veida Morrow Metcalfe and
21     Goldmyer Hotsprings.
                 •          In 2012 I produced an interpretive book for use in the USFS's Granite
22     Mountain Lookout.       This photo and history book is used by visitors to understand the
23 , relationship of the lookout to the local territory, how it was used in fires, and the hi-storical

24     context of the tower. Several of the book's photographs and historical material came from the
25     National Archives in Seattle.

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                                                                           ATTORNEY GENERAL OF WASHINGTON
                                                                                 Complex Litigation Division
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                                                                                  Seattle, WA 98104-3188
                       • BRADLEY KENT
         DEC�ARA TION OF                                    2                           206.464.7744
         ALLEN
                                                                                                           005
            6.      Loss of the local National Archives in Seattle will be a devastating blow to local
 2   history researchers. Local stories are lost to the wind after a couple of generations frequently
 3   giving way to imagined 'histories' generated in the minds of people who lived long after the
 4   events. Historical documents, such as a 1915 US Forest Service Ranger field report on
 5   Goldmyer Hotsprings or a collection of panoramic photos from fire lookouts, are the keys to
 6   recording the actual events for future generations. Once the archives are gone from the Pacific
 7   Northwest, all of this will be left to second-order historical writings. Access to the source
 8   material is key to our research producing accurate and interesting local historical accounts.
 9
10   I declare under penalty of perjury that the foregoing is true and correct.
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     DA TED this 29 day of December, 2020 at Redmond, WA.
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                                                Bradley Kent Allen
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                                                                    ATTORNEY GENERAL OF WASHINGTON
                                                                          Complex Litigation Division
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                                                                           Seattle, WA 98104-3188
      Dj:CLARA Tl ON OF BRADLEY KENT                    3
                                                                                 206.464.7744
      ALLEN
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6                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                         NO.
 8
                                    Plaintiff,               DECLARATION OF TREVOR
 9                                                           JAMES BOND
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                    Defendants,
12
            I, Trevor James Bond, declare as follows:
13
            1.        I submit this declaration in support of the State of Washington's litigation
14
     challenging the sale of the Federal Archives and Records Center located at 6125 Sand Point
15
     Way NE, in Seattle, Washington, which houses the National Archives at Seattle.
16
            2.        I have compiled the information set forth below through personal knowledge as
17
     well as through University personnel who have assisted me in gathering this information from
18
     WSU. I have also familiarized myself with the litigation in order to understand its immediate
19
     impact on the University.
20
            3.        I am the Associate Dean for Digital Initiatives and Special Collections at
21
     Washington State University (WSU or University), Washington State's land grant institution
22
     and the second largest public research university in the Pacific Northwest. I have held this
23
     position since 2015. As Associate Dean at WSU, I have responsibility for overseeing the Unit
24
     of Manuscripts, Archives, and Special Collections and I co-direct the Center for Digital
25
26


                                                                    ATTORNEY GENERAL OF WASHINGTON
                                                                         Complex Litigation Division
                                                                          800 5th Avenue, Suite 2000
       DECLARATION OF TREVOR JAMES                                         Seattle, WA 98104-3188
       BOND                                                                     (206) 464-7744

                                                                                                       007
1    Scholarship and Curation which focuses on the ethical curation of Native American Cultural
2    Heritage. We partner with Tribal Nations in the region as well as nationally.
3           4.      I hold a Ph.D. in Public and Western History and a Masters of Library and
 4   Information Science with a special focus in Archives and Preservation Management. I have 20
 5   years of professional work experience in managing archives and collaborating with tribal
 6   communities. I received the Washington State Historical Society's 2018 Charles Gates
 7   Memorial Award for my research article, Documenting Missionaries and Indians: The Archive
 8   of Myron Eells. The award recognizes the most significant achievement among all articles
 9   published annually in the Pacific Northwest Quarterly.
10          5.      WSU was founded in 1890 as Washington's original land-grant university.
11   WSU is chartered by the state of Washington, and is governed by the Board of Regents, whose
12   members are appointed by the governor, which provides direction to the WSU President. The
13   Washington state legislature also approves annual operating and capital budgets for WSU,
14   including state funding for WSU. For the fiscal year 2020-21, the state legislature appropriated
15   over $277 million dollars to WSU. Due to COVID-19 budget reductions, the state informed
16   WSU that this amount will be reduced by at least $7M.
17          6.      I learned of the impending sale of the Seattle National Archives facility through
18   professional networks and reporting by Seattle area news outlets.
19          7.      After learning of the sale, WSU along with several other universities in the
20   Pacific Northwest sent a letter asking the federal government to reconsider its decision to sale
21   the National Archives at Seattle. A true and correct copy of that letter is attached hereto as
22   Exhibit 1. This letter sent on behalf of the major research libraries in Washington, Oregon,
23   and Alaska provided specific examples of how critical research would be disrupted by closing
24   the NARA facility in Seattle. The federal government did not respond to this letter.
25          8.      The announcement of the sale of the facility that houses the National Archives
26   at Seattle threatens to inflict immediate and ongoing harm on WSU, its faculty, and its students.


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                                                                                                          008
1    As a public university, access to the National Archives directly impacts our ability to support
2    faculty, graduate students, and tribal communities, all of whom use the National Archives
3    facility to conduct research for the enhancement of public knowledge, the understanding of
 4   Northwest history, and for the current management and treaty rights of Indigenous
 5   communities.
 6          9.      Physical access to the National Archives at Seattle is critical for the
 7   development of scholarship at WSU. Moving the records housed at the Seattle NARA facility
 8   out of Washington will effectively eliminate WSU's access to these materials. More than 99%
 9   of the materials utilized by WSU have not been digitized, and WSU simply does not have the
10   resources to provide the transportation and travel costs to its faculty and students who would
11   need to travel to other states for their research. Research in the NARA facility requires on-site
12   work. The archival collections are organized by record groups. Sometimes only a few
13   sentences of description will be provided for many boxes. For example, the descriptions will
14   indicate the agency and location and sometimes dates, but not the contents of the individual
15   documents within the boxes. To determine the contents of those records one must look at the
16   contents of each box and folder. This is work that simply cannot be done at a distance.
17          10.     The Archives at the Seattle NARA facility have proved critical for numerous
18   research projects undertaken at WSU. For instance, in 2018, after nearly 10 years of research,
19   WSU Professor Orlan Svingen, along with students and colleagues in the WSU public history
20   field schools, unearthed a U.S. government document from 1870 and several supporting records
21   at the National Archives at Seattle that shed new light on conflicting claims about historical use
22   and ownership of large swaths of southwestern Montana and northwestern Wyoming. The
23   records concerned the histories of Chief Tendoy and the Mixed-Band of Shoshone, Bannock,
24   and Sheep Eater people, who, in 1868, negotiated and signed a treaty that was never ratified but
25   was partially acted upon through removal of the Native Americans from their ancestral land in
26   1875. The story of the WSU historians' search and potential implications of their discoveries


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                                                                                                           009
1    became the subject of a new documentary movie titled "In Good Faith" by Emmy Award­
2    winning Naka Productions. These records were only unearthed because WSU historians were
3    able to scour the physical records at the National Archives at Seattle.
4           11.     In addition, WSU's Dr. Melissa Parkhurst used the student records at the
5    National Archives at Seattle extensively to chronicle the powerful uses of music in the
6    assimilation-based curriculum at Chemawa Indian School, the oldest continuously operating
7    federal boarding school. Stories from Chemawa students, 1880-2014, are documented in her
8    book, To Win the Indian Heart: Music at Chemawa Indian School. Over 30,000 students have
9    attended Chemawa, an institution that has intimately impacted tribal families and communities
10   across the Pacific Northwest. This project would not have been possible without access to the
11   National Archives facility at Sand Point.
12          12.    Dr. Robbie Paul, the former director of WSU's Native American Health-
13   Sciences program, also did extensive research on the cultural and multigenerational effects of
14   Indian boarding schools, which became the subject of an exhibit in WSU's Manuscripts,
15   Archives and Special Collection titled "Grandfather's Trunk, Spirit of Survival: Three
16   Generations of the Paul Family's Native American Boarding School Experience." Through
17   access to boarding school records at the National Archives at Seattle, Dr. Paul pieced together
18   key details of her family's experience. Dr. Paul was then able to use those records to highlight
19   the experiences of her family in Indian boarding schools where trauma occurred and share the
20   early history of her great-great-grandfather, Chief Ut-Sin-Malikan, the first to see the loss of
21   the old Native American ways and of Nez Perce identity in his lifetime. The exhibit provided
22   a powerful tool by which to connect the broader WSU community to the lives of native people
23   and to educate visitors on the horrific former federal policy that forced tens of thousands of
24   Indian families to send their children away for years to distant boarding schools. Without
25   access to the records at the Seattle Archives facility, this exhibit at WSU's Terrell Library
26   would not have happened.


                                                                        ATTORNEY GENERAL OF WASHINGTON
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                                                                                                           010
1           13.     Moreover, while it has long been a goal to make more records accessible
2    through digitization, digital representations cannot always replace the importance of the
3    original documents. Some documents are important primarily because of their informational
4    value, whereas others also have artifactual value which cannot be reproduced. Moreover,
5    physically handling records at the archives facility-including letters, deeds, maps,
6    photographs, and other physical objects, such as keys-and being able to review and analyze
7    each record in connection with other related records is foundational work that our students and
8    faculty undertake. Digitized records cannot reproduce that critical process. As result, removal
9    of documents from Washington State-even if they are eventually digitized-will be a
10   tremendous loss to our students and faculty who rely on those records, as well as to our partner
11   communities, who would be further distanced from their histories.
12          14.     For instance, WSU's Center for Digital Scholarship and Curation (CDSC) is
13   currently planning to digitize documents held at the NARA facility in Seattle for the Plateau
14   Peoples' Web Portal making them easily accessible to the public. The curriculum in the Plateau
15   Peoples' Web Portal has been created by Tribal representatives from each of the partner Tribes.
16   The basis of the curriculum is primary source material from national and regional repositories
17   including the Smithsonian Institution, the Library of Congress, Washington State University's
18   Manuscripts, Archives and Special Collections, Gonzaga University Archives and Special
19   Collections, and the Northwest Museum of Arts and Culture. The curriculum is meant to aid
20   educators and learners in various settings both formal and informal and to help Washington
21   State's public comply with Senate Bill 5433, which requires tribal histories be taught in every
22   grade. Providing our educators access to these records exposes them to information on the
23   history of the Plateau tribes throughout the inland northwest. These materials will be selected
24   by our tribal partners and will include the work WSU faculty and students are doing with the
25   Colville and Yakima Nations. However, this work will be cost prohibitive if the collections are
26   moved out of state.


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                                                                                                          011
1           15.     Over the last two decades, I have worked closely with Plateau Indians
2    communities in eastern Washington, Idaho, and Montana. The National Archives at Seattle
3    holds the permanent records for the Bureau of Indians Affairs, the US Forest Services, the US
4    Army Core ofEngineers, and Treaty and Census records for 272 Federally recognized Tribes
5    in the NW. Moving these records out ofthe Northwest will be detrimental for our tribal partners
6    who rely on these records to maintain their treaty rights, manage their cultural and natural
7    resources, and work to preserve their cultural heritage. Losing access to the documents that
 8   support all ofthese initiatives would be a travesty.
 9          16.     Moreover, moving the records to other locations deprives WSU and others of
10   the localized knowledge of the curators and archivists at the National Archives at Seattle
11   facility. These NARA archivists engage with the broader archives community through their
12   participation in regional professional groups such as the Northwest Archives, the Pacific
13   Northwest Historians Guild, and the Society ofAmerican Archivists. Such a loss would further
14   frustrate WSU' s ability to find and locate the records critical to furthering its scholarship and
15   educational missions.
16          17.     Finally, losing access to the records at NARA would also severely damage
17   WSU's mission. Washington State University is a public research university committed to its
18   land-grant heritage and tradition of service to society. Our mission is to advance
19   knowledge through creative research and scholarship across a wide range of academic
20   disciplines. To extend knowledge through innovative educational programs in which emerging
21   scholars are mentored to realize their highest potential and assume roles of leadership,
22   responsibility, and service to society. To apply knowledge through local and global
23   engagement that will improve quality oflife and enhance the economy ofthe state, nation, and
24   world. The National Archives facility in Seattle houses critical records for us to understand
25   and interpret the region, including natural resources records, which are critical for our current
26   and future management of the state's natural resources.


                                                                         ATTORNEY GENERAL OF WASHINGTON
                                                                              Complex Litigation Division
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       DECLARATION OF TREVOR JAMES                       6                      Seattle, WA 98104-3188
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                                                                                                            012
 1

 2   I declare under penalty of perjury that the foregoing is true and correct.
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 4
     DATED this    2     day of �' 202_l_ at Pullman, WA.
                   day              month         year
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                                                  cl���·��
 7                                                 Trevor J. Bond
                                                   Associate Dean for Digital Initiatives and Special
 8                                                 Collections
                                                   Washington State University
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                                                                        ATTORNEY GENERAL OF WASHINGTON
                                                                             Complex Litigation Division
                                                                              800 5th Avenue, Suite 2000
       DECLARATION OF TREVOR JAMES                       7                     Seattle, WA 98104-3188
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                                                                                                           013
Exhibit 1




            014
February 27, 2020


Russell Vought                                    Emily Murphy
Acting Director                                   Administrator
Office of Management and Budget                   General Services Administration
725 17th Street, NW                               1800 F Street, NW
Washington, DC 20503                              Washington, DC 20405

Adam Bodner                                       David Ferriero
Executive Director                                Archivist
Public Buildings Reform Board                     National Archives and Records Administration
1800 F Street, NW, Room 5116                      8601 Adelphi Road
Washington, DC 20405                              College Park, MD 20740

Dear Acting Director Vought, Administrator Murphy, Director Bodner, and Archivist Ferriero,

We write as the chief librarians of the largest research universities in the Pacific Northwest to express
how the sale of the Federal Archives and Records Center located at 6125 Sand Point Way NE, in
Seattle, Washington, would damage our institutions and the communities and states we serve. The sale
of the center, initially proposed by the Public Buildings Reform Board and recently approved by the
Office of Management and Budget, would hurt and diminish the mission and activities of our
institutions. Moreover, we are also deeply concerned by the process by which the decision to sell the
facility was reached. We ask that you reconsider the decision to sell the facility until after further
consultation with impacted communities to take public concerns into consideration.


Loss of Access to Historical Information and Records for Students, Researchers and the Public

The federal government has been entrusted with these historical archival documents. Access is
essential, particularly for those most interested in ensuring that these documents help to tell and
preserve our national and regional history, for learning, and teaching. The proposed relocation will
make these documents even less accessible to scholars and the public, especially our tribal partners.

Pacific Northwest student and faculty research and scholarship will be harmed by this closure. As public
universities, access to archives is essential to our ability to educate scholars and the public as well as our
mission to preserve and enhance knowledge.

Access to original records in their context – While it has long been a goal to make more records
accessible through digitization, digital representations cannot always replace the importance of the
original documents. Some documents are important primarily because of their informational value,
whereas others also have artifactual value which cannot be reproduced. Moreover, physically handling
records and being able to understand each document in connection with other related documents will
be a potential loss as those communities losing their records will be further distanced from their
histories.

The concerns about the closure of the facility and the relocation of the records are not hypothetical.
The following examples illustrate the real impact that would be caused by the relocation of the records.


                                                                                                          015
    •   University of Washington (UW)

Service to and utilization by UW and the public: The Seattle NARA facility is used on a regular basis by
University of Washington students, faculty, and staff as well as the broader public in the Northwest.

Researchers of all levels have a complex of regional history available to them in the Seattle area.
Individual and groups of researchers planning trips to Seattle can consult with a multitude of archival
resources relating to the Pacific Northwest region including those at the University of Washington
Libraries Special Collections, the Museum of History and Industry (MOHAI), the Seattle Municipal
Archives, and the National Archives, just to name a few. Removal of the National Archives at Seattle will
sever the National Archives and Records Administration (NARA) from this network of rich resources for
Pacific Northwest research. Researchers—local, national and international—rely on the proximity of
NARA’s federal records to other complementary, related collections held in these regional facilities;
closing NARA would greatly limit their ability to access important historical records on a wide range of
subjects.

In addition, UW librarians are contacted by researchers, students, and faculty who are often searching
for primary documents and records. The staff work with them—who are physically located in the
Northwest—to determine the location of the materials that are needed to ensure that the time and
resources spent going to different libraries and facilities, including the NARA facility, are minimized. The
topics of research vary, from law and civil rights to military records and family history and other areas in
between. Both UW-affiliated individuals and members of the public are referred to the NARA facility on
a regular basis. Even UW librarians use the facility for their own research, for both current and past
efforts.

Impact on Students: More locally, most of graduate students studying U.S. history at UW make use of
these archives at some point in their careers, for research papers, journal articles, or their dissertations.
In addition, having substantial local archival resources has helped the university to recruit top applicants
who are interested in pursuing research based in the Western United States. Because graduate
students, including those at UW, have very little travel funding, losing this major local resource would be
nothing short of devastating to students’ development and potential for success in the field.


    •   Washington State University (WSU)

Making Historical Documents Accessible: WSU’s Center for Digital Scholarship and Curation (CDSC) is
currently planning to digitize documents held at the NARA facility in Seattle for the Plateau Peoples’
Web Portal making them easily accessible to the public.

The curriculum in the Plateau Peoples’ Web Portal has been created by Tribal representatives from each
of the partner Tribes. The basis of the curriculum is primary source material from national and regional
repositories including the Smithsonian Institution, the Library of Congress, Washington State University's
Manuscripts, Archives and Special Collections, Gonzaga University Archives and Special Collections and
the Northwest Museum of Arts and Culture. The curriculum is meant to aid educators and learners in
various settings both formal and informal and to help Washington State’s public comply with Senate Bill
5433, which requires tribal histories be taught in every grade.

                                                                                                         016
Providing our educators access to these records exposes them to information on the history of the
Plateau tribes throughout the inland northwest. These materials will be selected by our tribal partners
and will include the work WSU faculty and students are doing with the Colville and Yakima Nations.
However, this work will be cost prohibitive if the collections are moved out of state.

In addition, WSU’s Dr. Melissa Parkhurst used the student records at NARA extensively to chronicle the
powerful uses of music in the assimilation-based curriculum at Chemawa Indian School, the oldest
continuously operating federal boarding school. Stories from Chemawa students, 1880-2014, are
documented in the book, To Win the Indian Heart: Music at Chemawa Indian School. Over 30,000
students have attended Chemawa, an institution that has intimately impacted tribal families and
communities across the west. This project would not have been possible without access to the archives
at Sand Point.

Learning from History: The cultural and multigenerational effects of Indian boarding schools on one
family’s history is the subject of a new exhibit in WSU’s Manuscripts, Archives and Special Collection.
Dr. Robbie Paul curated the current exhibit in the WSU Libraries department of Manuscripts, Archives,
and Special Collections (MASC) titled “Grandfather’s Trunk, Spirit of Survival: Three Generations of the
Paul Family’s Native American Boarding School Experience.” Through access of the public documents at
NARA, Dr. Paul pieced together key details of her family’s experience by consulting boarding school
records in Seattle’s Sand Point facility. Connecting our community to their native heritage, Dr. Paul is
able to highlight the experiences of her family in Indian boarding schools where trauma occurred and
share the early history of her great-great-grandfather, Chief Ut-Sin-Malikan, the first to see the loss of
the old Native American ways and of Nez Perce identity in his lifetime. Highlighting these experiences
are not only connecting the community to the lives of the native people, but educating on the actions of
our past so they don’t happen again. Without access to the NARA records, this exhibit at WSU’s Terrell
Library would not have happened.


    •   Oregon State University (OSU)

Critical resource for faculty research. Oregon State University faculty researchers in the liberal arts
fields of history and anthropology have relied on the Seattle NARA facility over the past 20 years. For
example, the Seattle NARA facility served as a critical resource, providing a rich trove of sources, for the
writing of American Forestry: A History of National, State, and Private Cooperation (1985), a work
focused on federal fire policy and relations between federal agencies, state governments, and private
corporations in the Pacific Northwest. Among the many archives, both national and regional, providing
primary source materials, the Seattle Branch was the equal of regional materials for the Southeast
Region in Atlanta, the Rocky Mountain Region in Denver, and the forestry related materials in the Pacific
Region offices, then in San Bruno, California.

Relocation Impact on Research Costs and Expenses: OSU faculty describe the Seattle NARA archivists
as exemplary, with the necessary in-depth knowledge of the collections. The demonstrated knowledge
of the archivists has proven essential time and again to assist visiting researchers efficiently and
effectively navigate the collections to review and recover missing parts of the region’s tribal histories
from the 19th and 20th centuries. The archivists’ deep familiarity with the facility help faculty understand
how the archives are structured to help them prepare in advance and to optimize their time reviewing
the collection at the facility itself. Based on faculty experiences at the Seattle NARA facility, there is a

                                                                                                         017
common sentiment that the value of the Seattle facility would best be measured by the importance of
regional access to the comprehensive collection of records to be accessed when needed, and the
importance of knowledgeable archivists with deep familiarity of the structure and content of the
collections to facilitate review and public engagement, not by the amount of time that researchers
spend at the facility itself. Relocating the facility will disrupt these essential values of the Seattle NARA
facility and further challenge the cost-effective access of these important public records for
understanding and communicating Northwest history.

Impact on Students. Just as important, as a result of its relative proximity to campus, countless
numbers of Oregon State University graduate students with very limited travel funds have made
important use of the Seattle archives over the decades.


    •   University of Oregon (UO)

Impact on Undergraduate Research: Undergraduate classes have conducted research on Northern
Paiute History and the indigenous people of the Great Basin, which includes southeastern Oregon. In
recent years, more than twenty undergraduate students have traveled to Seattle to perform research
on-site, some supported with fellowships and grants, as an integral experience in their development as
scholars. Their work at the NARA Seattle facility has supported their publication of peer-reviewed
articles; presentations at local, regional, and national academic conferences; and completion of
independent, faculty-mentored undergraduate research projects submitted as writing samples for
successful graduate school applications. The loss of this regional archive will diminish opportunities for
student development and learning across many disciplines. It will become prohibitively expensive for
undergraduate training to include experience working with the National Archives, the most significant
archive of historical materials in the nation.

Threatening doctoral training: The University of Oregon and the Coquille Indian Tribe developed the
Southwest Oregon Research Project (SWORP) in collaboration with the Smithsonian Institution. Access
to materials housed in Seattle not only documented tribal governance and the history of Oregon’s
Southwestern tribes but also enabled nearly twenty people to earn graduate degrees, including fourteen
PhDs and six master’s degree, from the University of Oregon. Access to archival materials and the ability
to collaborate easily with tribal leaders was essential. Moving the materials from the region, which is
already geographically isolated in terms of travel costs, will harm advanced students’ access to
materials, scholars, and tribes. In an era when the public has rightly expressed concern about the
increased cost of higher education, moving archival materials to two distant archives, each more than
one thousand miles away, will dramatically increase research costs for those studying the history of the
Pacific Northwest and the development and administration of federal policy in the region, adding to the
financial burden of graduate education. About a third of current UO graduate students in history have
research activities that depend upon the archives.

University-Public Collaborations: A faculty member has for more than twenty years worked closely with
the Basque communities in Oregon, Idaho, and Nevada, sharing extensive source materials housed in
Seattle. This work, and similar project to broaden public access to archival materials, will no longer be
possible if the collections in Seattle are spread to archives in southern California and Missouri. The very
act of moving these records to distant archives means that researchers studying the history of the
Pacific Northwest will have no access to vital records for a period of years, while they are readied for
shipment, shipped, unpacked, and inventoried. Thus, even ignoring the additional cost and time

                                                                                                           018
involved in traveling to distant archives, for a long period of time, none of these vital records will be
available at all. That means important research cannot be done, which will impact graduate students
who are currently researching and writing dissertations and faculty scholars who are writing books on
the history of the Pacific Northwest. At present, the archives in Seattle are vital resources for the
research of nine doctoral history students at the University of Oregon, who are depending on the Seattle
records center to be able to graduate and launch their careers. Moreover, a faculty research project
about Oregon’s public lands, which has engaged rural community members throughout the state, will be
significantly delayed. Moving the archives will have a dramatic impact on the ability of these scholars to
complete their research within externally imposed deadlines and thwart the research of even more
scholars of the Pacific Northwest moving forward.


    •   University of Alaska (UA)

Making Alaska records more inaccessible: The National Archives facility in Anchorage, Alaska, was
closed in 2014 and the records from that location were relocated to Seattle. This was a blow to the
region and researchers interested in the history of Alaska, which was a federal territory between its
purchase from Russia in 1867 and when it achieved statehood in 1959. With the pending move of
materials from Seattle to California as a result of this sale, Alaska records will now be even further away
from their source. Since Seattle is the repository for records created by Federal agencies in Alaska,
Idaho, Oregon, and Washington, citizens from all of these states, including the students and faculty at
the University of Alaska, will be impacted as they will have to travel much further to see most records
since only a small percentage of these are digitized.

The removal of records from the state to a location even farther away, will make it much more
challenging for Alaskan researchers to access all of the resources they need. Alaskans also express
discontent with the move, which exports our own history to facilities where there are no subject
specialists to assist those in need of information, making it harder to find. Locking up information in far-
flung repositories is the opposite of the current trend of making archives more accessible and usable to
everyone.

Alaska records have been moved before: We must also note that, when the decision was made in 2014
to close the Anchorage facility, NARA leadership indicated at that time that the records would be
digitized, and that an effort would be made to reach out to stakeholders to prioritize records for
processing. To date, no update has been provided regarding the digitization process.

If the sale of the property and the relocation of the materials do occur, the University of Alaska
recommends that portions of the proceeds from the sale of the facility be used to subsidize researcher
travel costs and for digitization of archival collections to make them publicly on line.




                                                                                                        019
Lack of Consultation with Stakeholders

In addition to the negative impact the sale would have on our institutions collectively, as noted above,
we are also troubled by the lack of local consultation with communities in Seattle and in the Pacific
Northwest more broadly. The PBRB’s own initial submission dated October 31 states, in part, that

        “The Board has undertaken extensive effort to work with local and state officials [emphasis
        added] as well as Members of Congress for each recommended property to ensure the Board’s
        solution and the ultimate sale meet the needs of the local community and return value to the
        federal government…”

Furthermore, the board’s amended recommendation list from December 27 states as Step 5 of the
process to developing the list of targeted facilities that the PBRB, “Solicit[ed] input from stakeholders
and public,” [emphasis added] including seeking municipal engagement.

As members of the stakeholder community—both in physical proximity as well as being the users of the
facility—we respectfully disagree that the stakeholders were appropriately consulted. While we
acknowledge that the legislation that created the PBRB does not call for a public comment period, we
believe that the stakeholders should have been engaged in a public and meaningful manner.

By contrast, the final December 27 recommendations state that, with respect to future outreach:

        The PBRB and GSA will actively solicit input from the developer community [emphasis added] and
        work with city officials to understand and clarify redevelopment plans for this site. By reducing
        uncertainty around future entitlement, and increasing certainty around transaction timelines,
        qualified developers can increase the amount paid for the property.

We further note that while the public meeting held in the Los Angeles area on July 24 was actually held
at the very same Laguna Niguel facility that was targeted for sale and included representatives from the
City of Laguna Niguel on the agenda, no outreach of that kind occurred in the Pacific Northwest. As the
federal records facility representing four entire states, we believe that similar outreach and consultation
efforts should have taken place.




                                                                                                            020
Conclusion

While we can appreciate the desire and need to consolidate federal facilities, for the reasons outlined
above, we ask that you reconsider your decision to close the Federal Archives and Records Center and
request that you engage in a more consultative process with the stakeholders.

Sincerely,




Lizabeth Wilson                                         Jay Staratt
Dean, University Libraries                              Dean, Libraries
University of Washington                                Washington State University




Faye A. Chadwell                                        Mark Watson
Donald and Delpha Campbell University Librarian         Interim Dean, Libraries
Oregon State University                                 University of Oregon




Karen Jensen                                            Stephen Rollins
Director of Libraries                                   Dean, Consortium Library
University of Alaska Fairbanks                          University of Alaska Anchorage


Cc:     Washington Congressional Delegation
        Oregon Congressional Delegation
        Alaska Congressional Delegation




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6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
7
        STATE OF WASHINGTON, et al.,                            NO.
8
                                       Plaintiff,               DECLARATION OF RYAN
9                                                               WAYNE BOOTH
                   V.
10
        RUSSELL VOUGHT, et al.,
11
                                       Defendants,
12
              I, Ryan Wayne Booth, declare as follows:
13
              1.        I am a history instructor at Washington State University - Vancouver. I am over
14
     the age of 18 and competent to testify. I make this declaration based on my personal knowledge
15
     and my expertise as a historian and an Upper Skagit Tribal Member.
16
              2.        I am a PhD Candidate in the history of the US West at Washington State
17
     University. My area of study is on the US Indian Scouts, who were part of the US Army from
18
     1866-1947. I am a Fulbright-Nehru Fellowship Alumnus (2019-2020). I earned a BA, cum
19
     laude at Loyola University Chicago (2001) and a MA at Central Washington University
20
     (2011). I worked for the National Park Service as Visitor Center Manager at North Cascades
21
     National Park (2001-2004). I also worked for the US Fish & Wildlife Service as Special Events
22
     Coordinator in Washington, DC (2004-2007). I taught history at Heritage University in
23
     Toppenish, WA (2007-2014) and at Wenatchee Valley College in Wenatchee, WA (2014-
24
     2015).
25
26


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                                                                                 Complex Litigation Division
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                                                                                                               022
1           3.      As a historian, archives are the lifeblood of my profession. Without them, we
2    simply cannot tell an adequate story about the past. I have made numerous trips to the National
3    Archives in Washington, DC as well as Seattle. While the materials I found at main archives
4    were useful, the ones in Seattle are far superior. Good historians rely on good stories. The best
5    stories are often ones that can bridge the gap between the highly personal, intimate stories with
6    much broader historical trends. The National Archives at Seattle provides those intimate and
 7   personal stories in their records. Without these records, historians cannot tell useful stories-
 8   ones that speak to the broad experience of humanity. The stories that can help us avoid mistakes
9    of the past as well as illuminating our triumphs. The archives provide a rich well for
10   generations of scholars to draw from. Many people mistakenly believe that history is a static
11   thing ("Isn't it just a bunch of names and dates? What changes? It happened, so what?"). The
12   "so what?" is the crux of history. Fifty years ago, a historian may have looked at the same
13   archival document and came to a conclusion based on his or her time. I may come along and
14   see it differently based on our present moment. History and the archives that feed our
15   profession always evolve as our perspectives change over time.
16          4.      The records at the National Archives in Seattle provide the personal and
17   intimate information described above. For instance, I found letters written by my great, great
18   grandfather asking the superintendent at the Chemawa Indian School to send my great grandma
19   home for the summer. I found postcards sent to beloved teachers at Chemawa from the trenches
20   of World War I. The Chemawa records also included personnel files for the teachers at the
21   school, which contained both admirable and disgusting bits of information in them. I
22   discovered old plans for public buildings, which were never constructed, made by employees
23   of the Works Progress Administration during the Great Depression. These records have not
24   been digitized. The personal letters and school files will likely never be digitized since they
25   are so highly personal. The old blueprints are so large that they filled an entire table and would
26   not be easily deciphered on even a large desktop computer. When I made my initial request for


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                                                                                                            023
1    these records, I had no idea that these treasures existed. The finding aids are generally bland
2    with titles such as "BIA Chemawa Indian School, Correspondence." Only when you open up
3    the folders, can you begin to see a much richer history. Only then could a person read a letter
4    from their great great grandpa in his own handwriting.
5           5.      I used the Chemawa records to help write an article about the Native students
6    who fought in World War I. I used the information for public presentations and conference
7    papers as well. I presented my findings at Gonzaga University in Spokane and Heritage
8    University in Toppenish. My lecture has gone on to a digital format and has been used at
9    Central Washington University in Ellensburg. My experience is not uncommon for historians
10   to recycle archival information and use it in a variety of formats and venues.
11          6.      My research at NARA Seattle on New Deal programs was used by North
12   Cascades National Park (NOCA) in compiling information for future exhibits and interpretive
13   pamphlets. I specifically used Record Group 95 which includes the records of the Mt. Baker-
14   Snoqualmie National Forest. Before NOCA was founded in 1968, it was part of the Mt. Baker
15   National Forest administered by the US Forest Service (USFS). In 2003, I was the Visitor
16   Center Manager in Newhalem. We planned to use these materials in a temporary exhibit on
17   the New Deal programs in the area. The records included reports and blueprints of a proposed
18   exhibit hall/recreation center to be constructed in Newhalem as well as designs for new housing
19   for USFS employees as well as Arts and Crafts furniture designs for the aforementioned
20   houses. I also shared the information with the NOCA Cultural Resources Division.
21           7.     I learned of the sale on January 23, 2020, when Professor Steve Fountain alerted
22   all Washington State University faculty by email. The Alaska State Historical Society, of
23   which he is a member, had a robust campaign alerting their membership to the impending
24   decision on the sale of NARA Seattle. Then we all heard about it again on January 25, 2020
25   when the Seattle Times published their article about it. It would have been reasonable for
26   notification to have been sent to every history department within the Pacific Northwest Region


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                                                                                                          024
1    of the National Archives. The lack of notice prompted a flurry of activity but after the US 0MB
2    made their decision to sell and long after the public comment period had lapsed. With proper
3    notification, the AHA and other regional history societies could have prepared robust defenses
4    for keeping NARA Seattle open.
5            8.      The loss of the National Archives at Seattle will have a large impact on graduate
6    education at Washington State University and other institutions across the Pacific Northwest.
7    Most of my peers in the PhD program and nearly all of the MA students have used the resources
8    at the National Archives in Seattle. Travel to places like Washington, DC is often cost
9    prohibitive on a graduate student stipend. Places such as NARA Seattle become more
10   important as local repositories for these important documents. The microfilm copies of
11   materials in places like Washington, DC are also invaluable. While much of this material is
12   available online, it is sometimes hidden behind paywalls. For instance, access to military draft
13   cards and relevant information is available online, but requires a membership to a program
14   called Fold3 or through Ancestry.com, which are all subscription services. NARA Seattle
15   provides access to these resources for free, but only when you are at the physical location. The
16   closure of the Seattle location would limit future scholars in our region and severely hamper
17   our ability to tell those critical stories.
18           I declare under penalty of perjury that the foregoing is true and correct.
19
20
     DATED this     28 day of Vu t-" b. r          , 20.20 at   �(.J!I� <-�-i
                                                                _____         , J,.l.""'.J..,
                    day                month         year              city                      stM
21
22
23                                                    �Jr,u-
                                                       �WAYN BOOTH

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                                                                                                                 025
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 6                           UNITED ST A TES DISTRICT COURT
                            WESTERN DISTRICT OF WASHING TON
 7
        STATE OF WASHINGTO , et al. ,                            0.
 8
                                   Plaintiff,                 DECLARATIO OF CHAIR
 9                                                            DEBBIE BOSSLEY

10
        RUSSELL VOUGHT et al. ,
11
                                   Defendants,
12
             I, DEBBIE BOSSLEY, declare as follows:
13
             1.     I serve as the Chair of the Tribal Council of the Confederated Tribes of Coos,
14
     Lower    mpqua and Siuslaw Indians ( 'CTCLU I '). l am o er the age of 18 and competent to
15
     testify. I make this declaration based on my per onal knowledge.
16
             2.     The Tribal Council is empowered by the Tribal Constitution to exercise all
17
     legislative and executi e authority of the Confederated Tribes of the Coos, Lower        mpqua
18
     and Siusla   Indians and has the right to delegate such authority as is appropriate.
19
             3.     CTCLU I is a federally recognized sovereign tribal nation headquartered in
20
     Coos Bay Oregon. CTLUSI is made up of two bands of Coos Tribes: Hanis Coos; Miluk
21
     Coos; the Lower Umpqua Tribe· and the Siusla       Tribe.
22
             4.     The ancestral territory of CTCLUSI encompasses approximately 1.6 million
23
     acres along the Oregon Coast, which extends from the mouth ofTenmile Creek (Lane County)
24
     in the north, south to Whiskey Run Creek and Cut Creeks, with the eastern boundary running
25
     north to south along the crests of the Coast Range occasionally dipping into interior alleys ..
26




       DECLARATIO     OF CHAIR DEBBIE
       BOSSLEY

                                                                                                       026
 1          5.        The hi tory of interaction with the      nited States significantly impacted

 2   CTCLU I and its people. By the mid-1850s growing numbers of European-American ettlers

 3   had arrived in the region. By the late summer of 1855 many CTLU I people were rounded

 4   up, imprisoned, and removed from their lands under the pretext of an unratified treaty - a treaty

 5   of peace and land cession that our ancestors signed in good faith      hich the Senate failed to

 6   ratify and the    nited tates Government refused to honor.

 7          6.         early twenty years after removal many of those that had been held at the

 8   reservation who did not die of starvation illness or exposure returned to their homelands ..

 9   There were a few married to settlers who were allowed to stay near their villages o er this

10   period avoiding removal. The Siuslaw Tribal lands were originally included in the boundary

11   of the Great Coast Reservation and thus they remained near their illages until a boundary
12   adjustment left them outside the reservation and homeless. Tribal families who stayed on their

13   ancestral lands had to buy lands or acquired them through the allotment process.

14          7.        In 1954 CTCLUSI      as terminated by federal legislation.

15          8.        In 1984, Congress extended federal recognition to CTCL       I.
16          9.        Since restoration, CTCLUSI has worked tirelessly to maintain its relationship
17   with its lands resources, and distinct Tribal histories and cultures. CTCLUSI has resumed its
18   roles as stewards and caretakers of the lands and resources that were once managed b their
19   ancestors.
20           10.      The records, which include documents photographs, and other materials, at the
21    ational Archives in       eattle are important to CTCL SI and its efforts to protect its
22   sovereignty unique culture and protect its lands and resources.
23           11.      The Seattle Archives records that relate to CTCLU I are extensive. They
24   include correspondence, maps photographs, probates, social surveys based on intervie s with
25   tribal members in the l 930s enrollments copies of tribal minutes and meetings, and other
26   accounts. A small example of the documents available at the Seattle Archives is listed below:




       DECLARA TIO      OF CHAIR DEBBIE                 2
       BOSSLEY

                                                                                                         027
            Box 33 Tribal Programs - General 1958-1959
 2
                   Termination - Western Oregon
 3                 020.0 Western Oregon (File no. 1). Includes John Collier: "The Menominee of
                   Wisconsin and the Klamath of Oregon Cases," 4/57
 4                 " emo to the Western Oregon Indian people" (re estern Oregon Judgment
                  Fund payment), 1959 (3 folder )
 5                   estern Oregon Judgment Mr. Buse [Supervisory Judgment Officer]-need for
                  establishment of branch of tribal programs. 1954-1960
 6
                   WOJF- Western Oregon Judgment Fund - Tribal Affiliation (ancestors)
 7                 Western Oregon Enrollment 194 7-1962 (2 folders)/ Letters of Payments and
                   Rejections
 8                 Southern Oregon Claims - Oregon Coast, 1947-1949
                    iletz Death List, 1910-1919
 9
            Box 34 WOJF- - Chetco Minors
10
                   WOJF - Coquille Minors
11                WOJF -Tillamook Minors
                  WOJF -Tootootoney Minors
12                WOJF - mpqua-Calappoia Minors
                  Minors' Funds- Referrals to California DPW
13                WOJF- Guardianship Requested
14                Western Oregon - Rules and Regulations and Other
                  Miscellaneous Material
15                Propo ed withdrawal of Federal re ponsibility o er the property and affairs of
                  the Indians of Western Oregon
16
            12.     The records include allotment records there from the 1800s thru 1924. These
17
     not only show where CTCLUSI members held land, but also has important family tree
18
     information.
19
            13.     The records also include extensive documents related to the termination of the
20
     Tribe that occurred in 1954. These documents form, in part, the basi of the account of the
21
     termination and restoration ofCTCLUSI in the book, Seeking Recognition by Professor David
22
     R.M. Beck.
23
            14.     Documents from the Seattle Archives were recently utilized by CTCLUSI and
24
     its consultants to prepare a nomination to designate a large portion of Coos Ba . Oregon as a
25

26




       DECLARATIO     OF CHAIR DEBBIE                 3
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                                                                                                     028
     Traditional Cultural Property ("TCP') pursuant to the       ational Historic Preser ation Act, on

 2   the   ational Register of Historic Places.

 3           15.    On ovember 1, 2018 CTCLUSI submitted the nomination to the Oregon tate

 4   Historic Preservation Office. The proposed TCP boundar includes the expansive bay and its

 5   sloughs, inlets and adjacent uplands encompassing a 26- square mile area.

 6           16.    CTC        I's 183-page TCP nomination contained substantial information that

 7   demonstrate broad patterns of ancient, historic, and current Coos tribal use of Coos Bay. The

 8   application includes a discussion of contributing features such as illages, burials ceremonial

 9   sites, gathering locations fishing and shellfish use areas and tribal buildings that connect the

10   tribal community to the Tribe's history and beliefs.

11           17.    In July 2019 the Oregon tate Historic Preservation Office both supported the

12   TCP application to      ational Park ervice and through Section 106 of the       ational Historic

13   Preservation Act. The Tribe expects to continue to utilize records to retain their unique identity

14   and sovereignty as mandated through federal laws and trust responsibilities.

15           18.    Some of the information utilized in support of the nomination was obtained
16   from the eattle Archives.

17           19.    The eattle Archives also contains records relating to the federal presence at
18   Coos Head, now a tribal property, for work of the            .. Army Corps of Engineers and

19   subsequently the U.S.     avy's anti-submarine detection station. These materials are important

20   for present land-use planning decisions of CTCLU I, clean-up of toxic material                and
21   environmental assessments.

22           20.    At no time did any federal agency meet with the Tribal Council to engage in
23   government-to-government consultation to discuss the impacts of the sale of the           ational
24   Archi es facility in eattle, how the Tribe uses that facility, or where documents important to
25   the Tribe would be relocated. CTCL           I learned of the proposal through news accounts and
26   from information provided by the State of Washington.




       DECLARATIO      OF CHAIR DEBBIE                    4
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                                                                                                          029
 1             21.    To move the records would impose costly burdens on the tribe to mount

 2   continued research into its history. Research travel costs money and takes time. Seattle is far

 3   more feasible a destination than Kansas City or Riverside.

 4             22.    The Tribe has not completed the process for the nomination of the TCP.

 5   Similarly, other federally approved or led projects will likely require the Tribe to access records

 6   held in     eattle. Mo ing the documents from       eattle would add significant costs time, and

 7   burden should they need to be accessed.

 8             23.    Moreover it is unclear which documents would be mo ed to what location,

 9   whether documents relevant to CTCLUSI will remain together, and whether there is a risk that

10   documents will be damaged in the process.

11             24.    The Tribal Council opposes the closure of the Seattle facility and relocation of

12   the documents that are so ital to the history of CTCLU I.

13             I declare under penalty of perjury that the foregoing is true and correct.

14
                                      DATED this 4 th day of January 2021 at Coos Bay Oregon.
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       DECLARA TIO       OF CHAIR DEBBIE                   5
       BOSSLEY

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5
6                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
7
        STATE OF WASHINGTON, et al.,                            NO.
8
                                   Plaintiffs,                  DECLARATION OF
9                                                               JOHN A. BOWER, JR., PH.D.
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                   Defendants.
12
13          I, John A. Bower, Jr., Ph.D., declare as follows:

14          1.        I am over 18 years of age and competent to testify in this matter. I have a

15   bachelor’s degree in History from the University of Washington; a bachelor’s degree in

16   Environmental Studies from Western Washington University, Huxley College; and a master’s

17   degree and a Ph.D. in Geography from the University of Washington. During my professional

18   career spanning over four decades, I have been employed by the State of Washington Department

19   of Natural Resources, the Quinault Nation, the Confederated Tribes of the Colville Reservation,

20   the Yakama Nation, the Skagit System Cooperative, and Dr. Barbara Lane to conduct historical

21   research. I make this declaration based on personal knowledge and expertise as a professional

22   Historical Geographer.

23          2.        As a professional Historical Geographer, I have researched, collected and

24   analyzed extensive documentation for complex litigation in Native American treaty, fishery,

25   energy, environmental, and water rights cases—including cases related to the Skagit Nuclear

26   Power Project, High Ross Dam, Colville Indian Reservation boundary questions, Yakama Indian

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1    Reservation boundary questions, and Quinault Nation treaty rights; State of Washington,
2    Department of Ecology v. James J. Acquavela (Yakima County Superior Court No. 77-2-01484-
3    5), a long-term water-rights adjudication; and U.S. v. Oregon, which dealt with the treaty fishing
4    rights of the Wenatchi, Chelan, Methow, Entiat, and Columbia tribes under the Yakima Treaty
5    of 1855 (United State District Court for the District of Oregon (CV No. 68-513-MA)); and U.S.
6    v. Washington, 384 F. Supp. 312 (W.D. Wash. 1974), an ongoing proceeding which concerns
7    tribal fishing and shellfish rights and related matters (my research pertained to U.S. v.
8    Washington sub-proceedings after Washington v. Washington State Commercial Passenger
9    Fishing Vessel Association, 443 U.S. 658 (1979). I have prepared land use and transaction
10   histories of the Quinault, Colville, and Yakama Reservations for litigation purposes. I have
11   researched legislative, congressional, and court records, and have prepared legislative histories.
12   I have also analyzed and made recommendations about the State of Washington’s aquatic land
13   use authorization history for hazardous waste liability and ownership.
14          3.      From my personal experience, the National Archives and Records Center for the
15   Pacific Northwest located in Seattle (NARA-Seattle) provides access to federal records
16   necessary to establish land ownership and use rights, including navigation, forestry, and tribal
17   rights; implement federal civil works projects; and facilitate agricultural development. I have
18   personally used NARA-Seattle records for all these purposes as part of my work for the State of
19   Washington and Washington tribes.
20          4.      I have been designated an expert witness for the Washington State Department of
21   Natural Resources (DNR). For DNR, I have researched and reported on ownership questions
22   related to state-owned aquatic lands. I have acted as the aquatic resource division expert on
23   historic aquatic land laws, regulations, and policies. I have also coordinated closely with, and
24   have provided information and recommendations to, DNR environmental site and project
25   managers, as well as division and departmental management. On behalf of DNR, I have prepared
26   reports for specific tracts of land based on federal, state, and private land ownership, utilizing

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 1   land use records of local entities (cities, counties, and ports), Public Utility Districts, state
 2   agencies (including DNR, the Department of Fish and Wildlife, and the Secretary of State), and
 3   federal agencies (including the Bonneville Power Administration, the Bureau of Indian Affairs,
 4   the Federal Energy and Regulatory Commission, and the Bureau of Reclamation).
 5          5.      Records maintained at NARA-Seattle were integral to all my research described
 6   above. NARA-Seattle contains local federal agency and field office records managed and
 7   maintained by the National Archives, and federal agency records maintained by the federal
 8   records center and managed by the generating federal agency, as well as Federal District Court
 9   records. These records are organized into Record Groups (RG) for each generating agency.
10   Access to records located in the records center is granted by permission of the generating agency,
11   usually by Freedom of Information requests, while records in the archives are public documents
12   open to public research.
13          6.      As part of my work, I have researched legislative, congressional, and court
14   records, and have prepared legislative histories for both the Washington State Legislature and
15   the U.S. Congress. A chronology of those efforts is as follows:
16                  a.      From 1982 to 1990, I conducted archival research at NARA-Seattle for
17          numerous clients and employers, including for Dr. Barbara Lane, a leading
18          anthropologist and primary expert witness for the United States in U.S. v. Washington,
19          on fishery damage claims and shellfish treaty right claims; for the Quinault Indian Nation
20          on Treaty rights claims; and for the Confederated Tribes of the Colville Reservation on
21          reservation boundary issues, Grand Coulee Dam development impacts, reservation
22          histories, and treaty right claims. This research was focused on tribal treaty rights and
23          reservation boundary issues. The research was conducted primarily in NARA-Seattle
24          records of the local Indian Agencies (Puyallup, Skokomish, Tulalip, Taholah, and
25          Western Washington agencies), and in records of the United States Army Corps of
26

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1           Engineers, the Fish and Wildlife Service, and the Bureau of Land Management (General
2           Land Office).
3                  b.       From 1990 to 1996, I researched NARA-Seattle records for the Yakama
4           Indian Nation relating to Yakama treaty water rights and agricultural development,
5           primarily in records generated by the Bureau of Indian Affairs’ Portland Area Office—
6           Irrigation Division and the Wapato Irrigation Project. As part of this research, I was asked
7           to review files and compile documents relating to the development of the Wapato
8           Irrigation Project, which is an agricultural irrigation project of the Bureau of Indian
9           Affairs operated for the benefit of tribes and individual Indians, to help determine water
10          and other rights of non-Indian fee landowners of the Yakama Indian Reservation. I was
11          also tasked to compile documents related to the Hellroaring Irrigation Company Canal,
12          which included records related to the location of Yakama Reservation’s southwest
13          boundary. I found these documents at NARA-Seattle in its Bureau of Land Management
14          Royer file for the Spokane Land Office and the Yakima Indian Agency records relating
15          to the Hellroaring Irrigation Co.
16                 c.       From 1996 to 2014, I researched numerous records found at NARA-
17          Seattle for the Washington State DNR, including records relating to contaminated
18          sediment    proceedings     under    the   Comprehensive      Environmental           Response,
19          Compensation, and Liability Act (CERCLA, also known as Superfund) and
20          Washington’s Model Toxics Control Act (MTCA); water ownership issues as well as
21          navigability questions; and natural resource issues. These records included those
22          generated by the Corps of Engineers, the Bureau of Land Management, the General
23          Services Administration, the War Assets Administration, and the Bureau of Yards and
24          Docks, including real property case files and survey report files.
25          7.     The records I obtained at NARA-Seattle were integral to my preparation of
26   numerous reports and papers, a select few of which are listed below:

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 1              a.      The Pacific Northwest Power Supply System: The Present and Future
 2       Operation of a Power Pool: 1982. Master’s Thesis, University of Washington.
 3              b.      The Hydrogeography of the Yakama Indian Nation Resource Use: 1990.
 4       Dissertation, University of Washington.
 5              c.      Preliminary Report--Historical Analysis and Review of Thea Foss
 6       Waterway Transactions: September 28, 1998. The Thea Foss Waterway site is a State
 7       of Washington Waterway and a federal waterway located in Commencement Bay
 8       adjacent to the City of Tacoma. This report was made in preparation for negotiations
 9       with the U.S. Environmental Protection Agency and addressed activities located adjacent
10       to and upon the waterway which resulted in its contamination. This historical analysis
11       included a land transaction history of the tidelands abutting the waterway, the
12       development of the Northern Pacific Railroad on state-owned tidelands, the modification
13       of the mouth of the Puyallup River, operation of the Wheeler-Osgood Lumber Mill, and
14       the sewage discharges from the City of Tacoma’s “twin 96ers” outfalls. This historical
15       analysis relied on Corps of Engineer records located at NARA-Seattle.
16              d.      Draft Preliminary Report--Historical Analysis of ASARCO CERCLA
17       Site Transactions: November 3, 1999.
18              e.      Preliminary Source Control History for Tracts Abutting Middle
19       Waterway:     May 11, 2001. Middle Waterway is a state waterway located on
20       Commencement Bay immediately to the west of the Puyallup River. This source control
21       history detailed the fill history of the tracts abutting the waterway including the Simpson
22       Pulp Mill, the shipyard located at the mouth of the waterway, and the history of waterway
23       dredging.
24              f.      R.G. Haley Memorandum: October 14, 2003. The R.G. Haley site is
25       located in Bellingham Bay from, and including, Alder Street to the south and the
26       southwesterly line of Pine Street to the North, between the Burlington Northern Railway

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 1       tracks and the harbor area contained in the Georgia Pacific harbor area lease. This report
 2       detailed the R.G. Haley site history, the placement of fill material and the history of
 3       improvements placed on the site. It discussed the history of the landfill, as well as the
 4       jurisdictional history of those agencies that authorized the placement of the landfill.
 5              g.      Draft Preliminary Report Cornwall Landfill: April 19, 2004. This report
 6       dealt with the placement of a landfill in Bellingham Bay tidelands. It discussed the history
 7       of the landfill, as well as the jurisdictional history of those agencies that authorized the
 8       placement of the landfill.
 9              h.      Preliminary Draft Historical Report on East Waterway--Seattle: April 28,
10       2005. This report was prepared as part of negotiations with the United States
11       Environmental Protection Agency. This report focused on the tideland ownership
12       surrounding the waterway, the jurisdictional management of the waterway by local, state,
13       and federal agencies. It also considered the fill and development of the tidelands adjacent
14       to the waterway, as well as possible sources of the waterway’s sediment contamination.
15              i.      Budd Inlet—Federal Channel and State Harbor Area Designation: June 2,
16       2008. This report dealt with negotiations with the Department of Ecology under MTCA
17       related to the sources of contamination in Budd Inlet located at Olympia, Washington.
18       As with other reports, it provided a history of waterway development, tideland fill, and
19       industrial development associated with this site.
20              j.      Report on Squalicum Waterway and Tideland Historical Use: March 13,
21       2007. This report was made in preparation for negotiations with the Department of
22       Ecology and the Port of Bellingham under MTCA. Squalicum waterway is located in
23       Bellingham Bay. This report dealt with the vacation of portions of the waterway, and the
24       sources of contaminated sediment.
25              k.      Report on Whatcom Waterway: April 2, 2007. This report was prepared
26       for the Department of Natural Resources as part of an equitable allocation negotiation in

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 1       Bellingham Bay. This report discussed the sale of tidelands; the management of
 2       waterways and harbor areas; the conflicting jurisdictional roles of local, state, and federal
 3       agencies; and the relationship of nearshore development to the existence of contaminated
 4       sediments.
 5               l.      Preliminary Chronology: United States Lighthouse Reserve and Federal
 6       Townsite at Port Angeles. This report was prepared for negotiations with the Department
 7       of Ecology and other parties related to the MTCA site located at Port Angeles. This report
 8       considered the development of Ediz Hook, and industrial development of adjacent
 9       tidelands.
10               m.      History of the Lockheed Shipyard Site: January 27, 2010. This shipyard
11       was located on Harbor Island, and its operation resulted in extensive contamination of
12       West Waterway in Seattle. This history was prepared as part of negotiations and
13       proceedings with the Environmental Protection Agency related to the Lockheed Shipyard
14       site located on Harbor Island, Seattle. This shipyard has had an extensive history as a
15       federal shipyard beginning in World War I as the Puget Sound Bridge and Dredge
16       Shipyard, continuing through World War II, and was operated into the 1950s as the
17       Lockheed Shipyard. This shipyard site is now owned by the Port of Seattle.
18               n.      History of Todd Shipyard, Tideland Block 404: April 8, 2010. This
19       federal shipyard was located on Harbor Island, Seattle, and was operated first as the
20       Skinner and Eddy Shipyard and then as Todd Shipyards during World War II. This
21       shipyard is still in operation.
22               o.      Report of the Anacortes Breakwater: January 27, 2011. This report dealt
23       with the history of the breakwater construction on state-owned aquatic lands, and
24       considered its approval history.
25               p.      Preliminary Draft Report ASARCO: July 6, 2012. The ASARCO site is
26       located adjacent to Ruston, Washington on the shores of Puget Sound. This smelter, as a

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 1          consequence of its operations, deposited molten slag onto state-owned aquatic lands. This
 2          report dealt with the transaction history of state-owned aquatic lands located on the site,
 3          and the history of slag disposal.
 4                  q.     Draft Report: East Waterway—Everett: June 27, 2013. East Waterway -
 5          Everett is located in Port Gardner. This report was prepared as part of negotiations with
 6          the Department of Ecology regarding contaminated sediments. This report dealt with
 7          history of the federal shipyard abutting the waterway, as well as the development of the
 8          federal channel that led to the Snohomish River across extensive tidelands.
 9          8.      For the State of Washington, records located at NARA-Seattle are necessary to
10   determine ownership and boundaries of current or former federal lands and facilities located
11   adjacent to or upon state-owned aquatic lands, as well as those lands that have been sold by the
12   United States. I am personally familiar with records relating to the disposal and management of
13   federal lands located at NARA-Seattle. Those records are included in the files and documents of
14   the Bureau of Land Management record group (RG49) which contain federal disposal records
15   under the donation land act, the homestead acts, the mining acts and the Indian homestead acts;
16   the Bureau of Yards and Docks record group (RG71) real property files relating to federal
17   defense projects, many of which were located on or adjacent to state-owned aquatic lands; and
18   the War Assets Administration record group (RG270), which contain files relating to the disposal
19   of federal lands and other property located at ports of embarkation, federal shipyards (such as
20   Todd and Lockheed shipyards in Seattle), air stations, and other property (such as floating dry
21   docks) which are surplus to needs of the federal government. Other records related to state land
22   ownership located at NARA-Seattle would include the Forest Service record group (RG95), the
23   National Park Service record group (RG79), the Public Buildings Service record group (RG121),
24   and the General Services Administration record group (RG269).
25          9.      Files located at NARA-Seattle also need to be accessed by the State of
26   Washington DNR in order to investigate federal activity affecting ownership and title to

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 1   submerged lands owned by the State of Washington. These include records of federal shipyards,
 2   waterways, forts, military bases, Indian reservations, and lighthouse reserves—especially those
 3   that have been abandoned. They also include civil works project records of the Corps of
 4   Engineers (RG77), including documents and files of the Corps’ North Pacific Division and its
 5   Portland, Seattle, and Walla Walla District Offices relating to the construction and maintenance
 6   of federal dams (such as Chief Joseph, McNary, Snake River, and Bonneville) and federal
 7   waterways (such as Thea Foss and Whatcom Waterways); Bureau of Yards and Docks (RG71)
 8   real property files; and records of the War Assets Administration (RG270). Other records related
 9   to civil works located at NARA-Seattle would include the Records of Naval Districts and Shore
10   Establishments (RG181); the National Resources Planning Board (RG187) for the Bonneville,
11   Grand Coulee and Columbia Basin projects; the Federal Property Resources Service (RG291);
12   the General Services Administration (RG269); the U.S. Army Coast Artillery Districts and
13   Defenses (RG392); and records relating to the operation of these facilities in the General Records
14   of the Department of the Navy (RG80). All of these types of records are regularly used by the
15   State of Washington DNR to establish and protect the state’s ownership of submerged lands.
16          10.     Records located at NARA-Seattle are of particular importance to DNR in
17   conducting navigability research. The State of Washington (through DNR) and the United States
18   Army Corps of Engineers share responsibility for the navigable waters and state-owned aquatic
19   lands: DNR is the land manager and the Corps of Engineers is the regulatory authority. As such,
20   it is imperative that DNR have ready access to NARA-Seattle’s Corps of Engineers records
21   (RG77) relating to navigation, obstructions, permits, and civil works. This collection contains
22   documents and files of the Corps of Engineers’ North Pacific Division and its Portland, Seattle,
23   and Walla Walla District Offices. These records provide critical information for management of
24   submerged lands owned by the state including information related to the nature and extent of
25   federally authorized activities and improvements on those state-owned lands. Continuing access
26

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 1   to these records is necessary for the State of Washington to fulfill its share of the responsibilities
 2   for navigable waters along with the Corps of Engineers and the U.S. Coast Guard.
 3           11.     In addition, the State of Washington regularly uses the Forestry and Agricultural
 4   Development records located at NARA-Seattle, which are primarily found in the Forest Service
 5   (RG95) collection, for the development and use of forest resources. The State of Washington
 6   needs access to these records to assess federal forest practices impacts on state-owned aquatic
 7   lands, as well as other State Lands.
 8           12.     I have also conducted tribal research at NARA-Seattle to identify records related
 9   to treaty rights such as fishing and hunting, allotment of Indian reservations, diminishment of
10   Indian reservations, sale of “surplus” lands, Indian homesteads under the Indian Homestead
11   Acts, and agricultural development on those lands. Those records are included in the agency
12   records of the Bureau of Indian Affairs (RG 75), including the Colville, Taholah, Puyallup,
13   Tulalip, Puget Sound, Western Washington Agencies, and the Portland Area Office, which
14   contain files and documents relating to off-reservation occupation, agricultural use, and
15   irrigation development; the land offices of the Bureau of Land Management (RG49), including
16   those generated by the General Land Office and the Office of the Washington Surveyor, that
17   contains original tract and plat books and survey contract files that document the disposal of
18   federal lands for Indian purposes; the District Courts of the United States file (RG21); and Fish
19   and Wildlife Service records (RG22), which contain records relating to the region’s fishery
20   resources that contain stream survey records. DNR needs to access these records in order to
21   resolve conflicts among the United States, the various Indian Tribes, and the State of
22   Washington.
23           13.     While working for DNR, I visited the NARA-Seattle facility to conduct research
24   approximately once or twice a year for a several weeks at a time. The vast majority of NARA-
25   Seattle’s records are un-digitized, and many are the only copies of that document. There is a vast
26   amount of local federal agency and field office records that need to be accessed for future

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 l   ownership, land use, natural resource conservation, and federal facility operations. This is
 2   especially important as it relates to the Corps of Engineers' management of navigable waters,
 3   the Bureau of Land Management's records related to the management and disposal of federal
 4   lands-including National Forests, National Parks, National Conservation Areas. If the NARA-
 5   Seattle facility were sold and its records moved out of the Pacific Northwest, the State of
 6   Washington would have to incur significant travel costs to access mission-critical records that
 7   used to be readily available, and the state programs discussed herein would undoubtedly suffer
 8   and be less effective in their missions if the records on which they rely could no longer be
 9   accessed here in Washington.
10

11   I declare under penalty of perjury that the foregoing is true and correct.
12

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     DATED this �day of          3JlN 1:-' �"'-";\   2�2Jat ___ _L_'1_M_f_,______
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       DECLARATION OF JOHN A. BOWER,                    11
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                                                                                  Complex Litigation Division
       JR.,PH.D.                                                                  800 5th A venue, Suite 2000
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                       UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHING TON

STATE OF WASHINGTON, et al.,                        NO.

                          Plaintiff,                DECLARATION OF BIF
                                                    BRIGMAN
       V.


RUSSELL VOUGHT, et al.,

                         Defendants,
       I, Bif Brigman, declare as follows:

       1.     I am a member of the Minidoka Pilgrimage Planning Committee and a Seattle-

area historian and genealogist. I am over the age of 18 and competent to testify. I make this

declaration based on my personal knowledge.

       2.     I have been a member of the Minidoka Pilgrimage Planning Committee for over

14 years. The Minidoka Pilgrimage Planning Committee is an all-volunteer run committee

based in Seattle, Washington. Its goal is to organize an annual trip to the former Minidoka

Relocation Center in Idaho, where Japanese Americans were incarcerated for nearly three years

during World War II. Today, the site continues to hold a mixture of memories colored by

feelings of denial, distrust, shame, and joy. The Pilgrimage, which is attended by former

incarcerees, their descendants, friends, and allies, offers an opportunity to revisit the sacred




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.,it and m m ri     amidst family, friends, supporters, and National Park Service officials. The

int nt i to honor the first generation of Japanese Americans who suffered most under

in titutionalized racist laws, to provide healing for their descendants, to deliver the message of

'Never Again Is Now," and to pass this legacy on to all Americans. The first Pilgrimage

occurred in 2003. In 2020, due to the COVID-19 pandemic, the Committee organized a Virtual

Pilgrimage offering online content and opportunities for community members to gather and

engage virtually, and is planning further online programming for 2021.

       3.      As a longtime Committee member, and as a local historian and genealogist, I

can attest to the preciousness and vital nature of the Sand Point National Archives and its staff

for our region. The connections made there, and the opportunities to share and transfer

knowledge preserved in the facility's records, is immense and cannot be replaced.

       Records of specific importance are those involving the Chinese Exclusion Act of 1882;

as well as the records on the forced removal of Washington residents of Japanese ancestry

during WWII 1941-1945 which include anti-Asian organizing by Washington state business

owners 1910-1950, records of the War Relocation Authority and documents relating to early

Japanese community, business and industry records including logging, railroad, hotels,

domestic and fishery, in addition to community organizations and history.

       Equally important are the records of mixed race couples prior to 1920 because

Washington state was one of the few states in the Nation without explicit anti-misogyni tic

laws which enabled marriages that were outlawed elsewhere. Other vital and irreplaceable

records held at Sand Point National Archives are immigration documents which include




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passen0 r manifi ts that often gi e the onl clue to towns and illag           ancestors originall

came from .

         Th     t majori   of all of these records have not been digitized and require access in

person for imrestigation and research.

         4.     I am gra el concerned by the efforts to sell the property and move the records

out of    ashington State and the Pacific Northwest This will destroy any opportunity for Jocal

elders, routh, and those who are economically disadvantaged or otherwise unable to travel to

connect with these records - and with their own personal histories reflected in those records.

         5.     The damage this will cause to the Chinese and Japanese American communities

in the Pacific Northwest cannot be overstated. Additionally, I believe promises were made

when the National Archives facility in Alaska was closed, for its records to remain in Seattle.

It is deeply flawed to move these records beyond reach for so many members of Indigenous

communities and People of Color who have deep personal and family connections to the

records, without having consulted these communities. I first learned of the proposed closing of

Sand Point in February of 2020 via news online and word of mouth. I never saw any official

communications or efforts of community engagement prior to announcement of intent to sell.

Because of the Regime occupying the White House in 2020, I saw 0 benefit of trying to engage

with the Federal government officials. I used my time and energy organizing Washington state

residents to stop this egregious act.

         6.    In my own genealogical and historical research, there have been times where I

have hit a dead end and was only able to find the records I needed with the help of the staff at

the Sand Point facility and access to the records there. I believe we have a responsibility to not




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 n1 save this resource for those currently Living and working in th.is area, but also for future

generations. Moving the Sand Point facility' s irreplaceable records to a different part of the

country will significantly impede th.is goal.

I declare under penalty of perjury that the foregoing is true and correct.



DATED this   :3[    day of   ife:C..~ ~~f:02.n at Se cJf~
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                            WESTERN DISTRICT OF WASHING TON
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     STA TE OF WASHING TON, et al.,                         NO.
 8
                               Plaintiff,                   DECLARATION OF DR.
 9                                                          ALLYSON BROOKS
            v.
10
     RUSSELL VOUGHT, et al.
11
                               Defendants.
12

13          I, Allyson Brooks, declare as follows:

14          1.      I am the State Historic Preservation Officer (SHPO) and the Director for the

15   Washington State Department of Archaeology and Historic Preservation (DAHP). l am over

16   the age of 18 and competent to testify. I make this declaration based on my personal knowledge

17   and my expertise as an archaeologist and historic preservation professional.

18          2.        hold a doctorate in anthropology (archaeology), a Master's of Public

19   Administration, and a M.SC in historical archaeology.        I have been the State Historic

20   Preservation Officer (SHPO) for Washington since 1999. Prior to being the SHPO I worked

21   for the Minnesota Department of Transportation, the South Dakota historic preservation office

22   and the United States Forest Service. I am currently on the Executive Board of Preservation

23   Action and served multiple terms on the board of the National Conference of State Historic

24   Preservation Officers. I served one term on the National Park Service's National Historic

25   Landmarks committee as the SHPO representative. I have received multiple honors for my

26   work with the Pacific NW tribes.



       DECLARATION OF ALLYSON                                          ATTORNEY GENERAL OF WASHING TON
                                                                             Complex Litigation Division
       BROOKS                                                                800 5th Avenue, Suite 2000
                                                                              Seattle, WA 98104-3 188
                                                                                   (206) 464-7744




                                                                                                           046
            3.      As the State Historic Preservation Officer I manage all aspects of the national

 2   historic preservation program in the State of Washington including listings to the National

 3   Register of Historic Places and overseeing the Federal historic tax credit rehabilitation

 4   program. The latter is a historic conservation program established under Federal law and

 5   implemented at the state and local level.

 6          4.      The National Archives in Seattle are used in connection with multiple Federal

 7   preservation/conservation programs, including developing nominations to the National

 8   Register of Historic Places program (54 USC Ch . 3021 ), the Federal Historic Tax Credits

 9   program (26 USC Sec. 47) and the Certified Local Government (CLG) program (54 USC Ch.

10   3025), as described below.

11          5.      The National Register program eligibility determination involves a detailed

12   examination of a nominated property's age, significance, and integrity.          Nominations for

13   inclusion on the National Register must document the history of the property in detail as proof

14   of its national, state or local significance. There must also be analysis of the historic integrity

15   of the property. The National Archives is a critical repository of primary source information

16   and maps pertaining to properties in Washington, Alaska and the Pacific Northwest. The

17   National Archives are regularly used by researchers preparing nomination forms to the

18   National Register of Historic Places. In Washington State, nomination forms are submitted to

19   a state historic preservation review board (State Advisory Council) which reviews and

20   recommends nominations to the SHPO. After determining that nominations comply with

21   Federal standards and are properly documented, the SHPO submits nominations to the

22   National Park Service for final review and listing. Archival materials from the National

23   Archives are a critical primary source used in many National Register nominations and are

24   among the documentation relied on by the State Advisory Council and SHPO to recommend

25   and submit nominations to the National Park Service.

26



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             6.      The Historic Tax Credit program applies only to properties that are listed on the

 2   National Register.     The Federal Historic Tax Credit program promotes conservation of

 3   National Register listed properties using the tax credits as a means of promoting rehabilitation

 4   and therefore creating or continuing the economic viability of the historic building. The

 5   Internal Revenue Code requires that the "certified historic structures" eligible for credits must

 6   be either individually listed on the National Register or a significant contributing element to a

 7   listed historic district. As discussed above, the Archives are used for research needed to obtain

 8   National Register listing, the prerequisite for the tax credit that offsets rehabilitation costs. For

 9   instance, the National Archives in Seattle was used for research for the 2008-2009 National

10   Register historic district nomination prepared by Artifacts Consulting for the City of Seattle.

11   The placing of Magnuson Park on the National Register meant that some of the buildings in

12   the district have gone through the tax credit program turning these buildings from their original

13   uses to new uses such as affordable housing units. The listing plus the tax credits allowed the

14   buildings to be conserved for new uses as opposed to being demolished.

15           7.      The National Archives are also used by researchers m development of

16   rehabilitation plans required in order to obtain the tax credits. The Historic Tax Credit program,

17   which is administered by the National Park Service and Internal Revenue Service in

18   partnership with DAHP, requires a detailed architectural rehabilitation plan for the property.

19   This plan must be approved by both the state and the federal government. All work must

20   comply with Secretary of the Interior standards, to accurately conserve the contributing

21   elements and architectural integrity necessary to maintaining a property' s National Register

22   listing. The Archives contain records such as photographs, maps, drawings, contemporary

23   articles and accounts, surveys, and court records that contain historically accurate information

24   that can be, and routinely is, used to develop the rehabilitation/preservation plans used in the

25   Historic Tax Credit program.

26


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                                                                                      (206) 464-7744




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            8.      The Federal Certified Local Government program is a historic conservation

 2   program for the built environment authorized under the National Historic Preservation Act

 3   (NHPA).     Many local historic preservation programs across the state are designated as

 4   Certified Local Governments (CLGs) under the Federal program. CLGs are so designated by

 5   the National Park Service acting through DAHP, who makes a preliminary designation under

 6   authority of the National Historic Preservation Act. CLGs implement local preservation

 7   ordinances and confer landmark status on buildings based on the authority/stipulations

 8   provided them in these ordinances. Moving the National Archives would impede the ability

 9   of local and regional property owners to do research needed to establish local landmark status.

10   This includes archival materials on the history of the property such as Sanborn maps, historic

11   photographs and primary records.

12          9.      Moving the records from the Pacific Northwest, so they can no longer be

13   accessed by the public or tribal preservation programs, will impede the listing of properties on

14   the National Register of Historic Places. As the documents are not digitized, moving the

15   records to another state means that the public will need to have the economic means to travel

16   to obtain the needed records, maps and or other information to complete National Register and

17   local register nomination forms. The inability to access information crucial to the National

18   Register will have a cascading impact to the Federal Historic Tax Credit program that is

19   designed specifically to conserve the nation's most iconic and historic buildings. It will also

20   impact local property tax moratorium programs, many that are managed by Certified Local

21   Governments, that are focused on the conservation of locally designated historic structures

22   through local landmarking, property tax relief.

23          I declare under penalty of perjury that the foregoing is true and correct.

24   DATED this   '1   day of :)'Ml v0eif

25

26



       DECLARATION OF ALLYSON                           4               ATTORNEY G ENERAL OF WASHINGTON
                                                                             Complex Litigation Division
       BROOKS                                                                 800 5th Avenue, Suite 2000
                                                                               Seattle, WA 98104-3188
                                                                                    (206) 464-7744




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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                           NO.
 8
                                     Plaintiff,                DECLARATION OF CHARLES
 9                                                             MICHAEL BROWN
                 V.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants
12
            I, Charles Michael Brown, declare as follows:
13
            1.        I am over the age of 18 and competent to testify. I make this declaration based
14
     on my personal knowledge.
15
            2.        I have resided in Alaska for most of my life. In the early 1970s, I worked at the
16
     State of Alaska (Alaska Historical Commission and the Division of Parks). From 1976 to 2007
17
     I was employed by the U.S. Bureau of Land Management (BLM), Anchorage, Alaska, as a
18
     Historian and Navigable Waters Specialist. (I am now retired.)
19
            3.        Over the years, I have researched the Alaskan records of the Bureau of Sports
20
     Fisheries, Bureau of Public Roads (and Alaska Road Commission), Bureau of Land
21
     Management, Forest Service, Alaska Railroad and Alaska Engineering Commission, and
22
     Custom Service (microfilm publication).         I found the records of the old Alaska Road
23
     Commission (RG 30) especially valuable. Created in 1905, the Commission was responsible
24
     for building roads, trails, bridges, shelter cabins, and aviation fields in all Alaska, excepting
25
     the forest reserves. These unpublished records are an excellent source of information about
26


        DECLARATION OF CHARLES MICHAEL BROWN                             ATTORNEY GENERAL OF WASHINGTON
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                                                                                                            050
 1   various road and trail projects and economic developments in remote areas throughout the
 2   territory of Alaska, information that does not appear in the commission's annual reports. A
 3   commission representative usually visited the petitioners' mining camp or trading post and
 4   investigated whether the road or trail was really needed. The collection also includes hand­
 5   drawn maps, handwritten letters and telegrams from prospectors, miners, and traders who
 6   petitioned the commission to build a road or trail in remote areas. These documents are
 7   sometimes faded to the extent that they are hard to read on microfiche. They are best viewed
 8   in their original.
 9           4.      Early in my career as a historian with the State of Alaska, I prepared historical
10   reports on specific themes (e.g. lighthouses in Alaska) which were used to support nominations
11   to the National Register of Historic Places. In my career with the U.S. Bureau of Land
12   Management (BLM), my primary duty was to research and document the physical character
13   and historical uses of inland rivers, streams, and lakes in Alaska. Almost always, these reports
14   were based on primary documents, including archival documents, and oral sources. The BLM
15   relied upon the reports to determine whether the water bodies were navigable or not navigable;
16   in other words, whether the water bodies were ever used, or susceptible to use, as highways of
17   travel, trade, and commerce. In general, the beds of rivers, streams, and lakes are excluded
18   from land conveyances to the State of Alaska and Alaska Native corporations.
19           5.      From time to time, I also prepared similar reports for use in litigation involving
20   BLM's navigability determinations, potential RS 2477 trails and roads, Alaska's Wild and
21   Scenic Rivers, and in one case, the boundaries of an Alaska Native reserve. Since my
22   retirement, I have worked as a historian-contractor for the U.S. Department of Justice on in a
23   navigability case involving Mosquito Fork of the upper Fortymile River, a Wild & Scenic
24   River. Since, I have spent most of my time working on several historical research projects of
25   personal interest to me.
26


     DECLARATION OF CHARLES MICHAEL BROWN                                ATTORNEY GENERAL OF WASHINGTON
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                                                                                                          051
               6.      I first learned of the impending sale from a short article published in the
  2     Anchorage Daily News (local newspaper). I don't recall whether or not the article advised that
   3    that the public could review and comment on the proposed sale of the National Archives
  4     building in Seattle, Washington. The Alaska �istorical Society recently advised me that I
  5     could comment on the proposed sale.
  6            7.      Considering that the National Archives-Seattle and Washington, D.C. holds the
  7     bulk of the federal historical records created in the Alaska's territorial years (1912-1959), it is
  8     understandable why users of the records, including me, are frustrated over OMB's attempt to
  9     sell the National Archives building in Seattle and move Alaska's federal records once again.
10      The Alaska records have been moved at least twice-from Seattle to Anchorage, Alaska and
11      from Anchorage to Seattle. This latter move was a surprise because former Senator Ted
12      Stevens CR-Alaska) had worked hard to obtain funds for a federal archives building in
1�..,   Anchorage.
14             8.      Researching and writing the history of the Territory of Alaska is a monumental
15      undertaking. The task is made more difficult when these records are repeatedly scattered over
16      the United States, principally the National Archives in Washington, D.C., and the regional
17      National Archives-Seattle.     Fortunately, the National Archives-Seattle was and still is a
18      valuable resource for Alaskans historians and other researchers. Unfortunately, the Alaska
19      Digitization Project is not yet completed and so one cannot peruse most documents, like those
20      of the Alaska Road Commission.
21             9.      Since retirement I have researched and completed a history on travel and
22      transportation in the Upper Yukon country for the U.S. Justice Department for litigation
23      purposes. At issue was the navigability of the Mosquito Fork, a tributary of the Fortymile
24      River (a Wild and Scenic River). The Alaska Road Commission records were valuable in
25      determining this issue.
26


        DECLARATION OF CHARLES MICHAEL BROWN                                ATTORNEY GENERAL OF WASHINGTON
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                                                                                                               052
 1          10.     For the past two years, I have worked on a history of mining in the Fortymile
 2   country, 1900-1914. If these Alaska Road Commission records are moved from the State of
 3   Washington, I may have to wait another year or two before the records are again open to the
 4   public for research purposes. In addition, I would be faced with greater travel cost.
 5
 6   I declare under penalty of perjury that the foregoing is true and correct.
 7
 8
     DATED this    7 day of J&ntiu)            'Zt5Z/ at /};u/407aqe I             , 4/�r;Ja
                   day              month        year               city/                  state
 9

10
11                                                 [FULL NAME]

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       DECLARATION OF CHARLES MICHAEL BROWN                            ATTORNEY GENERAL OF WASHINGTON
                                                                            Complex Litigation Division
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                                                                              Seattle, WA 98104-3188
                                                        4                          (206) 464-7744


                                                                                                          053
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 5

 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                           NO.
 8
                                     Plaintiff,                DECLARATION OF BRIAN J.
 9                                                             CARTER
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants.
12

13          I, Brian J. Carter, declare as follows:

14          1.        I am the Executive Director of the Cultural Development Authority of King

15   County, also known as 4Culture. I am over the age of 18 and competent to testify. I make this

16   declaration based on my personal knowledge.

17          2.        Since 2018, I have served as Executive Director of 4Culture, where I lead a 30-

18   person team in funding, supporting, and advocating for culture in King County through a racial

19   equity lens. Prior to this role, I served as 4Culture’s Heritage Program Director, and

20   administered grant programs designed to recognize, preserve, and explore our communities’

21   shared heritage in King County. In both roles, I supported and worked alongside cultural

22   organizations, artists, historians, preservationists, and culture bearers whose craft, scholarship,

23   or cultural identity inspires their regular and necessary use of the National Archives of Seattle.

24          3.        Chartered by King County in 2002, pursuant to RCW 35.21.730 through

25   35.21.759 and King County Ordinance 14482, 4Culture is a public corporation with four

26   program areas: Arts, Heritage, Preservation, and Public Art. It advocates for culture, provides


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       DECLARATION OF BRIAN J. CARTER                    1                     (206) 464-7744


                                                                                                      054
 1   funding opportunities for King County arts and heritage organizations; manages public and
 2   private art projects; catalyzes and convenes the cultural community around specific issues and
 3   initiatives; and provides technical assistance resources. 4Culture serves over 500 cultural
 4   groups and organizations and many more hundreds of cultural workers whose expertise and
 5   endeavors publicly benefit communities in King County and enhance the quality of life for all
 6   residents and visitors to the region.
 7          4.      Many of the organizations and cultural workers 4Culture supports, especially
 8   within its Heritage and Historic Preservation programs, use records held at the National
 9   Archives at Seattle, as their research or work connects directly to federal preservation and
10   conservation programs the records for which are maintained there. For example, ongoing
11   preservation efforts in the Seattle area take place in two National Register listed districts that
12   are also formerly federally-owned military bases that later transferred to the City of Seattle for
13   park use. These unique places include Fort Lawton/Discovery Park and the Sand Point Naval
14   Air Station Historic District. The Sand Point Naval Air Station Historic District includes
15   multiple cultural organizations and recreational uses. The Sand Point Naval Air Station
16   Historic District also includes a recent project that benefitted from Federal Historic Tax
17   Credits: the rehabilitation of former Navy barracks to serve as affordable housing at Mercy
18   Magnuson Place. Over the years, 4Culture has funded rehabilitation, programs, and
19   interpretation at these sites, as well as other landmarks, and a throughline is their reliance on
20   the National Archives for rare and mostly undigitized records of their genesis. In addition, the
21   local historic preservation programs are Certified Local Governments (CLGs) under federal
22   historic preservation programs, binding these local historic preservation programs and their
23   practices to the National Park Service and national preservation standards. One such recent
24   local landmark nomination connecting to the National Archives is the Fircrest Chapel
25   (formerly Naval Hospital Chapel) in Shoreline.
26


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                                                                           Complex Litigation Division
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                                                                                                   055
 1          5.      Because 4Culture is chartered to support the cultural work that makes King
 2   County vibrant, it seeks to protect the repositories from which artists, historians, and
 3   preservationists learn and make meaning of our past in the present. Tribes, community-based
 4   organizations, historians, and people throughout the Pacific Northwest stand to lose access to
 5   their history, and by extension themselves. I understand from newspaper reports
 6   (https://www.seattletimes.com/seattle-news/6-months-later-as-national-archives-closure-still-
 7   set-for-seattle-a-lament-were-pretty-small-fry/ ) that “nearly 1 million boxes of documents will
 8   at some point head from Seattle to Riverside, California, and Kansas City, Missouri.” Clearly,
 9   closing the National Archives in Seattle will make it exceedingly more difficult for King
10   County’s artists, historians, preservationists and cultural organizations to maintain their
11   connection to King County’s rich cultural heritage. As the largest public cultural funding
12   agency in the State with a stated commitment to racial equity, we oppose this move toward
13   cultural erasure, especially for communities whose histories are the most suppressed and least
14   documented and interpreted.
15          6.      Like everyone else in the cultural sector, 4Culture first learned of the impending
16   sale of the National Archives when it was announced in January 2020 and quickly picked up
17   by local media. The National Archives and Records Administration did not contact 4Culture
18   for input or provide 4Culture with the opportunity to alert the cultural community. Had
19   4Culture had the opportunity to comment or to advocate for wider public input, we would have
20   done so.
21          7.      Culture in King County will suffer if the records housed at the National
22   Archives facility are moved out of the region. Losing access to the millions of unique,
23   irreplaceable, and undigitized materials will curb the cultural and educational work that
24   organizations and researchers do unless they have extensive financial resources, resulting in
25   deeper inequities and cultural loss. Digitization is a slow and expensive process; it will take
26   years if not decades to complete it for the Archives, even if it were funded. Should the


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                                                                                                  056
 1   collection go to California or Kansas, the distance will exacerbate racial inequity. Only people
 2   with the resources for travel and lodging will be able to access it. This will limit the
 3   perspectives of those who explore and interpret our nation’s material history and the histories
 4   that are ultimately elevated and shared.
 5   I declare under penalty of perjury that the foregoing is true and correct.
 6
     DATED this 30th day of December 2020, at Seattle, Washington.
 7

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12                                                 BRIAN J. CARTER

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                                                                      ATTORNEY GENERAL OF WASHINGTON
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                                                                             Seattle, WA 98104-3188
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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                            NO.
 8
                                       Plaintiff,               DECLARATION OF ROSS
 9                                                              ALLEN COEN
                    v.
10
        RUSSELL VOUGHT, et al.,
11
                                       Defendants,
12
               I, Ross Allen Coen, declare as follows:
13
               1.        I am a professional historian and editor of Alaska History, the peer-reviewed
14
     journal of the Alaska Historical Society. I am over the age of 18 and competent to testify. I
15
     make this declaration based on my personal knowledge.
16
               2.        I have been a Ph.D. student in History at the University of Washington since
17
     2012, and I have taught history classes and delivered lectures at a number of institutions in the
18
     Pacific Northwest. I am the author of three books and dozens of articles on the history of the
19
     Pacific Northwest. Topics include Volunteer Park, the Alaska-Yukon-Pacific Exposition of
20
     1909, Washington State salmon canneries, and the Japanese balloon bomb attack of World
21
     War II.
22
               3.        In researching and writing the publications listed above, I examined many
23
     federal records housed at the National Archives and Records Administration in Seattle. These
24
     records are not digitized and are available only by viewing them in person at the NARA
25
     facility. To cite one important example, in doing research for my book, Fu-Go: The Curious
26




       DECLARATION OF ROSS ALLEN                           1            ERROR! AUTOTEXT ENTRY NOT DEFINED.
       COEN

                                                                                                   058
 1
     History ofJapan's Balloon Bomb Attack on America, I examined U.S. Forest Service records
 2
     regarding the deaths of six people on National Forest lands in southern Oregon from an
 3
     explosion caused by one of the downed Japanese balloon bombs. These rare, original records,
 4
     which included affidavits and eyewitness reports, were available in no other repository, and
 5
     without the services of NARA-Seattle I would have been unable to tell the story.
 6
            4.      Any transfer of records from the Seattle facility out of the area will negatively
 7
     affect my work as a historian. I am presently researching and writing a book about salmon
 8
     fisheries in the Pacific Northwest in the late 19th and early 20th centuries. My work depends
 9
     on the accessibility of related federal records. For this reason, and for the sake of historical
10
     scholarship in general, I object to the proposed transfer of records.
11

12
     I declare under penalty of perjury that the foregoing is true and correct.
13

14   DATED this 31st day of December, 2020 at Edmonds, Washington.
15

16

17
                                                   Ross Allen Coen
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       DECLARATION OF ROSS ALLEN                        2              ERROR! AUTOTEXT ENTRY NOT DEFINED.
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 6                              UNITED ST ATES DISTRICT COURT
                               WESTERN DISTRICT OF WASIDNGTON
 7
         STATE OF WASHINGTO , etal.,                          NO.
 8
                                      Plaintiff,              DECLARATION OF ANNE-
 9                                                            MARIE DEITERING
                  V.
10
         RUSSELL VOUGHT, et al.,
11
                                      Defendants
12
             I, Anne-Marie Deitering, declare as follows :
13
             I.        I am the Interim Donald and Delpha Campbell University Librarian at Oregon
14
     State University (''the University"). I am over the age of 18 and competent to testify. I make
15
     this declaration based on my personal knowledge and my expertise as a professional librarian
16
     and historian.
17
            2.         I have served the University since 2003, most recently as Associate University
18
     Librarian for Learning Services and previously as Head of the library ' s Teaching and
19
     Engagement Department. I hold the Franklin A. McEdward Professorship for Undergraduate
20
     Learning Initiatives.     I earned a Master of Library Science degree from Emporia State
21
     University and a Master of Arts in History from Syracuse University, as well as a Bachelor of
22
     Arts in History from the University of Pennsylvania. I was honored as the Librarian of the Year
23
     by the Oregon Library Association (2011 ). I have been a member of the OSU library faculty
24
     since 2006, when I was appointed as Undergraduate Services librarian. I was awarded tenure
25
     in 2011, and promoted to full Professor in 2018. I am a past President of the Oregon chapter
26



       DECLARATION OF ANNE-MARIE                                           AITORNEY GENERAL OF OREGON
                                                                              Oregon Department of Jlmice
       DEITER.ING                                                                  1162 Court I NE
                                                                                   Salem, OR 97301
                                                                                     503-378-6002

                                                                                                            060
 1   of the Association of College and Research Libraries, and currently serve on the faculty of the

 2   Association of College and Research Libraries' Immersion program.

 3            3.       Archivists identify the essential records of a society, supporting and

 4   strengthening collective memory. By organizing, protecting and preserving these records,

 5   archivists protect the rights of citizens to: analyze and interpret past events; protect their

 6   property and identity, and hold government and organizations accountable. University faculty

 7   researchers in the liberal arts fields of history and anthropology have relied on the Seattle

 8   NARA facility for over 30 years. For example, the Seattle NARA facility served as a critical

 9   resource, providing a rich trove of sources, for the writing of American Forestry, A History of

10   National, State, and Private Cooperation (1985), a work focused on federal fire policy and

11   relations between federal agencies, state governments, and private corporations in the Pacific

12   Northwest. Among the many archives, both national and regional, providing primary sources

13   materials, the Seattle Branch was the equal of holders of regional materials for the Southwest

14   Region in Atlanta, the Rocky Mountain Region in Denver, and the forestry related materials

15   in the Pacific Region offices, then in San Bruno, California.

16            4.       Some of the records housed at the National Archives at Seattle are of particular

17   interest because the University is a land grant institution; particularly the Bureau of Indian

18   Affairs and Bureau of Land Management records. Other records housed at the National

19   Archives at Seattle are also relied on for University research, such as the Chinese Exclusion

20   Act files. Because the National Archives at Seattle houses immigration records, the

21   information was integral to the dissertation of Anthropology PhD candidate Maryanne F.

22   Maddoux, who described how the National Archives' immigration information reveals

23   migration patterns and culture, and "is seldom found elsewhere." 1 As a land grant institution,
24
              1 https://ir.library.oregonstate.edu/concem/graduate_thesis_or_ dissertations/h 128nk736: An Abstract of
25
     the Dissertation of Maryanne Maddoux for the degree of Doctor of Philosophy in Applied Anthropology
     presented on May 6, 2019. Title: At River's Edge: An examination of Overseas Chinese Settlements in Northern
26
     Oregon During the Exclusion Act Era.



       DECLARATION OF ANNE-MARIE                                 2                    ATTORNEY GENERAL OF OREGON
       DEITERING                                                                         Oregon Depm1ment of Justice
                                                                                              1162 Court St NE
                                                                                              Salem, OR 97301
                                                                                                503-378-6002
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 1   Oregon State University researchers work closely with several government agencies, including

 2   those that regulate and protect natural resources and federal lands. Some OSU researchers

 3   participate in agency research, others examine and evaluate the impact of agency decisions.

 4   The historical records from these agencies help make this work possible. As a result of its

 5   relative proximity to the University's campuses in Oregon, countless numbers of University

 6   graduate students with very little travel funds have made important use of the Seattle archives

 7   over the decades.

 8           5.      In February 2020, the prior University librarian, Faye A. Chadwell, co-authored

 9   a detailed letter with the head librarians of the University of Washington, Washington State

10   University, the University of Alaska at both Anchorage and Fairbanks, and the University of

11   Oregon to urge Acting Director Vought to reconsider the decision to sell the facility . The

12   University librarian did not receive a response.

13           6.      University student and faculty research and scholarship will be harmed by this

14   closure. As a public university, access to archives in person is essential to the University's

15   ability to educate scholars and the public, as well as the University's mission to preserve and

16   enhance knowledge. Digital representations, however, cannot always replace the importance

17   of the original documents. Some documents are important primarily for their informational

18   value, whereas others have value as artifacts which cannot be reproduced. Moreover,

19   physically handling records and being able to understand each document in connection with

20   other related documents can lead to key research breakthroughs and historical understanding.

21   We are further concerned that Pacific Northwest communities losing proximity to their records

22   will be further distanced from their histories.
23          7.      University faculty describe the Seattle NARA archivists as exemplary, with the

24   necessary in-depth knowledge of the collections. The demonstrated knowledge of the

25   archivists has proven essential time and again to assist University researchers efficiently and

26   effectively in navigating the collections, in particular to review and recover missing parts of



       DECLARATION OF ANNE-MARIE                        3                ATIORNEY GENERAL OF OREGON
                                                                            Oregon Department of Jurtioe
       DEITERING                                                                 1162 Cotrt St NE
                                                                                 Salem, OR 97301
                                                                                  503-378-6002

                                                                                                           062
 1   our region's tribal histories from the 19th and 20th centuries. The archivists' deep familiarity

 2   with the facility helps researchers understand how the archives are structured, which helps with

 3   advance preparation to optimize time to review the collection at the Seattle facility. Based on

 4   University faculty experiences at the Seattle NARA facility, there is a common sentiment that

 5   the value of the Seattle facility would best be measured by the importance of regional access

 6   to the comprehensive collection of records when needed, and the importance of the

 7   knowledgeable archivists with deep familiarity of the structure and content of the collections

 8   to facilitate review and engagement. This is in contrast to the measurement of the amount of

 9   time that researchers spend at the facility itself. Relocating the facility will disrupt these

10   essential values of the Seattle NARA facility and further challenge the cost-effective access to

11   these public records which are so important for understanding and communicating Pacific

12   Northwest history.
13

14   I declare under penalty of perjury that the foregoing is true and correct.
15

16
     DATED this 5th day of January, 2021 at       ~Orl.VA-UAS            , Oregon.
                   day      month       year        city                   state
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       DECLARATION OF ANNE-MARIE                           4               AITORNEY GENERAL OF OREGON
                                                                              Oregon Dcpartmeot of Justice
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                                                                                   Salem, OR 97301
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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                          NO.
 8
                                     Plaintiff,               DECLARATION OF ROBERT DE
 9                                                            LOS ANGELES
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants
12
            I, Robert de los Angeles, declare as follows:
13
            1.        I have personal knowledge of the facts set forth in this declaration. I am over
14
     the age of 18 and competent to testify.
15
            2.        I am a member of the Snoqualmie Indian Tribe and have served as the duly-
16
     elected Chairman of the Snoqualmie Tribal Council since 2017. As Chairman, I am responsible
17
     for presiding over meetings of the Tribal Council and the General Council, representing the
18
     Tribe at official functions, and signing official contracts and other instruments of the Tribe
19
     after they are approved by the Tribal Council. Prior to serving as Chairman, I served on the
20
     Tribal Council.
21
            3.        The Snoqualmie Indian Tribe is a federally-recognized sovereign Indian tribe
22
     and signatory to the Treaty of Point Elliott of 1855 with reserved Treaty rights.
23
            4.        The Tribe's governmental offices are located at 9571 Ethan Wade Way SE,
24
     Snoqualmie, WA 98065. The Tribe operates pursuant to its Constitution as amended on June
25

26



       DECLARATION OF ROBERT DE LOS                      1              ATIORNEY GENERAL OF WASHINGTON
                                                                              Complex Litigation Division
       ANGELES                                                                800 5th Avenue, Suite 2000
                                                                               Seattle, WA98104-3l88
                                                                                    (206) 464-n44


                                                                                                            064
 1   24, 2006. The Snoqualmie Indian Reservation is located on lands held in trust by the United
 2   States on behalf of the Tribe.
 3           5.     In early 2020, I and the rest of the Snoqualmie Tribal Council learned of the
 4   proposal to close the Seattle National Archives and relocate the facility outside of the Pacific
 5   Northwest. The Tribe was not notified or consulted by any Federal agency or official prior to
 6   the public announcement of the sale of the facility.
 7           6.     The National Archives at Seattle houses a significant body of records relating
 8   to the Snoqualmie Indian Tribe. The facility contains countless irreplaceable documents that
 9   are of critical importance to the Tribe and expert historians that are retained by the Tribe to
10   assist with historical research. For example, the Archives contain a wealth of historical
11   information about the Snoqualmie people, including but not limited to records from the Tulalip
12   Agency (1861-1950), the Western Washington Agency of the Bureau of Indian Affairs (1950-

13   1975), and the Portland Area Office (1931-1970). The Archives also house drafts of Tribal
14   Treaties that are relevant to Snoqualmie.
15           7.     Snoqualmie regularly relies on the documents within the Archives for
16   enrollment purposes, to support certain legal endeavors (including ongoing litigation), and in
17   the Tribe's continuing effort to document its ethnohistory.
18           8.     Further, the majority of the Tribal records housed at the Seattle National
19   Archives are not digitized or otherwise available to be discovered or identified without in-
20   person research. Relocating the contents of the Archives facility from Seattle would create a
21   substantial barrier to accessing these important records.
22           9.      Closure and relocation of the Seattle National Archives would pose significant
23   challenges to Snoqualmie's ability to access critically important records, which would have a
24   profoundly negative impact on the Tribe. These records are our history, and they belong here
25   in Seattle.
26


       DECLARATION OF ROBERT DE LOS                     2               ATTORNEY GENERAL OF WASHINGTON
                                                                             Complex Litigation Division
       ANGELES                                                                800 5th Avenue, Suite 2000
                                                                               Seattle, WA 98104-3188
                                                                                    (206) 464-7744

                                                                                                           065
             I declare W1der penalty of perjury under the laws of the U nited States that the foregoing

 2   is true and correct.

 3
                                                 Snoqualmie
     DATED thi s _ 4th day of January, 2021 at _ __  _ _ _ _ _ _, Washington.
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 7                                                  ROBERT DE LOS ANGELES

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       DEC LARATION OF ROBERT DE LOS                     3               ATTORNEY GENERAL OF WASHINGTON
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       ANGELES                                                                 800 5th Avenue, Suite 2000
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                                    UNITED STATES DISTRICT COURT
 7                                 WESTERN DISTRICT OF WASHINGTON

 8        STATE OF WASHINGTON, et al.,                             NO.
 9                                        Plaintiff,               DECLARATION OF RHONDA J.
                                                                   FARRAR
10                    V.

11        RUSSELL VOUGHT, et al.,

12                                        Defendants

13            I, Rhonda J. Farrar, declare as follows:

14               1.        I am over the age of 18 and competent to testify. I make this declaration based

15    on my personal knowledge.

16            2.           I am a retiree and active as a volunteer in our community. I am an enrolled

17    Tlingit tribal member, and daughter of a Chinese immigrant mother, whose name I found on a

18    landed Seattle ship's log from 1923. She was only 5 years old when she and my grandmother

19    arrived.

20            3.           Upon retirement in 2013 from UFCW 21, I began my search for my family

21    historical records. My father was Tlingit and Chinese, and met and married my mother,

22    Chinese, in Seattle where we lived. My father, 2, had been removed from Alaska along with

23    his sister, 4, after their Tlingit mother died. All my life I was led to believe I was fully Chinese.

24    My father died fishing in 1965. I was 14. While in mourning, we were visited by some women

25    from Alaska, but the full story was never shared with me. My mother kept secrets about her

26

     DECLARATION OF RHONDA J.                                     ATTORNEY GENERAL OF WASHINGTON
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                                                                          800 5th A venue, Suite 2000
                                                                           Seattle, WA 98104-3 I 88
                                                                                (206) 464-7744



                                                                                                              067
 1    family too. Only after her death, out of courtesy to her, did I start a serious search. Starting at

 2    Seattle Public library, I was directed to the National Archives at Seattle.

 3            4.      At the National Archives, I searched through decades of enrollment logs for the

 4    Chemawa Indian Boarding School in Oregon. My father said he spent years at a boarding

 5    school out of state. Painstaking search came up with nothing. Staff and volunteers assisted, but

 6    found nothing. My focused attention caused the staff to ask me to become a volunteer with the

 7    Chinese Exclusion Act (CEA) files, given my ancestry.

 8            5.      I began volunteering at the National Archives in June 2014. During my twice
 9    weekly 5hr. volunteer sessions we record data from each Chinese file. I came to understand

10    the hardships, cruelty, love stories, not only taking place in the U.S., but read about how life

11    was in China, and other parts of the world during tumultuous times. This is all important as

12    our shared history. Endearing photographs, ornate marriage certificates, beautifully written

13    Chinese letters, interrogation transcripts, sketches of houses and villages, passports, affidavits,

14    business inventories, price lists in menus, pamphlets of schools, report cards, enlistment,

15    employment, and incarceration records ...... priceless artifacts of the past.
16            6.      Papers so old, they are delicately lifted, edges straightened, or duplicated if the

17    faded worn piece isn't deemed likely to withstand more time shut away in its' folder, assigned

18    a number, category, a box, a shelf, in a cold dark atmospherically controlled room where it

19    may remain for more decades. With reverence and forlomment the thought I may be the last

20    to see the photos, the handwriting, read the story of that individual in that moment in time. But

21    I hope someone studying history, a family member searching to fill in the blanks sees that

22    every story is important and come upon clues that lead us to another path of discovery. If the

23    records move further away from those most likely to need them, this is contrary to the mission

24    statement of accessibility.

25            7.      Such a percentage of CEA files have names recorded incorrectly by U.S.

26    Immigration. Phonetically they tried, but many had multiple names as well due to marriage,

     DECLARATION OF RHONDA J.                    2              ATTORNEY GENERAL OF WASHINGTON
     FARRAR                                                              Complex Litigation Division
                                                                         800 5th A venue, Suite 2000
                                                                          Seattle, WA 98104-3188
                                                                               (206) 464-7744


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 1    aliases, childhood names, or other social norms. Impossible to locate without multiple

 2    searches. Take my own father's files. In 2015, no records had been found. But assigned a box,

 3    my job was just to enter names from each file onto the database we are compiling. The last file

 4    seemed like a twisted up version of my father's name. I opened the file and looked. Tears came,

 5    for I was staring into my father's face. He was 23, about to go volunteer in China with the

 6    Chinese Air Force, and become a mechanic for the Flying Tigers. This was 2015, just before

 7    Father's Day, 100 years since his birth, and 50 years since he had died. No one was able to link

 8    this file to my father;s known name. My discovery has been written about, and rve been asked

 9    to recount the story many times. (See Seattle Times, 12/15/2018, and video, "We've got to

10    learn from that", by Daniel Beekman)

11            8.     The Tlingit tribal enrollment records from Alaska are formatted for some of the

12    years when the Alaska Native Claims Act came into being. My Aunt's 1967 enrollment

13    application is there at the Archives, along with a copy of her birth certificate and family tree

14    dating back to my great-great grandparents. Their Tlingit names and clans are also included.

15    The Seattle Times happened to be there to capture the moment of discovery. (NW section,

16    1/26/2020, "History Relocated", by Erik Lacitis)
17            9.     I was shocked when I learned the Federal Government had made plans to sell

18    the Archives building. No warning, no chance to give our input before the decision was made.

19    I sent emails to Gov. Jay Inslee, local tribal leaders, Senators John McCoy and Lisa

20    Murkowski, Rep. Adam Smith and Pramila Jayapal, educators in Washington and Alaska. I

21    spoke to reporters, reached out to my Tlingit community, friends, and Labor contacts I've

22    maintained since retiring from UFCW21 in 2013. On 1/28/2020 I submitted and received a

23    reply from emailago2@atg.wa.gov to the Government Compliance and Enforcement office in

24    Washington State, and continue receiving updates. On 2/11/2020 a number of us rallied at the

25    Archives entrance, also covered by news organizations during a closed meeting held with a

26    select number of Tribal representatives and Archive, and PBRB officials.

     DECLARATION OF RHONDA J.                  3              ATTORNEY GENERAL OF WASHINGTON
     FARRAR                                                        Complex Litigation Division
                                                                    800 5th A venue, Suite 2000
                                                                     Seattle, WA 98104-3 I 88
                                                                          (206) 464-7744


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 1               10.      My father's file discovered in 2015 in Seattle identified a companion file with

 2    additional information and possible birth record in California. I had a specific file#, so emailed

 3    a request for a search. Nothing found. But weeks later, an email message about a find! An

 4    archivist "on a hunch", had continued with a physical search for the misplaced file. Only due

 5    to his diligence, I was able to order certified copies of the birth certificate 1915, Killisnoo,

 6    Alaska. I had copies of the complete file mailed to me. My daughter and I were finally able to

 7    complete our application for the Tlingit/Haida Council in Juneau for a panel review and

 8    approval as enrolled Tlingfr Tribal members! Yet another instance where ordering by a name

 9    or even an identifying number did not come up with a find. It takes too often many months,

10    years of research, and pure luck to get to a find. Never could I have afforded the time and

11    expense to spend in a distant city. I want many more years to research and find links, and help

12    complete the cataloging of CEA files, as I turn 70 in February. As long as I'm able, I owe a

13    debt of gratitude to the National Archives for opening the door to my family history. Help us

14    keep our Seattle National Archives local so we can continue our work. The Seattle facility is

15    alive with knowledge and artifacts. We are lost without our history.
16               11.      Only a very small percent of Archival records are digitized. One CEA volunteer

17    has been at it for 20 years, just to methodically get the file names online so that others may be

18    able to locate important records. We have a dedicated 7 person volunteer group who read each

19    file, select identifying data which is entered into the database. It requires so many hours of

20    meticulous tedious sorting to prepare records to be scanned. As constant as the work continues,

21    it is doubtful even the CEA records, only a small portion of the types of documents housed in

22    Seattle, will be finished in my lifetime. That's with a crew of volunteers. Due to the nature -

23    size - condition of items, they cannot all be turned into digital form. The unique tangible

24    original documents carry so much value.
25               12.      I know my Tribal Relations, Haa Shuka, and Haa Shag6on remain alive within

26    these records. Intangibles cannot transfer to exist in a reprint. There is real value, richness in
     DECLARATION OF RHONDA J.                      4             ATTORNEY GENERAL OF WASHINGTON
     FARRAR                                                              Complex Litigation Division
                                                                         800 5th A venue, Suite 2000
                                                                          Seattle, WA 98104-3 I 88
                                                                               (206) 464-7744
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                                                                                                            070
            1    the touch, seeing, smelling, and hearing. Original Tribal records and treaties need to be

            2    available as tribes continue to try and attain sovereignty. Words and nuances can be left out,

            3    changed, or lost in transfer. I cannot imagine the Boldt Fishing Rights decision playing out

            4    without our history to provide evidence.

            5            13.      Research is required with any excavation, building, sale, to proceed by review

            6    of geologic, historic, environmental, and legal concerns. Our recent celebration of the

            7    Chittendon Locks, bridge structure, waterways and use of our Port system all started with local

            8    research.

            9            14.      A climber of Mt. Rainier 40 years ago visited one day while I was volunteering

           10    at the National Archives. She wanted a look at and copy of the signed log page of all the

           11    climbers who reached the summit on the same day she had. We were awestruck and elated

           12    with her find. She got her picture taken beside the log book. We were honored to witness her

           13    recollections of her climb, the beauty the summit had rewarded her with. It was there in her

           14    eyes and in her words.
           15            15.      As our history moves forward, we gain knowledge and compile more evidence

           16    of our lives. Do not remove the records from our reach - to be divided and kept further away

           17    from the very researchers, scientists, educators, Tribes, legal scholars, engineers, students, and

           18    everyday people needing to confirm evidence of our existence. We learn from the richness of

           19    our growth as well as the follies of our choices. We need to support a decision with a better

           20    answer than removal of our roots from under us.

           21    I declare under penalty of perjury that the foregoing is true and correct.
           22
                 DATED this 1 day of January, 2021 at Kent, Washington.
           23

           24

           25

           26
                DECLARATION OF RHONDA J.                    5             ATI'ORNEY GENERAL OF WASHINGTON
                FARRAR                                                            Complex Litigation Division
                                                                                  800 5th Avenue, Suite 2000
                                                                                   Seattle, WA 98104-3 I 88
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     6                              UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
     7
             STATE OF WASHINGTON, et al.,                          NO.
     8
                                          Plaintiff,               DECLARATION OF ANDREW H.
     9                                                             FISHER, PH.D.
                      v.
10
             RUSSELLVOUGHT, et al.,
11
                                          Defendants
12
                 I, Dr. Andrew H. Fisher, declare as follows:
13
                 1.        I am an Associate Professor of History at the College of William & Mary in
14
         Williamsburg, Virginia. I am over the age of 18 and competent to testify. I make this
15
         declaration based on my personal knowledge and my expertise as a professional historian.
16
                 2.        I earned my B.A. (1988) in History from the University of Oregon and my Ph.D.
17
         (2003) in History from Arizona State University, which has a graduate program specializing
18
         in Native American history and the American West. My training there emphasized engagement
19
         with descendant communities and ethnohistorical methodology, broadly meaning the
20
         integration of critical theory, ethnographic study, oral history, and archival research to analyze
21
         Native American history from a more holistic perspective than that offered by conventional
22
         sources and methods. Currently, I am an associate professor of History at the College of
23
         William & Mary in Williamsburg, Virginia, where I teach undergraduate and graduate courses
24
         in American Indian history, U.S. history, environmental history, and the history of the
25
         American West. My instructional and service responsibilities within the History Department
26




          DECLARATION OF ANDREW H.                                         ERROR! AUTOTEXT ENTRY NOT DEFINED.
          FISHER

                                                                                                                072
     1    include the supervision of graduate and undergraduate theses on topics in American Indian

     2    history, American Studies, and modem U.S. history. I also sit on the Executive Committee of

     3    the Environmental Science and Policy program, which I directed from 2012 to 2018, and on

     4    the Advisory Committee for the Native Studies Minor. Since graduate school, my research and

     5    scholarship have focused on the Indigenous peoples of the Pacific Northwest, and especially

     6    on the history of the Yakama Nation. I now have close to 25 years of experience in the archives

     7   and in the field. I have published more than 15 peer-reviewed articles on Mid-Columbia Indian

     8   history and other topics in Native American history and the history of the Pacific Northwest. I

 9       have also published a book, Shadow Tribe: The Making of Columbia River Indian Identity

10       (University of Washington Press, 2010), which won the Robert G. Athearn Prize from the

11       Western History Association for the best book on the 20th-century American West. Several of

12       my articles have also won awards from journals and professional associations, and I have

13       received research fellowships or grants from the American Philosophical Society, the Autry

14       Museum of the American West, the Charles Redd Center for the Study of the American West,

15       and the Center for Columbia River History.
16               3.     Historians rely on archives for the raw material of history. The documents held

17       in the Federal Archives and Records Center at Sand Point, and the knowledgeable archivists

18       who work there, enable scholars and other researchers to access the past attitudes and actions

19       of federal officials and the various individuals, organizations, and peoples in the Pacific

20       Northwest that have interacted with the US government. Especially in my chosen field, Native

21       American history, federal records are crucial to the work of historians because the US

22       government has overseen Indian affairs in the Pacific Northwest since the onset of American

23       colonization in the nineteenth century. The same is true for tribal researchers, attorneys, and

24       litigation support professionals who use federal records to advance their claims in court and in

25       dealings with federal agencies. I have used the records of the Seattle branch not only for
26




          DECLARATION OF ANDREW H.                         2              ERROR! AUTOTEXT ENTRY NOT DEFINED.
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     1    scholarly research projects, but also in depositions and reports as an expert witness for the

     2    Yakama Nation.
     3            4.     During the research for my dissertation and first book, between November 1999

     4    and August 2006, I spent a cumulative total of several months at the Sand Point FARC. In

     5    particular, I combed through the portions of Record Group 75 pertaining to the Yakima

     6    Agency, the Warm Springs Agency, the Umatilla Agency, and the Portland Area Office of the

     7    Bureau of Indian . Affairs. My current book project also draws from Record Group 75,

 8        specifically the records of the Yakima Agency and the Quinault Agency. I have also used

 9       portions of Record Group 49 (General Land Office/Bureau of Land Management) and Record

10       Group 165 (War Department) in the Seattle branch of the National Archives, as well as federal

11       court records housed in the Records Center there. I would not have known about the latter if

12       not for the helpful advice of experienced archivists such as Joyce Justice and Susan Karren,

13       who had/have worked at that facility for decades and are intimately familiar with its holdings.

14       They know how these various federal agencies organized their records, how the collections

15       have been reorganized over the years, and where to focus a search in order to make the best

16       use of your time in the archives.
17               5.      That said, there is also great value in being able to sit and browse through boxes

18       and folders by hand. Many of the discoveries a historian makes in the archives are

19       serendipitous, as pieces of evidence crop up unexpectedly in folders where you would not

20       necessarily have looked for them, and you begin to develop a sense of patterns and of how

21       different parts of the collection relate to others. If you are physically present in the archives,

22       you can also go back and pull boxes you have already looked at when later discoveries shed

23       light on issues or links you had overlooked earlier. Online searches for digitized records simply

24       do not produce the same "big picture" of events-the same understanding of context and

25       connection-even if you can be reasonably confident that you are seeing everything in a given

26       collection. Some of the oversized items in the archives, such as plat books and maps, must be




          DECLARATION OF ANDREW H.                          3              ERROR! AUTOTEXT ENTRY NOT DEFINED.
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     1    opened up or spread out on a table for . a researcher to examine them properly. In those

     2    situations, and many others where questions come up, it is invaluable to have an archivist on

     3    hand with the time and the knowledge to help clarify and interpret what you are seeing.
     4            6.      Moreover, while working through a collection on site, individual researchers

     5    can make their own, informed decisions about whether to take notes, snap digital pictures, or

     6    make photocopies of particular documents, depending on their needs as well as how much time

     7    and money they have to spend. Unless you know exactly what you are looking for and where

     8    to find it in a given collection, it is neither effective nor financially feasible for most researchers
     9    to request that large portions of the PARC's records be duplicated and sent to them remotely.

10        It would cost a fortune (not to mention consuming valuable personnel time at the National
11        Archives), and even then you would not be able to see everything in the haystack~ thus

12       increasing the chances that you will miss the needles you are searching for. Especially at the

13       start of a new project, it is often the case that historians do not know precisely what they are
14       looking for, but they will know it when they see it.
15               7.       Historians depend on archives to preserve scattered pieces of the past, which
16       they retrieve, analyze, and assemble to create the narratives that we call history. In my primary

17       field, Native American history, Record Group 75 is crucial to many scholarly and community

18       research projects because the Office/Bureau of Indian Affairs has exercised immense power

19       over Native lives for more than two centuries. I could not have written my dissertation or

20       published my first book without easy access to the records stored at the Seattle FARC. Among

21       many other things, those documents detail the i11:teractions of federal officials and Indian

22       nations in the Northwest since the mid-nineteenth century, including negotiations and

23       decisions concerning land claims, treaty rights, and tribal status. Record Group 75 also affords

24       precious glimpses of economic, social, and cultural conditions within Native communities as

25       they wrestled with the challenges posed by federal policies and non-Indian actions. Meeting

26       minutes, trial transcripts, correspondence, reports, and other documents generated or received




           DECLARATION OF ANDREW H.                            4              ERROR! AUTOTEXT ENTRY NOT DEFINED.
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     1    by the Northwest agencies of the BIA formed the core of my arguments in Shadow Tribe and

     2    in multiple articles I have published based on that research.

     3           8.      Federal records from Sand Point have also played a crucial role in my work as

     4    an expert witness for the Yakama Nation. In 2019, I prepared an expert report and a rebuttal

     5    report in the case of Yakama Nation v. Klickitat County, which involves a boundary dispute

     6    and jurisdictional conflict rooted in the history of an area known as Tract D. I relied heavily

     7    on council minutes, letters, maps, petitions, and survey reports from Record Group 49 and

     8   Record Group 75, including documents that only exist at the Seattle branch of the National

     9   Archives. These records underpin the Yakama Nation's long-standing claim that Tract D has

10       always been part of the reservation set aside for its exclusive use and occupation by the Yakama

11       Treaty of 1855. Without them, neither the Indian Claims Commission nor the trial judge would

12       likely have found in favor of the Yakama Nation, and some of the most important pieces of

13       evidence came from last-minute document pulls that only an archivist familiar with regional

14       records could have conducted effectively. Significantly, the whole issue originated with the

15       misplacement and misfiling of the original Treaty Map after federal commissioners sent it to

16       Washington, DC in 1855. It remained missing for 75 years, during which time disputed

17       boundaries and erroneous surveys allowed more than I 00,000 acres of reservation land to slip

18       from the Yakama Nation's grasp. I point this out to underscore the fact that important

19       documents can indeed get lost in the shuffle when federal records are transferred and

20       reorganized, with potentially serious consequences for communities that hold a material stake

21       in the history such records preserve for our posterity.

22              9.      I learned of the proposed closure on January 16, 2020 through an article

23       on MyNorthwest.com, written by historian Feliks Banel, which a friend had posted on

24       Facebook. The article explained that the Public Buildings Reform Board (PBRB) had made

25       the decision without any significant input from affected constituencies or organizations such

26       as the American Historical Association (AHA). I was shocked to hear that the Office of




          DECLARATION OF ANDREW H.                          5             ERROR! AUTOTEXT ENTRY NOT DEFINED.
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          1      Management and Budget (0MB) would contemplate an action of this magnitude without first
          2      giving historical professionals and the public a chance to hear the rationale and register their
          3      opinions on the matter.
          4                  10.    Upon hearing the news, I immediately posted a message to the AHA Members
          5      Forum to initiate a discussion and coordinate a response. I also sent emails to the PBRB and
          6      the 0MB to voice my objections to the proposed closure, which I then forwarded to my
          7.     congressional representative and senators to bring the issue to their attention. I never rec_eived
          8     any replies from the federal government. My message to the AHA led to an invitation to
      9         participate in a panel at the 2021 annual meeting (originally scheduled for Seattle in January
      10        2021) concerning the proposed closure and its impact on the historical profession, but the
     11         conference has been cancelled due to the COVID-19 pandemic. The panel has been
     12         rescheduled for January 2022.
     13                     11.    As a scholar who has relied heavily on NARA-PAR branch records, I think the
     14         ramifications of the proposed closure and .transfer are wide-ranging and almost entirely
     15         negative. Beyond the prolonged disruption to research while the records are moved and
     16         reorganized (with potential for loss and misfiling of documents in the process), there would be
     17         significant problems of access created by the splitting of federal records and archival materials
     18         between Missouri and California, respectively. The transfer ofrecords out of the region would
     19         also significantly increase the costs of research for scholars, teachers, public historians,
     20         attorneys, tribal citizens, and other constituents located in the Pacific Northwest, who are the
     21         primary users of this branch. Digitization is not an acceptable solution in the short term and,

     22        as explained above, does not replicate the experience of being able to examine the documents

     23        . on site.
     24                     12.    The groups most adversely affected would be those without the time and funds
     25        to undertake long trips to Los Angeles and Kansas City, including many tribal researchers and
     26        graduate students. My own dissertation research would have been virtually impossible to




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 1   complete in a timely way if I had been forced to travel to and stay in Los Angeles for weeks at

 2   a stretch, at a time when I had no longer had funding from my university and had to find part-

 3   time employment. Furthermore, the closure of the Seattle FARC could also cause serious loss

 4   of institutional memory and local expertise if the branch archivists are laid off or refuse to

 5   relocate, and the stewardship of NARA-PAR records is passed to th~ already overburdened

 6   staffs of other facilities, who would initially be largely unfamiliar with those holdings. In my

 7   experience as a researcher, the assistance and advice you receive from archivists at the National

 8   Archives in Washington, DC, does not compare favorably to what you can expect at a local

 9   branch.
10   I declare under penalty of perjury that the foregoing is true and correct.

11

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                                     Statement of Leonard Forsman
                                               Chairman
                                          The Suquamish Tribe

My recollections of using the Sand Point archives are from the early 1980s. I was hired as a researcher
for the Suquamish Tribal Archives in 1981 while attending the University of Washington. This was during
the development of the Suquamish Tribe’s own photographic, document and oral history archive that
led to the establishment of the Suquamish Museum.

I recall my early research as focusing on the boarding school experience of our elders. The United States
Indian Agent forced most of our tribal children from 1900 to 1920 to attend the Tulalip Boarding School
where much of their culture was stripped from them. This research was used for our interpretive
museum exhibits and for a tribal history publication.

Other archives staff conducted research at Sand Point for our tribal land claims research. The collection
proved invaluable to documenting the land policies of the Port Madison Indian Reservation that were
part of the larger U.S. assimilation policy intended to cause the extinction of the Suquamish and other
Puget Sound Tribes.

        The Sand Point facility continues to be a critical resource for our Suquamish Tribal historians,
biographers, genealogists, archeologists and archivists. In addition, the archives at Sandpoint continue
to provide very important evidence of the Suquamish presence in its Usual and Accustomed fishing
areas, and also the Tribe’s trade network, our travels, our relatives, and our story.


Signature:

Suquamish Tribal Chairman (2005-present)
LAAS Archaeologist/Anthropologist (1992-2003)
Suquamish Museum Director (1985-1990)
Suquamish Museum Research Assistant (1981-1984)




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 6                                   UNITED STA TES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 7
          STATE OF WASHINGTON, et al.,                              NO.
 8
                                           Plaintiff,               DECLARATION OF RHONDA
 9                                                                  FOSTER
                   v.
10
          RUSSELL VOUGHT, et al.,
11
                                          Defendants,
12
              I, Rhonda Foster, declare as follows:
13
              l.        I   am   over the age of 18 and competent to testify. I make this declaration based
14
       on my personal knowledge.
15
              2.        I am an enrolled member of the Squaxin Island Tribe ("Squaxin"). I am also
16
       an employee of Squaxin and the Director of the Squaxin Island Tribe Cultural Resources
17
      Department. I have been director for 23 years.
18
              3.        I and other members of the Squaxin Cultural Resource Department have
19
      accessed the records at the National Archives at Seattle on many occasions over the years.
20
       The records at the National archives at Seattle have been invaluable to Squaxin's ongoing work
21
      to preserve its culture and history.
22
              4.        The Squaxin Cultural Resources Department anticipates applying for a Tribal
23
      Heritage Grant through the National Historic Preservation Act of 1966. The Tribal Heritage
24
      Grant is federal program aimed at conservation and preservation of tribal culture and traditions.
25
      The application process anticipates identification of important historic, cultural, and traditional
26




      DECLARATION OF RHONDA FOSTER                                             SQUAXIN ISLAND LEGAL DEPARTMENT
                                                                                         3711 SE OLD OLYMPIC HWY
                                                                                                 SHELTON, WA 98584
                                                                                                       360.432.1771

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 1    places and resources for conservation and preservation.     Submitting a successful application

 2    for such a federal program would almost certainly require one or more trips to the National


 3    Archives.

 4            5.     If the records at the National Archives were moved, this opportunity would

 5    either be denied to Squaxin, or available only at greatly increased cost for travel and other

 6    logistics.

 7            I declare under penalty of perjury that the foregoing is true and correct.

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     DECLARATION OF RHONDA FOSTER                                           SQUAXIN ISLAND LEGAL DEPARTMENT
                                                                                      3711 SE OLD OLYMPIC HWY
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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                          NO.
 8
                                     Plaintiff,               DECLARATION OF DONALD C.
 9                                                            GENTRY
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12
            I, Donald C. Gentry declare as follows:
13
            1.        I am the Tribal Chairman of The Klamath Tribes. I am over the age of 18 and
14
     competent to testify. I make this declaration based on my personal knowledge.
15
            2.        I was first elected as Tribal Chairman in 2013, and have been serving the Tribes
16
     in that capacity since then, having been re-elected to that role in 2016 and 2019. As Chairman,
17
     I am the primary elected official of the Tribes, responsible for presiding over meetings of the
18
     Tribal Council and the General Council, overseeing Tribal administration, and being the main
19
     spokesperson for the Klamath Tribes. The General Council, comprised of all adult members
20
     of the Tribes, is the governing body of the Tribes, responsible for the overall direction of the
21
     Tribes, protection of Tribal rights, and the source of legislation and other law that governs the
22
     Tribes. The elected Tribal Council manages the day-to-day business of the Klamath Tribes,
23
     including oversight and general direction of Tribal Administration, Tribal Health, the Culture
24
     and Heritage Department, and other Tribal programs.
25

26




       DECLARATION OF DONALD C.                          1
       GENTRY

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1           3.      Prior to serving as Tribal Chairman, I served a three year term as Tribal Vice
2    Chair, and prior to that worked in a variety of capacities in the Tribes’ Department of Natural
3    Resources, whose main role is management and protection of the natural resources (water, fish,
4    wildlife and plants) that are necessary to the exercise of the Tribes’ Treaty-reserved rights.
5           4.      The Klamath Tribes, through its General Council and Tribal Council as well as
6    its various departments have relied and continue to rely on access to the material in the National
7    Archive in Seattle for general Tribal history and institutional knowledge as well as specific use
8    for culture and heritage purposes, natural resources protection, and in the effort to restore the
9    Tribes’ federal recognition.
10          5.      The Klamath Tribes is a federally-recognized Indian tribe that has occupied the
11   lands of South Central Oregon and Northern California since time immemorial. The Klamath
12   Tribes, with a current enrollment of 5611 members, is comprised of three historical tribes: the
13   Klamath Tribe, the Modoc Tribe, and the Yahooskin Band of Paiute Indians. The Klamath
14   Tribes signed the Treaty of 1864 with the United States, ceding over 22 million acres of
15   aboriginal territory and reserving approximately one million acres for a permanent homeland.
16          6.      In 1954, The Klamath Tribes were subjected to the ill-considered and
17   destructive federal policy known as “termination”, and for over thirty years were not
18   recognized as an Indian tribe by the United States. As a result of termination, the Tribes’
19   reservation was sold off, and the Tribes and Tribal members were denied the basic rights to
20   which federally-recognized tribes are entitled, including services from the federal government
21   for education, health care, social services, and natural resources protection.
22          7.      One aspect of termination involved loading the Bureau of Indian Affairs’
23   Klamath Agency records into boxes and shipping them out to the National Archives in Seattle.
24   Those records contain detailed and extremely important information regarding the institutions
25   and daily lives of the Tribes and its members, particularly for the period from the signing of
26   the Treaty to the date of termination.




       DECLARATION OF DONALD C.                          2
       GENTRY

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 1           8.      In 1986, after a decades’ long effort, the Tribes succeeded in persuading
 2   Congress to restore the Tribes’ federal recognition. The information contained in the National
 3   Archives at Seattle was very critically important to the Tribes’ successful effort at restoration.
 4   That information (documents, recordings, etc.) was accessed and reviewed by Tribal leadership
 5   and Tribal membership, and was relied upon to develop the case for restoring the Tribes’
 6   federal recognition.
 7           9.      Since restoration, the Tribes have been rebuilding their government, their
 8   institutions, and their infrastructure.
 9           10.     In doing so, the Tribes relied significantly and repeatedly on access to the
10   National Archives at Seattle for documents, photos, artifacts, audio recordings, and other items
11   of cultural and historical importance related to the Tribes’ treaty-making, its history of federal-
12   tribal relations, and its reservation, as well as information collected from Tribal elders and
13   ancestors concerning Tribal culture, tradition and languages. Further, that information has
14   continued to be relevant in reconstructing critical components of institutional, cultural, and
15   traditional infrastructure and knowledge necessary for the Tribes’ post-restoration efforts. The
16   Tribal leadership, administration, and membership all rely on ready access to the National
17   Archives at Seattle for such information, access that will disappear if the facility and its
18   resources are moved.
19           11.     The amount of information in the Seattle Archives is overwhelming and we
20   have significant research left to do still. That information is pertinent to continuing our research
21   on and legal protection of our Tribal rights. As one key example, the Tribes have been involved
22   in a forty-plus years long effort to protect, affirm, and quantify its Treaty-reserved water rights.
23   That matter has involved repeated litigation in federal court (including two arguments up to
24   the Ninth Circuit Court of Appeals) and a decades-long state water rights adjudication (the
25   Klamath Basin Adjudication). These Treaty-reserved water rights are central to our ability to
26   hunt, fish, trap and gather on the lands of the terminated Klamath Reservation, since the water




       DECLARATION OF DONALD C.                           3
       GENTRY

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1    rights support the habitat upon which fish, plant and wildlife species depend. Our staff and
2    attorneys in these cases have spent weeks in the Archives researching historical documents
3    related to land ownership and associated water rights. It remains critically important to the
4    Tribes’ ongoing efforts in the Klamath Basin Adjudication to continue to have access to those
5    archival records. Moving the records would be prejudicial to the Tribes’ ability to carry out
6    such research for the future of the adjudication.
7           12.      These records also have significant potential to help establish and verify our
8    oral histories. Our Culture and Heritage Director Perry Chocktoot planned to go to the National
9    Archives in Seattle in 2020 to continue research about old ceremonies to try to bring them back
10   for our Tribal community. Due to the coronavirus outbreak, he has been unable to complete
11   that trip. Moving the Archives would essentially prevent him or any other cultural
12   programmers from accessing these materials due to the prohibitive costs of travel. Our way of
13   life goes beyond just the physical world we live in and interact with, beyond our reservation,
14   water, and natural resources. We need access to our songs and ceremonies to reconnect with
15   our traditions, our ancestors, our way of life, and the world around us. We were forbidden from
16   practicing many of our ceremonies in the 1800’s by the federal government, and our Tribal
17   children were sent off to boarding schools. In the boarding schools, the nuns severely and
18   brutally punished any Native children who practiced traditional prayers, to the point where our
19   peoples learned it was safer to hide these traditions than risk being beaten. As a result, we have
20   lost access to many essential aspects of what it means to be Klamath, Modoc, and Yahooskin.
21   We continue to practice prayer, but without a better understanding of what we used to practice,
22   these prayers are more modern and assimilated — until we are able to re-establish our
23   traditions, it is harder to properly connect with our world as our peoples had for generations.
24   We have an opportunity to heal by having meaningful access to these resources. Taking away
25   the Archives without any input from us is another familiar violence not unlike those inflicted
26   in boarding schools and by assimilative policies.




       DECLARATION OF DONALD C.                          4
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1            13.     The Archives are very important to the Tribes’ cultural restoration efforts, as
2    we continue to need access to unique and one-of-a-kind cultural resources such as wax cylinder
3    recordings from the late-19th and early-20th century that contain our original dances and songs.
4    We are also aware that the Archives have videos and other literary documents depicting and
5    describing our cultural traditions, many of which have been taken from us in the decades since
6    our first contact with the United States. Our researchers have already discovered on these
7    cylinders dances and singing in cadence which we believe are sweathouse or burial songs.
8    From research into the matter, my understanding is that these wax cylinders are very delicate,
9    and easily susceptible to damage due to mold, cracking, and degradation over time. We are
10   concerned that the moving process could unnecessarily risk ruining these incredibly valuable
11   and unique archival resources.
12           14.     Our Tribal leaders have felt slighted at the entire proposed closure process by
13   the Archives. The Tribes should have been contacted before the decision was made to close
14   the Archives and move our cultural patrimony, not as an afterthought. Our leaders participated
15   in the August, 2020 consultation webinar, which was held after the decision had already been
16   made to move the National Archive in Seattle. Our expressions of concern and opposition were
17   essentially irrelevant by that point, and our leaders felt completely ignored. We still have not
18   received responses to our concerns. It is already difficult for our members and researchers to
19   travel from our homelands in Southern Oregon, and moving the records to Southern California
20   or Kansas City would effectively take away our ability to study our customs, languages, and
21   traditions. We also remain concerned that records and artifacts may get damaged, destroyed,
22   or lost in the move. Once these items are lost, they are lost forever. Our languages and traditions
23   are therefore at risk of being lost forever, and our peoples deprived of them permanently. This
24   is not a risk we will take lightly.
25           15.     We have learned inspiring stories of the strength and resilience of our peoples
26   through our research and through our work with historians. These stories continue to remind




       DECLARATION OF DONALD C.                          5
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 1   us of who we are and how we have fought assimilation and annihilation from first contact on-

 2   that is the fighting spirit of our people. Though the government has taken our shields and

 3   weapons, we will continue resisting with our words, our prayers, and our stories. We will not

 4   allow these to be taken as well. Relocating those documents, making them less accessible to

 5   the tribal people whose history the documents reveal, would be an unconscionable abuse piled

 6   onto the abuses of the past. Our members must continue to bring these traditions and documents

 7   back to our people. We share common ancestry with the people in historic photographs, and

 8   being able to connect to these ancestors is deeply emotional. All of our members have ancestors

 9   who went through this painful history and we the Klamath Tribes simply want to take back

10   what is and always has been ours.

11            Pursuant to 28 U.S.C. 1746, I declare under penalty of pe1jury under the laws of the

12   United States of America that the foregoing is true and correct.

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                                                             DONALD C. GENTRY
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       DECLARATION OF DONALD C.                                    6
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 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
 8       STATE OF WASHINGTON, et al.,                           NO.
 9                                    Plaintiff,                DECLARATION OF QUILEUTE
                                                                NATURAL RESOURCES
IO                V.                                            DIRECTOR FRANK GEYER
11       RUSSELL VOUGHT, et al.,
12                                    Defendants,
13          I, Frank Geyer, declare as follows:

14           1.        I am Director of Quileute Natural Resources, a department within the Quileute

15   Tribe. I am over the age of 18 and competent to testify. I make this declaration based on my

16   personal knowledge.

17          2.         I have worked for Quileute Natural Resources since 2002.

18          3.         The Quileute Tribe is a federally recognized Indian tribe and signatory tribe to

19   the 1855 Treaty of Olympia.

20          4.         The Quileute Reservation is located at the mouth of the Quillayute River on the

21   Olympic Peninsula of Western Washington, and the Tribe's ceded lands extend for hundreds

22   of square miles, reaching the Olympic Mountains.

23          5.         Quileute Natural Resources oversees major endeavors of the Tribe involving its

24   natural and cultural resources, including treaty rights litigation, historic preservation work,

25   federal grant compliance, and compliance with federal laws-both within the Quileute

26   Reservation and within the Tribe's ceded lands. In my work at Quileute Natural Resources, I



       DECLARATION OF QUILEUTE                                            AITORNEY GENERAL OF WASHINGTON
                                                                                Complex Litigation Division
       NATURAL RESOURCES DIRECTOR                                               800 5th Avenue, Suite 2000
       FRANK GEYER                                                               Seattle, WA 98104-3188
                                                                                      (206) 464-7744


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 1   have worked on these matters and have personal knowledge of how the Quileute Tribe relies
 2   upon the National Archives for various purposes.
 3           6.      The Quileute Tribe has heavily relied upon, and will continue to heavily rely

 4   upon, the Sand Point National Archives for numerous purposes. The Quileute Tribe has used

 5   the Sand Point National Archives for research in connection with federal programs for

 6   conservation, including:

 7                 a. research in connection with litigation to protect the Quileute Tribe's treaty

 8                     rights (funded in part by federal program dollars);

 9                 b. research in connection with fulfilling its obligations under various federal

10                     grant programs directed at conservation, including an EPA-funded climate

11                     change study; and

12                 c. research necessary in order to comply with (and ensure that the United States

13                    as its trustee complies with) the conservation requirements of numerous

14                    federal laws, including but not limited to the National Historic Preservation

15                    Act and federal agency Preservation Act programs, the Archaeological

16                    Resources Protection Act, Native American Graves Protection and

17                    Repatriation Act, and the National Environmental Policy Act.
18           7.     My job requires me to be familiar with laws governing projects on Quileute

19   tribal lands or on lands where Quileute tribal resources are located. The National Historic

20   Preservation Act is a significant law that affects many of the projects the Tribe and the federal

21   government undertake in the Quileute Tribe's area of interest. Under the National Historic

22   Preservation Act, each federal agency is required to establish a "preservation program" for the

23   protection of historic property.

24           8.     Both the federal government and the Quileute Tribe have relied on the Sand
25   Point National Archives to complete the analyses required under Section 106 of the National
26   Historic Preservation Act for past projects.



       DECLARATION OF QUILEUTE                          2               ATTORNEY GENERAL OF WASHINGTON
                                                                             Complex Litigation Division
       NATURAL RESOURCES DIRECTOR                                             800 5th Avenue, Suite 2000
       FRANK GEYER                                                             Seattle, WA 98104-3 l 88
                                                                                    (206) 464-7744


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 1           9.     Archival research is necessary because Section 106 requires consideration of

 2   cultural resources in the area of potential effects of a federal action. If the resource is

 3   detennined to be a historic property, additional work is required to comply with Section 106,

 4   including consultation and mitigation alternatives. To complete this research, tribal employees

 5   or contractors typically utilize the Sand Point Archives. This enables the Quileute Tribe to

 6   evidence its historic use of the site and provide documentation regarding the site's significance

 7   and potential archaeological contents. Federal agencies are also obligated to do the research

 8   necessary to comply with applicable federal laws regarding projects on tribal land or on land

 9   where cultural resources or artifacts are located.
10           10.    The Quileute Tribe's compliance with federal conservation program

11   requirements in carrying out these projects has therefore involved, and will continue to involve,
12   use of the Archives for research purposes.
13           11.    For example, in connection with a project the Tribe undertook to replace fish

14   barriers and resurface Thunder Road, the Quileute Tribe, in cooperation with the U.S.

15   Department of the Interior, Bureau of Indian Affairs, completed an Environmental Assessment

16   in 2016. A true and correct excerpt of the Environmental Assessment is attached hereto as

17   Exhibit A. Page 3 ➔9 of Exhibit A reflects some of the typical analysis required to comply with

18   Section I 06; here, the Bureau of Indian Affairs Archeologist "reviewed all documentation" to

19   detennine whether cultural resources constituting historic properties would be adversely

20   affected by the implementation of the project, and the USDA was consulted to detennine

21   whether significant archaeological or historic resources were known in the project area. In

22   addition to the archival research the federal government usually performs in making this

23   determination, it is the usual practice of Tribal employees and/or contractors to do independent

24   research to identify historic cultural resources that could potentially be affected by a project

25   such as this, and such research usually involves research at the Sand Point Archives.

26          12.     The Quileute Tribe frequently receives funding from federal conservation



       DECLARATION OF QUILEUTE                            3             ATTORNEY GENERAL OF WASHINGTON
                                                                             Complex Litigation Division
       NATURAL RESOURCES DIRECTOR                                             800 5th Avenue, Suite 2000
       FRANK GEYER                                                             Seattle, WA 98104-3188
                                                                                    (206) 464-7744


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 1   programs for various projects in the Tribe' s area of interest. For example, in 2016, the Quileute
 2   Tribe used Environmental Protection Agency grant funding to commission climate change
 3   research. A true and correct copy of the report is attached hereto as Exhibit B. Pages 36 and 44
 4   of Exhibit B list multiple documents from the Sand Point Archives that were relied upon in
 5   developing the report.

 6           13.    The Quileute Tribe also received funding from a federal conservation program

 7   in connection with a project to move the Tribe's reservation out of the tsunami zone (see Pub

 8   L. 112-97, 126. Stat. 257). The Tribe and the Army Corps of Engineers received Tribal

 9   Partnership Program funding to complete a cultural resources survey and other Section 106

10   work for this project. See Exhibit C, a true and correct excerpt of the Cultural Resources Survey

11   discussing funding sources. The Tribal Partnership Program is a federal program authorized

12   by Section 203 of the Water Resources Development Act that allows the Army Corps and

13   Indian tribes to study and determine the feasibility of water resources projects to benefit tribes

14   through various means, e.g., flood damage reduction, environmental restoration, and protection

15   and       preservation       of       natural      and        cultural       resources.         (See

16   https://www.nws.usace.anny.mil/Missions/Civil-Works/Programs-and-

17   Projects/Authorities/Tribal -Pa1inership-Program/.) As I stated above, it is the Tribe' s usual

18   practice to research archival materials, including research at the Sand Point National Archives,

19   to comply with federal preservation programs, including Section 106 programs.

20          14.     The Quileute Tribe has also used federal programs for conservation in the form

21   of Indian Self-Determination and Education Assistance Act funding to preserve the Tribe' s

22   treaty resources. For example, from 2013 through 2015, the Tribe's attorneys and expert

23   witnesses visited the Sand Point Archives multiple times to perform research and obtain crucial

24   evidence to defend the Tribe' s treaty fishing rights in litigation that culminated in a 23-day

25   trial in 2015 in the Federal District Court for the Western District of Washington. Self-

26   Determination Act funds were used to pay for litigation costs. Numerous exhibits that were



       DECLARATION OF QUILEUTE                           4               ATTO RNEY GENERAL OF WASH rNGTON
                                                                                Complex Litigation Di vision
       NATURAL RESOURCES DIRECTOR                                               800 5th Avenue, Suit e 2000
       FRANK.GEYER                                                               Seattl e, WA98 l 04-3 l 88
                                                                                      (206) 464-7744



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 1   admitted at trial either came from the Sand Point Archives or were works that referenced
 2   documents from the Sand Point Archives, including but not limited to Exhibits 3, 22, 57, 74,
 3   233, 255, B 100, and B309.
 4           15.     In the coming decade, the Quileute Tribe intends to continue to use the Archives
 5   for research in connection with federal programs for conservation, including in connection
 6   with a National Park Service Tribal Heritage Grant to develop a cultural and language center
 7   to protect Quileute culture, with treaty rights-related litigation, and with numerous projects
 8   requiring compliance with federal preservation programs and/or funded by federal grant
 9   programs for conservation.
10           16.    Based on its past experience, the Quileute Tribe anticipates that it will need
11   continual physical access to the Sand Point archival records indefinitely, or at least until all
12   such records are digitized, in order to comply with federal conservation program requirements.
13           17.    No federal agency or federal government representative contacted the Tribe in
14   connection with the federal government's decision to sell the National Archives at Seattle.
15           18.    The Quileute Tribe lacks the financial resources to access these records if they

16   are moved out of the Pacific Northwest. Thus, relocation of the Sandpoint Archive records

17   away from the Northwest will make it extremely difficult, if not impossible, for the Quileute

18   Tribe to access the records its needs for these crucial federal programs and for tribal cultural

19   preservation. This will cause irreparable damage to the Tribe, both in the form of increased

20   costs of accessing the records and in the cultural harm caused when the Tribe is unable to

21   participate in these programs due to the prohibitive cost of accessing archival records.

22   I declare under penalty of perjury that the foregoing is true and correct.

23
     DATED this 4th day of January 2021 at La Push, Washington.
24

25

26


       DECLARATION OF QUILEUTE                          5                ATTORNEY GENERAL OF WASHINGTON
                                                                              Complex Litigation Division
       NATURAL RESOURCES DIRECTOR                                              800 5th Avenue, Suite 2000
       FRANK GEYER                                                              Seattle, WA 98104-3188
                                                                                     (206) 464-7744


                                                                                                            092
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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                         NO.
 8
                                    Plaintiff,               DECLARATION OF
 9
                 v.                                          J. PENNELOPE GOFORTH
10
        RUSSELL VOUGHT, et al.,
11
                                  Defendants,
12          I, J. Pennelope Goforth, declare as follows:
13          1.        I am an independent scholar and researcher of Alaska history. I earned a

14   Bachelor of Arts from The Evergreen State College in 1976, and a Master of Science from

15   New York University in 1996. I am over the age of 18 and competent to testify. I make this

16   declaration based on my personal knowledge.

17          2.        I am a board member of the Alaska State Historical Society and the Cook Inlet

18   Historical Society as well as a long-time member of the Pacific Northwest Historians Guild

19   and the Puget Sound Maritime Historical Society. I served as the editor for numerous Alaska

20   Department of Labor and Workforce Development publications, including Alaska Economic

21   Trends. A former journalist and photographer for Washington and Alaska fisheries

22   newspapers, I now write about the maritime history of Alaska for a variety of publications and

23   conduct research for public and private groups and individuals. As part of my research and

24   writing about the Alaska Commercial Company (Alaska’s oldest business) I facilitated the

25   company donation of historical materials to both the University of Alaska Elmer E. Rasmussen

26   Library (at Fairbanks, Alaska) and the Pacific and Alaska Region National Archives and




       DECLARATION OF J. Pennelope Goforth              1            ERROR! AUTOTEXT ENTRY NOT DEFINED.

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 1   Records Administration (then located in Anchorage, Alaska). I was listed as an independent
 2   researcher on the Pacific Alaska Region NARA researchers listing online.
 3          3.      Some of the historical Alaska Commercial Company documents that I
 4   facilitated the return of to NARA in 2012 were U.S. Customs records kept in ACC St Michael
 5   Alaska office in 1870s and 80s; these rare bound into oversize volumes chronicle the arrival
 6   and departure of a variety of vessels that had to report departures and arrivals, cargos, captains,
 7   tonnage, etc., to the Customs Officers. They are invaluable in pinpointing the movement of
 8   vessels, and people, and goods in Alaskan waters during the early history of state. They are not
 9   digitized nor copied nor saved anywhere else. When NARA moved Alaska federal records to
10   the Seattle depository, they became inaccessible from Alaska. One example of the rich history
11   of Alaska (which has been under federal purview for most of the time) and unlikely to be
12   digitized are the logbooks and ships’ articles of vessels held in trust at the Seattle facility. In
13   the 1990s I spent many hours in the san Point building poring over the articles of the Steamer
14   DORA for a book I was writing. These oversized logs and original articles do not lend
15   themselves to digitization or even microfilming. of many of the ships that made Alaska history.
16   Of interest to me in doing maritime research are the following Record Groups: 22, Fish and
17   Wildlife Service; 26, Coast Guard; 27, Weather Bureau; 29 Bureau of the Census; 36 Customs
18   Service; 41 Marine Inspection and Navigation; 56, Department of the Treasury; 79 Park
19   Service; 80, Department of the Navy; 95, Forest Service; 111, Chief Signal Officer; 126, Office
20   of Territories; 181, Naval Districts and Shore Establishments; 237, Federal Aviation
21   Administration;370, National Oceanic and Atmospheric Administration; PIM, Pribilof Island
22   Program Materials.
23          4.      As described above, I used this research to write books, respond to requests for
24   information about maritime Alaska, contribute scholarly articles to historic conferences and
25   societies, and write papers for grants. One of the projects that depended on verifiable historic
26   data was a grant from the National Endowment for Humanities through the Alaska Humanities




       DECLARATION OF J. Pennelope Goforth               2              ERROR! AUTOTEXT ENTRY NOT DEFINED.

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 1   Forum; another grant through the Alaska Historical Commission; many articles and blog posts
 2   for the Alaska Historical Society, the Cook Inlet Historical Society and the Puget Sound
 3   Maritime Historical Society. This shipping data is unobtainable from anywhere else as only
 4   the federal government tracked marine transportation in the early years of Alaska history.
 5               5. One example of the uses I made of NARA holdings on Alaska history was for
 6   the history of Ship Creek and the Port of Anchorage property in preparation for the centennial
 7   of Alaska, publication of material in advance of the arrival of the USS ANCHORAGE both
 8   funded in part by federal dollars. Other uses include documenting conservation of previously
 9   owned federal properties for historical renovation of preservation with state and federal
10   funding, including ports and harbors in Dutch Harbor, Unalaska, Kodiak, Seward, Hope,
11   Dillingham, and Naknek to name a few.
12          6.      I first heard of the dismantling of NARA in 2014 when, without any public
13   input, the Pacific Alaska Region facility was closed despite a great public outcry from
14   historians, researchers, students and others who used the Anchorage facility, in person and by
15   mail, to document Alaska history for programs and projects that required federally collected
16   data and materials. Working with our local historical societies, school districts and
17   congressional delegation we tried mightily but ultimately failed to keep Alaska history
18   accessible to Alaskans and within the state. The news was barely in January of that year and
19   by April the deal was done; Alaskans had no time to really fight this. It was a repeat of the
20   same situation in late 2019 when I read in the Seattle newspaper that again NARA was
21   suddenly, and without community foreknowledge or input, was closing the Sand Point NARA
22   facility. In January of 2020, the Alaska Historical Society Advocacy Committee, which I
23   served on, immediately went into action contacting NARA, Congressman Don Young, Senator
24   Lisa Murkowski, Lt. Governor Kevin Meyer and many of my personal historical colleagues in
25   Washington, Oregon and Idaho to try to find out what was going on and how we could marshal
26   our resources to prevent another great loss of our treasured federal history. It seemed




       DECLARATION OF J. Pennelope Goforth             3             ERROR! AUTOTEXT ENTRY NOT DEFINED.

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 1   unbelievable that with only about 12 repositories in the nation, the Pacific Northwest (with all
 2   the Alaska material) should be shut out of accessibility to such a monumental amount of
 3   historical data. The Alaska Historical Society convened a 4-state meeting of our historical
 4   societies; we all provided letters and protests to our congressional delegations who, within
 5   weeks, formed a bi-partisan bi-cameral response requesting FASTA (which made this absurd
 6   recommendation), NARA (which abdicated its mission to hold our history in trust and
 7   accessible to citizens) and the Office of Management and Budget (which approved this move
 8   with no input from anyone in the Pacific Northwest states) to ‘reconsider and reverse’ that
 9   decision. The Alaska Historical Society and Museums Alaska issued a joint resolution
10   opposing the closure by March of 2020 backed up by hundreds of Alaskans; letters to editor
11   and informational articles were written and published. We spent hours just figuring out what
12   FASTA was and how did they come to this decision with no public input. We emailed the
13   members of FASTA and never received any responses. Only OMB and NARA responded, and
14   only then to our senators and congresspeople. As far I know, no individual in Alaska received
15   any response to our requests for information. Then the pandemic struck and although
16   opposition remained high, things seemed at a standstill until, a few days ago in late December,
17   when I read in the Seattle media that the Washington State Attorney General was taking
18   continued and legal action.
19          7.      The harm Alaskans will suffer if the records housed at the National Archives
20   facility are moved out of Seattle/out of the Pacific Northwest is inestimable: lack of access to
21   our federally documented records is already a huge issue. Accessibility and cost are the two
22   main impediments however, what is the true cost of removing access to history for thousands
23   of students and educators? How can you put a cost on not knowing your own history? Alaskans
24   now have to fly to Seattle and put up in a hotel to get access to data that is not digitized and
25   available online. The digital ‘revolution’ was supposed to appease Alaskans when the material
26   was moved out of our reach nearly seven years ago. Promises by NARA to digitize the bulk of




       DECLARATION OF J. Pennelope Goforth              4             ERROR! AUTOTEXT ENTRY NOT DEFINED.

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1    the material never occurred on the scale we were led to believe would happen. While several
2    hundred cubic feet of federal records were given to the state archives, much of this was the
3    Alaska Railroad documentation which was held by NARA only as long as they remained in
4    Alaska. Some court records and a few other record groups were also given to the state, but the
5    bulk of Alaska federal history is now at Sand Point. One example of the effects of this seismic
6    removal of access to federal records that comprise our history is the damage this will do our
7    education system. For years, the National History Day competition, Alaska History Day
8    administered by the Alaska Humanities Forum out of Anchorage, has been a popular statewide
9    competition for middle and high schoolers who research and make a presentation on some
10   theme of history. Students learn how to research and where to look for facts and data. Without
11   NARA in Anchorage, and now the potential of no NARA in the Pacific Northwest, how can
12   we expect to adequately provide our students with the knowledge they need to understand their
13   own history? Funded in part through the National Endowment for the Humanities, removing
14   this source of federal information from students undermines the educational aims of the
15   program. To me personally, having restored valuable maritime history to NARA only to have
16   snatched away, not once but twice, is just about a death knell to my ability to write factual
17   Alaska maritime history. For an independent scholar like myself, already the transportation
18   cost of research is pretty much out of reach. Flying to Seattle and staying in a cheap B&B in
19   the U District is one thing. Flying and/or driving another few thousand miles to Southern
20   California? That’s just not within range for me or most other serious Alaskan researchers and
21   scholars.
22   I declare under penalty of perjury that the foregoing is true and correct.
23
     DATED this 4th day of January, 2021 at Anchorage, Alaska.
24

25
                                                                     J. Pennelope Goforth
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       DECLARATION OF J. Pennelope Goforth              5             ERROR! AUTOTEXT ENTRY NOT DEFINED.

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 6                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7
     STATE OF WASHINGTON, et al.,                         NO.
 8
                               Plaintiff,                 DECLARATION OF DAWN
 9                                                        GOMEZ
            v.
10
     RUSSELL VOUGHT, et al.,
11
                               Defendants
12
            I, Dawn Gomez, declare as follows:
13
            1.      I am the Chairwoman of the Hoh Tribe, a federally recognized Indian tribe. I
14
     am over the age of 18 and competent to testify. I make this declaration based on my personal
15
     knowledge.
16
            2.      I was elected as Tribal Chairwoman in 2019 and have served on the Tribal
17
     Council since 2016. I previously served on the Tribal Council as a Council member and Vice
18
     Chairwoman. I am responsible for representing the Tribe in all governmental and policy
19
     matters. I have been intimately involved in the Tribe's litigation in seeking treaty rights and
20
     in protecting and advancing the Tribe's sovereign status.
21
            3.      The Hoh Tribe is organized under a tribal constitution adopted pursuant to
22
     Section 16 of the Indian Reorganization Act. The Hoh Tribe was a signatory tribe to the 1855
23
     Treaty of Olympia. The Tribe's aboriginal territory includes the entire watershed of the Hoh
24
     River, and the ocean waters off the Olympic Peninsula of Western Washington. In our
25
     language, we are the Chala-at: -the People of the Hoh River. After signing the treaty of
26


       DECLARATION OF DAWN GOMEZ                      1             ATTORNEY GENERAL OF WASlDNGTON
                                                                         Complex Litigation Division
                                                                          800 5th Avenue, Suite 2000
                                                                           Seattle, WA 98104-3188
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     Olympia, we moved to a reservation at the mouth of the Hoh River. Our tribal offices are
 2
     located on the Hoh Reservation.
 3
            4.       The records present in the Sandpoint Archives have been critical to the Hoh
 4
     Tribe in our efforts to protect our treaty hunting and fishing rights. These records document
 5
     in detail the Hoh Tribe's history, existence and movement as documented by the federal
 6
     government in reports, correspondence, actions and decisions. The records include both local
 7
     Indian agent and Indian superintendent documentation as well as correspondence and
 8
     documentation from upper levels of the Department of Interior and other federal agencies.
 9
     These records have been accessed by the Hoh Tribe's Natural Resources Department to
10
     assemble a history of the Hoh Tribe, and have been accessed and used by consultants
11
     retained by the Tribe, including but not limited to historians, anthropologists and others
12
     investigating the Tribe's history and writing reports supporting the Tribe's legal efforts.
13
     The Tribe is working on establishing a tribal Historic Preservation Office and will need to
14
     access records in the Sandpoint Archives as part of its development.
15
            5.       In addition to supporting our legal efforts, historians working for the Hoh
16
     Tribe have accessed the records at the Sandpoint Archives on the tribe. The historical
17
     research has been helpful to educate our members and surrounding communities about the
18
     Tribe and our interactions with early explorers, other Indian people, and federal authorities
19
     among others.
20
            6.       The Hoh Tribe is a small tribe and we do not have a large reservation. The
21
     Tribe has limited resources available for ongoing research of our history. The Sandpoint
22
     Archives have been an important resource that we can easily access with only a four- or five-
23
     hour drive from Hoh River to Seattle.
24
            7.       The Hoh Tribe first learned of the impending closure of the Sandpoint
25
     Archive and the moving of the records located there back East in the news media and from
26


       DECLARATION OF DAWN GOMEZ                     2              ATI'ORNEY GENERAL OF WASHINGTON
                                                                          Complex Litigation Division
                                                                           800 5th Aveuue, Suite 2000
                                                                            Seattle, WA 98104-3188
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     other tribes. No federal agency or federal government representative contacted the Tribe in
 2
     com1ection with the federal government's decision to sell the National Archives at Seattle, or
 3
     consulted our Tribe about the negative, deleterious impact closure would have on our Tribe.
 4
             8.          Closure of the Sandpoint Archive will have a significant adverse impact on
 5
     the Hoh Tribe and its ongoing efforts to protect our treaty rights, and to protect its legal rights
 6
     and status from infringement by nearby tribes. Family histories and genealogies are an
 7
     important part of the Archives and the Tribe accesses those records to investigate applicants
 8
     for eligibility for tribal membership. The Hoh Tribe is a small tribe with limited economic
 9
     development opportunities due to our location on the Olympic Peninsula, and the Tribe lacks
10
     the financial resources to access these records on a necessary basis if they are moved out of
11
     the Pacific Northwest. Relocation of the Sandpoint Archive records away from the Northwest
12
     United States will significantly impact the Tribe's ability to protect and advocate its legal
13
     status and rights.
14
             I declare W1der penalty of pe1jury that the foregoing is true and correct.
15
                                                                                    'fwl~j w u__          I

16   DATED        this    ~      day   of   '2P{e{h\p{Zf, ~           ]      at '   /J:lf~
17                  day                month       year               city                                            s tate

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20                                                        awn Gomez          0
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       DECLARA TJON OF DAWN GOMEZ                          3              ATTORNEY GENERAL OF WASHING TON
                                                                                Complex Litigat ion Divi ion
                                                                                    800 5th Avenue, Suite 2000
                                                                                     Seattle, WA 98 104-3188
                                                                                         f ") fV..\ Al. ,1-'1"1 A A



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                                        UNIVERSITY OF WASHINGTON

D EPARTMENT OF H ISTORY



        December 31, 2010

        Attorney General of Washington
        Complex Litigation Division
        800 Fifth Ave, Suite 2000
        Seattle, WA 98104

        RE: National Archives

        Dear Attorney General Robert Ferguson:

        I am a professor of history at the University of Washington and I am writing to explain why the
        proposed closure of the National Archives and Record Center in Seattle will have a seriously
        detrimental impact on my research and teaching and on the needs of students and of the broader
        population of this region. I have been a member of the faculty at the University of Washington
        for twenty-seven years and much of my research and teaching focuses on the history of the
        Pacific Northwest. In addition, I direct the Civil Rights and Labor History Consortium at the
        University of Washington. This is a massive collection of online historical resources (articles,
        maps, videos, etc) largely focused on the Pacific Northwest and widely used by scholars,
        students, and the public.

        I have used NARA collections in researching some of my academic books and articles. A
        number of my students, both graduate and undergraduate, have relied upon NARA collections as
        they researched papers, dissertations, and articles for the Civil Rights and Labor History
        Consortium projects. I am not able to account for all of the work that my students and I have
        done at the archives, but I believe that it involves at least seven record groups:

            •    RG 79: National Park Service
            •    RG 147: Alien and Japanese Registration Forms
            •    RG 26: Coast Guard Records
            •    RG 80: Records of the Todd Corporation
            •    RG 80: Labor Cost Summary
            •    RG 32: Records of the Shipping Board
            •    RG 202: National War Labor Board
            •    Records of Naval Intelligence

        The proposed closure of NARA’s Seattle location will have lasting consequences for many
        communities and institutions in the Pacific Northwest. The University of Washington is among
        them. This will damage the research capacity of the university. It will damage the ability of


                          315 Smith Box 353560 Seattle, Washington 98195-3560 206-543-5790 FAX: 206-543-9451
                                                                                                               101
students to engage in original research projects. It will damage the ability of historians like
myself to discover and explore new aspects of the history of this region.


Sincerely,




James N. Gregory
Williams Family Endowed Professor of History
Professor, Department of History




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                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASIDNGTON
 8      STATE OF WASHINGTON, et al.,                          NO.
 9                                   Plaintiff,                DECLARATION OF GABRIANN
                                                               HALL
10               V.

11      RUSSELL VOUGHT, et al.,
12                                   Defendants,
13          I, Gabriann Hall, declare as follows:

14          1.        I am an enrolled member of the Klamath Tribes. I am over the age of 18 and
15   competent to testify. I make this declaration based on my personal knowledge.
16          2.        I have a master's degree in Interdisciplinary Studies (Ethnic Studies, Education

17   & History) from Oregon State University as well as a Master of Arts in Teaching.

18          3.        I used the Seattle Archives to conduct research related to my master's degree on

19   the Indian New Deal and its impacts on Native tribes throughout the Pacific Northwest. I

20   research documents specific to the Indian branches of the Civilian Conservation Corps (CCC)

21   and Works Project Administration, Indian Reorganization Act, Johnson-O'Malley Act, and
22   Indian Arts and Crafts Act.

23          4.        Through my research I was able to locate a specific logging project under the

24   Indian CCC that took place on the Klamath Reservation. By manually flipping through

25   documents, I was able to find that there had been an unsuccessful project related to a timber

26   harvest on the reservation. This was not something I knew to look for so do not believe I would




       DECLARATION OF GABRIANN HALL

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1    have found it in a specific online records search. I happened upon it by flipping through

2    somewhat unrelated records. What took place was that an Indian CCC crew was ordered to go

3    harvest timber on the reservation that had "beetle rot". However, there was no training of the

4    CCC team or supervision so they incorrectly harvested healthy trees, costing the tribe money

5    as well as leading to a clear-cut in what could have been a sustainable use logging operation.

6    There were multiple black and white photos as exhibits to this research that upon photo coping

7    did not turn out. This is just one example of information I do not believe I would have come

 8   across in a digital search nor am I confident that the photos could be reproduced in comparable

9    clarity and quality. It was this specific line ofresearch that led me to focusing on the Klamath

10   Tribe's records. There is a power and connection in physically touching the documents that

11   your ancestors who are no longer here have touched and that cannot be duplicated in the online

12   environment.

l3          5.      After, learning about the CCC incident on the Klamath Reservation I was

14   quickly distracted from my original research topic by all the boxes of information related to

15   my Tribe. I had no clue what a powerful experience it would be to hold some of the original

16   Klamath Tribal roll sheets in my hands. To see names I had only heard of written out or even

17   an "X" for those who did not read or write English was a powerful experience. Even more
18   overwhelming for me was seeing my Grandmother Marilynn Hall's handwritten Tribal Council

19   notes from her time as Tribal Secretary. The whole time I reviewed the records, all I wanted

20   to do was share the experience with my family members, knowing how much it would mean

21   to them. A move of the Archives to an even more distant location would make this much less

22   possible. Many Native people do not possess the financial means to travel a long distance to
23   see these important records.

24           6.     As a history teacher, I know these primary documents are instrumental in

25   researching and writing Klamath Tribal history in compliance with Oregon Senate Bill 13

26   Tribal History/Shared History project. It is our story and family legacy housed in these




       DECLARATION OF GABRIANN HALL                     2

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 1   archives. To us, they are not just boxes of historical records but the handwritten stories of our

 2   grandmothers and other family members.
 3          7.      The relocation of the Archives away from the Pacific Northwest would be
 4   equivalent to someone removing a sacred photo album that has been passed down through
 5   generations from one's home. It does not mean that the family photo album would not be safe,
 6   but it would no longer be accessible to enjoy and share among the family. The chance to come
 7   together and look at the album and hear stories and learn collectively would be lost. These
 8   records hold the same value and connection that an heirloom album holds, and as Indian people
 9   who have faced a direct assault on our history we rely on these connections to the past as
10   examples of perseverance and strength. These archives hold the history of our ancestors and
11   all of those who have come before us; to sever this link would be devastating.
12          Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury under the laws of the
13   United States of America that the foregoing is true and correct. Executed on this ,;ff{ day of
14
     fkmwP!L
15

16                                                 GABRIANN HALL

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       DECLARATION OF GABRIANN HALL                     3

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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHING TON
 7
        STATE OF WASHINGTON , et al.,                         NO.
 8
                                   Plaintiff,                 DECLARATION OF CECILE
 9                                                            HANSEN
                 V.
10
        RUSSELL VOUGHT, et al. ,
11
                                   Defendants,
12
            I, Cecile Hansen, declare as follows:
13
            1.        I am the chairwoman of the Duwamish Tribe. I am over the age of 18 and
14
     competent to testify . I make this declaration based on my personal knowledge.
15
            2.        I have been the chairwoman of the Duwamish Tribe since 1975. As
16
     chairwoman, I am responsible for representing the interests of the Duwamish Tribe before
17
     state, local, and federal agencies. The Duwamish Tribe is the present day political organization
18
     of the dx"'d3w?abs or "The People of the Inside," i.e. , the Duwamish Tribe that is a party to
19
     the Treaty of Point Elliot, signed January 22, 1855. The Duwamish Tribe consists of over 600
20
     members who are descendants of the original signatories to the Treaty of Point Elliott. We are
21
     a distinctive aboriginal Native American Indian group that has resided in the area of the Puget
22
     Sound since time immemorial. Washington State ' s largest city-Seattle-is named for Chief
23
     Si ' ahl, the leader of the Duwamish Tribe and first signatory to the Treaty of Point Elliott. As
24
     such, the history of the Duwamish Tribe is enmeshed with the history of the present-day City
25
     of Seattle. Yet despite the international standing and economic success of the City of Seattle,
26




       DECLARATION OF CECILE HANSEN                                    ERROR! AUTOTEXT ENTRY NOT DEFINED.

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 l   the sacrifices and existence of its native people, the Duwamish, have long been trivialized,

 2   ignored or overlooked.

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18                                             Chief Si'ahl

19          3.      The Duwamish Tribe has fought tirelessly for over forty years to be heard and

20   recognized. We continue to resist the erasure of our history and           eek to hold the U.S.

21   government to its treaty promises to Chief Si'ahl and to the Duwamish Tribe. We continue in

22   our struggle to confirm the Tribe ' s status as a federally -recognized Indian Tribe. Direct access

23   to physical records at the National Archives at Seattle has been, and continues to be, critical

24   and invaluable to the Duwamish in our struggle for recognition. The National Archives contain

25   documents relating to the early state and pre-state history for the Puget Sound area, including

26   genealogical, anthropological, and historical studies of Washington tribes and in particular,




       DECLARATION OF CECILE HAN EN                      2              ERROR! AUTOTEXT ENTRY NOT DEfl 'ED.

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 1   the Duwamish Tribe. These records can be found nowhere else. I have personally visited the

 2   archives seeking records on several occasions.

 3          4.      The Duwamish Tribe has used records obtained from the National Archives to

4    support its petition for federal recognition. Our pursuit of federal recognition has been a

 5   frustratingly complex and bureaucratic process, with successive administrations each

6    demanding a different quantum of proof of the Duwamish ' s existence. While we have obtained

 7   some of what we need from the       ational Archives, as the administration changes yet again,

 8   we know that we will require additional evidence presently housed in the     ational Archives at

 9   Seattle. Records currently located in the   ational Archives, but not yet reviewed by the Tribe,

10   offer critical evidence to finally convince the U.S. government to recognize our existence, here

11   in the city that bears our ancestor's name. I have been info1med that members of the Tribe have

12   pending requests for records from the       ational Archives specifically for archived physical

13   records that have not yet been digitized. If the records are moved we may lose forever the

14   ability to hold the U.S. government to its promises contained in the Treaty of Point Elliott.

I5          5.      The federal government has never contacted the Duwamish Tribe regarding the

16   preservation of historical records evidencing the history of the Duwamish.

17          6.      No federal agency or federal governmental representative contacted the

18   Duwamish Tribe in connection with the federal government' s decision to sell the National

19   Archive at Seattle.

20          7.      If the National Archives at Seattle are moved out of state, the Duwamish will

21   be harmed in our efforts to gain federal recognition and enforce the promises contained in the

22   Treaty of Point Elliott. While the Duwamish have existed since well before the arrival of white

23   settlers our existence in fact has been insufficient to convince the federal government to honor

24   its treaty obligations. We require the documents and evidence housed at the     ational Archives

25   to support our claim for federal recognition. We are involved in current and ongoing litigation

26   on this issue and have limited funds with which to pursue extensive and costly research far




       DECLARATION OF CECLLE HANSEN                      3             ERROR! A TOTEXT E TRY 'OT D EFINED.

                                                                                                        108
     from home. The additional costs imposed by out-of-state travel to perform research would

 2   likely be more than the Duwamish Tribe could accommodate. As such, moving the National

 3   Archives to Kansas or California will create an incredible hardship for the Duwamish Tribe in

 4   its struggle for recognition, above and beyond the hardships we have already endured.

 5   Additionally, moving the National Archives will deprive Duwamish tribal members of the

 6   ability to research and preserve their own history, further accelerating the destruction of

 7   Duwamish tribal history that began well over one hundred years ago with the expulsion of the

 8   Duwamish from what is now the City of Seattle.

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     Sia'b Suquardle's camp on the Duwamish River circa post-Treaty. After the signing of
24
     the Treaty of Point Elliot, Suquardle's and some 90 other longhouses would be burned
25        to the ground and the Duwamish were forbidden to live within the city limits

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       DECLARA T ION OF CECILE HANSEN                 4             ERROR! AUTOTEXT ENTRY NOT DEFI ' ED.

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           I declare under penalty of perjury that the foregoing is true and correct.


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 6                                                Cecile Hansen

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       DECLARATION OF CECILE HANSEN                    5                 ERROR! AUTOTEXT ENTRY NOT DEFINED.

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6                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
7
        STATE OF WASHINGTON, et al.,                           NO.
8
                                     Plaintiff,                DECLARATION OF
9                                                              ALEXANDRA HARMON
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12
            I, Alexandra Harmon, declare as follows:
13
            1.        I am professor emerita of American Indian Studies and History at the University
14
     of Washington, Seattle. I am over the age of 18 and competent to testify. I make this declaration
15
     based on my personal knowledge and my expertise as a historian.
16
            2.        I received a PhD degree in history from the University of Washington in 1995
17
     and have since had a faculty position in the American Indian Studies department. I have also
18
     been an adjunct professor in the history department, where I served until recently as the
19
     de a. men        ole mentor and dissertation director for graduate students completing a field in
20
     history of Indigenous peoples of North America. I retired from full-time teaching in 2015 and
21
     ceased to teach part time in 2018, but I continue to mentor a graduate student, participate in
22
     other professional activities, and engage in research both for possible publication and for
23
     memoranda providing historical information to the Washington chapter of the Nature
24
     Conservancy.
25
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       DECLARATION OF ALEXANDRA                          1             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       HARMON
                                                                                                    111
 1             3.       I am the author of three books and the editor of a fourth book, all of which
 2   concern American Indian history and focus wholly or in part on Indians in the Pacific
 3   Northwest. My most recent book, Reclaiming the Reservation, received the Western History
 4   A . ocia ion Robert G. Athearn Award for the best book of 2019 about the twentieth-century
 5   American West. My first book, Indians in the Making, published in 1998, was the first wide-
 6   ranging scholarly history of Indian/non-Indian relations in what is now western Washington
 7   State and remains the only such book.
 8             4.       From 1972 through 1989, with a Juris Doctor degree from Yale Law School, I
 9   worked as an attorney in western Washington, and for fifteen of those years, my clients were
10   Indians        almost exclusively tribal governments in Washington State.
11             5.       For me as for many historians, original documents and other items housed in
12   public archives are the most common and often the most important sources of information
13   about the past that we aim to describe and analyze in books, journal articles, other publications,
14   or lectures. In all my work as a history scholar and teacher, I have relied specifically and
15   heavily on records from the National Archives in Seattle to uncover and write accurate, little-
16   known accounts of Indians in the Pacific Northwest, their relations with the U.S. government,
17   and their relations with other people in the region.
18             6.       For history graduate students, writing a book-length dissertation based on
19   original research is a condition of earning a history PhD degree, and for those whose
20   dissertations concern the history of Indigenous American peoples, research in National
21   Archives is indispensable. All of my students have done at least some of that research at the
22   National Archives branch in Seattle.
23             7.       Furthermore, I have made valuable use of the federal archives in Seattle for my
24   undergraduate teaching. In an introductory research methods course, I brought students to the
25   Seattle facility, where they heard presentations by staff archivists and had an opportunity to
26   see and touch original documents such as handwritten letters by Indians and Indian school




       DECLARATION OF ALEXANDRA                           2              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       HARMON
                                                                                                      112
 1   records. Many were thus motivated to do research for their individual projects there, an
 2   experience that not only gave them the satisfaction of discovering and evaluating evidence
 3   available nowhere else but also developed problem-solving skills that are applicable in other
 4   realms of life.
 5             8.      In my previous work as an attorney and for my Indian clients, federal records
 6   at the Seattle NARA facility have provided essential evidence in support of legal claims or
 7   other tribal government objectives and at times have yielded answers to questions arising in
 8   the management of tribal community resources, such as the legal status of roads or property or
 9   the history of land use and governance.
10             9.      For my research at the National Archives . research on which I based my PhD
11   dissertation, three books, and parts of a manuscript history commissioned by the Confederated
12   Tribes of the Colville Reservation I have made especially extensive use of Record Group 75,
13   Records of the Bureau of Indian Affairs. At the National Archives in Seattle, that record group
14   includes the records of several local Bureau agencies and the Portland Area Office, which hold
15   many hundreds of feet of original documents not available at any other National Archive
16   facility, at non-federal repositories, or in alternative form such as photocopies or digitized
17   copies.
18             10.     Other materials essential for my reconstruction of Indian/non-Indian relations
19   in the Northwest have been in Record Group 21, Records of the United States Circuit Court,
20   in microfilms of Indian Census Rolls and Inspections of Field Jurisdictions, and particularly in
21   a microfilm of Indian Applications for Enrollment and Allotment that were unique to the
22   western Washington region.
23             11.     In most cases, the thorough, careful archival research that my graduate students
24   and I have undertaken required weeks of full-time effort to complete. Once writing or other
25   research was underway, follow-up visits to those archives have often been necessary as well.
26




       DECLARATION OF ALEXANDRA                           3             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       HARMON
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 1           12.    The University of Washington history department, like humanities programs in

 2   most public universities, rarely has funds to assist either students or professors with the

 3   expenses of conducting research required to earn advanced degrees or faculty tenure. External

 4   sources of research funding for historians are also very scarce. Graduate students typically

 5   have very limited income, and the salaries of history and American Indian Studies instructors

 6   have long been among the lowest in the university faculty.
 7           13.    Thus, if National Archives records for the Pacific Northwest and Alaska are

 8   relocated to southern California and the Midwest, the costs of travel and lodging at those distant

 9   sites will likely be a significant disincentive for PhD students and faculty at regional

10   universities to conduct extended research on the history of our Indigenous people. Those costs

11   and logistics would certainly discourage me from doing more such research.
12           14.    This potential barrier to research causes me acute concern because the body of

13   historical scholarship about the Northwest's Indigenous peoples and Indian tribes is very

14   limited - much smaller than the subject merits. The subject does deserve much more attention

15   from history scholars and from the general public because Pacific Northwest Indian tribes and

16   their members are significant players in present-day regional economic, political and

17   environmental affairs, and knowledge of their history is essential for understanding the needs,

18   expectations, resources, memories, and values they bring to their relations with non-Indians.

19          I declare under penalty of perjury that the foregoing is true and correct.
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                                                 41kZ,)J r.>- J, ~ n'--"
24                                           /    v-A LEXANDRA J. HARMON

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       DECLARATION OF ALEXANDRA                          4                     ERROR! AUTOTEXT ENTRY NOT DEFINED.
       HARMON

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 6                              UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
 8      STATE OF WASHINGTON, et al.,                         NO.
 9                                  Plaintiff,               DECLARATION OF DAVID
                                                             TYLER HARRELSON
10               v.
11      RUSSELL VOUGHT, et al.,
12                                  Defendants,
13          I, David Tyler Harrelson, declare as follows:

14          1.        I am the Cultural Resources Department Manager, Tribal Historic Preservation

15   Officer and a tribal member of the Confederated Tribes of the Grand Ronde Community of

16   Oregon (“Tribe”). I am over the age of 18 and competent to testify. I make this declaration

17   based on my personal knowledge.

18          2.        I have been the Cultural Resources Department Manager since 2016 and the

19   Tribal Historic Preservation Officer since 2014. As the Cultural Resources Manager and Tribal

20   Historic Preservation Officer I am responsible for oversight, planning, and direction of twenty-

21   two fulltime staff, including those in our Museum and Cultural Center who serve the Tribe and

22   greater public, our Historic Preservation Office that handles government consultation such as

23   that of Section 106 of the National Historic Preservation Act of 1966 (“NHPA”), and our

24   Cultural Education Program that provides learning opportunities for tribal members. Each of

25   these departments and programs rely on historical records preserved and made available at

26   the National Archives at Seattle in the performance of their work. Prior to serving as the




       DECLARATION OF David Tyler                       1
       Harrelson
                                                                                                   115
 1   Cultural Resources Department Manager and the Tribal Historic Preservation Officer, I was
 2   the Historic Preservation Manager, Cultural Protection Specialist, and site monitor for the
 3   Tribe.
 4            3.     The federally recognized Confederated Tribes of the Grand Ronde Community
 5   of Oregon includes over 30 tribes and bands from western Oregon, northern California, and
 6   southwestern Washington. The Tribe currently has approximately 5,400 members. The Tribe’s
 7   reservation was established by Executive Order on June 30, 1857, in partial fulfillment of seven
 8   treaties which collectively ceded nearly 14 million acres of land area across western Oregon.
 9            4.     Among the numerous records important to the work of the Tribe’s Cultural
10   Resources Department and housed at the National Archives at Seattle, are documents such as
11   the handwritten minutes of Tribal Council meetings in the 1930’s, 1940’s, and 1950’s. The
12   minutes have been invaluable to the Tribe in understanding how Tribal leadership viewed
13   enrollment when the Tribe adopted its Constitution in the 1930’s. We also found a handwritten
14   ordinance, known today as Ordinance B, on the back of minutes from one of the Tribal Council
15   meetings. The Tribe was unaware this Ordinance existed until it was identified at the National
16   Archives at Seattle in 2016. The minutes and many other record sets housed there are not
17   digitized or otherwise readily accessible. Many records are not filed or catalogued in a manner
18   that permits discovery without in person research and analysis.
19            In addition to Tribal-specific records, the Tribe uses the National Archives at Seattle to
20   access general historic materials about tribes in the Pacific Northwest. For example, the
21   archives include numerous journals and sketch books by George Gibbs. George Gibbs held
22   many government posts in the mid 1800’s throughout the Pacific Northwest. During that time
23   he kept journals and drew sketches of tribal material culture as well as landscapes. One of the
24   drawings from his sketchbooks is of a canoe on the Columbia River at Oak Point. It is a unique
25   type of canoe used by our ancestors and the sketch was only available to us through the
26   National Archives at Seattle. We used the sketch to create a replica canoe which is a featured




       DECLARATION OF David Tyler                         2
       Harrelson
                                                                                                      116
 1   item in our exhibit hall at our Tribal museum, Chachalu Museum and Cultural Center, in Grand
 2   Ronde, Oregon. During the summer the canoe is taken out on our ancestral waterways. It is
 3   important to be able to browse records in person as records may be significant for reasons
 4   unknown to archivists, which may lead to the records being misfiled or organized in a manner
 5   that while functional for archival purposes may make them inaccessible or prevent discovery
 6   by persons who need them and understand them in a cultural context not understood by an
 7   archivist. In person access allows for input and sharing of knowledge between persons deeply
 8   connected to topics and materials with the archivists and others accessing these materials.
 9          5.      The Tribe uses records from our past like Tribal Council meeting minutes or
10   Indian agent letters and reports to better understand our past and inform our future. Access to
11   these records aids our own self-determination and helps ensure our community and our
12   ancestors’ legacies are sustained.
13          6.      The Cultural Resources Department has often used information and materials
14   housed at National Archives at Seattle for the review of off-reservation federal undertakings
15   through Section 106 of the NHPA and National Environmental Protection Act of 1970
16   (“NEPA”). Early cartographic maps of our peoples’ homelands often denote village sites and
17   trails which can help contribute to understanding the potential for archaeological items that
18   must be addressed. Further we have performed research at National Archives at Seattle to
19   inform our own planning efforts on the Grand Ronde Indian Reservation in association with
20   Section 110 of NHPA. One such research project was the Grand Ronde Land Tenure project
21   completed between 2016 and 2019. This effort sought to document land ownership, historic
22   maps, and cultural association (if applicable) within the bounds of the historic Grand Ronde
23   Reservation from creation in 1857 to termination of the federal government’s recognition of
24   the Tribe in 1956.
25          7.      No federal agency or federal government representative contacted the Tribe in
26   connection with the federal government’s decision to sell the National Archives at Seattle. Our




       DECLARATION OF David Tyler                      3
       Harrelson
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 1   Tribe first learned of the impending sale of the building which houses the National Archives
 2   at Seattle through a newspaper article that was shared broadly on tribal social media forums.
 3          8.         On January 24, 2019, after learning of the impending sale of the National
 4   Archives at Seattle, our Tribe sent a letter addressed to Mick Mulvaney at the Office of
 5   Management and the Budget 725 17th Street NW Washington, DC 20503 RE: Proposed
 6   Closure of the Seattle branch of the National Archives and Records Administration. This
 7   correspondence was sent by mail as well and copied to David S. Ferriero, AOUTUS and Bryan
 8   Mercier, BIA NW Regional Director.
 9          8.         The Tribe’s January 24, 2019, letter, to which the Tribe has received no
10   response, stated the following:
            Our Tribe would be directly adversely impacted by this closure and at no time has our
11
            Tribe been consulted in an ongoing and meaningful way regarding the potential
12
            closure and subsequent relocation of the archives.
13
            The collections held in the Seattle facility are comprised of the largest collected
14          archives documenting the history of the federal administration of Native American
15          populations in Oregon, Washington and Alaska. These archives include the majority of
16          the Bureau of Indian Affairs (BIA) records, the Portland Area Office (PAO) records,
            and medical records documenting the work of the Indian Health Services (IHS).
17
            Contained within these record groups are photographs of long gone places, letters
18
            written by Tribal members ancestors, school records from the Indian Boarding
19
            Schools, birth and death records, lists of names of Tribal school children, veterans,
20          workers, men and women; documentary proof of the existence of individual Tribal
21          people. Most of the records have not been digitized so research can only be completed
22          on site.

23          The Confederated Tribes of Grand Ronde and its contractors have utilized and
            continue to utilize these records for research in preparation for engagement with the
24
            United States Government during the normal course of regular Government to
25
            Government consultation, as do many of the U.S. Agency offices who work with our
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       DECLARATION OF David Tyler                       4
       Harrelson
                                                                                                    118
 1          Tribe and others. Should the records be removed to a more remote state with a period
 2          of interruption of access to complete the relocation process, the United States

 3          Government would be creating an adverse effect to our Tribe. Further, accessibility to
            these records is a part of fulfilling the Federal Governments Trust responsibilities
 4
            toward the Confederated Tribes of Grand Ronde and other Tribes.
 5
            This proposed action to relocate the Tribe’s history is reminiscent of historic traumas
 6
            inflicted on the tribal peoples that comprise the Confederated Tribes of Grand Ronde
 7          themselves. These traumas inflicted by the United States Government began with the
 8          forced relocation and removal of tribes and bands to the Grand Ronde reservation,
 9          continued through the enforced placement of tribal members onto allotments that led to
            the subsequent action of selling off tribal lands as surplus and finally ending with the
10
            Termination of the Grand Ronde Tribe in 1954. Only by accessing these records and
11
            reclaiming the historic truth of their existence and sovereign right to be recognized
12
            were some of the injustices of the past rectified through Restoration of our Tribe in
13          1983. Having access to these records has been crucial for the Tribe to provide for the
14          continuation of its sovereign rights and government operations.
15          The Confederated Tribes of Grand Ronde requests Consultation on the proposed

16          closure of the Seattle branch of the National Archives and Records Administration. Our
            expectation is that the United States Government fulfill its Trust obligations and engage
17
            in meaningful and ongoing consultation at the highest level prior to any
18
            implementation of plans regarding the relocation of these invaluable archives.
19
            9.      The Tribe’s staff and members will be negatively impacted if the records
20
     housed at the National Archives at Seattle facility are moved out of the Pacific Northwest. A
21
     move would increase travel costs for gaining access to materials in person and in some cases
22
     prevent access due to lack of funds to access the materials. The movement of the archives poses
23
     a risk to the document filing and associations that have come to be understood by our
24
     community in accessing materials relevant to us. The Tribe is aware of the lack of timeliness
25
     in the digitization of records that have been moved, such as with the case of the closure of the
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       DECLARATION OF David Tyler                       5
       Harrelson
                                                                                                    119
 1   archives facility in Alaska and the relocation of these materials to Seattle. The promise of
 2   digitization is not reassuring, as the volume of material makes the likelihood of its completion
 3   doubtful. Moreover, as explained above, digitization is unlikely to allow the same level of
 4   accessibility and identification of records. In addition we are concerned that the logistics of
 5   moving the archives poses an unnecessary risk to them through exposure and degradation of
 6   the materials caused by transport and processing. Transport and reprocessing could cause
 7   permanent harm and decrease the lifespan of the archives.
 8

 9   I declare under penalty of perjury that the foregoing is true and correct.
10
     DATED this 29th day of December, 2020 at Dundee, Oregon.
11                 day         month       year    city       state
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14                                                 David Tyler Harrelson
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       DECLARATION OF David Tyler                         6
       Harrelson
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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                           NO.
 8
                                     Plaintiff,                DECLARATION OF STEPHEN
 9                                                             HAYCOX
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants.
12

13          I, Stephen Haycox, declare as follows:

14          1.        I am a Professor Emeritus of History at the University of Alaska Anchorage. I

15   am over the age of 18 and competent to testify. I make this declaration based on my personal

16   knowledge.

17          2.        I taught history at the University of Alaska Anchorage fulltime for 40 years,

18   and carried out research in the Pacific Northwest NARA branch in Seattle from 1968 to the

19   present, working in various record groups containing Alaska-related materials. I have

20   published several score professional articles based on that research and five books, including

21   a narrative history of Alaska (Alaska, An American Colony [University of Washington Press,

22   2002; 2nd edition 2020]).

23          3.        Looking in my personal files I find that I have worked with records in at least a

24   dozen record groups, including RG126, Office of Territories, RG21, District Courts, RG115,

25   BuReclamation and RE123, Ct of Claims. But the most important groups I have consulted for

26   my work are RG75, BIA, RG48, SecInterior and RG95, USFS. In RG75 I have reviewed




       DECLARATION OF STEPHEN HAYCOX                     1              ERROR! AUTOTEXT ENTRY NOT DEFINED.

                                                                                                     121
 1   records of the work of the Bureau of Education in Alaska. This agency provided all Native
 2   services in Alaska before the transfer of its work to the BIA in 1931. This was a unique
 3   circumstance: the BIA refused to offer Native services in Alaska when first requested in 1885
 4   (there were indigenous in Alaska who were not Indians), so the Commissioner of Education
 5   took on that responsibility, with which he charged the BuEd, which had no other operations
 6   division. BuEd provided not just education services but also medical, orphanages (after the
 7   1919 flu epidemic) cooperative stores, and a marketing outlet in Seattle for Native artists.
 8   These records are only in the PacNW NARA branch. In RG49 are IRA constitutions which
 9   were drafted after the separate IRA was written for Alaska in 1936, known as the Alaska
10   Reorganization Act. This is also unique. No other indigenous group in the U.S. had a separate
11   act passed by Congress for them. It was necessitated because most Alaska groups were not
12   organized by tribe but by village. Also in RG48 are records of educational grants made to
13   Alaska Natives under the ARA, and of loans made to Native fishermen for boats and fishing
14   gear. In RG95 are reports from Chief Forester B. Frank Heintzleman (later Governor of
15   Alaska) on Congress’s passage of the 1947 Tongass Timber Act which dealt with the granting
16   of timber lease sales in the Tongass National Forest and with Tlingit-Haida land claims within
17   that forest, at 15 million acres, the largest national forest in the U.S. Also there are reports on
18   the environmental character of both Glacier Bay, withdrawn as a national monument in 1925,
19   and on Admiralty Island, which was recommended for withdrawal as a national monument to
20   protect its unique population of large brown bears, and for future recreational use. There are
21   many other aspects of these record groups which have been essential to my understanding of
22   how developments in Alaska’s past have shaped its present.
23              4. I utilized all of the materials in these record groups to write my history of
24   Alaska, first published in 2002, the second edition published in 2020. For example, in RG95
25   is correspondence between Heintzleman and Territorial Governor Ernest Gruening and Alaska
26   Delegate to Congress “Bob” Bartlett regarding the timber lease sales and the potential for




       DECLARATION OF STEPHEN HAYCOX                     2              ERROR! AUTOTEXT ENTRY NOT DEFINED.

                                                                                                      122
 1   establishing pulp mills on the forest to advance Alaska’s economy, a career-long campaign by
 2   Heintzleman, threatened by Tlingit-Haida land claims. In RG75 is correspondence between
 3   the Director of the BIA office in Juneau and the headquarters office in Washington, D.C.
 4   regarding the role of the Alaska Native Brotherhood in advocating for Alaska Native rights.
 5   Also there are employment records of Alaska Natives who worked for the BIA. I used court
 6   files in RG21 to reconstruct some aspects of the Tlingit-Haida land claims suit, which was
 7   decided in favor of the Natives in the U.S. Court of Federal Claims in 1959. There is much
 8   correspondence in RG 126 dealing with Alaska statehood, granted by Congress in 1958. These
 9   are but a few of the examples of records which were fundamental to both professional articles
10   I have published, and my narrative history of Alaska.
11          5.      I first learned of the impending sale of the PacNW NARA facility from
12   members of the Alaska Historical Society, and from an aide to Alaska U.S. Senator Lisa
13   Murkowski. I wrote then both to Senator Murkowski and to Archivist David Ferriero. I also
14   signed a letter from the Alaska Historical Society.
15          6.      It is difficult enough for researchers such as myself who are resident in Alaska
16   to travel to Seattle and bear the expense of lodging and meals in order to consult records. Even
17   if the records are digitized, there is no substitute for being able while using records to be able
18   to access other records referenced in the material one is consulting, or which come to mind
19   because of discoveries made in the material one is consulting. To have the Alaska records
20   scattered to California and Missouri will only complicate such research, undoubtedly often
21   taking it beyond reach. I have little confidence that all relevant records will be soon digitized,
22   if ever. Moving and dissipating the PacNW NARA branch materials will work more than a
23   hardship on research; in many instances it will kill it.
24
     I declare under penalty of perjury that the foregoing is true and correct.
25

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       DECLARATION OF STEPHEN HAYCOX                     3             ERROR! AUTOTEXT ENTRY NOT DEFINED.

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 I
     DATED this 28 th day of December, 2020 at Anchorage, Alaska.
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 5                                             STEP

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      DECLARATION OF STEPHEN HAYCOX                4            ERROR! AUTOTEXT ENTRY NOT DEFINED.


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 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON

 7   STATE OF WASHINGTON, et al.,                         NO.

 8                             Plaintiff,                 DECLARATION OF KATHLEEN
                                                          SHAYEHILL
 9          V.

10   RUSSELL VOUGHT, et al.,
11                             Defendants,
12          I, Kathleen Shaye Hill, declare as follows:

13          1.      I am an enrolled member of the Klamath Tribes, and have served the Tribes in

14   a variety of capacities over the years, including being part of the team seeking restoration of

15   federal recognition. I was also elected to serve on the Executive Committee and the Tribal
16   Council. I am over the age of 18 and competent to testify. I make this declaration based on

17   my personal knowledge.

18          2.      As a Klamath-Modoc woman who has spent countless hours researching tribal

19   documents in the National Archives in Seattle over a span of 35 years, I can attest to their
20   value for individual tribal members, tribal families, tribal governments, and other historians
21   who value original primary documents. This is certainly true for the Klamath Tribes, whose
22   federal recognition was unilaterally terminated in 1954. One aspect of termination
23   implementation involved loading the Bureau of Indian Affairs' Klamath Agency records into
24   boxes and shipping them out to the National Archives in Seattle. The National Archives staff
25   had just organized those records into an accessible system when I first visited the Archives in
26   1984. My initial archival project was based on a request by Klamath Tribes Chairman

      DECLARATION OF KATHLEEN                         1
      SHA YE HILL




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 1   Charles E. Kimbol, Sr. He asked me to identify signatories for rushed tribal allotment sales

 2   conducted as part of the termination process. It is worth noting that the only signature in the

 3   whole Tribe that I would recognize -   my father's unique signature -   had been forged. That

 4   experience piqued my interest and led me to begin independently researching the "how's"

 5   and "why's" of Klamath termination-in the contemporaneous words of some of those who

 6   were there at the time.

 7          3.      I was subsequently asked to join the Klamath Tribes Restoration Committee.

 8   When a Committee meeting with then-Senator Mark Hatfield revealed that even he was

 9   misinformed about Klamath termination, I was asked to write up some of the archival

10   research I had compiled. The Klamath Tribes used that document to inform tribal members,

11   members of the general public, and members of Congress about some realities that had been

12   overshadowed by the inflammatory reporting of uninformed media and anti-Indian sources.

13          4.      Over the years, I have had numerous opportunities to share our documented

14   history with tribal members, including younger generations, tribal employees and others who

15   are interested. More recently, my husband and I had an opportunity to collaborate with

16   William H. Rodgers, Jr., a University of Washington professor of law. Professor Rodgers

17   spent countless hours in the National Archives in Seattle doing research about the Columbia

18   River Tribes, revealing a rich socio-legal history involving a number of both Native and non-

19   Native unsung heroes. That documented history is captured in our book, The Si 'lailo Way:

20   Indians, Salmon and Law on the Columbia River.
21          5.      A great deal has been invested in the destruction of tribes. There was a

22   tremendous investment in killing our people, taking our land, breaking up our families,

23   destroying our languages, and attempting to assimilate us. The documents in the archives on

24   Sand Point Way reveal truths- both positive and negative-about our individual and tribal

25   histories, and the relationship between the federal government and the tribes of Alaska and

26   the Pacific Northwest. Relocating those documents, making them less accessible to the tribal

      DECLARATION OF KATHLEEN                         2
      SHAYEHILL




                                                                                                       126
 1   people whose history the documents reveal, would be an unconscionable abuse piled onto the

 2   abuses of the past.
 3          Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury under the laws of the
                                                                                                ~
 4   United States of America that the foregoing is true and correct. Executed on this2   t./   day of

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 8                                               KATHLEEN SHA YE HILL

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      DECLARATION OF KATHLEEN                        3
      SHAYEHILL




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5
6                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
7
        STATE OF WASHINGTON, et al.,                            NO.
8
                                     Plaintiff,                 DECLARATION OF KEN HOUSE
9
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12
            I, Ken House, declare as follows:
13
            1.        I am a retired Senior Archivist at the National Archives at Seattle. I am over the
14

15   age of 18 and competent to testify. I make this declaration based on my personal knowledge.

16          2.        Until I retired in 2017, I worked as a Senior Archivist at the National Archives

17   at Seattle from 2010-2017. Prior to that, I worked as an archivist at the Weyerhaeuser Company
18   Archives for eight years and earlier at the Oregon Historical Society for two years. In addition,
19
     I worked as the State Records Manager and State Records Center Manager for the State of
20
     Washington Archives and Records Management agency for twelve years. In total, I worked
21
     as a professional archivist and records manager for 30 years. I graduated from Western
22

23   Washington University with a Bachelor's Degree in History and with a dual Master’s Degree

24   in History and Archival Management. I am aware of the history and operations of the National

25   Archives from training, readings, direct experience and because I wrote my Master’s Thesis
26




       DECLARATION OF KEN HOUSE                           1
                                                                                                      128
1    on aspects of the creation and development of the National Archives (NARA). While doing
2    this academic work I traveled to do research at the National Archives in Washington DC and
3
     at a Presidential Library operated by NARA. Consequently, I have experience as a research
4
     customer of NARA archival services in multiple locations.          I know the challenges and
5
     opportunities researchers face in accessing the historical records of the United States
6
7    government in NARA custody and the procedures followed by NARA archival staff in Seattle

8    and elsewhere.

9           3.        In my capacity as a Senior Archivist at the National Archives at Seattle, my
10
     primary responsibilities included assisting researchers and receiving, preserving and making
11
     available newly received archival records transferred from the adjacent Federal Records
12
     Center. I also routinely worked to make records already in NARA custody more accessible.
13
     Most researchers—my customers—contacted me by telephone or email and often followed
14

15   up with an in-person visit to do research. Others simply walked in. It was not uncommon for

16   my co-workers and myself to individually have a backlog of fifty to one hundred research
17   requests at a time and for professional staff vacancies to go unfilled for months or a year or
18
     more. I believe this was typical within the National Archives system.
19
            4.        In the time I worked at National Archives at Seattle, funding was never
20
     adequate to meet the demand from our researcher customers. For example, we were not able
21

22   to create complete indexes or finding aids that would allow researchers to order records from

23   us remotely or for our staff to do comprehensive scanning and duplication of the records in

24   our custody that would allow researchers to access the record’s content online. This meant
25   researchers very often needed to visit the facility in Seattle and review our holdings in
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       DECLARATION OF KEN HOUSE                          2
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1    person. I have no reason to believe that NARA funding or staffing will improve in the future
2    to significantly change this situation. The physical storage location of the NARA archival
3
     records impacts citizen access as result. Based on conversations with researchers, I would
4
     estimate that between a third and one half of the research requests I worked on related to the
5
     lives of citizens and the government today and were not genealogical in nature or just
6
7    historical research for the sake of history.

8            5.      The files held at the National Archives at Seattle are the legal proof of the

9    actions taken by the local and regional offices of over 100 federal agencies such as the District
10
     Courts, Forest Service, Court of Engineers, Bureau of Indian Affairs, Park Service,
11
     Immigration and Naturalization and branches of the military operating in the Pacific Northwest
12
     and Alaska. The records cover up to 150 years of local federal government history. The
13
     National Archives at Seattle has custody of more than fifty thousand cubic feet of these
14

15   documents, files, photographs, plans, and other forms of records created in Washington, Idaho,

16   Oregon and Alaska States. The regional system of local archival branches of NARA was
17   specifically to house and provide access to the records created by local offices of the federal
18
     government near the area where those offices operate and near the citizens impacted by those
19
     offices, officials and their decisions. The system exists to provide regional access and regional
20
     federal government accountability.     The NARA regional branches place the only remaining
21

22   copies of the historical record of the actions of the nearby offices of the federal government in

23   the reach of any citizen in the region, regardless of their means.

24           6.      In terms of assisting researchers and the impact of relocating the records at the
25   National Archives at Seattle, I believe the work of an archivist and the process of providin g
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       DECLARATION OF KEN HOUSE                         3
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1    access to archival records at institutions such as NARA is not well understood by the general
2    public. The most common question I received about the records at NARA was, “Isn’t it all on
3
     microfilm or scanned or will be soon?” or “Isn’t all indexed?” The answer is “No.” I believe
4
     there is a misconception that an archivist can somehow locate information and provide it to
5
     researchers quickly and with certainty. Based on this misconception, the location of the
6
7    original records appears immaterial because the archivist can retrieve information, have it

8    scanned or copied, and sent to the researcher on demand. This is not true in many, if not most,

9    cases. This is especially not true in cases in which the outcome of the research has important,
10
     and often complex, legal, financial and personal impact on citizens. In most cases there is no
11
     clear and simple path to locate the needed information held within NARA. This is a result of
12
     the nature of archives themselves and financial reality. It was common for researchers doing
13
     more complicated research to be in the research room in Seattle for a week or more reviewing
14

15   a hundred or more boxes of files and documents and then returning for additional research. It

16   was common for them to make hundreds or thousands of copies while there.
17          7.      Relocating the records outside of the Pacific Northwest will impact almost
18
     every Pacific Northwest researcher in a negative way including their time, finances, and
19
     ultimately their ability to access the records they need at all. During my time working at the
20
     National Archives, I worked with a number of researchers who were homeless, including
21

22   veterans, and some who were living in their cars in the NARA parking lot while doing research.

23   Most of these were attempting to establish their right to benefits or redress harms done to them

24   by the federal government, their tribe, or others.
25
26




       DECLARATION OF KEN HOUSE                           4
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1           8.      When archival records reach the end of their legally mandated retention period
2    in a Seattle Federal Records Center, or a federal office, they are transferred to the National
3
     Archives at Seattle for safekeeping and public access. I annually received hundreds of boxes
4
     of files from the Federal Records Center. These were typically hard copy paper records and
5
     the only copy of the document in existence or in an archive. I accessioned the records, meaning
6
7    that NARA took formal legal ownership of the records, preventing the federal agency that

8    created them from retrieving, altering or destroying them at some time in the future.

9    Accessioning also allows direct researcher access to the records without having to receive
10
     approval from the agency of origin or to visit an agency office or multiple offices. When
11
     records are accessioned, the boxes of files come organized and identified exactly as they were
12
     left by the agency personnel who created and worked with them. They are kept in the order in
13
     which they are received. Maintaining original order is a fundamental archival principle and is
14

15   the only way archivists can deal with the massive amount of diverse information they

16   receive. In most cases there is no index or finding aid received with the boxes when
17   transferred. Indeed, it is rare that archivists at the National Archives at Seattle, or NARA staff
18
     anywhere, have the time to create a finding aid. It can often take decades for this to be done, if
19
     ever. The finding aids that are created may only be on the general office or box level, not at
20
     the file level and almost never at the document level.
21

22          9.      To provide an example of records organization and disorganization common at

23   the National Archives at Seattle, some of the most important and frequently requested are from

24   the local offices of the Bureau of Indian Affairs (BIA). In Western Washington alone, there
25   have   been    multiple    reorganizations    of   BIA    functions   and    offices   over   the
26




       DECLARATION OF KEN HOUSE                          5
                                                                                                     132
1    decades. Consequently records of Tulalip Reservation, for example, are in boxes from the
2    Tulalip Indian Agency as well as the BIA’s former Portland Area Office, Western Washington
3
     Office, Everett Office, Puyallup Agency and other offices of the local BIA system. They are
4
     filed and labeled in ways that worked for the BIA office staff, but often this is not clear or
5
     useful now. To locate a specific piece of information regarding the Tulalip means knowing
6
7    which, or all, of these groups of boxes received from BIA offices to check and can take hours

8    or days. Archivists at the National Archives are allowed no more than one hour per reference

9    request to assist a researcher. About half of this time is typically taken providing them with
10
     general orientation information. NARA archivists are instructed by their managers to “do
11
     reference, not research.” This means to guide and assist the researcher, but not do their
12
     research work for them. For example, while I could locate a single student file from the BIA
13
     Chemawa Indian School in an hour, I could never answer a more complex request in that time
14

15   from almost any agency’s records. In another example, the criminal and civil cases heard by

16   the local District Courts are only indexed by the name of the plaintiff and defendant in the hand
17   written, or typed, docket books created by the Clerks of each Court. As a result, no one can
18
     ask an archivist for a list of court cases related to racial discrimination, for example, using this
19
     access system and get an answer. There are no subject indexes created for Court case files
20
     unless by a very small group of highly motivated volunteers. In yet another District Court
21

22   example, federal land condemnation cases are only entered in the docket books in this format:

23   “U.S. v. 103.63 acres of land”. No more information besides date is given. These land case

24   files were frequently requested for current litigation.     In short, knowing which case file a
25   researcher needs cannot be determined in an hour typically. Ultimately, a researcher doing
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       DECLARATION OF KEN HOUSE                           6
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1    any level of complex or important research beyond the most superficial in BIA, Court and
2    other agency records has to come to the location at which the records are held or hire a
3
     professional researcher at an hourly rate to do the work for them.
4
            10.     In my position as a Senior Archivist, I assisted a wide array of individ ua l
5
     researchers and groups of researchers who visited the National Archives at Seattle
6
7    facility. Tribal members, researchers working for the local tribes and tribal employees would

8    frequently visit the National Archives at Seattle. I would assist them in retrieving tribal records,

9    maps, and other legally important records. This research could relate to land ownership, treaty
10
     rights, tribal recognition, the rights of individual tribal members, and BIA and other
11
     government agency accountably.        As one example of this research during my time at the
12
     National Archives at Seattle, there was an ongoing effort on the part of some regional tribes to
13
     reduce the number of their enrolled members or audit their member’s eligibility to be a
14

15   member. This could lead to disenrollment of a member or members of the tribe. The dis-

16   enrolled family would lose access to their tribal identity and sometimes life or death matters
17   such as health care or housing. Sometimes these were people with little apparent financial
18
     means. They came to the National Archives at Seattle to find evidence to reverse the tribe’s
19
     decision if possible and I worked with them. Finding records in BIA files about their ancestors
20
     to prove their right to tribal membership was complicated, indirect, roundabout and required
21

22   direct access to the records through an onsite visit. Remote access would simply not give the

23   answer, short of potentially paying to have thousands of pages of records to be copied. And at

24   the risk of not finding anything.
25
26




       DECLARATION OF KEN HOUSE                           7
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1           11.     Other types of regular visitors included historians, professional researchers
2    working on environmental disputes such as superfund sites, genealogists, students, and
3
     lawyers. National Parks and Forest Service records were also popular. We would get visitors,
4
     for instance, who would want to obtain a copy of a record containing a family member’s name
5
     in the Mt. Rainier summit register or the records of their relative’s death on the Mountain in
6
7    the Park fatality files. Others were studying land conservation issues such abuse of Forest

8    Service grazing rights over the decades and its impact on the land or their legal right to live on

9    Forest Service land. One University of Washington graduate student researcher working for
10
     the Klamath Tribe found records at the National Archives at Seattle of early BIA timber
11
     surveys showing the composition of the old growth Klamath Reservation forest. She used
12
     these to assist the Tribe in plans to recreate original forest species distribution on tribal
13
     lands. No archivist on staff realized we had the records or recognized their significance until
14

15   she did in person research. Furthermore, the Seattle office holds the records of the Termination

16   of the Klamath Tribe and other Tribes in the 1950s and its impact on tribal members, their land
17   holdings and land uses including access to natural resources. These files, and other BIA files,
18
     are important to local tribal members and their descendant’s because of the depth with which
19
     the BIA involved itself in the daily life of individuals and permanently recorded details of long
20
     term legal and personal importance. The seventy thousand, or so, Chinese Exclusion Act case
21

22   files covering about 1890-1940 were also frequently used by individuals looking for

23   information about their family history and immigration experience. These files were the only

24   source of this type of information and provide a record of the immigration discrimination over
25   decades in great detail.    The Exclusion Act files provide another example of almost
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                                                                                                     135
1    insurmountable remote access issues because they are filed by INS file number only with no
2    index. A group of dedicated volunteers is creating an index that will take a decade or more to
3
     complete. The likelihood that such a group would go to an out-of-state location and do this
4
     work is remote.
5
            12.     I also would assist employees of federal agencies with their official research,
6
7    such as the Forest Service, Corps of Engineers, District Courts, Indian Affairs, Federal

8    Highway Administration, Military, Park Services and others. They needed to do research on

9    their agencies’ own records or other agencies’ records for current business and legal
10
     purposes. In one example, a Fish and Wildlife employee was trying to establish the size and
11
     types of salmon runs destroyed by the construction of several private power generation dams
12
     on the Klamath River in the early 1900s. He was working on dam removal efforts and salmon
13
     restoration. Unique BIA records from the Klamath Indian Agency gave him an answer, the
14

15   only answer he could find, but were very difficult to locate within Indian Agent

16   correspondence, BIA office subject files, some photos, other file groups and in District Court
17   testimony. While the specific example is unique, the type of research was not uncommon at
18
     Seattle while I worked there. In another example of assisting federal employees, annually I
19
     worked with a team of researchers from the Army Corps of Engineers who came to Seattle
20
     looking for evidence of munitions lost by the military from planes, ships or by other means in
21

22   the 20th Century in the Pacific Northwest. In one case they found records of a bomb accidently

23   dropped from a dock during World War II in downtown Seattle. The dock area is now used

24   by cruise ships. The number of lost munitions seemed to be substantial as indicated by their
25   frequent visits. In an example of the difficulty in locating these records, the Navy Department
26




       DECLARATION OF KEN HOUSE                        9
                                                                                                  136
1    over many decades used a filing system that only identified files by a code number and filed
2    the records annually under this system. Locating anything regarding munitions, shipping or
3
     loss mandated an in person visit. Hanford Reservation records were also accessed by various
4
     federal and state agencies studying contamination and other issues. Forest Service historians
5
     and other agency staff came to do research on recreation and conservation issues while I
6
7    worked there as did staff of less known agencies and Park Service employees.

8           13.     During my time working at the NARA Seattle facility, I saw and participated

9    in various types of physical conservation of historical records of various formats to ensure long
10
     term access and preservation. One type of record’s conservation involves the acceptance of
11
     records from the Seattle Federal Records Center into the Archives section of the building under
12
     conditions designed to conserve and protect the record. The Records Center area has
13
     temperature and security controls, but no air conditioning or humidity regulation to preserve
14

15   paper media. High temperatures and unregulated humidity are some of the most significant

16   factors shortening the life of paper records. Once a federal record is deemed an archival and
17   reaches the end of its legal retention in Records Center custody, it is moved from the Federal
18
     Record Center into the adjacent archival vault space. Archival records are stored there in
19
     special conditions to ensure document’s longevity. The archival storage space is climate
20
     controlled, temperature and relative humidity is regulated, the windowless, secure, concrete
21

22   vaults protect records from theft, and various types of damage including fire, insect, water and

23   fading. There are fire sprinklers and heat, smoke and water sensors monitored 24 hours a day.

24   Records theft and destruction is also limited because researchers are only allowed access to
25   original documents in a very controlled research room space with security cameras under the
26




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1    direct supervision of a NARA staff person at all times. In a form of more active, hands on,
2    conservation undertaken at the National Archives at Seattle, archival documents are placed in
3
     special acid neutral file folders and stored in special archival quality boxes to stop
4
     deterioration. Further only NARA staff can enter the records storage space. There are cipher
5
     locks on the doors, security cameras and alarm systems to deter theft. Highly valuable files
6
7    and documents are stored in fireproof file cabinets that can only be accessed by two employees

8    observing each other and tracking their access. In sum, there are numerous conservation

9    actions taken by NARA staff to prolong access to archival documents over time by preserving
10
     the record and its content.
11
             14.      In almost every case, the millions and millions of pages of files at the National
12
     Archives at Seattle are the only copy in existence. If lost, they cannot be replaced or
13
     recreated. One threat to the records is transportation by truck, train or ship to another
14

15   location. The movement of over fifty thousand cubic feet of these records in hundreds of truck

16   loads to another location risks the loss of at least some of them by misadventure such as a truck
17   fire or collision.
18
             15.      The NARA Seattle facility also assisted in the conservation of records through
19
     its digitization work. Although most records at the NARA Seattle facility have not been
20
     digitized, some have been. After the NARA facility in Alaska was closed a few years ago,
21

22   Alaska federal archival records were sent back to the NARA Seattle facility, where they had

23   previously been located. As part of this move, NARA hired four staff and purchased overhead

24   and flatbed scanners in order to begin scanning and digitizing Alaska records. This was part of
25   a promise to the Alaska congressional delegation and was unique as far as I know within the
26




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                                                                                                     138
1    NARA system where only a very limited amount of digitization is funded and ongoing. While
2    it is a slow and laborious process, the digitization of archival records ensures that documents
3
     are preserved. It also expands the life of an archival document because once a document has
4
     been digitized it needs to be handled much less.
5
            16.     While digitization can be powerful conservation tool, I also observed the
6
7    difficulties associated with the digitization of archival records. First, before a document can

8    even be scanned, all fasteners must be removed by hand in a careful manner to avoid damaging

9    the document. Then all scanning of documents, every item in a file—from small notes to huge
10
     maps and plans—is done one at a time. The use of sheet feeders is never allowed because they
11
     may tear or destroy a document. Scans must then be proofed by another staff person to make
12
     sure they are legible and no pages are missing. Any document with personally identifiable or
13
     business, student or health information like Social Security numbers cannot be scanned or the
14

15   information must be carefully redacted from the image. And the individually scanned

16   documents must then be organized in virtual files and provided context and metadata so they
17   can be identified, found and retrieved. For example, the information includes which agency
18
     created the file, when, for what purpose, what is the file title if any, what it related to and so
19
     forth. And the files then have to be placed in an online catalog that can be searched. It is an
20
     onerous, slow and time-consuming process. There are billions and billions of pages of records
21

22   within the National Archives system overall. Only a minute number has been microfilmed or

23   scanned. In my opinion, this work will likely never be completed and at current levels of

24   funding it will take decades to make a real public access difference.
25
26




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                                                                                                     139
1           17.     One example I recall, involved Bureau of Land Management land transaction
2    files from Alaska – files documenting the sale of federal land to others. These included over
3
     900 boxes of records that are frequently accessed by the agency’ the land owners and others
4
     including the State of Alaska. Because those documents are frequently requested they were
5
     prioritized for digitization by our manager. But once we began preparing those materials for
6
7    scanning, we realized they were filled with Social Security numbers, addresses, and other

8    personal identification and financial privacy information. To make those documents publicly

9    available, required—in addition to the steps discussed above—looking at each page to identify
10
     any protected information; making a hard copy; blacking out or redacting the information; and
11
     then scanning the copy; or otherwise redacting the document after it was scanned by deleting
12
     and/or covering parts of pages. In the end, the decision was not to scan them. It simply was
13
     not practical from a staff time perspective and there was a possibility that private information
14

15   might be overlooked and released.

16          18.     Other forms      of conservation     were coordinated      with   other   NARA
17   facilities. Once each year, we would send an important document at the NARA Seattle facility
18
     that was in need of repair to the NARA Conservation Lab in Maryland. The document would
19
     then be repaired or stabilized and returned to the NARA Seattle facility. This too ensured the
20
     long-term conservation of NARA Seattle’s most important documents.
21

22          19.     I have heard it said that relocation of the Seattle records will not be a problem

23   to researchers because they can order copies or scans or that all records will be digital,

24   sometime. This is simply not true, in my experience, as indicated by the examples above and
25   by the discussion of the difficulties facing researchers due to the organization of archival
26




       DECLARATION OF KEN HOUSE                         13
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1    records, limited NARA funding and staffing, and the lack of effective indexes. Relocating the
2    records at the National Archives at Seattle to an area remote from the federal offices that
3
     created them, places a burden on the researcher who will now be required to pay for copies, if
4
     they can identify the records to be copied at all from a distance; otherwise they will have to
5
     travel out of state or will have to hire a researcher to work for them. Relocation also places a
6
7    burden on citizens of the Pacific Northwest attempting to keep their government accountable

8    and to learn, protect their interests, redress wrongs, or inform future citizens about the federal

9    government’s actions in their Pacific Northwest home.
10
             20.     In addition, the local and regional community would be impacted by the closure
11
     of the National Archives at Seattle. Middle and High School students participating in the
12
     annual History Day competition are required to do research including primary historical
13
     documents (instead of secondary sources such as history books) and come to the National
14
     Archives at Seattle to do this. NARA archivists volunteer as History Day judges on the local
15
     and regional level. Local college and graduate level students are also provided valuable
16
     internships at the National Archives at Seattle to learn archival practices. This opportunity
17
     would no longer be available if the Seattle facility is closed. History and archival related
18
     meetings and trainings are regularly hosted and held at the National Archives at Seattle facility.
19
     Staff speak at local conferences and meetings. They also carry out outreach activities in the
20
     region and local community of many kinds related to the federal governments, it history and
21
     its archives.
22
             21.     Staff also consult with staff at local offices of the federal government on
23
     archival issues of all types and make sites visits. During my time as an archivist I visited a
24
     number of federal facilities including the National Oceanic and Atmospheric Administration ,
25
     the Bankruptcy Court, various District Courts and others. NARA staff assist in response to
26




       DECLARATION OF KEN HOUSE                          14
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     re gional records related disasters and emergencies that occm due to floods , fires and the like.

 2   They provide training to federal office staff on records creation, preservation and disaster

 3   prevention. The National Archives at Seattle has a small display space with changing exhibits

 4   on the history of the federal gove rnment and archives in the Pacific Northwest.

 5   1 declare under penalty of perjury that the foregoing is true and correct.

 6
     DATED this 2/"!?day of ~JJll ~..t. 'i     , '2.0ZJ at    Oc., y1-1 r?tA        ' .L!:!_lrS: HI AJ ~ ~
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       DECLA RA TTON OF KEN HOUSE                        15




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 4

 5

 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                          NO.
 8
                                     Plaintiff,               DECLARATION OF JUSTINE
 9                                                            JAMES.JR.
                  V.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12

13
            I, Justine James, Jr., declare as follows:
14
             1.        I am an enrolled member of the Quinault Indian Nation ("Nation"). I am over
15
     the age of 18 and competent to testify. I make this declaration based on my personal
16
     knowledge.
17

18          2.         The Nation is a federally-recognized Indian tribe and sovereign government. It

19   is governed by a Constitution ( 1975) and code of laws. The Nation is a signatory to the Treaty
20   of Olympia ( 1856) whereby it reserved the right to take fish at its usual and accustomed fishing
21
     grounds, among other rights. In that Treaty, the Quinault people also reserved a homeland, the
22
     Quinault Indian Reservation located on the west coast of Washington. Prior to its Constitution
23
     being ratified in 1975, the Quinault people adopted Bylaws of the Tribal Council of the Indians
24

25   of the Quinault Indian Reservation in 1922.

26



       DECLARATION OF                                                    AITORNEY GENERAL OF WASHINGTON
       JUSTINE JAMES, JR.                                                   COMPLEX LITIGATION DIVISION
                                                                              800 S11 1 A VENUE, SUITE 2000
                                                                                SEATTLE, WA 981o.J-3188
                                                                                       (206) 464-7744


                                                                                                              143
 1            3.     I currently serve as the Cultural Resource Specialist for the Nation. I have
 2
     worked for the Nation for since 1991. As a Cultural Resource Specialist for the Nation, my
 3
     work has focused on reviewing state forest practice applications for logging within the
 4
     Nation's adjudicated usual and accustomed Treaty fishing areas for potential impacts to Treaty
 5
     fishing resources under the Washington State's Timber, Fish and Wildlife (TFW) program. I
 6

 7   also review off-Reservation development projects in the context of the State Environmental

 8   Policy Act and the National Environmental Policy Act for impacts to the Nation's historic and

 9   cultural resources. Additionally, I serve as the Nation's consulting party under Section 106 of
10
     the National Historic Preservation Act. As part of my position, and my personal interest, I have
11
     studied and reviewed historic Quinault documents for decades and am familiar with the history
12
     and culture of the Quinault Nation and the Quinault people.
13

14
              4.     In the early 2000s I spent a week reviewing documents that I requested

15   pertaining to the Quinault Nation and the Quinault Reservation at the National Archives at

16   Seattle. I reviewed these records as part of my role assisting in the drafting and review of the
17   Watershed Analysis Cultural Module regarding the Bureau of Indian Affairs management of
18
     Quinaukindian Reservation. At the end of that week, I still had not been able to go through
19
     all the materials available at the National Archives because the collection of Quinault records
20
     was so vast. I recall seeing documents that included:
21

22   •        Bureau of Indian Affairs records circa 1905-1939

23   •        Microfiche of Census information-I noticed most local tribes, but didn't have the time

24   to check to any extent, these went back to the 1800s.
25
     •        Newspaper articles and photographs, etc .
26


         DECLARATION OF                                   2              AITORNEY GENERAL OF WASHINGTON
         JUSTINE JAMES, JR.                                                 COMPLEX LITIGATION DIVISION
                                                                              800 5rn AVENUE, SUITE 2000
                                                                               SEATTLE, WA 9811M-3188
                                                                                ·   (206)464-7744


                                                                                                           144
     I was only allowed to use a pencil and notebook to record information about these records. I
 2
     am not sure if copies were available then, although I did not have the funds to pay for copies
 3
     at that time.
4
             5.      The National Archives at Seattle is an important repository for research and
 5
     contains important, valuable, cherished and treasured documents. The Nation is comprised of
 6

 7   treaty tribal groups that fall under the umbrella of the Quinault Indian Nation to which the

 8   United States has trust responsibilities. The archives hold irreplaceable primary records

 9   concerning those tribal groups and the creation of the Quinault Indian Reservation, such as the
10
     application of the Dawes Act in Washington State, the Halbert Case (determining the status of
11
     allotments on the Quinault Indian Reservation), the Indian Reorganization Act, the termination
12
     policies, Executive Orders, and supplementary regulations, policies and laws. The records in
13
     the National Archives facility are critical evidence of the enormous impacts to the tribal
14

15   citizenship, enrollment, land ownership and property rights that may affect Quinault tribal

16   members and also inheritors who need to research the genealogy and census records.

17           6.      As the Cultural Resource Specialist for the Nation and enrolled Quinault tribal
18
     member, it is critically important to me to have access to the archival materials within the
19
     Nation Archives at Seattle. The records contain cultural and historical information
20
     indispensable and irreplaceable for the historical and ethnographic reconstruction of the
21

22   relationship between the United States Federal Government and the Quinault Indian Nation.

23   The archives contain records that pertain to multitudinous local, state, and federal regulations

24   and congressional policies that have occurred since the inception of the Quinault Indian
25
     Reservation. Access to these records provides a historical timeline for the developmental
26


       DECLARATION OF                                   3               ATIORNEY GENERAL OF WASHINGTON
                                                                           COMPLEX LITIGATION DIVISION
       JUSTINE JAMES, JR.                                                    800 5111 A VENUE, SUITE 2000
                                                                              SEATTLE, WA9810-i-3188
                                                                                   (206) 464-7744


                                                                                                            145
     policies that have been thrust upon the Nation. These archival materials enhance historical
 2
     research and the materials that may be used to protect, as well as strengthen the exercise of the
 3
     rights and responsibilities of the Quinault Indian Nation and Tribal Sovereignty. With a local
4
     archival facility the simple act of remembrance and being able to access documentation and
 5
     dealings is a valuable tool for historical research. A local facility for all histori~al Pacific
 6

 7   Northwest activities allows me and other representatives of the Quinault Indian Nation the

 8   opportunity to review historical actions and perspectives of what has transpired over these

 9   many years since interaction with non-tribal people began.
10
            7.      I first learned of the federal government's interest to sell the National Archives
11
     at Seattle on January 16, 2020, when I read about it in a KIRO radio news article. I alerted the
12
     Nation's Office of Attorney General. Our attorneys alerted the Northwest Indian Fisheries
13
     Commission ("NWIFC"), of which the Nation is a member, because of concerns about the
14

15   status of treaty-related records housed at the National Archives in Seattle. The NWIFC held

16   several meetings with representatives of its member tribes beginning in February 2020, and

17   which I and other Nation representatives periodically attended.
18
            8.      The Nation sent a letter opposing the sale of the National Archives at Seattle to
19
     Russ Voight, Acting Director of Office of Management and Budget dated February 5, 2020,
20
     which is attached as Exhibit 1 to this Declaration, opposing the closure and sale of the National
21

22   Archives at Seattle and requesting government-to-government consultation pursuant to

23   Executive Order 13175.

24          9.      The Nation requires unfettered access to these records moving the facility is a
25
     disingenuous action that restricts this access, both temporally and physically. Moving records
26


       DECLARATION OF                                   4               ATIORNEY GENERAL OF WASHINGTON
                                                                           COMPLEX LITIGATION DIVISION
       JUSTINE JAMES, JR.                                                    800 5nl AVENUE, SUITE 2000
                                                                               SEATTLE, WA 9810-l-3188
                                                                                     (206)464-7744


                                                                                                          146
     exposes them to the possibility of damage and misplacement. Moving the National Archives
 2
     at Seattle to a different facility would impose an unacceptable obstruction of access to these
 3
     records for an undetermined amount of time. Moving these records out of the local geographic
 4
     area would impose and inexcusable hardship on local tribes lo travel for access to this
 5
     important information. This loss of access will hinder and handicap the Nation's ability to
 6

 7   respond to cultural stewardship issues throughout the Quinault Indian Nation ceded lands in

 8   the Westside of the Olympic Peninsula and Southwest Washington. The closing and relocation

 9   of the National Archives at Seattle would create undue stress on Quinault tribal finances and
10
     raise budget concerns. A distant location creates potentially insurmountable accessibility
11
     issues as it could possibly create undue stress on the already limited tribal budgets. Staff time
12
     and travel would become stressing issues.
13

14

15   I declare under penalty of perjury that the foregoing is true and correct.

16

17   DATED this _4..:...:t=h__day of January, 2021 at Taholah, Washington.
                   day          month      year    city       slate
18

19

20
21

22

23

24

25

26



       DECLARATION OF                                     5              ATTORNEY GENERAL OF WASHINGTON
       JUSTINE JAMES, JR.                                                  COMPLEX LITIGATION DIVISION
                                                                             800 5rn AVENUE, SUITE 21JOO
                                                                               SEATTLE, WA 9810-l-3188
                                                                                   (206)464-7744


                                                                                                           147
                                                        EXHIBIT 1 TO DECLARATION OF JUSTINE JAMES, JR.



                          Qu ina ult Ind ian Na tio n
                                                  □   TAHOLAH, WASHINGTON 98587   □
                                                                                           1




                                                                                      TELEPHONE (360) 276. 8211
                            POST OFFICE BOX 189




                                                                                       February 5. 2020




Russ Vought
Acting Director
Office of Manage ment and Budget
725 17th Street, NW
Washington, DC 20503


        RE: Opposition to Closure of the Sand Point Federal Archives and Records Center

Dear:
                                                                                                  at
I am writing to express our opposition to closure of the Federal Archives and Records Center
6125 Sand Point Way NE, Seattle, WA. This issue of great significa     nce to the tribes of
Washington, Alaska, Idaho, and Oregon. Under a recently enacted statute, the Federal Assets
Sale and Transfer Act of 2016 ("FASTA"), the National Archives this facility is being
                                                                                              separate
recommended for closure and sale, with the archived documents to be transferred to two
locations far from the Pacific Northwe st. Under FAST   A' s expedite d timelines , the
recommendation for sale is on a fast track. The impacts from the transfer of the archived
                                                                                               be
materials on the 272 federally-recognized tribes in the Pacific Northwest and Alaska will
                                                                        without  following  the
profound and irreparable. What' s more, this decision has been made
                                                                                                  of
government-to-government consultation requirements of Executive Order 13175. The Office
                                                                                         transfer of
Management and Budget (" OMB 'J can and should reject the propo.\·ed closure and
the Sand Point Archive.
                                                                                                     Point
The National Archives maintains the Federal Archives and Records Center at 6125 Sand
Way NE, Seattle, WA. The Sand Point Archive contains           historica l records  from all  federal
                                                                                                   Health
agencies, including the Department of Interior, the Bureau of Indian Affairs. the Indian
                                                                                       Among     the  many
Service, and various other agencies that have had dealings with Indian tribes.
important historical materials housed at Sand Point are the original copies of correspondence
                                                                                                   in the
between Governo r Stevens, Indian agents. and Tribal leaders during treaty negotiations
         th Century. as well as original drafts of the treaties themselves. The facility also houses
mid-19
                                                                                                     the
critical and hard-to-reproduce historical information related to the area tribes. Moreover.
                                                                    ion related  to  Alaska  tribes  has now
Anchorage archives were closed in 2014, and all the informat
been moved to the Sand Point Archive facility. Tribal leaders,       tribal  cultural resource  s staff,




                                                                                                                  148
tribal historians and others regularly make use of the Sand Point Archive to carry out research
and recover their tribe's history.

FASTA was enacted in 2016 to facilitate and expedite the sale of high value federal properties.
The process involves a review and recommendation by a board appointed under FASTA, the
Public Buildings Reform Board ("PBRB"), which is in the midst of a six year demonstration
project. The PBRB identifies its mission as identifying specific Federal properties for disposal in
a manner that will "obtain the highest and best value for the taxpayer" and accomplish the goal
of "facilitating and expediting the sale or disposal of unneeded Federal civilian real properties."
Pursuant to that mission, the PBRB issued a report in late December recommending the sale of
12 federal properties around the country, including the Sand Point Archive. As we understand.
the 0MB identified concerns with the proposed Sand Point Archive sale recommendation in an
earlier iteration.

If the Sand Point Archive facility is sold, the archived materials will have to be moved. The
materials will be split up, with records going to Kansas City and archival materials going to
Riverside, CA, although the PBRB also acknowledges that the Riverside facility is not ready to
take on the voluminous materials. As a result, those archived materials will have to be moved to
some as-yet unknown facility for an undetermined amount of time. Splitting up these materials
and moving them to Kansas City and to Riverside is damaging enough, making it cost-
prohibitive for many of the Northwest and Alaska tribes to access these critical historical
materials. Nonetheless, the area's tribes were never consulted as required under Section S(a) of
E.O. 13175 despite the clear "tribal implications" of this move.

We request your urgent assistance in stopping this ill-considered and ultimately damaging
closure and transfer of the Sand Point facility and its documents. Under the FASTA process, the
0MB must make its decision to approve or deny the sale within days. If 0MB gives the green
light, the sale process then gets fast-tracked under FASTA's guidelines. Doing so without having
consulted with the area tribes is improper and the process must be halted and analyzed correctly.

Respectfully,




Fawn~arp, President
Quinault Indian Nation

Cc      Senator Maria Cantwell
        Senator Patty Murray
        Representative Derek Kilmer




                                                                                                      149
 1

 2

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 5

 6

 7

 8                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 9
     STATE OF WASHINGTON, et al.,                        NO.
10
                               Plaintiff,                DECLARATION OF JEREMY
11                                                       JOHNSON, THPO COW CREEK
            v.                                           BAND OF UMPQUA TRIBE OF
12                                                       INDIANS
     RUSSELL VOUGHT, et al.,
13
                               Defendants,
14
            I, Jeremy Johnson, declare as follows:
15
            1.      I am an archaeologist, the Cultural Resources Program Manager, and Tribal
16
     Historic Preservation Officer (THPO) for the Cow Creek Band of Umpqua Tribe of Indians,
17
     signatory to the 1853 Treaty with the Umpqua - Cow Creek Band (10 Stat. 1027).
18
            2.      I am over the age of 18 and competent to testify. I make this Declaration
19
     based on my personal knowledge. As the THPO, I am the Tribal official responsible for
20
     information related to the Tribe's current and previous management of cultural resources,
21
     preservation efforts, archaeological research, and anthropological work.
22
            3.      I earned a Master's Degree m Applied Anthropology from Boise State
23
     University in 2015 and have worked for the Tribe since 2016.
24
            4.      The Tribe has extensively researched and utilized historical records on file
25
     with the U.S. National Archives and Records Administration (NARA) since at least 1980.
26

      DECLARATION OF JEREMY                          1              Galanda Broadman PLLC
      JOHNSON, THPO COW CREEK BAND                                  8606 35th Avenue NE, Ste. L1
      OF UMPQUA TRIBE OF INDIANS                                    Mailing: P.O. Box 15146
                                                                    Seattle, WA 98115
                                                                    (206) 557-7509
                                                                                                   150
 1          5.      The Tribe has planned future research trips at NARA in connection with the
 2   Tribe's lands and activities in and around its ance stral territory, which includes, but is not
 3   limited to, the Umpqua River watershed upstream from Scottsburg, Oregon, and the northern
 4   slope of the Rogue River watershed upstream from Agness, Oregon. 25 U.S.C. § 712e.
 5          6.       Moving and dispersing these collections would create a significant barrier to
 6   the Tribe's further research and therefore the Tribe's agricultural, forestry, land restoration,
 7   historical, and archaeological efforts.
 8          7.      NARA contains records of significant value to the Tribe's past and future.
 9          8.      The value of maintaining physical records at NARA is that, to my knowledge,
10   not all archives have been digitized and made available outside of the NARA Seattle facility.
11   Using the online catalog shows only what has been processed, not what could potentially be
12   missing. We simply do not know the full extent of what NARA holds.
13          9.      Records related to Cow Creek at NARA are important as they are primary
14   resources and firsthand accounts that describe history and culture prior to attempted removal,
15   and original legal documents that detail the Tribe's legal fights; another aspect of the Tribe's
16   history.
17          10.     On behalf of the Tribe, from 1980-2015 Professor Stephen Dow Beckham,
18   Pamplin Professor of History, Emeritus, Lewis & Clark College, used NARA extensively as
19   part of the restoration of the Tribe, protection of its resources, and re-establishing the Tribal
20   land base, including for forestry and agricultural activity. He accessed the following records:
21          Portland Area Office Director's Records:
22          Box 3 023 Proposed Legislation, 1951-1953
23          039 Other Departments & Establishments, 1951-1952
24          051 Reports, Annual, 1951-1953
25          064 Councils, Acts of Tribal Councils, 1951-1952
26          067 Business Committees, 1951-1952

      DECLARATION OF JEREMY                            2             Galanda Broadman PLLC
      JOHNSON, THPO COW CREEK BAND                                   8606 35th Avenue NE, Ste. L1
      OF UMPQUA TRIBE OF INDIANS                                     Mailing: P.O. Box 15146
                                                                     Seattle, WA 98115
                                                                     (206) 557-7509
                                                                                                    151
 1        Conference, Area Directors, 1950-1954
 2        Box 4 071 Conferences--Meetings, 1951-1953
 3        Division of Program, Field Trip Report, Portland Area, 6/19-29/52; G. Warren
 4        Spaulding (concerning withdrawal) Congressional Record- "Abolish Indian Bureau"
 5        9/10/51; Summary of data prepared in answer to Commissioner's memo 8/5/52
 6        (preparedness of Indian tribes, bands....to dispense with services specially provided
 7        through the BIA); Memo of 4/23/53 - Withdrawal from federal supervision Western
 8        Oregon Termination, 1954-1955
 9        130 General - Long Range and Withdrawal, 1952-1955
10        Proposed Withdrawal - Western Oregon, 12/53
11        130 Grand Ronde-Siletz - Western Oregon - Long Range and Withdrawal, 1953-1954
12        Drafts of proposed bills for termination - Grand Ronde-Siletz and Western
13        Oregon
14        160.0 Commissioner Emmons' Trip to Portland, Oct. 1953
15        Oregon Law and Order Legislation
16        306 Removal of Restrictions, 1951-1952
17        308.1 Settlement of Allotted Lands, 1951-1952
18        320 Leasing of Lands, 1951-1952
19

20        Boxes 11-14
21        Area Director and Assistant Area Director: Correspondence - By Agency, 1951-1953:
22        Box 11 General    All Agencies
23        Bonneville Lieu Sites, 1952-1953
24

25        Box 12 Grand Ronde-Siletz, 1952-1954
26

     DECLARATION OF JEREMY                         3           Galanda Broadman PLLC
     JOHNSON, THPO COW CREEK BAND                              8606 35th Avenue NE, Ste. L1
     OF UMPQUA TRIBE OF INDIANS                                Mailing: P.O. Box 15146
                                                               Seattle, WA 98115
                                                               (206) 557-7509
                                                                                              152
 1        PAO 07: RECORDS OF THE ASSISTANT AREA DIRECTOR RELATED TO
 2        THE TERMINATION OF WESTERN OREGON TRIBES, 1954-1960
 3

 4        FOLDER LIST: Boxes 33-39
 5        Box 33 Tribal Programs - General 1958-1959
 6        Termination - Western Oregon
 7        020.0 Western Oregon (File no. 1). Includes John Collier: "The Menominee of
 8        Wisconsin and the Klamath of Oregon Cases," 4/57
 9        "Memo to the Western Oregon Indian people" (re Western Oregon Judgment Fund
10        payment), 1959 (3 folders)
11        Western Oregon Judgment Mr. Busey [Supervisory Judgment Officer]-need for
12        establishment of branch of tribal programs. 1954-1960
13        WOJF- Western Oregon Judgment Fund - Tribal Affiliation (ancestors)
14        Western Oregon Enrollment, 1947-1962 (2 folders)/ Letters of Payments and
15        Rejections
16        Southern Oregon Claims - Oregon Coast, 1947-1949
17        Siletz Death List, 1910-1919
18

19        Box 34 WOJF- - Chetco Minors
20        WOJF - Coquille Minors
21        WOJF - Tillamook Minors
22        WOJF - Tootootoney Minors
23        WOJF - Umpqua-Calappoia Minors
24        Minors' Funds- Referrals to California DPW
25        WOJF- Guardianship Requested
26        Western Oregon - Rules and Regulations and Other

     DECLARATION OF JEREMY                        4               Galanda Broadman PLLC
     JOHNSON, THPO COW CREEK BAND                                 8606 35th Avenue NE, Ste. L1
     OF UMPQUA TRIBE OF INDIANS                                   Mailing: P.O. Box 15146
                                                                  Seattle, WA 98115
                                                                  (206) 557-7509
                                                                                                 153
 1        Miscellaneous Material
 2        Proposed withdrawal of Federal responsibility over the property and affairs of the
 3        Indians of Western Oregon
 4

 5        Box 35 Action Steps and Budget for Western Oregon Readjustment Act
 6        Action Steps for Distribution of WOJF
 7        Alsea and Rogue River vs U.S., 1946-1960
 8        Grand Ronde Approved Roll, Constitution & By-laws
 9        Grand Ronde - Rogue River, 1949-1953
10        Grand Ronde - Reconnaissance Survey (showing Tribal affiliation), 1936
11        Confederated Tribes of the Grand Ronde Community, Tribal Tracts No. 1, 2, 3, and 4
12

13        Box 36 Map Tribal Distribution
14        Grand Ronde-Siletz Land Assignments - General
15        Grand Ronde - Notices received re not listed on final roll
16        Grand Ronde - Tillamook Claim, 1949-1954
17        Final Roll of the Confederated Tribes of the Grand Ronde Community and
18        Relinquishments
19        Grand Ronde - Siletz - Administration, 1956-1958.
20        Grand Ronde - Miscellaneous, 1949-1954
21        Census Roll of Confederated Tribes of Grand Ronde Community, 1955
22        Proposed Tract and Escrow Agreement
23        Census-Grand Ronde (showing tribal affiliation), 1953
24        Grand Ronde Final Roll - Relinquishments
25        Appeals for Membership - Grand Ronde
26        Final Roll for confederated Tribes of Siletz

     DECLARATION OF JEREMY                          5            Galanda Broadman PLLC
     JOHNSON, THPO COW CREEK BAND                                8606 35th Avenue NE, Ste. L1
     OF UMPQUA TRIBE OF INDIANS                                  Mailing: P.O. Box 15146
                                                                 Seattle, WA 98115
                                                                 (206) 557-7509
                                                                                                154
 1        Siletz-Grand Ronde Termination, Official Final Roll, Proclamation 1956
 2        Final Rolls for Grand Ronde, Siletz, Klamath
 3        Western Oregon Judgment - Social Worker
 4

 5        Box 37 Siletz Judgment - General, 1952-1964 (2 folders)
 6        Siletz Tribe - Constitution and By-Laws, 1948-1950
 7        Siletz Annuity Roll and Miscellaneous Files, ca. 1921-30
 8        Enrollment - Siletz (Final Roll), 1954-1957
 9        Material Pertinent to Siletz Per Capita Final Payment
10        Minors Enrollment
11        Address Changes
12        Umpqua-Calappoia Minors Paid
13        Custody Cases - Payment of
14

15        Box 38 Plans - Minors Funds (WOJF & Siletz Judgments)
16        Western Oregon Judgment Fund - Miscellaneous Files
17

18        Box 39 Coos Bay Community Building, Empire, Oregon (photos), 1941
19        Indian Claims Commission - Grand Ronde, Willamette Valley, Umpqua, Calappoia,
20        and Molalla Indians, 1952
21        Western Oregon Judgment - General, 1962-1964
22        Letters on Judgment Appeals, 1958
23        Western Oregon Probates, 1956
24

25        PAO 08: INDIVIDUAL CASE FILES, UNALLOTTED GRAND RONDE, SILETZ,
26        PUBLIC DOMAIN, AND FOURTH SECTION, ca. 1915-1956

     DECLARATION OF JEREMY                         6              Galanda Broadman PLLC
     JOHNSON, THPO COW CREEK BAND                                 8606 35th Avenue NE, Ste. L1
     OF UMPQUA TRIBE OF INDIANS                                   Mailing: P.O. Box 15146
                                                                  Seattle, WA 98115
                                                                  (206) 557-7509
                                                                                                 155
 1          13 linear feet
 2          Arranged alphabetically by surname of individual (except Box 71, which contains
 3          unarranged appeals from decisions denying eligibility for Grand Ronde and Siletz
 4          final rolls.). Individual case files for Western Oregon Indians not allotted land but
 5          holding right as Grand Ronde, Siletz, Public Domain, and Fourth Section Indians.
 6          "Fourth Section" refers to Section 4 of the 1887 General Allotment Act.
 7          These case files, formerly maintained by the Grand Ronde-Siletz Indian Agency,
 8          contain correspondence and documentation of income from inheritance, timber sales,
 9          annuity funds; family information such as birth, death, marriage and divorce records;
10          copies of the section of Public Law 715 authorizing preparation of final rolls of those
11          eligible to share in the Western Oregon and Siletz Judgment funds. Box 71 contains
12          appeals from decisions denying eligibility for Grand Ronde and Siletz final rolls.
13

14          11.     These materials are among those that the Tribe, through Professor Beckham,
15   has used in Seattle. These materials are not all available in any other format or location.
16          12.     The Tribe has also relied on records at NARA related to U.S. Forest Service
17   interactions with Cow Creek Indians at their special use areas: South Umpqua Falls, Old
18   Tom's Prairie, and the Huckleberry Patch, located within the Umpqua National Forest.
19

20          I declare under penalty of perjury on this 4 day of January 2021 that the foregoing is
21   true and correct.
22
                                                   ___________________________
23                                                 Jeremy Johnson
                                                   Cow Creek Tribal THPO
24

25

26

      DECLARATION OF JEREMY                            7             Galanda Broadman PLLC
      JOHNSON, THPO COW CREEK BAND                                   8606 35th Avenue NE, Ste. L1
      OF UMPQUA TRIBE OF INDIANS                                     Mailing: P.O. Box 15146
                                                                     Seattle, WA 98115
                                                                     (206) 557-7509

                                                                                                    156
1

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3

4

5

6                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
7
        STATE OF WASHINGTON, et al.,                         NO.
8
                                    Plaintiff,               DECLARATION OF ROBERT
9                                                            KENTTA
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                    Defendants,
12
            I, Robert Kentta, declare as follows:
13
            1.        I am an enrolled member of the Confederated Tribes of Siletz Indians (“Siletz
14
     Tribe”). I am over the age of 18 and competent to testify. I make this declaration based on my
15
     personal knowledge.
16
            2.        I have been an elected member of the Siletz Tribal Council since 2005. I
17
     currently hold the Officer position on Tribal Council as Treasurer. In addition, I am a tribal
18
     employee of the Siletz Tribe, and have been an employee of the Tribe since about 1990. I
19
     currently hold the position as Director of the Cultural Resources Department and have held
20
     that position for nearly 30 years. As Cultural Resources Director, I am responsible in relevant
21
     part for obtaining and maintaining the Tribe’s historical records, and I am the lead advisor for
22
     the Tribe on historical and genealogical issues. The Siletz Tribe is comprised of numerous –
23
     more than 28 - tribes and bands of Indians that were all removed to the Siletz Coast Reservation
24
     established by Executive Order in 1855 and confederated together there under ratified Treaty
25

26




       DECLARATION OF ROBERT KENTTA                     1             ERROR! AUTOTEXT ENTRY NOT DEFINED.

                                                                                                   157
 1   agreement, and by the federal government actions into what became known as the federally-
 2   recognized Confederated Tribes of Siletz Indians.
 3          3.      The Siletz Tribe has a long and complex history that makes access to records at
 4   the National Archives in Seattle critical to the Tribe. The Siletz Tribe is comprised of tribes
 5   and bands from seven ratified Indian treaties and numerous unratified treaties who were all
 6   moved by the federal government to the Siletz Coast Reservation established by Executive
 7   Order and confederated together there. The Siletz Coast Reservation was reduced by different
 8   illegal federal actions over time until little tribal land was left, and the Tribe was terminated
 9   by the federal government in 1956 under the 1954 Western Oregon Indians Termination Act,
10   and the Siletz Tribe’s members dispersed throughout western Oregon and beyond. The Tribe
11   struggled through 23 years of termination to achieve restoration as a federally-recognized tribe,
12   through federal legislation in 1977. The Tribe has worked since Restoration to achieve full
13   status as a federally-recognized tribe, including rebuilding a tribal trust land base and securing
14   funding for federal programs and services.
15          4.      The National Archives in Seattle contain comprehensive federal records of the
16   migration of all the various tribes and bands that were moved to the Siletz Coast Reservation
17   and who make up the Confederated Siletz Tribe. In addition, the Archives contain
18   comprehensive records of the individuals and their families who became part of the Siletz
19   Tribe. The Siletz Tribe has spent well over $1 million to find and assemble at the Archives in
20   Seattle the history of all these component tribes and bands and individuals, and to try to create
21   a comprehensible and comprehensive history of the Siletz Tribe and its members. This massive
22   effort is ongoing. These federal records are not organized by individual ancestral tribe or band
23   and there is often overlap in the records about different tribes, bands and individuals, so
24   assembling the history of each specific tribe and band and its inclusion in the Confederated
25   Siletz Tribe has taken hundreds of hours of research and investigation at the National Archives.
26   In addition, one of the Tribe’s patrons, Professor Charles F. Wilkinson, who assisted the Siletz




       DECLARATION OF ROBERT KENTTA                      2             ERROR! AUTOTEXT ENTRY NOT DEFINED.

                                                                                                     158
1    Tribe in its Restoration efforts in the 1970s, wrote a comprehensive history of the Confederated
2    Tribes of Siletz Indians in the 2000’s and relied heavily on the records available at the Seattle
3    National Archives.
4               5. Physical access to the records at the National Archives in Seattle is critical to
5    the ongoing effort of assembling the Siletz Tribe’s history. These records are extensive and
6    scattered throughout the record groups maintained at the Archives, in no easily accessible
7    format. Many are hand written in faded script, so deciphering takes additional time. Records
8    regarding the different Siletz tribes and bands, who are from throughout western Oregon,
9    northern California and southwest Washington, are in different boxes and under different
10   offices and agencies. Research and investigation of the Siletz Tribe’s history often involves
11   going back and forth between different groups of records to cross-reference obscure and brief
12   references to a particular incident, area of subject matter or tribe and band. It would be
13   impossible to complete the research that needs to be done by the Siletz Tribe, if these records
14   were moved to the eastern U.S. The barriers would be many, especially the various costs and
15   time. At the present time tribal staffers make periodic trips to the Seattle National Archives to
16   answer specific research questions or research individuals.
17              6. The Siletz Tribe is involved in multiple legal proceedings where the Tribe
18   needs to document its connection and successorship to specific tribes and bands or individuals,
19   and consistent access to the records at the Seattle National Archives is critical to being able to
20   establish and provide this documentation. In addition, the Siletz Tribe is subject to numerous
21   claims by other tribes, groups or individuals to be the real representatives of and successors to
22   tribes, bands and individuals who make up the Siletz Tribe, and consistent access to the records
23   at the Seattle National Archives facility (NW Regional Branch of NARA) is critical to the
24   Siletz Tribe’s efforts to counter and defend against these attacks on the Siletz Tribe’s
25   sovereignty and identity.
26




       DECLARATION OF ROBERT KENTTA                      3             ERROR! AUTOTEXT ENTRY NOT DEFINED.

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 1           7.      The Siletz Tribe has previously submitted comments objecting to the impending
 2   sale and closure of the National Archives at Seattle. The Siletz Tribe learned of this proposed
 3   closure, sale and relocation of our records through the media, not from the federal government
 4   or in government-to-government consultation. That occurrence in itself is a failure to carry out
 5   the Federal Trust Responsibility to our and all other NW Tribes. There still has not been
 6   adequate communication, or ability to express our many concerns, necessitating this action.
 7           8.      The Siletz Tribe will suffer indescribable harm if the NW Regional Branch of
 8   National Archives in Seattle is closed and its records moved back East, or anywhere outside
 9   of the Pacific NW Region. Those records will no longer be easily accessible to the Tribe, and
10   it will be impossible to conduct research within our own Tribal records held there, and access
11   those records for inquiries involving individual ancestors of Siletz Tribal members. The Siletz
12   Tribe has a limited resource base and limited financial resources, and it will be an extraordinary
13   financial hardship for the Tribe to have to travel back East, with plane fare, lodging and meals,
14   every time it needs to access this Archive material, which is not available online. In addition,
15   it is often necessary to examine the actual original physical documents, which more often than
16   one would think have additional writing or information on the back that is not copied when
17   records are digitized. There is no adequate substitute for physical access to the original
18   documents. Impeding this access will obstruct and interfere with the Siletz Tribe’s legal efforts
19   to protect its sovereignty, history, legal interests and cultural identity.
20           I declare under penalty of perjury that the foregoing is true and correct.
21
     DATED this 25th day of December, 2020 at ___             Siletz___________, __Oregon_______.
22                 day          month         year            city                   state
23

24

25                                                   Robert Kentta

26




       DECLARATION OF ROBERT KENTTA                       4               ERROR! AUTOTEXT ENTRY NOT DEFINED.

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 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE

10   STATE OF WASHINGTON, et al.,                        Case No.

11                          Plaintiff,                   DECLARATION OF
                                                         TALLIS KING GEORGE
12                    vs.

13   RUSSELL VOUGHT, et al.,

14                          Defendants.

15
            I, TALLIS KING GEORGE declare as follows:
16          1.      I am a tribal attorney for the Puyallup Tribe of Indians. I am over the age of
17   18 and competent to testify. I make this declaration based on my personal knowledge.

18          2.      I have served as a Puyallup tribal attorney for child support for over thirteen

19   years; representing the Tribe’s interests in tribal court and related duties. However, my

     passion and calling outside of work, is conducting research to honor and reclaim tribal history.
20
     When I began work with the Puyallup Tribe, tribal member and historian Judy Wright,
21
     became my mentor, friend and history partner. Judy had spent at least thirty years researching
22
     Puyallup tribal history and building a first class tribal history repository. Most of this work
23


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                                                                                                        161
1    was done before computer assisted research, requiring many trips to the National Archives at

2    Seattle, also known as the Sandpoint Archives. Judy Wright scoured museums and libraries,

     copying historical documents and transcribing those that were difficult to read. She mentored
3
     a generation of tribal member-researchers who now work in the Tribe’s Historic Preservation
4
     department and in the Puyallup Tribe Language Program.
5
             3.      Prior to serving as a tribal attorney for the Puyallup Tribe I was the first in-
6
     house counsel for the Port Gamble S’Klallam Tribe of Indians. I worked for the Port Gamble
7    S’Klallams for a total of nineteen years. I organized a team of tribal and academic researchers

8    who established the Port Gamble S’Klallam history library and archives. My motivation was

9    twofold. First, I knew I could not be an effective attorney for the Tribe without a full

     understanding of the Tribe’s legal and cultural history. Second, I quickly learned that the
10
     Tribe’s history – its language recordings, song recordings, early membership records,
11
     constitutional development records, and elders’ testimonies speaking to lifeways and treaty
12
     rights – all this and more – had been scattered across the globe. I dedicated myself to
13
     repatriating these materials to the Tribe and organizing the materials so individual tribal
14   members could access all the information available on their family’s history and so the Tribe
15   could write a definitive history of itself – which it did.

16           I have practiced tribal law exclusively, for over forty years including eight years

     writing tribal laws for the fourteen tribes of the Northwest Intertribal Court System.
17
             4.      The Puyallup Tribe of Indians is a federally recognized tribe located near
18
     Tacoma, Washington and is a party to the Medicine Creek Treaty with the United States which
19
     was ratified in 1855. The Tribe has over 5,000 tribal citizens.
20
             5.      The building that houses the National Archives at Seattle appears on approach
21   as an unremarkable, utilitarian structure. The word “archives,” from the view of law firms,
22   businesses and courts, tends to conjure an image of a records storage facility for “dead files.”

23   I view the National Archives at Seattle as a vibrant, special collection library. That library is


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                                                                                                         162
1    staffed by expert archivists who have worked with those specific records for decades and are

2    essential to locating records whose cataloguing system confounds even experienced

     researchers.
3
            A visit to the National Archives in Washington D.C. inspires awe in every visitor, as
4
     the permanent home of the original Declaration of Independence, Constitution of the United
5
     States, and Bill of Rights. A visit to the National Archives at Seattle, for native people whose
6
     ancestral historical and cultural records are housed there, fills a deep cultural yearning to
7    know, honor and understand the lives and sacrifices of their ancestors. This unique and

8    precious collection includes irreplaceable records that came from this area, that are by and

9    about the native people of this area descendants – held in trust for them and protected by the

     United States.
10
            6.        The Indian tribes I have worked for, are the original owners and continue to
11
     be the primary stewards of the land and resources that are now referred to as western
12
     Washington. While every Tribe is culturally unique, their cultural foundation rests on their
13
     respect, reverence and a personal relationship with nature. Conservation, through wise
14   management and based on thousands of years of cumulative observation and communication
15   with nature, was long the unwritten tribal law, is now written tribal law and includes formal

16   legal structures for resource co-management among tribes, state government and the federal

     government. I am speaking to this based on my first hand experience writing laws at the
17
     direction of fifteen tribes in areas ranging from hunting, to fishing, to environmental
18
     protection and many others.
19
            The tribes’ status as this country’s first conservationists makes it quite fitting that the
20
     Bureau of Indian Affairs – the federal agency whose mission is enhancement of the quality
21   of life, promotion of economic opportunity, and carrying out the responsibility to protect and
22   improve the trust assets of American Indians, Indian tribes and Alaska Natives, - is under the

23


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 1   United States Department of Interior. The Department of the Interior is the preeminent

 2   conservation department in the federal government. Its mission states:

 3          The Department of the Interior (DOI) conserves and manages the Nation’s natural

 4          resources and cultural heritage for the benefit and enjoyment of the American people,

 5          provides scientific and other information about natural resources and natural hazards

 6          to address societal challenges and create opportunities for the American people, and

 7          honors the Nation’s trust responsibilities or special commitments to American Indians,

 8          Alaska Natives, and affiliated island communities to help them prosper.

 9   The federal records management structure for the Department of Interior mirrors the

10   organizational structure of the department, which in turn mirrors the records that are kept at

11   the National Archives, including the National Archives at Seattle. The Department of Interior

12   employs federal records officers at each of its bureaus and offices, including the:

13          Bureau of Indian Affairs,

14          Bureau of Land Management,

15          Bureau of Reclamation,

16          Bureau of Trust Funds Administration,

17          National Park Service,

18          United States Fish and Wildlife Service,

19          United States Geological Survey,

20          Bureau of Ocean Energy Management,

21          Bureau of Safety and Environmental Enforcement,

22          Indian Arts and Crafts Board,

23


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 1          Office of Surface Mining,

 2          Reclamation and Enforcement,

 3          Office of the Secretary,

 4          Office of the Inspector General and

 5          Office of the Solicitor.

 6   The majority of the records I have accessed at the National Archives at Seattle for the benefit

 7   of the Puyallup Tribe of Indians, are catalogued in Record Group 75, records of the Bureau of

 8   Indian Affairs. When I research tribal records at the National Archives at Seattle, I am

 9   researching records generated by the top conservation department of the federal government

10   which, in turn, documents the lives of the original conservations of this swatixʷtəd, this

11   sacred land.

12          7.      Open any illustrated book on United States history or local lore and you are

13   likely to find one or more iconic sepia photographs of tribal citizens. The captions typically
14   read something like, “Indian, circa 1870.” All of my tribal history work focuses on learning
15   the names, families, extended families, longhouse sites, villages, and the illustrious
16   contributions of people who were intentionally erased and are grossly misrepresented in
17   accounts of non-native history. Native history can be thought of as a priceless porcelain vase
18   that was smashed to pieces and we are left scrambling on the floor to find the pieces and
19   carefully glue them together. I will share a few of my own sagas, in which the documents
20   from the National Archives at Seattle provided the vital piece that “cracked the code” on a
21   tribal history mystery, enabling the return of precious cultural knowledge to the descendants
22   and their tribes. The examples that follow, rely primarily on an irreplaceable group of records
23


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1    that was transferred from the Bureau of Indian Affairs, Portland Area Office to the National

2    Archives at Seattle, around 2010 - hundreds of federal probate and heirship files, for

3    individual Indians who owned land held in trust for them by the United States. The records

4    include the name of the deceased, tribal affiliation, allotment number, probate number, fees

5    paid, heirs, and claims against the estate. Of greatest interest, they also contain affidavits and

6    transcripts of testimony before the federal hearing examiners, from heirs and other witnesses.

7    They are an unfathomably rich source of tribal genealogy.

8           8.      Example #1 Barney Quass Probate. Barney Quass, a Snoqualmie man, passed

9    away leaving no children, parents or siblings. Relatives from both sides of the Cascade

10   mountains testified at the probate hearing, regarding who should inherit Barney’s trust

11   allotment. Their testimony was duly transcribed by a court reporter. Among the transcripts

12   was an affidavit, dated June 14, 1912 and handwritten on Reinig Brothers stationery – the

13   general store in Snoqualmie, Washington. Otto Reinig prepared and notarized the affidavit.
14   Watson Martin, son of the affiant, translated.
15
            Martin Enias (Indian) about 100 years of age being by me first duly sworn upon oath
16
            deposes and says that after Barney Quass’s father died, Barney Quass and his mother
17          lived with my wife and I for about 12 years when Barney Quass’s mother died and I
18          buried her on the White River, Wash. That there are no near relations living that I have

19          any knowledge of.

20   Martin Enias signed the affidavit with his thumbprint. A true and correct copy of the affidavit,

     maintained in the National Archives at Seattle, is attached as Exhibit A hereto. I knew of
21
     Martin Enias (Eneas) because years earlier, I purchased a headstone for Martin and his wife
22
     Madeline and had it set, as part of the family’s ceremony, at the old Indian cemetery at
23


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1    Cashmere, Washington. Madeline Eneas was the daughter of Skadewa, the renowned chief of

2    the upper Snoqualmie Tribe. The late Katherine Joseph, a Sauk Suiattle tribal elder, had

     brought me to visit her great grandparents’ unmarked graves a few years earlier, surrounded
3
     by an apple orchard. Afterwards she quietly said, “Thank you for bringing me to this place.”
4
     Katherine and I worked together for two years to sort Martin and Madeline Eneas’ genealogy
5
     to include it on the headstone, so descendants would never forget.
6
            Thanks to the Barney Quass probate, we learned that Barney Quass’s mother, Wycash,
7    was the sister of Skadewa, so she was Madeline Eneas’ paternal aunt. That explained why

8    Barney and his mother went to live with Martin and Madeline Eneas. The Martin Eneas

9    affidavit led to our understanding that Martin Eneas, a Wenatchi Indian, allotted on the

     Wenatchee river, had traveled all the way to Muckleshoot, probably by buckboard, to bury
10
     his wife’s aunt alongside her brother, on the White River.
11
            Martin Eneas’ arduous trip, across an unpaved Snoqualmie pass, to bury his wife’s
12
     aunt on the White River near Auburn, Washington, was astounding by itself but there is more
13
     to this story. My husband, as a wee boy riding through the reservation in the back of his
14   uncle’s car was told by his aunt, “You have a chief buried up there. Don’t ever forget it.” Over
15   seventy-five years later, we learned through his aunt’s mother’s diary, that the chief she was

16   referring to was Skadewa. As a result of our research and my husband’s advocacy, the tribe

     acquired the land to protect the little cemetery. The Old Ones buried there have descendants
17
     today at the Puyallup, Muckleshoot, Snoqualmie, Tulalip and Sauk Suiattle tribes. Because
18
     of the National Archives and their skillful archivists, we can now place headstones for
19
     Skadewa and Wycash. The families can finally perform the ceremonial duties attendant to
20
     this knowledge and in so doing, bring together the branches of this family once again.
21          9.      Example #2 Young Man’s Ascent of Mount Rainier. While working with the
22   late Puyallup tribal historian Judy Wright in 2011, I arranged for a research visit to the

23   National Archives at Seattle. Patty McNamee and Ken House, archivists at NAS, assisted me


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 1   in locating a number of probates for Puyallup tribal ancestors, including that of Joe Young

 2   (1862-1930). Joe Young allowed a trusted non-native historian, Arthur Ballard, to transcribe

     the compelling story of Joe’s great, great, great, great grandfather’s ascent of Mt. Rainier, for
 3
     the purpose of receiving his spirit power. A second version of this story was told to Arthur
 4
     Ballard by Puyallup tribal elder, Tom Milroy (1835-1929) who, like Joe Young, was an Upper
 5
     Puyallup Indian. Tom Milroy emphasized the truth of the story, “This story is not a sx̌ʷiʔyab
 6
     (myth). The man in this story was a real person.” The epic events described in the story took
 7   place before “contact;” long before non-Indians shattered the Puyallup’s way of life.

 8          Over the course of the next eight years, I gathered and sorted genealogical fragments,

 9   trying to chart the direct line of descent from the young man who found his spirit power to

     the hundreds of descendants he has today. I learned that Joe Young’s mother, Susan, had a
10
     half-brother named Charlie Ashue. Charlie Ashue was also a direct descendant of the young
11
     man. Charlie Ashue’s six times great granddaughter is Marlene Spencer Simla, a Yakama
12
     Nation elder, historian, artist and warrior descendant. Marlene agreed to illustrate the two
13
     stories with exquisite full page watercolors. The back cover contains the family tree, tracing
14   the lineal descent of the young man.
15          The book is at the printer and will be my gift to the descendants, most of whom are

16   Puyallup tribal citizens. My hope is that children and adults will read it and draw in their

     innate courage, strength and endurance; gifts from their ancestor.
17
            10.     Example #3 Minter Village Monograph. I wanted to work with Puyallup tribal
18
     historian, Judy Wright, long before I had the privilege of coming to work for the Puyallup
19
     Tribe. Our time together was always too short. When cancer was about to claim her, she let
20
     me know in her kind and subtle way, that I needed to finish some work for her. That is what
21   it is like to work with elders; a race against time. The Minter Monograph fulfilled one promise
22   I made to her: the creation of a cultural map of the last chief’s longhouse at the Puyallup

23   village of Minter, near Purdy, Washington. I remember Judy’s delight when we figured out


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1    that she was a sixth generation direct descendant of Minter’s woman chief, tciałtsa. Only later

2    did I realize that she must have already known, but she practiced the old teaching of high class

     Indians, to be humble of your status and accomplishments.
3
            The Minter Monograph contains biographies of the residents of tciałtsa’s longhouse
4
     and their blood ties to Chief Leschi and other warriors of the First Treaty War of 1855-1856.
5
     A family tree is included, so the hundreds of Puyallup descendants from Minter village can
6
     understand their ties to that place and to each other. Knowing your ancestral village is a prized
7    knowledge for native people, information that is mostly lost today. The monograph relies on

8    many sources including those found at the National Archives at Seattle. (Example: NAS RG

9    75 Bureau of Indian Affairs, Tulalip Indian Agency, Records of the Tribal Operations Branch

     1912-1950 Decimal File, Puyallup, Box 4.)
10
            Skokomish historian Frank Allen said of the Minters, “They were a small people, but
11
     they had a strong power, a strong little tribe.” I added at the conclusion of the Minter
12
     Monograph:
13
            That strength carried them through the treaty betrayal, internment during the first
14          treaty war, destruction of their homes, removal to the reservation, allotment of the
15          reservation, forced sale of the allotments, decades long delay in settlement of their

16          claims and every conceivable form of assault on their existence including outright

            homicide, by those who believed that they had the right to have something that didn’t
17
            belong to them. Yet, at least ten branches of this strong little tribe not only have
18
            survived, their descendants, along with the other strong branches that form the
19
            Puyallup Tribe, have secured the Tribe’s future.
20
            11.     Example #4 Honoring the Warriors of the First Treaty War. Five years ago, I
21   had an epiphany that we have to erect a monument to honor the warriors of our First Treaty
22   War of 1855-1856. We live on the King George allotment where my husband was born in a

23   cabin without running water, just over a mile from his ancestral village of ʔilalqo or Forks


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 1   village. We are about four miles from the village that Chief Leschi and his Nisqually warriors

 2   used as a base camp during the war. The five month long war is the only time in U.S. history,

     that I am aware of, where tribes went to war to get their land back and were successful. Over
 3
     25,000 acres of tribal land were returned to the Nisqually, Puyallup and Muckleshoot tribes
 4
     as a direct result of the war.
 5
             Proper honoring of the warriors would require us to: 1) identify as many of the
 6
     warriors as we could, 2) identify and locate their direct descendants so we could properly
 7   thank them, 3) piece together how the warrior families were related to each other, 4) set a

 8   spiritual table to honor each warrior 5) host a potlatch for the descendants, and 6) tell the truth

 9   about the extraordinary allied victory to reclaim our land by writing the script for a film we

     commissioned and by writing a book of warrior biographies to be presented to the descendants
10
     at the potlatch.
11
             Nineteen months later, the monument was dedicated, bearing the names of 49
12
     Nisqually, Muckleshoot, Puyallup, Upper Snoqualmie, Wenatchi, Palouse, pcwa’nwapam
13
     and Squaxin warriors. Many of the warriors’ names had never been published. The inscription
14   on the monument reads, “All that we are and All that we have, We owe to the warriors of our
15   First Treaty War.”

16           The biggest challenge, among many, was researching and writing the warrior

     biographies, with their intricate lineages. The National Archives at Seattle gave key assistance
17
     in locating probate files, as well as documents related to the Puyallup payment of 1929. Those
18
     records include a list of Puyallups who passed away during the period 1909 until 1929, giving
19
     us vital information about the warriors who survived the war and their descendants. Without
20
     the expert work of the NAS archivists, we would surely have never located those records, as
21   this July 24, 2014 e.mail from NAS archivist Patty McNamee illustrates, “There is a change
22   in where it was originally located and should have been part of the Tulalip Agency originally.

23   We will be pulling 3 boxes of General Records of the Tribal Operations Branch.” The


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 1   monument never would have been possible without access to the historic documents

 2   maintained by the National Archives at Seattle. Photographs of the front and back of the

     monument are attached as Exhibits B and C hereto.
 3
            12.     What are the benefits for tribes and tribal citizens of reclaiming tribal history
 4
     in this way? Let me give a few illustrations.
 5
            We prepared a 16 foot long family tree showing how all 49 warriors were related as
 6
     extended family, through blood and marriage, which was displayed at the potlatch. As the
 7   descendants approached the tree to find their ancestors, I witnessed strangers putting their

 8   arms around each other, now recognizing each other as relatives, reunited after 160 years of

 9   federal Indian policies had blown up their family ties.

            The Puyallup Tribe Historic Preservation Department hosted the first- ever tribal
10
     history seminar, inviting descendants and staff from the Squaxin, Muckleshoot and Nisqually
11
     tribes to visit and learn together about the First Treaty War. The seminar relied on the research
12
     from the warrior honoring.
13
            Puyallup tribal elder Ramona Bennett descends from the warrior Iyakama who
14   sacrificed his life in the First Treaty war. Ramona distinguished herself as a leader during the
15   Puyallup Tribe’s Second Treaty War that culminated in the Boldt decision. Ramona still

16   carries the stories of the rape and murder of her great aunt during the land-grab era when non-

     natives used lethal means to take Puyallup tribal land. Ramona told me she that it was the first
17
     time she had seen confirmation of the truth of her family’s oral history; that she felt validated
18
     by the work.
19
            In my child support practice, I have occasion to visit with tribal members about their
20
     warrior ancestors and share stories and documents with them. One parent with a history of
21   contempt for non-payment of child support brought his father into the office, “I want you to
22   tell my Dad the story of our warrior. I don’t want to get a single thing wrong.” This parent is

23   now a reliable payor.


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                                                                                                         171
 1            Chief Leschi, who worked for peace throughout the war and was lynched for a killing

 2   we now know that he did not commit, prophesized the value of this work soon before his

     death:
 3
                    Whatever the future holds, do not forget who you are. Teach your children, teach
 4
                    your children’s children. Teach them the pride of a great people…A time will
 5
                    come again when they will celebrate together with joy. When that happens, my
 6
                    spirit will be there with you.
 7            13.      I first learned of the proposed sale of the National Archives at Seattle when a

 8   close relative sent me a link to Seattle radio station KIRO’s website, dated January 15, 2020.

 9   The headline in the “MYNorthwest” section read, “Federal panel recommends closure and

     sale of Seattle National Archives facility.” I notified the Puyallup Tribe, through its law office,
10
     on January 22, 2020.
11
              14.      On January 23, 2020, I e.mailed a letter to then Acting OMB Director Russell
12
     Vought at the Public Buildings Reform Board e.mail address, under the signature of my
13
     husband, Gilbert King George, an 82 year old Muckleshoot tribal elder and historian. The
14   e.mail stated, in part,
15            I am writing to ask that the Federal Archives and Records Center at Sandpoint in
16            Seattle, Washington be removed from the Public Buildings Reform Board's High
17            Value Asset list. I understand that this may mean the Public Buildings Reform Board's
18            list would need to be disapproved and resubmitted, but this should result in a very
19            minor delay under the FASTA process.
20            The Sandpoint property is a vital and vibrant repository for irreplaceable federal
21            resources of historical, cultural and genealogical value. PBRB's recommendation for
22            the sale of the Sandpoint site fails to make a comprehensive and safe plan for these
23


      DECLARATION OF TALLIS KING GEORGE – PAGE 12                                     LAW OFFICE
                                                                              PUYALLUP TRIBE
                                                                                3009 PORTLAND AVENUE
                                                                                  TACOMA, WA 98404
                                                                                     (253) 573-7877



                                                                                                           172
 1          priceless materials. The Board's report calls for removal of the archival materials to

 2          Riverside, California, far from the American People who most rely on Sandpoint's

 3          resources. At the same time, the report admits that the facility in Riverside, California

 4          is not equipped to accept these national treasures at this time, so it suggests a

 5          "temporary" storage facility would be needed.

 6          The report does not address the cost to the taxpayers of the relocation of these

 7          sensitive federal documents, the temporary storage, or the cost to make the Riverside

 8          facility capable of receiving the documents.

 9          I ask that you disapprove the Public Buildings Reform Board's recommendations of

10          December 27, 2020 and suggest that the Sandpoint site be omitted from the list.

11
            15.     No reply or acknowledgement of any kind to our January 23, 2020 e.mail was
12
     received from Mr. Vought or from any member or staff of the Public Buildings Reform Board.
13          16.     My husband and I mentor four native students who are part of our research
14   team. Of course, none of us has had an opportunity to access the materials at the National

15   Archives at Seattle for nearly a year due to the CoVid pandemic and if the sale is allowed to

16   proceed, we will not be able to access the materials indefinitely. My husband will be 83 years
     old, this spring. It is not an exaggeration to say that moving the materials to Riverside,
17
     California will effectively end his ability to access these materials. Our students will miss
18
     their chance to discover their histories with their trusted elder to guide and interpret the work.
19
     Our elders often say, “There is no promise for tomorrow.”
20          I have seen no comprehensive, safe plan for these priceless materials. The Board's
21   report calls for removal of the archival materials to southern California, yet the report admits

22   that the facility there is not equipped to accept these national treasures at this time, so it

23   suggests a "temporary" storage facility would be needed. There has been no discussion of


      DECLARATION OF TALLIS KING GEORGE – PAGE 13                                    LAW OFFICE
                                                                             PUYALLUP TRIBE
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                                                                                 TACOMA, WA 98404
                                                                                    (253) 573-7877



                                                                                                          173
 1   how long the storage period would last, the costs of moving these fragile, irreplaceable

 2   documents, the cost of storage for an indefinite time and the cost of construction at the new

     site. Add to that, the loss of the archivists who know the materials best and the frightful
 3
     challenge of organizing the materials without them, at the new site.
 4
            This is unacceptable. The United States has legal obligations, both to the Tribes and
 5
     to these irreplaceable materials, that are not met by this hasty and poorly planned decision.
 6
     I declare under penalty of perjury that the foregoing is true and correct.
 7
     DATED this 1st day of January, 2021 , Muckleshoot Indian Reservation at Auburn,
 8   Washington.
 9

10
                                                   YALLIS KINGGE
11

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                                                                                   LAW OFFICE
      DECLARATION OF TALLIS KING GEORGE- PAGE 14
                                                                            PUYALLUP TRIBE
                                                                              3009 PORTLAND AVENUE
                                                                                TACOMA, WA 98404
                                                                                   (253) 573-7877

                                                                                                     174
                  Exhibit A
                               TO
DECLARATION OF TALLIS KING GEORGE
     ISO PUYALLUP TRIBE OF INDIANS




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                                                                                                        REPROOUCED AT !HE W.TlONAL ARClfllES


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                  Exhibit B
                               TO
DECLARATION OF TALLIS KING GEORGE
     ISO PUYALLUP TRIBE OF INDIANS




                                     177
178
                  Exhibit C
                               TO
DECLARATION OF TALLIS KING GEORGE
     ISO PUYALLUP TRIBE OF INDIANS




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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                         NO.
 8
                                    Plaintiff,               DECLARATION OF MATTHEW
 9                                                           WILLIAM KLINGLE
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                    Defendants,
12
            I, Matthew William Klingle, declare as follows:
13
            1.        I am associate professor of history and environmental studies (joint
14
     appointment) at Bowdoin College in Brunswick, Maine. I am over the age of 18 and competent
15
     to testify. I make this declaration based on my personal knowledge and my expertise as a
16
     scholarly historian with more than three decades of research at several National Archives
17
     branches, including the National Archives at Seattle.
18
            2.        I earned a PhD in history from the University of Washington in 2001, where I
19
     studied early and modern North American history, western North American history,
20
     environmental history, modern Latin American history, and the history of science and
21
     technology. I have written on the environmental history of Seattle from the mid-19th century
22
     to the early-21st century, urban design and planning history in Seattle and West Coast Cities,
23
     the history of salmon management in the postwar urban Puget Sound region, and the history
24
     of Asian Americans and immigration to Washington State. While in graduate school, I was
25
     also the inaugural Mary Ann and John D. Mangels Fellow in Public History, where I served as
26


                                                                      ATTORNEY GENERAL OF WASHINGTON
                                                                           Complex Litigation Division
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       WILLIAM KLINGLE                                                            (206) 464-7744


                                                                                                181
 1   a visiting historian at the Museum of History and Industry (MOHAI) from 1994-1996, playing

 2   a major role in designing the exhibit, “Salmon Stakes: People, Nature, and Technology,” at

 3   MOHAI’s prior location in Seattle’s Montlake neighborhood. I have also written on the history

 4   of medicine and public health, environmental justice, and outdoor recreation and consumer

 5   culture. My first book, based on my doctoral dissertation, Emerald City: An Environmental

 6   History of Seattle (Yale University Press, 2007), received the biennial 2009 Ray Allen

 7   Billington Prize from the Organization of American Historians. I was also an expert witness in

 8   the matter of King County v. The Travelers Indemnity Co., et. al. (W.D. Wash. Ongoing),

 9   writing on the development and operation of sewerage systems designed and built by the

10   Municipality of Metropolitan Seattle (now King County) and their effects on the waters and

11   sediments of the Lower Duwamish Waterway from c. 1955-1985. I am currently writing an

12   environmental and social history of the modern diabetes epidemic from the late-19th century

13   to the present day. I have taught at Bowdoin College since 2001, where I teach courses in

14   environmental, North American, and urban history plus the history of medicine and public

15   health. I have received fellowships and awards from the Andrew W. Mellon Foundation,

16   National Endowment for the Humanities (twice), American Council of Learned Societies, U.S.

17   Environmental Protection Agency, National Science Foundation, and American Philosophical

18   Society among other organizations. I have served on the board of directors for the Urban

19   History Association and the editorial board for Environmental History, the scholarly, peer-

20   reviewed journal of the American Society for Environmental History.

21          3.      Historical scholarship depends absolutely upon archival collections. Archives

22   are repositories of individual papers, institutional records, government documents, and other

23   often rare or even irreplaceable materials and ephemera vital to research by professional

24   historians and teaching our university and college students. Historians often call such materials

25   “primary documents” because they are the foundational building blocks that we use to recreate

26   and understand the past. Some of these materials are housed at university or college libraries,


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                                                                                                     182
1    local historical societies, private or public museums or foundations, or state and municipal

2    archives. But the many branches of the National Archives are among the most important of all

3    repositories for primary documents. Few if any scholars specializing in any aspect of United

4    States history or the history of the territories that eventually became the United States can do

5    their professional work without using the collections of the National Archives. All of my

6    professional work since graduate school has relied upon access to the main and regional

7    branches of the National Archives, notably the branch in Seattle. My doctoral dissertation and

8    first book relied extensively upon records at the Seattle branch. For my current work on the

9    environmental and social history of diabetes and chronic disease, I have used collections at

10   National Archives branches in Atlanta, Georgia; College Park, Maryland; Riverside,

11   California; Seattle, Washington; and Washington, D.C.

12          4.      Among the materials I have used at the National Archives at Seattle include

13   Record Group 77: United States Army Corps of Engineers, which I used in my doctoral

14   dissertation and Emerald City, my first book, to analyze large-scale infrastructure changes to

15   the waters and coastal lands surrounding present-day Seattle and its environs. These documents

16   were vital to understanding the hydrology and topography of Seattle prior to the city’s meteoric

17   growth in the early twentieth century. Correspondence, maps, and reports in this collection

18   also detailed the decisions and consequences of constructing the Lake Washington Ship Canal

19   and the Lower Duwamish Waterway, notably the effects of both projects on future salmon

20   spawning habitat and the resulting challenges facing recreational anglers, commercial fishers,

21   and Native American harvesters. Many of these materials remain undigitized because they are

22   too fragile or too large (such as many rare oversized maps) to be converted easily. For my work

23   on the “Salmon Stakes” historical museum exhibit at MOHAI, I used materials from Record

24   Group 22: U.S. Fish and Wildlife Service and Record Group 85: Immigration and

25   Naturalization Service to find valuable details about the role the federal government played in

26   salmon harvesting and management in the late-19th and early-20th century, and how such efforts


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                                                                                                  183
1    affected immigration policies governing migrant laborers from China, Japan, and the U.S.-

2    occupied Philippines before World War II. I also used several record groups from the National

3    Archives at Seattle to write two curriculum projects for Washington state secondary school

4    teachers, sponsored by the University of Washington’s Center for the Study of the Pacific

5    Northwest. One curriculum project, “A History Bursting with Telling: Asian Americans in

6    Washington State,” used materials from Record Group 85 to depict the many challenges

7    immigrants faced in applying for jobs, undergoing naturalization proceedings, and facing

8    discriminatory laws and policies. Questionnaires, interviews, and petitions from these records

9    give students personal, often poignant insights into the history of Asian immigration to

10   Washington state and how Asian immigrants later became American citizens.

11          5.      The records held at the National Archives at Seattle are regularly used by

12   scholars, policymakers, attorneys, and general citizens to research and document the historical

13   patterns of tribal governance, environmental policies and management, and the consequences

14   of political and fiscal decisions for communities in the Pacific Northwest and Alaska. Tribes

15   in particular rely on the materials housed on site to answer questions about treaty relations,

16   assess Native American Graves Protection and Repatriation Act (NAGPRA) claims, land and

17   water disputes with and between tribal jurisdictions, and government to government relations

18   (state and federal with tribes). Historians working on regional environmental issues have

19   access in one place to a wide array of archived federal documents detailing the history of land,

20   timber, mineral, and fishery management. Regional branches of the National Archives reduce

21   the need for travel to different sites, which is costly and time consuming and also erodes the

22   ability of researchers to consult many different federal record groups at once. The National

23   Archives at Seattle are also critical for the ongoing work of federal officials charged with

24   managing agricultural, recreational, and conservation programs in the Pacific Northwest and

25   Alaska. Numerous federal agencies and the citizens dependent upon their work and expertise—

26   from the National Park Service to the Soil Conservation Service to the U.S. Fish and Wildlife


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                                                                                                  184
 1   Service—all depend upon the regional branches of the National Archives to protect, preserve,

 2   and promote documents vital to their history and functioning. And no single branch of the

 3   National Archives serves a larger, more far flung geographical area than the National Archives

 4   at Seattle. Many of the records at the National Archives at Seattle were integrated into my

 5   published scholarly work, curriculum materials, and museum exhibits as detailed in the

 6   preceding section.

 7          6.      I first learned by word of mouth and social media about the proposed closure

 8   and sale of the National Archives at Seattle on January 23, 2020. That same day, I sent

 9   numerous emails and messages to colleagues including scholarly historians, archivists, and

10   librarians. I also contacted my U.S. Senators and Congressional Representative. The news

11   came as a surprise to me and my colleagues. Given the importance of National Archive

12   branches to historians, legal professionals, and federal employees, everyone I spoke to was

13   blindsided by the decision and the complete lack of prior notification. Professional historians

14   in particular were dismayed at the devastating effects the proposed closure would have for their

15   scholarship and teaching.

16          7.      Soon after hearing about the proposed closure and sale of the National Archives

17   at Seattle, I also contacted my U.S. Senators and U.S. Congressional Representative. I also

18   sent emails to the Federal Public Buildings Reform Board and The Archivist of the United

19   States on January 23, 2020, but received no response from either office whatsoever.

20          8.      The most immediate harm of closing and moving the records from the National

21   Archives at Seattle will be difficulties of visiting distant repositories in southern California or

22   Kansas City. For scholars based in the Pacific Northwest, the move will demand more time for

23   travel, plus the associated costs for lodging and transportation. These costs will be even greater

24   for undergraduate and graduate students looking to use the collections currently housed in

25   Seattle, many of whom have neither dedicated time nor sufficient resources to conduct research

26   over long periods and at great expense. The cascading effects of the move will likely be borne

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                                                                                                    185
 1   by already financially-strapped universities and colleges, federal financial aid programs, and

 2   grantmaking agencies. The move will be even more devastating for Native American and

 3   Alaskan Native citizens in Washington, Oregon, Idaho and Alaska. For Alaskan Natives in

 4   particular, who already have had to travel to Seattle to consult federal records since the 2016

 5   closure of the National Archives branch in Anchorage, shuttering the Seattle branch will add

 6   further insult to major injury. Finally, archives are more than collections of documents and

 7   records; they are repositories of expertise and institutional memory. Losing the career staff and

 8   many unpaid volunteers who operate and maintain the National Archives at Seattle will mean

 9   losing partners who help scholarly historians, legal professionals, federal officials and general

10   citizens interested in their nation’s past from doing effective, important research.

11   I declare under penalty of perjury that the foregoing is true and correct.

12
     DATED this 28th day of December, 2020 at Brunswick, Maine.
13

14

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                                                     ~
                                                                          "


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                                                                                                -
16                                                 MATTHEW WILLIAM KLINGLE

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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7
          STATE OF WASHINGTON, et al.,                        NO.
 8
                                      Plaintiff,              DECLARATION OF CHARLENE
 9                                                            KRISE
                  v.
10
          RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12
             I, Charlene Krise, declare as follows:
13
             1.        I am the Vice-Chairwoman of the Squaxin Island Tribe. I am over the age of
14
      18 and competent to testify. I make this declaration based on my personal knowledge.
15
             2.        I have been the Vice-Chairwoman of the Squaxin Island Tribe, on this election
16
      cycle, since 201 8. I have previously served as a member of the Squaxin Island Tribal Council
17
     on numerous occasions.
18
             3.        I am the Executive Director of the Squaxin Island Museum Library and
19
     Research Center (MLRC) located on the Squaxin Island Reservation. As Executive Director,
20
     I am responsible for operation of the MLRC including management of its collection, and
21
     direction of research conducted by and in connection with the MLRC.
22
             4.        The Squaxin Island Tribe ("Squaxin") is a federally recognized Tribe located
23
     in Kamilche, Mason County, Washington.           Squaxin is a signatory to the 1854 Treaty of
24
     Medicine Creek.
25

26




     DECLARATION OF CHARLENE KRISE                                      SQUAXIN ISLAND LEGAL DEPARTMENT
                                                                                  3711 SE OLD OLYMPIC HWY
                                                                                          SHELTON, WA 98584
                                                         1                                       360.432.1771


                                                                                                    187
 1            5.      In the 1950s and 1960s, Squaxin used the documents at the National Archives

 2    at Sand Point to research its political continuity in a battle to prevent termination of the Tribe.

 3    From the 1960s and 1970s to the present, Squaxin has used the documents at the National

 4     Archives at Sand Point to document its reserved fishing rights under the Treaty of Medicine

 5    Creek. Beginning in the 1970s, Squaxin has used the documents at the National Archives at

 6    Sand Point to conduct genealogical research to assist the Tribe's support for national Indian

 7    Child Welfare legislation.     Were the records stored at the National Archives at Seattle moved

 8    out of the region or state, Squaxin and Squaxin members .would, practically speaking, no longer

 9    have access to those records and Squaxin would be irreparably harmed.

10            6.      No federal agency or federal government representative contacted the Tribe in

11    connection with the federal government's decision to sell the National Archives at Seattle.

12            7.       If the records housed at the National Archives facility are moved out of

13    Seattle/out of the Pacific Northwest, it will become practically impossible for the Squaxin

14    government and Squaxin peoples to access the documents housed there.                   This will limit the

15    Tribe's abilities to protect its tribal and individual legal interests, with respect to treaty hunting,

16    gathering, and fishing rights; water rights; land ownership; genealogy, and more.                       If the

17    documents are moved, the Tribe and individual members will be forced to incur significant

18    cost to continue to protect these legal interests.             Moving the records out of the Pacific

19    Northwest will also cause cultural harm to the Tribe and individual members by dramatically

20    limiting access to cultural and historical research resources.

21           I declare under penalty of perjury that the foregoing is true and correct.

22

23
      DATEDthisi__ dayof          8M'U).(U\U.(f"   ,   ~lJ 2l   at   5~                       '    \ >..[fr
                    day               month             year               city                    er state
24

25

26




     DECLARATION OF CHARLENE KRISE                                                SQUAXIN ISLAND LEGAL DEPARTMENT
                                                                                            3711 SE OLD OLYMPIC HWY
                                                                                                    SHELTON, WA 98584
                                                                 2
                                                                                                           360.432.1771
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 2



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 5

 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7
     STATE OF WASHINGTON. et aL                         NO.
 8
                               Plaintiff.               DECLARATION OF MICHAEL P.
 9                                                      KUCHER
            V.
10
     RUSSELL VOUGHT. et al..
I1
                               Defendants.
12
            I. Michael P. Kucher. declare as follows:
13
             1.     I am over the age of 18 and competent to testify. I make this declaration based
14
     on my personal knowledge.
15
            2.      I am an Associate Professor of History at the University of Washington.
16
     Tacoma. (UW or University). Washington State"s largest public research university. I have
17
     held this position since January 1997. As an Associate Professor of History at UW. I have
18
     responsibility for teaching undergraduate students environmental history. history of
19
     technology. Pacific Northwest history. and historical methods. especially the use of libraries
20
     and archives to perform historical research.
21
            3.      I hold a Ph.D. (2000) in History from the University of Delaware. From 2017-
22
     2019 I held the position of Division Chair for Social and Historical Studies at the University
23
     of Washington, Tacoma.       My prior research has been supported grants from both the
24
     National Science Foundation and the National Endowment for the Humanities. I currently


26




      DECLARATION OF MICHAEL P.                                     ERROR! AllTOTEXT Ei\TRY :\OT DEFl'\ED.

      KUCHER

                                                                                                             189
       have a book proposal with another UW author under review by the University of Virginia on

 2     the Architecture of Seattle for the series, Buildings of the United States .
 ..,
 .)            4.      The National Archives at Seattle houses many records that are critical to my

 4     work. To name just a few examples: Record Group 77 (RG 77) contains Correspondence

 5     Relating to Specific Harbor Defense Projects. 1905 - 1930 in eleven legal boxes. Among

 6     these records are those pertaining to Fort Lawton. Seattle. None of these records has been

 7     digitized.   RG 71. Records of the Bureau of Yards and Docks. 1784 - 1963 consists of

 8     memorandums. correspondence. telegrams. reports. maps. and drawings related to the siting

 9     and building of the Sand Point Naval Air Station in Seattle.           Records such as these are

10     essential for my research. which includes the federal role in shaping Seattle's architecture.

11             5.      I teach three classes at the University of Washington. Tacoma. in which

12     students have performed research at the NARA Sand Point. Ecological History (TESC 426)

13     in which students ground their understanding of conservation and human impacts on the

14     environment in case studies of human actions in the greater Puget Sound region. Many of

15     these actions-such as the digging of the Ship Canal in Seattle or the Dredging of the

16     Duwamish River or the Construction of the Mt. Rainier National Park-involve federal

17     projects whose documents are at NARA Sand Point. I also teach Pacific Northwest History

18     in which students do a research project that can involve accessing records at NARA. Finally.

19     I teach History Methods (TEST 380) where students gain hands-on experience identifying.

20     locating. and inspecting primary source documents at the NARA.              Whereas some records

21     such as the Donation Land Claims contained in the BLM RG 49 have been digitized, it is

22     often difficult to discern details in digital versions that are readily apparent in the originals.
_.,
?"'            6.      My students have also used the National Archives to research the Montlake

24     Cut; Fort Lawton; Traditional Ecological Knowledge of the people of the Puyallup Nation;

25     the Ballard Ship Canal; and disappearing glaciers on Mount Rainier, to name a few

26     examples.




        DECLARATION OF MICHAEL P.                          2              ERROR! Al/TOTEXT El\'TRY :\'OT DEFINED.
        KUCHER

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 1               7.    A former undergraduate student of mine at UW is now doing a Ph.D. in

 2   agricultural history at the Iowa State University, Ames. on the agriculture of the Hudson's

 3   Bay Company farm in Cowlitz Co. WA, and will be using NARA records to determine what

 4   impact Kanaka (Hawaiian) workers may have had on British and American agricultural

 5   practices. He will need to use the records of the Cowlitz Indian Tribe at the NARA Seattle

 6   facility.
 7               8.    Other research I have done at the NARA Seattle facility involved use of the

 8   Donation Land Claims and General Land Office Records in Oregon and Washington

 9   Territory, especially the hand drawn Cadastral Survey Plats (maps) and accompanying

10   manuscript written descriptions to determine contact-era land use. vegetation, and water

11   resources in order to study the impact of European settlement and agriculture and forestry as

12   part of a larger project on the ecological history of the Salish Sea Watershed. Although some

13   of these records have been digitized, many have not.
14            9.       I first learned of the proposal to move the records in the press, either the
15   Seattle Times or the KUOW radio station some time within the past year.
16               10.   If the NARA Seattle facility closes, it will be much harder for me to complete

17   research on recreation or architecture in the region's National Parks or city parks such as

18   Magnuson Park at Sand Point, and depending on funding for out-of-state travel, it may be

19   impossible for me to complete such research. Students who can currently reach NARA by

20   public transportation could not perform this research at all. As reported in The Guardian

21   today (30 December 2020), 1 only I% - 3% of the NARA documents have been digitized to

22   day. That means at least 97% of the sources students may need would not be available. The

23   potential harms are both short-term, as in difficulty completing a student project as well as

24   long-term, less research over time concerning conservation and recreation in the region,
25
              1 https://www .thegu ard ian .com/us-news/2020/dec/30/seattle-national-arch ives- indigenous-people-
26   property-sale




      DECLARATION OF MICHAEL P.                                 3                ERROR! AUTOTEXT ENTRY l'\OT DEFINED.
      KUCHER

                                                                                                                        191
     which will mean a less-qualified work force , especially those students seeking jobs in

 2   government. Research at NARA is the very best sort of " Civics" education a student can

 3   obtain because performing it requires the acquisition of an intimate knowledge of how the

 4   government works . It would be a substantial loss to myself, my colleagues, and my UW

 5   students to lose access to the incredible records at the Seattle Archives facility.

 6

 7   I declare under penalty of perjury that the foregoing is true and correct.

 8
     DATED this 4th day of January, 2021 at Seattle, WA.
 9

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                                                            V   L~ /
13                                                  Michael P. Kucher

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      DECLARATION OF MICHAEL P.                         4              ERROR! AllTOTEXT ENTRY NOT DEFI NED.

      KUCHER

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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                         NO.
 8
                                    Plaintiff,               DECLARATION OF
 9                                                           CATHERINE LEE
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                    Defendants,
12
            I, Catherine Lee, declare as follows:
13
            1.        I am the President of the Chinese American Citizens Alliance of Seattle
14
     (C.A.C.A. Seattle). I am over the age of 18 and competent to testify. I make this declaration
15
     based on my personal knowledge.
16
            2.        I have served as President of the C.A.C.A Seattle since 2019, and have been a
17
     member since 2014. As President, I am responsible for presiding over all meetings, appointing
18
     members of various committees, and representing C.A.C.A. Seattle at events and on legal
19
     documents. Prior to serving as President, I served as Vice-President and Treasurer.
20
            3.        C.A.C.A. Seattle is the Seattle chapter of one of the oldest civil rights
21
     organizations in the country. An important part of C.A.C.A. Seattle’s mission is to educate the
22
     public about the history and contributions of Chinese Americans in the Pacific Northwest.
23
            4.        A critical part of that history is the Chinese Exclusion Act and its impact on
24
     local communities. The National Archives at Seattle holds many of the most important records
25
     about the implementation and impact of the Chinese Exclusion Act on the region. C.A.C.A.
26



       DECLARATION OF CATHERINE LEE                     1            BRADLEY BERNSTEIN SANDS LLP
                                                                     113 CHERRY ST, PMB 62056
                                                                     SEATTLE, WASHINGTON 98104-2205
                                                                                                  193
 1   Seattle and its members rely on those records to not just research and understand the impact of
 2   the Chinese Exclusion Act on their own families, but also to educate the Pacific Northwest
 3   community about the Act and its impact on the region as a whole.
 4          5.      The records are central to our organization’s efforts to add the Chinese
 5   Exclusion Act studies to the Washington State K-12 curriculum. This discriminatory time in
 6   history is not yet required studies in Washington State. A group of leaders from C.A.C.A.
 7   Seattle has worked on developing educational modules for teachers, and used research at the
 8   National Archives at Seattle for this purpose. If the records at the Archives were relocated, this
 9   important work would be seriously hampered due to inaccessibility.
10          6.      Many of our members’ families, and those of the Chinese American
11   community, have lived in the Seattle area for generations. Their families were significantly
12   impacted by the Chinese Exclusion Act. Records related to their families’ livelihoods and
13   travel are stored in Seattle’s National Archives. Since at least 2014, volunteers at the National
14   Archives at Seattle had assisted C.A.C.A. Seattle in conducting training sessions for members
15   to locate and find records housed at National related to their own families.
16          7.      Some of the Archives volunteers are members of C.A.C.A. Seattle who have
17   contributed countless hours for over a decade to an effort to index files regarding the Chinese
18   Exclusion Act. The volunteers review individual files to identify pages that need extra
19   attention for long term preservation. They then read the contents to glean information
20   necessary to index the file and enter the data into a database with the goal of the Archives
21   providing a searchable public record of the many thousands of files. The volunteer effort to
22   finish indexing the Chinese Exclusion Act files in Seattle is not close to being finished. There
23   are still thousands of files to review. If the Chinese Exclusion Act records were moved
24   elsewhere, this effort to preserve and index the Chinese Exclusion Act files is at serious risk
25   of never being completed.
26



       DECLARATION OF CATHERINE LEE                      2             BRADLEY BERNSTEIN SANDS LLP
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                                                                       SEATTLE, WASHINGTON 98104-2205

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 1          8.      I have personal experience in discovering family records at the Archives. I
 2   learned that my great-aunt entered America in 1928 through Seattle to study medicine. All her
 3   records were right here, and my family was not even aware of it until I learned about the
 4   richness of resources about Chinese American history available at the Archives. It is a thrill to
 5   be able to see her actual handwriting and to learn so many more details about her life.
 6          9.      In another example, one of our organization’s members was born at the end of
 7   the U.S. Chinese Exclusion Act and in the middle of the Canadian Chinese Exclusion Act.
 8   Since her father was Chinese American and her mother was Chinese Canadian, her family was
 9   separated for 5 years by these “twin exclusion acts”. Her story has been recovered and retold
10   through research in the archives. Without access to these files locally, families such as hers
11   would find it difficult if not impossible to find funds to travel to find their own histories that
12   began and continue on in the Northwest.
13          10.     Another member had three generations of her father’s family who immigrated
14   to the United States under the Chinese Exclusion Act between 1873 and 1940. They each
15   settled in Ellensburg, WA. This member was able to review the arrival records for each of
16   them. Her grandfather had never met his father, who had returned to the U.S. before he was
17   born. The family had no photo of the family patriarch until our member found his Chinese
18   Exclusion Act file from the 1902-1904 trip where her grandfather was conceived. It was
19   particularly meaningful to her that not only were file contents over 100 years old, but also the
20   knowledge that her great-grandfather probably touched the photo and other papers in the file.
21   These rare physical records are not the type that can be recreated in an electronic database.
22   This member has also located files of other family members and of other Chinese men who
23   lived and worked in Ellensburg in the early 1900s. The physical files housed at the Archives
24   have provided detail and depth to our members’ understanding of the contributions of Chinese
25   pioneers to Central Washington growth and history.
26



       DECLARATION OF CATHERINE LEE                      3             BRADLEY BERNSTEIN SANDS LLP
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                                                                       SEATTLE, WASHINGTON 98104-2205

                                                                                                   195
1           11.     In 2018, our organization hosted a commemoration of the 75th anniversary of
2    the repeal of the Chinese Exclusion Act at the Wing Luke Museum. Our members used the
3    resources at the Archives to curate information for the event. At the event, Archives volunteers
4    provided valuable insight into available family records regarding the impact of the Chinese
5    Exclusion Act on our community.
6           12.     Members also utilize records, including oral histories, housed at the Archives
7    at Seattle to create art and to tell the stories of both the racial discrimination faced by Chinese
8    American citizens in the Pacific Northwest and the myriad ways that Chinese Americans
9    helped to create and build the city that Seattle is today.
10          13.     For example, one of our members is a professional artist, whose art has been
11   based on the oral histories of Chinese Americans dating back to before the 1850’s. Her artwork
12   focuses on social justice, and specifically that which pertains to the Chinese American
13   experience. Her artwork is based on years of research, including oral histories housed at the
14   Archives that document and trace racial discrimination against the Chinese that continues to
15   echo through current times. The histories found in the archives helps Chinese Americans make
16   a case against the racial discrimination we are still experiencing here in the NW today.
17          14.     Relocation of the National Archives at Seattle would frustrate the mission of
18   C.A.C.A. Seattle by depriving of it of access to many of the most critical historical documents
19   surrounding the history of Chinese Americans in the Pacific Northwest. It would also require
20   a diversion of resources by forcing C.A.C.A. Seattle members to travel or avail itself of more
21   expensive research options to continue to build out and teach the public about that history.
22          15.     C.A.C.A. Seattle did not learn of the impending sale of the National Archives
23   at Seattle until January 2020. If our organization had been given the opportunity to comment
24   on the proposed sale earlier, we would have been able to provide information about the vital
25   role that the National Archives at Seattle plays in our organization’s work, including by
26



       DECLARATION OF CATHERINE LEE                      4             BRADLEY BERNSTEIN SANDS LLP
                                                                       113 CHERRY ST, PMB 62056
                                                                       SEATTLE, WASHINGTON 98104-2205

                                                                                                    196
 1
             15.    C.A.C.A. Seattle did not learn of the impending sale of the National Archives
 2
     at Seattle until January 2020. If our organization had been given the opportunity to comment
 3
     on the proposed sale earlier, we would have been able to provide information about the vital
 4
     role that the National Archives at Seattle plays in our organization's work, including by
 5
     preserving and providing physical access to files regarding the Chinese Exclusion Act and its
 6
     impact on our community.
 7
     I declare under penalty of perjury that the foregoing is true and correct.
 8
 9   DATED this    1j._
                      th
                           day of January , 2021 at __,_./J,_.et'l
                                                              =  W�U     faJ�--' _____.,,_,,AI J.A�- �--
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       DECLARATION OF CATHERINE LEE                             5               BRADLEY BERNSTEIN SANDS LLP
                                                                                   113 CHERRY ST, PMB 62056
                                                                               SEATTLE, WASHINGTON 98104-2205




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8                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
9
        STATE OF WASHINGTON, et al.,                        NO.
10
                                    Plaintiff,              DECLARATION OF EMILY
11                                                          MANSFIELD
                 v.
12
        RUSSELL VOUGHT, et al.,
13
                                    Defendants,
14
            I, Emily Mansfield, declare as follows:
15
            1.        I am an ethnohistorian and retired member of the Washington State Bar
16
     Association, having worked for the Port Gamble S’Klallam Tribe (“Tribe”)—a signatory to
17
     the 1855 Point No Point Treaty with the United States—from 1992 to 2013. I also worked for
18
     the Jamestown S’Klallam Tribe, which is also a Point No Point Treaty signatory, between 1976
19
     and 1978. I am over the age of 18 and competent to testify. I make this Declaration based on
20
     my personal knowledge.
21
            2.        I received my Juris Doctor degree from the University of Washington in 1976.
22
     From 1976 to 2011, I was a member in good standing with the Washington State Bar
23
     Association. I have conducted ethnohistorical research for Western Washington tribal
24
     governments, including for the Jamestown S’Klallam Tribe from 1976 to 1978 and the Port
25
     Gamble S’Klallam, Muckleshoot, and Puyallup Tribes since 1992. I served as a Tribal
26

       DECLARATION OF EMILY                            1            Galanda Broadman PLLC
       MANSFIELD                                                    8606 35th Avenue NE, Ste. L1
                                                                    Mailing: P.O. Box 15146
                                                                    Seattle, WA 98115
                                                                    (206) 557-7509
                                                                                                   198
1
     Attorney or ethnohistorian for the Port Gamble S’Klallam Tribe from 1992 to 2013. I have
2
     extensively researched and utilized historical records on file with the U.S. National Archives
3
     and Records Administration (NARA) since at least 1976.
4
                3.   Between 1976 and 1978, while a staff attorney for Evergreen Legal Services
5
     Native American Unit, I represented the Jamestown S’Klallam Tribe in its petition to the
6
     federal government for acknowledgement of federal recognition. In order for the Tribe to
7
     document its existence and historic relationship with the federal government, I conducted
8
     ethnohistorical research at the National Archives facility in Seattle, primarily in Record Group
9
     75, visiting the archives at least four times. The historical records I located, retrieved, and
10
     inventoried from that facility were instrumental in the Jamestown S’Klallam Tribe receiving
11
     federal recognition.
12
                4.   Starting in 1992, I worked to help the Port Gamble S’Klallam Tribe obtain
13
     federal Clean Water Act Treatment as a State (TAS) status from the U.S. Environmental
14
     Protection Agency, chiefly in order to protect and conserve Port Gamble Bay’s natural and
15
     cultural resources. Port Gamble Bay is a historic village site of the S’Klallam Peoples. The
16
     Tribe’s current Reservation adjoins the Bay. From 1992 to 1995, I conducted ethnohistorical
17
     research at the current National Archives facility at Seattle to support the Tribe’s federal TAS
18
     efforts.
19
                5.   I distinctly recall locating, retrieving, and inventorying historic records from
20
     Record Group 75 at the National Archives facility at Seattle, specifically federal records that
21
     emanated from the Tulalip, Puyallup and Western Washington Indian agencies in the late
22
     1800s through the mid-1900s as well as records from the General Land Office in Bureau of
23
     Land Management RG 49. Those records included original correspondence from federal Indian
24
     agents and S’Klallam peoples and federal S’Klallam enrollment applications and records and
25
     payment records. I recall original records from the General Land Office showing that
26

       DECLARATION OF EMILY                             2            Galanda Broadman PLLC
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                                                                     (206) 557-7509
                                                                                                    199
1
     S’Klallam peoples were deeded homesteads along Port Gamble Bay, Quilcene Bay, and the
2
     Hood Canal, and from the Puyallup agency showing that the Tribe attempted to buy land along
3
     Port Gamble Bay from William Talbott and Andrew Pope (who founded a mill there that later
4
     became the town of Port Gamble). I also recall poignant original correspondence in Puyallup
5
     Agency records from teachers at the former Port Gamble Day School regarding the tutelage of
6
     S’Klallam children and daily life in the early 1900s. Some of the original land records are
7
     included in bound leather books, which NARA archivist Joyce Justice was always so kind to
8
     help me locate at Sand Point; she was an incredible resource to Western Washington
9
     Indigenous peoples. These historic records are invaluable to the S’Klallam People and their
10
     history and heritage; they are of unexpressible importance to the Tribe.
11
            6.      I spent at least four full days conducting ethnohistorical research at the National
12
     Archives facility at Seattle in connection with the Tribe’s federal TAS program efforts. For
13
     that work I was paid by the Tribe with U.S. Department of the Interior program funds for
14
     Natural Resources and Cultural Resources conservation and research. My research at the
15
     Seattle facility was instrumental in the Tribe obtaining TAS status from EPA in 1995 to help
16
     the federal government preserve and conserve Port Gamble Bay.
17
            7.      From 1995 to 1997, I worked for the Tribe under a contract with the
18
     incomparable Dr. Barbara Lane, a longtime anthropologist for Western Washington
19
     Indigenous peoples. My work was pursuant to a U.S. Department of Health and Human
20
     Services, Administration for Native Americans (ANA) grant on behalf of the Point No Point
21
     Treaty Council that was intended to preserve Treaty habitat and species throughout the Kitsap
22
     and Olympia Peninsulas and along the Hood Canal. I again conducted ethnohistorical research
23
     at the current National Archives facility at Seattle. I again located, retrieved, and inventoried
24
     historic records from Record Group 75 at that facility, including S’Klallam Tribal records from
25
     the early to mid 1900s that show S’Klallam efforts to regulate Treaty hunting of deer and elk.
26

       DECLARATION OF EMILY                             3             Galanda Broadman PLLC
       MANSFIELD                                                      8606 35th Avenue NE, Ste. L1
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                                                                      Seattle, WA 98115
                                                                      (206) 557-7509
                                                                                                     200
 1
     I spent at least two or three full days conducting that research at the National Archives facility
 2
     at Seattle.
 3
             8.       By the late 1990s, I helped the Tribe create their own archives of historical
 4
     records obtained in significant part from the National Archives facility at Seattle. Those
 5
     records informed two books published by the Tribe about S’Klallam history. The first book is
 6
     Native Peoples of the Olympic Peninsula: Who We Are, the second edition of which was
 7
     published in 2015. That book was written and published with U.S. National Parks funds and
 8
     supported by federal employees with the Olympic National Park. The second book is The
 9
     Strong People: A History of the Port Gamble S’Klallam Tribe, which was published by the
10
     Tribe in 2012.
11
             9.       If the historical records currently stored and preserved at the National Archives
12
     facility at Seattle are moved, Tribes, Tribal members, and Tribal representatives will lose
13
     access to their historical roots. The local availability of these records is critical to the Tribes’
14
     documentation of their histories and the scope of their Treaty rights as well as to researching
15
     future projects related to conservation of Treaty-protected resources and other matters.
16
     Performing thorough ethnohistorical research requires hands-on examination of every
17
     potentially relevant file and document. This cannot be done online or by requesting documents
18
     from a distance. Online collections are not complete and a researcher using primary source
19
     material often does not know exactly what documents exist in order to ask for them. One must
20
     look for the records oneself, thoroughly and extensively. Just as exercise of Treaty fishing,
21
     hunting, and gathering rights is dependent upon conserving those resources, their exercise is
22
     also dependent upon accessing the documents which provide evidence of their existence.
23

24

25
26

       DECLARATION OF EMILY                               4             Galanda Broadman PLLC
       MANSFIELD                                                        8606 35th Avenue NE, Ste. L1
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                                                                        Seattle, WA 98115
                                                                        (206) 557-7509
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 8                                 UNITED STATES DISTRICT COURT
                                  WESTER DISTRICT OF WASH . GTON
 9                                             AT SEATTLE

10   STATEO WASHINGTON, etal .•

11                              Plaintiff,                DECLARATION OF CHARLENE
                                                          MARGARET MATHESON
12                        YS.


13   RUSSELL VOUGHT, et al.,

14                              Defendants.

15
               l Charlene Margaret Matheson, declare as follows:
16             1.       I run enrol1ed in the Puyallup Tribe of fudians, the tribe of my father. My

17   mother wa enrolled 1n the Coeur d'Alene Tribe, as are many of my siblings and other

18   family.        W,e also share ancestry from the Aleut (Ah:1liiq) Kootenai Upper Skagit,

19   Duammish and Skokomish tribes.            I am employed in the Planning and Land Use

     Department at the PuyaUup Tribe. I have also worked in the Realty Office of the Puyallup
20
     Tribe and al the tribe' s health dinic, Puyallup Tribal Health Authority. I am over the age of
21
     18 and competent m testify. I make thi. declaration based-on my per onal knowledge .
22

23


                                                                                   LAWOFFJCE
     DECLARATION OF CHARLENE MARGARET
     MATHESON -PAGE l          ~                                           PUYALLUP TRIBE
                                                                             3009 PORilAND AVE~UE
                                                                               TACOMA, WA 98404
                                                                                  (253} 573, 7877



                                                                                                      203
 I          2.      J have been employed a a Special Projects Land Use Planner inoe 2008. As

 2   Special Projects Planner, 1 am responsible for receiving; reviewing, and sharing land use

     notifications from governmental entities which ha ·e developed on our ancestral lands.
 3
     including: the State of Washington, Pierce County, the Cities of Tacoma, Fife. Puyallup.
4
     Federn] Way, Milton and Edgewood, Washington.           otifications of land use activities thm
5
     raise concern are di ·cussed as a team comprised of the Land Use team. Legal taff,           atural
 6
     Resources st.a.ff, Historical Preservation staff and, together a. decision is made regarding
 7   whether the issue raises to a 1eve1 of concern for the Puyallnp Tribal Council. We al ·o

 8   partkipate as a team of staff from !he above tated departments to develop and propose a

 9   Comprebensive Land Use. Pfan to our Tribal Co,,m cil         Our responsibilities rely an our

     knowledge of the kgal and culturaI history of non-Indian aggr-e ·sion and taking of our
w
     lands, the division of our peoples into the tribe       that are recognized by the Federal
ll
     Government today. the lands the tribe . were required to inhabit in order to end the non-
12
     Indian aggres. ion against the Indian peoples, and for our peoples to preserve (and in many
13
     modem-day cases relearn) the cultural customs and traditions practiced and taught by our
14   ancestors.

15          3.       My assignments also include working to provide for burial space as our

16   limited land base and cunent cemeteries approach their capacity. This task has required

     knowledge of our people's trad itional buriai plac . which were closed due to the expanding
17
     population of the growing juri. dictions that have located themselves on our lands, how
18
     iliose land \Vere lost. to the tribe, and the repatriation of the ancestors who were interred in
19
     those areas. Currently, we are deve]oping plans to locate a c-emetery on land that wa. given
20
     to the Catholic Church for an lndian Boarding School at the turn of the 201n century. The
21   tribe was abie to reacquire title to 22 acres by occupying the St. George Boarding School

22   site and then obtaining a court finding to award title of the prope1ty back to the Puyallup

23


                                                                                    LAwOFFICEi.
     DECLARATION OF CHARLENE MARGARET
     MATHESON-PAGE 2      ~                                                 Puv ALL UP TRIBE
                                                                              3009 PORTLAND AVEN LIE
                                                                                TACOMA, WA 98404
                                                                                   (2:53) 57:3,7877




                                                                                                           204
 1   Tribe. The team at rhe PuyaUup Tribe relied on information oo the changes in owncrsh1p in

 2   part through research m the National Archives.

               4.     Prior to serving as Specia1 Projects Land Use Planner. I wa<i em.ployed in the
 3
     Puyalh..tp Tribe's Realty DepanmenL That department must thoroughly research the history
4
     of ownership and tit]e to the lands of the Tribe and of the individual members who seek to
 5
     place their lands into protected Trust Land, Status. Th.e Realty department is respons ible
 6
     for identifying lands for acquisition, a the Puyallup Tribe works to purcha e back our
 7   reservation lands one parcel at a time.

 8             s.     I am also o;n. the Puyallup Tribe's Enrollment Committee.          nformation

 9   regarding ancestry and bloodHnes is used to determine who is eligible to be enrolled jn the

     PuyaUup Tribe of fndjans.
10
               6.     The Puyallup Tribe of Indian,s, a federally recognized tribe, has always
ll
     occupied the lands that currently define the boundaries of our reservation. The reservation
12
     lands. include the entire City of Fife, and parts of the cities of Tacoma Puyallup, Milton,
13
      dgewood and Federal Way and Pierce County, Wa ·hington.          he treaty of Medicine Creek

l4   divided various tribal groups tnto three eparate tribes, and ordered that the Indians move

15   their   homes to one of the three reservations and wel'e identified as the Puyallup Tribe, the
16   Muckleshoot Tribe and the Squaxin Island Tribe.

               7.     I learned Lhat the Federal Government intend to sell the NationaJ Atchi ves
17
     site at Seattle from a breaking news alert on my eel] phone .. I learned from a local news
18
     channel that all the document of Northwestern and Alaskan Uibes would be relocated to a
19
     site o distant that most no:rthwestem tribal peoples wiH not be able to trave].
20
               8.     My department along with the Historical Preservation. Office are the official
21   recipients of intergovemmenta1 land use 11otifications and we did not receive an officia]
22   notification from the US Government of the intent to sell the property and relocate the

23   p1ecious records.     After several co~workers discus ed hearing the news report of the


                                                                                   LAwOFFICE
     DECLARATJON OF CHARLENE MARGARET
     MATHESON -PAGE 3    ~                                                 PUYALLUP TRIBE
                                                                             3009 POATLAN D AVENUE
                                                                                TAOOMA, WA 98404
                                                                                  (253) 573·7677




                                                                                                       205
 1   intended sale, we were able to verify that the news report was accurate, and that, despite

 2   overwhelming objection, that the intent to sell and relocate the archives remains true.

            9.      I have spoken with numerous citizens, tribal and non-Indian about the harm
 3
     that this move will cause. Most citizens, particularly the elderly, will never be able to
 4
     journey to a location out of the northwest in order to witness the history of the items housed
 5
     at the Seattle location. To do so would be cost prohibitive for many, and many of the living
 6
     elders who have memories or family stories about the history housed in the National
 7   Archives will be unable to travel due to health restrictions. Beyond the harm that will be

 8   caused against the tribal departments, the stories that are passed down from one generation

 9   to the next will be lost over time. Families, such as mine, that have lost family members

     will not be able to research records and make important discoveries about their families by
10
     viewing records at the National Archives.
11
            10.     The National Archives helped me with a wonderful find in 2019. My father
12
     took our family history very seriously. He spent much of his adult lifetime tracing our
13
     family genealogy. He was never able to trace information regarding his father’s family,
14   even seeking assistance from the Mormon Church’s comprehensive genealogy program.
15   My paternal grandfather, Charles A. Matheson, an Aleut (Alutiiq) Alaskan Native, passed

16   when my father was two years old. In 2019, I was contacted by a woman who hired an

     investigator to assist her with identifying her birth parents. The investigator informed her
17
     that her grandmother and my grandfather were in the same orphanage on Woody Island,
18
     Alaska at the same time. She was able to acquire census records, photographs, personal
19
     correspondence and journal entries from the caretaker of the orphans. The records of the
20
     orphanage were lost in a fire and hence, my father’s attempts to learn more about his
21   Alaskan heritage hit a dead end.
22          11.      The research of the investigator included acquiring records from the

23   National Archives at Sandpoint in Seattle, Washington. The findings included information


                                                                                   LAW OFFICE
     DECLARATION OF CHARLENE MARGARET
     MATHESON – PAGE 4                                                     PUYALLUP TRIBE
                                                                             3009 PORTLAND AVENUE
                                                                               TACOMA, WA 98404
                                                                                  (253) 573-7877



                                                                                                      206
 1   that my grandfather was terminated from care at the orphanage at the age of 17 and shipped

 2   to d1e Cushman Trade School on the Puyal]up Reservation where he met my grandmother. I

     had every intention of visiting the Natjonal Archives in hope of learning more about the
 3
     generations of my Matheson family prior to my grandfather's birth, and the pos ible
 4
     whereabouts of his three siblings who are listed on orphanage record, when the office was
 5
     closed due to Covid in spring of 2019. And, of       course, during these pandemic months, I
 6
     le.a.med from a news release on my ceU phone that the US Govemment intended to sell the
 7   propetty and move aU of our record out of the northwestern United States.

 8

 9   I declare under penalty of perjury that the foregoing i true and cou.-ect.

rn
     DATED this   4th   day of January. 2021 at Tacoma, Washington.
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     DECLt\RA TION OF CHARLENE MARGARET
     MA HESO - PAGE 5      -~                                               Pl.TY ALL UP TRmE
                                                                              3009 PORTLAND AVENUE
                                                                                  TACOMA, WA 984·04
                                                                                    (253) 5 73- ran



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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8
        STATE OF WASHINGTON, et al.,
 9
                                    Plaintiffs,              NO. 2:21-cv-00002-JCC
10
                 v.                                          DECLARATION OF MARIE
11                                                           MCCAFFREY
        RUSSELL VOUGHT, in his capacity as
12      Acting Director of the OFFICE OF
        MANAGEMENT AND BUDGET;
13      DAVID S. FERRIERO, in his capacity as
        Archivist of the NATIONAL
14      ARCHIVES AND RECORDS
        ADMINISTRATION; ADAM BODNER,
15      in his capacity as Executive Director of
        the PUBLIC BUILDINGS REFORM
16      BOARD; EMILY MURPHY, in her
        capacity as the Administrator of the
17      GENERAL SERVICES
        ADMINISTRATION; NATIONAL
18      ARCHIVES AND RECORDS
        ADMINISTRATION; OFFICE OF
19      MANAGEMENT AND BUDGET;
        PUBLIC BUILDINGS REFORM
20      BOARD; and GENERAL SERVICES
        ADMINISTRATION, agencies of the
21      United States,
22                                  Defendants.
23
            I, Marie McCaffrey, declare as follows:
24

25          1.        I am the Executive Director of HistoryLink. I am over the age of 18, competent

26   to testify, and make this declaration based on my personal knowledge.


       DECLARATION OF MARIE                             1                    PACIFICA LAW GROUP LLP
                                                                                 1191 SECOND AVENUE
       MCCAFFREY                                                                       SUITE 2000
                                                                            SEATTLE, WASHINGTON 98101-3404
                                                                               TELEPHONE: (206) 245.1700
                                                                               FACSIMILE: (206) 245.17500



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1            2.      HistoryLink is a 501(c)(3) not-for-profit corporation established in 1997 to
2
     pioneer innovative approaches to historical research, education, and publishing. Its primary
3
     public service activity is production of HistoryLink.org, the free online encyclopedia of
4
     Washington state history and the nation’s first original encyclopedia of community history
5
     created expressly for the Internet. HistoryLink.org includes more than 8,000 articles about the
6

7    history of our state.

8            3.      I have been Executive Director of HistoryLink for 14 years. As Executive
9    Director, I am responsible for managing HistoryLink.org and HistoryLink’s other projects and
10
     programs, among other responsibilities. Prior to serving as Executive Director, I was co-founder
11
     of HistoryLink in 1997 and designed and co-published numerous books about Washington
12
     history.
13

14           4.      The National Archives and Records Administration’s Seattle facility (the

15   “Archives”) is a key resource for the development of HistoryLink articles, books, tours, and

16   curriculum materials. Our freelance writers have accessed the records there to learn about the
17   history of federal facilities such as Hanford Nuclear Works, Sand Point Naval Air Station, the
18
     Hiram Chittenden Locks, and Lake Washington Ship Canal, significant events such as the
19
     passage of the Donation Land Law, the 1962 World’s Fair, and the Pig War incident in the San
20
     Juan Islands, and biographies of significant people who have shaped the state’s history, among
21

22   many other topics.

23           5.      Our writers also rely on access to Army Corps of Engineers, Department of

24   Defense, Atomic Energy Commission, Federal Highway Administration, and other federal
25

26


       DECLARATION OF MARIE                            2                    PACIFICA LAW GROUP LLP
                                                                                1191 SECOND AVENUE
       MCCAFFREY                                                                      SUITE 2000
                                                                           SEATTLE, WASHINGTON 98101-3404
                                                                              TELEPHONE: (206) 245.1700
                                                                              FACSIMILE: (206) 245.17500



                                                                                                            209
 1   agency records to develop articles about the history of federal facilities and programs in
 2
     Washington state.
 3
            6.      Some of HistoryLink’s programs and projects are funded by or otherwise related
 4
     to federal programs. For example, HistoryLink is partnering with the Washington State
 5
     Historical Society and others to produce an in-depth history of Washington state agriculture,
 6

 7   which is partially funded by a United States Department of Agriculture Specialty Crop Block

 8   Grant. This project will require research into a wide range of federal programs related to
 9   irrigation, soil conservation, transportation, and educational programs, which will require
10
     research at the Archives.
11
            7.      As another example, HistoryLink.org articles, including those developed through
12
     research at the Archives, are also widely cited in nominations for the National Register of
13

14   Historic Places and in Historic American Buildings Surveys and Historic American Engineering

15   Records, all of which are National Park Service programs.

16          8.      If the records housed at the National Archives’ Seattle facility are moved out of
17   the Pacific Northwest, HistoryLink would be severely hindered in its efforts to tell the stories of
18
     Washington’s people, places, and significant events. Local access is important because the
19
     majority of the records at the Archives are not digitized.
20
            9.      One of the primary obstacles HistoryLink would face would be the expense
21

22   involved in accessing records housed outside the region. We survive, like most non-profits, by

23   carefully stewarding our resources and doing our work as efficiently as possible. Currently, our

24   writers can search and utilize the critical resources housed at the Archives because they can
25
     access the Archives easily and over multiple visits. Effective research requires ample time to
26


       DECLARATION OF MARIE                             3                     PACIFICA LAW GROUP LLP
                                                                                  1191 SECOND AVENUE
       MCCAFFREY                                                                        SUITE 2000
                                                                             SEATTLE, WASHINGTON 98101-3404
                                                                                TELEPHONE: (206) 245.1700
                                                                                FACSIMILE: (206) 245.17500



                                                                                                              210
1    look through files to discover what information is available. If the records at the Archives are
2
     moved out of the region, the travel expenses will become prohibitive for HistoryLink and its
3
     freelance writers. As a result, our writers’ ability to write thoroughly researched, balanced
4
     articles about Washington history would be compromised.
5
            I declare under penalty of perjury under the laws of the United States of America that the
6

7    foregoing is true and correct.

8           Executed this 4th day of January, 2021, at Seattle, Washington.
9

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12
                                                  Marie McCaffrey
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       DECLARATION OF MARIE                            4                      PACIFICA LAW GROUP LLP
                                                                                1191 SECOND AVENUE
       MCCAFFREY                                                                      SUITE 2000
                                                                           SEATTLE, WASHINGTON 98101-3404
                                                                              TELEPHONE: (206) 245.1700
                                                                              FACSIMILE: (206) 245.17500



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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                          NO.
 8
                                     Plaintiff,               DECLARATION OF LINDA L.
 9                                                            NASH
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12
            I, Linda L. Nash, declare as follows:
13
            1.        I am over the age of 18 and competent to testify. I make this declaration based
14
     on my personal knowledge.
15
            2.        I am Professor of History at UW (UW or University), Washington State’s
16
     largest public research university. I have held a faculty position at this university since
17
     September 1999, rising from Acting Assistant Professor to full Professor. As Professor at UW,
18
     I have responsibility for teaching graduate and undergraduate students, conducting and
19
     publishing historical research, and undertaking various administrative duties.
20
            3.        I hold a Ph.D. in History from the University of Washington. I have published
21
     a multiple award-winning book and articles in leading historical journals. I have received
22
     national fellowships from the National Library of Medicine and the National Endowment of
23
     the Humanities for my work, and I am recognized as a leading scholar in U.S. Environmental
24
     History.
25

26




       DECLARATION OF LINDA L. NASH                      1             ERROR! AUTOTEXT ENTRY NOT DEFINED.


                                                                                                  212
 1          4.      I learned of the sale of the National Archives facility in Seattle (NARA-Seattle)
 2   through an email circulated to faculty in the University of Washington Department of History
 3   in late January of 2020, which requested input on how the closure of NARA-Seattle might
 4   affect the University of Washington. At that time, I wrote a brief letter to Aaron Hoard, Deputy
 5   Director, Regional & Community Relations, noting what I thought some of the negative
 6   impacts of closure would be to myself, my students, and the Department of History.
 7          5.      The harms that moving the Archives out of Seattle are several. First, faculty and
 8   students at the University will lose convenient access to a rich set of archival resources that
 9   document the region’s history which will, in turn, impede our ability to conduct research. To
10   gain access to these records will require considerable additional time and financial resources
11   for travel. This will impede both faculty and student productivity. Several award-winning
12   publications by University of Washington faculty have made use of these archives over the
13   years; examples include Richard White, The Organic Machine: The Remaking of the Columbia
14   River (New York : Farrar, Straus and Giroux, 2013); Alexandra Harmon, Indians in the
15   Making: Ethnic Relations and Indian Identities around Puget Sound (Berkeley : University of
16   California Press, 2000, ©1998); Alexandra Harmon, Reclaiming the Reservation: Histories of
17   Indian Sovereignty Suppressed and Renewed (Seattle: Center for Study of the Pacific
18   Northwest : University of Washington Press, [2019] ©2019); and John Findlay, Magic Lands
19   Western Cityscapes and American Culture After 1940 (Berkeley, Calif.: University of
20   California Press, 1993).
21          6.      As an American environmental historian, NARA-Seattle holds several record
22   groups that both I and my students have used for our research. Both graduate and undergraduate
23   students in history make use of these materials. In particular the regional records of the Forest
24   Service, the Bureau of Land Management, the Bureau of Reclamation, the National Park
25   Service, the Bonneville Power Administration, the Bureau of Indian Affairs, the Fish and
26   Wildlife Service all contain material relevant to the regional environment and its uses over




       DECLARATION OF LINDA L. NASH                     2              ERROR! AUTOTEXT ENTRY NOT DEFINED.


                                                                                                  213
 1   time. All of these agency records are not currently digitized and must be consulted in person
 2   at NARA-Seattle.
 3          7.      I am currently finishing a book, “Americans in Arid Lands: Engineers and the
 4   Materials of Modern Empire,” that is under contract to Oxford University Press. One of the
 5   foci of this book is the Bureau of Reclamation’s Columbia Basin Project in Washington State.
 6   To tell this part of my story, I have relied on records at NARA-Seattle, particularly the records
 7   of the Colville Reservation. I also consulted records of the U.S. Forest Service at NARA-
 8   Seattle when preparing my article, "The Changing Experience of Nature: Historical Encounters
 9   with A Northwest River," published in the Journal of American History in March of
10   2000.primary and archival
11          8.      Graduate students in History who have used the NARA-Seattle archives for
12   research and whose work I have overseen or reviewed include Christine Avery (history of
13   San Juan Islands), Frederick Brown (histories of Lemhi Pass and Glacier Lake National
14   Monument), Ross Coen (Alaskan fisheries), Devon McCurdy (Bonneville Power
15   Administration), Patrick Lozar (indigenous histories of the Upper Columbia), Eleanor
16   Mahoney (Ebeys Landing), Nathan Roberts (Puyallup Reservation), Rachel Taylor
17   (Bonneville Power Administration), and Jennifer Smith (Colville Reservation). Other
18   graduate students at the University of Washington that I am aware of who have used the
19   materials at NARA-Seattle include David Louter (Windshield Wilderness : Cars, Roads, and
20   Nature in Washington's National Parks [Seattle : University of Washington Press, [2010],
21   2006]); Theodore Catton (Wonderland : an administrative history of Mount Rainier National
22   Park [Seattle, Wash. : National Park Service, Cultural Resources Program, 1996]); and
23   Kathryn Utter (Columbia Basin Project).
24          9.      From 2001 to 2003, I was the Principal Investigator for a grant funded by the
25   U.S. National Park Service (NPS) to research the history of San Juan Island, Washington. The
26   purpose of this study was to provide historical information that could guide NPS’s management




       DECLARATION OF LINDA L. NASH                     3              ERROR! AUTOTEXT ENTRY NOT DEFINED.


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 1   of San Juan Island National Park. The research for this project was done by my graduate
 2   student at the time, Christine Avery, who made use of materials at NARA-Seattle. Her research
 3   was eventually published as Christy Avery, San Juan Island National Park: An Environmental
 4   History (Washington, DC: U.S. National Park Service, Pacific West Regional Office, 2016).
 5          10.     Additionally, the ability of faculty to travel to access these resources is limited
 6   by teaching schedules as well as personal constraints. Graduate students rarely have sufficient
 7   funds available for travel and thus will be prevented from conducting some types of research.
 8   Undergraduate students will not be able to make any use of these materials if they are located
 9   out of the Seattle area. If the Archives do close or relocate, it will likely prohibit me from
10   gathering additional material for my current project and will disrupt my future plans to write
11   an additional article on the Colville Reservation. Secondly, the closure of the Archives will
12   impede faculty’s ability to teach students methods of archival research and will make it more
13   difficult for students to gain necessary skills in the field of History. Thirdly, the loss of the
14   Archives will inhibit the University’s ability to attract and recruit promising students who want
15   to research regional history. Access to archival materials is a key consideration for prospective
16   graduate students considering where to pursue their studies, and the University of
17   Washington’s own archival holdings are limited compared to many other universities; thus, the
18   records at NARA-Seattle are especially important to our program.
19
     I declare under penalty of perjury that the foregoing is true and correct.
20

21   DATED this ___
                 4th day of January, 2021 at ____________,
                                              Seattle      WA.
22

23
                                                     L·1 nda L Na Sh     Digitally signed by Linda L Nash
                                                                         Date: 2021.01.04 15:42:09 -08'00'
24
                                                   LINDA NASH
25

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       DECLARATION OF LINDA L. NASH                     4              ERROR! AUTOTEXT ENTRY NOT DEFINED.


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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASIDNGTON
 7
        STATE OF WASHINGTON, et al.,                             NO.
 8
                                      Plaintiff,                 DECLARATION OF PATRICIA
 9                                                               HACKETT NICOLA
                  V.
10
        RUSSELL VOUGHT, et al.,
11
                                      Defendants.
12

13          I, PATRICIA HACKETT NICOLA, declare as follows:

14           1.        I am Patricia Hackett Nicola, Certified Genealogist, public historian,

15   genealogist, and author. I am over the age of 18 and competent to testify. I make this

16   declaration based on my personal knowledge.

17          2.         I am a certified genealogist and public historian. My research focus is records

18   from the Pacific Northwest and the Chinese Exclusion Act files. I am a national speaker and

19   author. I have written many articles and given many presentations on records that I have

20   researched at the National Archives at Seattle. For the last five years I have written a blog

21   about the Chinese Exclusion Act files.

22          3.         I use U.S. District court files from the Seattle National Archives facility for

23   research material for articles and lectures. One 1890s court case involved a Native American

24   woman and her fight for her inheritance from her Caucasian pioneer father. The file

25   contained testimony from many early Seattle settlers. For the last twenty years, I have been

26   assisting in indexing of the Chinese Exclusion Act case files, as a volunteer, at the National



       DECLARATION OF PATRICIA                             2                ATTORNEY GENERAL OF WASHINGTON
                                                                                 Complex Litigation Division
       HACKETT NICOLA                                                             800 5th Avenue, Suite 2000
                                                                                   Seattle, WA 98104-3188
                                                                                        (206) 464-77 44


                                                                                                               216
 1   Archives at Seattle. These original records start in the 1890s and continue for many years

2    after the Act was repealed in 1943. There are over 50,000 of these case files and they are not

3    digitized. Because there are so many similar Chinese names it is extremely important that

4    other meta data is added to the index to enable researchers to search the files efficiently-. I

5    spoke to the director of the Family History Library in Salt Lake City. He said it will take

6    many years to digitize all the records at the Seattle National Archives facility. As far as I

7    know the Seattle facility does not have the budget, equipment, or personnel to complete the

 8   digitization process.

 9           4.     I think it is important for people to access records on their ancestors. The

10   exclusion period (1882-1943) was a difficult and painful time for the Chinese. Seeing what

11   their ancestors sustained to survive and thrive in this country, can be a healing experience for

12   the descendants. These files are often used by researchers and those with a familial

13   connection to the files. The Chinese Exclusion Act records give biographical and cultural

14   information and usually contain at least one photograph. It can be difficult to find a specific

15   person in the index of the Chinese Exclusion Act case files because there are so many

16   Chinese with the same surnames and many of the names sound similar. Although the records

17   are now indexed by name and file number, it is extremely helpful to add more meta data to

18   the index. For example, there are hundreds of people with the surname Chin. To find the

19   correct Chin that one is searching for, it helps to have more information about him. We

20   indexing volunteers are sifting through the files and adding information such as, date and

21   place of birth, date and place of arrival, place of residence, occupation, citizenship status, etc.

22   Five years ago, I started writing a blog on the Chinese Exclusion Act files to let people know

23   what kind of information is available in the files and tell them how to find the files. I have

24   received letters from people telling me how they had never seen a photo of their ancestor

25   before reading about him in the blog. Here are a couple of examples of letters I received:

26   " ... You featured my grandfather Arthur Chin (Chin Suey Tin) on July 2, 2017... There is



       DECLARATION OF PATRICIA                            2               ATTORNEY GENERAL OF WASHINGTON
                                                                               Complex Litigation Division
       HACKETT NICOLA                                                           800 5th Avenue, Suite 2000
                                                                                 Seattle, WA 98104-3188
                                                                                      (206) 464-7744


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     1   information in the article that I had no idea existed or things that happened to him." "After

    2    reading your blog, I was so emotional. I had no idea this happened to my grandfather, I shed

    3    a few tears and had a difficult time sleeping last night. I shared your blog with family

    4    members, and they were equally surprised."
    5           5.      I first learned of the impending sale in mid-January, shortly after the

    6    employees learned about it on January 13. Everyone was in shock. I wrote an opinion piece

    7    that was published in the Seattle Times on January 24. I also wrote to my Congresspeople,

     8   posted on my blog, social media, and to many genealogy and Chinese organizations.

     9   https ://www .seattletimes.com/opinion/dont-move-the-national-archives-at-seattle-where-the-

    10   past-is-very-much-alive-and-relevant-to-the-present/
    11          6.      It is hard to quantify the harm that will be done by moving these records out
    12   of the Pacific Northwest. The Native Americans will probably suffer the most. When their

    13   records were moved from Alaska, they were promised they would stay in Seattle. Another

    14   broken promise ... It is unconscionable. It is hard to imagine all the students, future writers

    15   and researchers who will not have access to these records. It will be an expensive endeavor to

    16   do research. I have written three historical articles this year from my research at the

J   11   Archives~(to be published in 202It If the records are moved, I will not have access to this

    18   rich resource of historical material, and it will be difficult and extremely expensive to

    19   continue my research and writing. I have applied for the speakers bureau for Humanities

    20   Washington. My topic is the Chinese Exclusion files. It is a topic that is only superficially

    21   taught in schools, if at all. If I am chosen to talk about these records, I will be telling my

    22   audience about records that will soon no longer be available to them. I would like to

    23   continue my research and writing using the records at the National Archives at Seattle but

    24   cannot if the records are moved many miles away.
    25

    26   I declare under penalty of perjury that the foregoing is true and correct.



           DECLARATION OF PATRICIA                            2                ATTORNEY GENERAL OF WASHJNGTON
                                                                                    Complex Litigation Division
           HACKETT NICOLA                                                             800 5th Avenue, Suite 2000
                                                                                       Seattle, WA 98104-3188
                                                                                            (206) 464-7744


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                                      PATRICIA HACKETT NICOLA
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      DECLARATION OF PATRICIA               2                 ATTORNEY GENERAL OF WASHJNGTON
                                                                     Complex Litigation Division
      HACKETT NICOLA                                                 800 5th Avenue, Suite 2000
                                                                      Seattle, WA98 104-3188
                                                                           (206) 464-7744


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 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7
         STATE OF WASHINGTON, et al.,                           NO.
 8
                                       Plaintiff,               DECLARATION OF RAY
 9                                                              MICHAEL NICOLA
                   V.
10
         RUSSELL VOUGHT, et al.,
11
                                       Defendants,
12
              I, Ray Michael Nicola, declare as follows:
13
              1.        I am a citizen of the State of Washington, City of Seattle. I am over the age of
14
     18 and competent to testify. I make this declaration based on my personal knowledge.
15
              2.        I am a retired public health physician whose grandfather (father's father)
16
     traveled from the Middle East (Lebanon) in the late 1800's to Port Townsend, Washington
17
     State.
18
              3.        In researching my family history, I became aware that my grandfather's
19
     application for citizenship was likely stored at the National Archives facility in Seattle. By
20
     traveling to the NARA Seattle facility in 2003, I was able to view the actual application
21
     document. I was surprised at the strong emotional reaction I had to viewing and touching this
22
     piece of paper. My eyes teared, my throat constricted, and I felt proud of and grateful to my
23
     grandfather's journey to become a U.S. citizen. His difficult life circumstances and
24
     extraordinary efforts to better his situation are taken for granted by us today.
25

26




       DECLARATION OF RAY MICHAEL                                        ERROR! AUTOTEXT ENTRY NOT DEFINED.
       NICOLA

                                                                                                           220
I




     1          4.      I first learned about the sale of the National Archives facility from my wife, a

     2   volunteer at NARA Seattle.
     3          5.      If federal records of my family's activities and experiences are not available in

     4   person, it will keep people like me from fully understanding and appreciating the people and

     5   culture of blood relatives and of people who went before them. It will deprive them of a full

     6   understanding of who they are since much of our individual self.image is based on our
     7   understanding of personal history.

     8   I declare under penalty of perjury that the foregoing is true and correct.
     9

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    13                                                          Ray Michael Nicola

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           DECLARATION OF RAY MICHAEL                                   2                     ERROR! AUTOTEXT ENTRY NOT DEFINED.
           NICOLA

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 6                               U I ED TATES DI TRI CT COURT
                               WE TERN DI TRJCT OF WASlDNGTO
 7
          T TE OF W          HINGTO       et al.,                0.
 8
                                      Plaintiff                DECLARATION OF TAMIKO
 9                                                             FIONA NIMURA
                  V,
JO
         RU SELL VOUGHT et al.
11
                                      Defendants
12
            I, Tamiko Fiona Nimura, declare as follows:
13
             1.        I am an Asian American freelance writer and public historian. I am over the age
14
     of 18 and competent to testify. I make this declaration based on my personal knowledge.
15
            2.         Over the last six years, I have conducted extensive research and published
16
     writing about the histories of communities of color in the Pacific orthwest. I have a Ph.D. in
17
     English, with training in American ethnic studies, from the University of Washington in
18
     Seattle. My first book was a biography and oral history of retired Washington tate Senator
19
     Rosa Franklin for the Washington State Legislative Oral History Program. My second book is
20
     a co-written graphic novel, including the history of Japanese Americans from Seattle, is
21
     entitled We Hereby Refuse: Japanese American Acts of Wartime Resistance (forthcoming,
22
     Wing Luke Asian Museum and Chin Music Press 2021). My public history work includes
23
     Japanese American agricultural hi story on Vashon Island for the Washington Trust for Historic
24
     Preservation, as well a several encyclopedia articles for Histor Link.org about Japanese
25
     Americans in Fife and Tacoma. I worked with Artifacts Inc. in order to do mitigation work
26


      DECLARA TYON OFTAMIKO NIMURA                                       AITORNEY GENERAL F WASHINGTO,
                                                                               Co111plex Litigation Division
                                                                               800 5th Avenue, uitc 2000
                                                                                SeatUe, W 98104-3188
                                                                                    (206) 464-7744




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     2   I ha       rga nizcd Japan •s      mcrican    ays of I cmembrance for the       ity of acoma, partnering

         , ith th        ashingt n     tatc I Ji l n al ·   i ty, and will be a consultant with them for their

 4       Japane          m ri an Rem                  al lery pen ing in 2021.

 5                  3.      If th r is ne thing that I have learned in doing this research, it is that there is

 6          much mor to un over in this hi story. From the             hinese expulsion in Tacoma to the mass

 7       in ar eration of Japanese Americans to the African American military families of our state

 8       (like enator Franklin s there are many more stories that need to be documented, researched,

 9       and told. I noticed that the records leading to the Chinese Exclusion Act (in which Tacoma's

10         hine e expulsion played an important role) are some of the most frequently requested from

11       the Seattle National Archives facility. The story of that Act and Washington State 's role in it

12       is still a vital and lesser known story for students of American history in our state. Based on

13       the work of a former employee at the Archives, I believe that some of the federal court records

14       of several Japanese American wartime resisters, such as Minoru Yasui Haj ime (Jim) Ak:utsu

15       and Gordon Hirabayashi, also reside in the Seattle facility . As a researcher I can also attest

16       that the ability to browse physical archival records, as opposed to requesting records is

17       unparalleled. My ability to go through the 14 archival boxes of Senator Franklin

18       correspondence and files from the Washington State Legislature for example, gave me se eral

19       important documents which yielded insights into her long and distinguished 20-year career in

20       Olympia. A printed e-mail to a community college student yielded insight into her approach to

21       education; a thank-you letter from a Tacoma union told of her r lationship \ ith labor and her

22       significant contribution to creating a trauma care center in Tacoma which la t to this da . One

23       of the deep pleasures of archival research in fact, is finding what ou did not e pect to find.

24       Requesting copies of a folder or a box wo uld ha e been a gamble, exp nsive in tenns of taffing

25       time and my own expenses . 1 have fou nd that archives do not peak \ ithout ignificant

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           DE LARA TION OFT AMIKO NIMURA                          2                TI1RNEYGENERALOFWASHINGTO
                                                                                           omplex Litig:uion Division
                                                                                          800 1h Avenue, wtc 2000
                                                                                           Seattle, WA 98104-3188
                                                                                               (206) 4M-7744




                                                                                                                        223
         uration and acce , and c en finding aids and indexe will only go s far. The human ability

 2   t     earch them i cru ial.

               4.       I fir t learn d f the impeding sale of the National Archives at Seattle from a

 4   journali tat eattle' s J11ternational Examiner. I directed him to contacts in the community and

 5       ign d petitions prate ting the closure of the faci li ty. I also learned about the potential closure

 6   from contact at the Washington tate Historical ociety and from HistoryLin.k.org.

 7              5.      Morea er as a researcher still uncovering Japanese American history in

 8   Tacoma I should note that there are now Japanese American descendants doing genealogical

 9   work whose families moved away from the Pacific Northwest. I anticipate more of these

l0   research inquiries with the passing of the        .i ei ( econd) generation, as Japanese Americans
11   seek to retrace their family histories through cities like Tacoma           eattle Bainbridge Island

12   and Fife. It is already difficult to direct them to the WRA records at the facility in Maryland. I

13   ha e been in contact with several such fam ilies from Tacoma and their genealogical \ ork i

14   an important component of recovering much of Tacoma's le er-known Japanese American

15   history.

16              6.      I declare under penalty of perjury that the foregoing is true and correct.

17
     DA TED this 30 day of December   2020 at                           Tacoma      ashington.
18               day            mouth      year                          ity                     tale

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6                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
7
     STATE OF WASHINGTON, et al.,                        NO.
8
                               Plaintiff,                DECLARATION OF FRANK
9                                                        NORRIS
            v.
10
     RUSSELL VOUGHT, et al.,
11
                               Defendants,
12
            I, Frank Norris, declare as follows:
13
            1.     I am a Ph.D. historian, recently (2019) retired from the National Park Service.
14
     I am over the age of 18 and competent to testify. I make this declaration based on my
15
     personal knowledge.
16
            2.     I lived for 24 years in Alaska and worked during most of that period as a
17
     historian in the NPS’s Alaska Regional Office in Anchorage. As a research historian, I have
18
     written or co-written several full-length histories of Alaska national park units (Denali,
19
     Klondike Gold Rush, Katmai, Aniakchak, Kenai Fjords and Lake Clark); have assisted in a
20
     legal effort pertaining to the legal ownership of Glacier Bay; and have also written articles
21
     that were published in Alaska History, Pacific Northwest Quarterly, Journal of the West, and
22
     other peer-reviewed historical journals. Most of the full-length histories noted above are
23
     either historic resource studies or administrative histories, but also included is a
24
     commercially-published history of the Chilkoot Trail, an iconic Klondike Gold Rush trail
25
     near Skagway. Work on the Klondike Gold Rush and Katmai projects, both of which were
26




      DECLARATION OF FRANK B. NORRIS                 1
                                                                                                225
 1   undertaken in 1990-1991, took place at the Sand Point NARA facility, because this was prior
 2   to the opening of NARA’s Alaska Branch in Anchorage. I also undertook research at
 3   NARA’s Sand Point facility as part of several historical and geographical projects during the
 4   late 1980s, while I was a Ph.D. student at the nearby University of Washington. Finally, I
 5   spent five days in November-December 2019 at the Sand Point NARA facility undertaking
 6   historical research pertaining to the Chicken (Alaska) area’s roads and trails.
 7          3.      I have scrutinized information in several record groups – all in paper form –
 8   while researching at the Sand Point NARA facility. In several instances, I have investigated
 9   records in Record Group 30 (Alaska Road Commission) detailing roads in the Eagle District,
10   the Kantishna District, the Seward area, the Skagway and Dyea areas, and the Naknek area. I
11   have also looked through various portions of RG 22 (U.S. Fish and Wildlife Service and its
12   predecessor agencies) in search of handwritten data, sent to and from Alaska field offices,
13   pertaining to fish canneries and fish-trap locations. I have gathered valuable information
14   about both homesteads and “trade and manufacturing sites” while canvassing RG 49 (Bureau
15   of Land Management) records, and have gained subsistence-related information from RG 75
16   (Bureau of Indian Affairs) records. Each of these research efforts typically involves combing
17   through extensive correspondence files of typed or handwritten memos and reports, often
18   with duplicate carbons, to which are attached handwritten notes on small sheets of paper or
19   index cards. So far as I am aware, this does not appear to be the type of research that is
20   conducive to “remotely requesting copies of documents sight unseen.” Several examples of
21   useful documents, all gleaned from a visit to the NARA Sand Point facility in the fall of
22   2019, are attached.
23          4.      The above-described records are key pieces of information that describe how
24   and why federal officials in Alaska have managed federal lands and properties. While
25   published federal-agency reports give a broad, general overview of federal activities, these
26   primary documents are key – and irreplaceable – because these are the first-order building




      DECLARATION OF FRANK B. NORRIS                   2
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1    blocks from which federal policies are formulated and implemented. These records,
2    moreover, are truly unique, and they are located nowhere else. Situated in Seattle – often
3    described as the economic capital of Alaska – these key records are just one plane flight
4    away from most Alaskan researchers. But if these records are removed to St. Louis, the San
5    Francisco Bay area, or some other more remote facility, they will be effectively and
6    tragically out of reach – both logistically and economically – to most Alaska researchers.
7                5. The records housed at the National Archives at Seattle are used for an
8    absolute necessity for research in connection with many federal programs for agricultural,
9    recreational, or conservation purposes. As noted in response #2 and #3, above, historians
10   from the National Park Service (a conservation agency in the U.S. Department of the
11   Interior) heavily rely on these records in order to understand what activities have taken place
12   upon NPS lands, and how the resources have been managed. This historian, moreover, is well
13   aware that other Alaska conservation-agency historians – from the Bureau of Land
14   Management, the U.S. Fish and Wildlife Service, the former Minerals Management Service,
15   the U.S. Army Corps of Engineers, and other entities – have also relied on the record-group
16   files that are housed at the NARA Sand Point facility.
17          6.      This researcher first learned of the impending sale of the National Archives at
18   Seattle from NARA staff during a visit to the Sand Point facility in early December 2019.
19   Soon after, I contacted colleagues in the Alaska historical community, who were likewise
20   aware of the potential sale. At their suggestion, I emailed a letter (on January 23, 2020) to the
21   Public Buildings Review Board, which is attached. I did not receive a response to this email.
22          7.      At noted in response #4 (above), it is my opinion that moving the Alaska
23   records away from the NARA Sand Point facility will effectively put these records out of
24   reach to all but the most well-financed researchers. Most Alaska historians, who are located
25   in either Anchorage, Fairbanks, or Juneau, can take a single, fairly inexpensive nonstop flight
26   to Seattle and thus have ready access to the remarkable Alaska holdings in the Sand Point




      DECLARATION OF FRANK B. NORRIS                   3
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         I) .   l-A R1 'I ON    F FRANK B. NORRf




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---------- Forwarded message ---------
From: Frank and Candy Norris <candynfrank@gmail.com>
Date: Thu, Jan 23, 2020 at 10:46 PM
Subject: National Archives in Seattle - letter of concern
To: <fastainfo@pbrb.gov>


To the Public Buildings Review Board:

I am a career historian with the National Park Service, and I'm
writing to you to express my deep concern with a recently-aired
proposal to shutter the National Archives and Records Administration
(NARA) facility along Sand Point Way in Seattle, Washington.

During my 38 years working for the National Park Service - many of
those in that agency's Anchorage office - I have visited the Sand
Point NARA facility and used their records on numerous occasions -
first during the 1980s, and most recently for two days last month
(December 2019). Prior to the opening of the Anchorage NARA facility
during the mid-1990s, and also since that facility's closure several
years ago, Alaska researchers have considered the Sand Point NARA
facility to be an oft-used lifeline - with records that play a huge
role in telling Alaska's history, given the strong role that federal
agencies have played in Alaska's growth and development.

As you know, Alaska historians and other researchers were very
disappointed, several years ago, with the decision to move Alaska's
federal historical records from Anchorage back to the Seattle area.
For these same reasons, it would be tragic indeed if Seattle's NARA
facility were to close, forcing Alaska researchers to go even farther
afield in order to access the state's historical records.

Thank you for considering these comments.

Sincerely,
Dr. Frank Norris




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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASIDNGTON
 7
     STATE OF WASHINGTON, et al. ,                      NO.
 8
                                 Plaintiff,             DECLARATION OF LISA A.
 9                                                      OBERG
              V.
10
     RUSSELL VOUGHT, et al.,
11
                                 Defendants,
12
              I, Lisa A. Oberg, declare as follows:
13
              1.     I am the president of the Pacific Northwest Historians Guild (hereafter "the
14
     Guild"). I am over the age of 18 and competent to testify. I make this declaration based on
15
     my personal knowledge.
16
              2.     The Guild is an organization of over 100 scholars and researchers engaged in
17
     the study and dissemination of regional history. Many of our members are individuals with
18
     limited financial resources or members of non-profit organizations with similar financial
19
     constraints. Founded in November 1980, the Guild seeks to increase the opportunities and
20
     means for research, writing, and publication of Pacific Northwest history; encourage the
21
     collection, preservation, and presentation of historical materials, and promote communication
22
     among regional historians. Critical to the Guild's efforts to support and elevate research on
23
     topics relating to Pacific Northwest history, is the ready access to unique materials for
24
     researchers, ranging from enthusiast amateurs to a wide range of students, including
25
     individuals conducting research on behalf of government agencies at every level.
26
     DECLARATfON OF LISA A. OBERG                                    James M. Rupp, Attorney
                                                                     4103 - 42 nd Ave NE
     Page 1                                                          Seattle WA 98105
                                                                     Tel: (206) 697-8173



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 I            3.    I have been President of the Guild since June of 2020. I was previously Vice

 2   President and have served on the Guild's Board of Trustees since 2018. As President, I am

 3   responsible for the administration and coordination of the Guild's activities, including its

 4   relationship with the National Archives at Seattle, in supporting and highlighting quality

 5   research, and providing a forum for sharing that research. I am a librarian by profession and I

 6   am currently Associate Director, and History of Science and Medicine Curator, for Special

 7   Collections in the University of Washington Libraries.
 8            4.    The National Archives at Seattle has a significant number of administrative-

 9   related documents that have been archived pending eventual destruction, but of critical

10   importance to regional historical research are the additional 60,000 cubic feet of records

11   representing permanent archival records (hereafter "the Archival Records"). Archival

12   Records used by members of the Guild have included, but are not limited to, records

13   concerning: environmental, recreation and conservation purposes relating to federal

14   programs; the internment of Japanese during World War Two; development of the Lake

15   Washington Ship Canal and the Hiram M. Chittenden Locks; details about the Washington

16   Alaska Communication and Telegraph System; chains of title to historical properties;

17   regional military history, including Coast Defense fortifications on Puget Sound and the

18   Columbia River; regional history related to the Chinese Exclusion Act of 1882; and Native

19   American tribal histories, treaties, and records relating to the displacement of Pacific

20   Northwest tribal groups and Alaska Natives.
21            5.    The Archival Records within the holdings of the National Archives at Seattle

22   represent the earliest territorial history of the Pacific Northwest and Alaska. These records

23   are not only used by scholars and researchers, but also play an important role in the

24   development of future researchers and historians. The opportunity to do research at

25   universities in Seattle and throughout the region, together with materials available at the
26
     DECLARATION OF LISA A. OBERG                                     James M . Rupp, Attorney
                                                                      4103 - 42nd Ave NE
     Page 2                                                           Seattle WA 98105
                                                                      Tel: (206) 697-8173




                                                                                                       231
 1   National Archives at Seattle, is an invaluable combination for doctoral history students, and
 2   those engaged in other disciplines where research skills and resources are essential.
 3            6.    The Archival Records used by Guild members also include records of several

 4   Federal agencies with responsibility for the management of Federal lands located in

 5   Washington, Oregon, Idaho, and Alaska. These agencies include the US Fish and Wildlife

 6   Service, Bureau of Land Management, Bureau of Indian Affairs, US Army of Corp of

 7   Engineers, US Forest Service, National Park Service, and the National Resources

 8   Conservation Service. Records of these agencies and related US District Court records are

 9   essential to our members' efforts to research actions taken on federal lands which impact

10   environmental and conservation efforts. For example, US Fish and Wildfire records include

11   management plans and wetland inventories, Bureau of Indian Affairs records include records

12   relating to agricultural extension projects, and Bureau of Land Management include records

13   relating to range improvement projects. Most of the records of these agencies have not been

14   digitized and are only available to researchers in the original paper format.
15            7.    The Board of Trustees of the Guild, along with many Guild members, first
16   learned of the impending sale of the archive facility when it was reported by local news
17   sources beginning January 17, 2020, and have followed development in subsequent news
18   coverage and community discussions. The Guild board was deeply troubled about that
19   decision and promptly sent a letter of concern to David Ferriero, Archivist of the United
20   States, calling for the decision to be reconsidered. Mr. Ferriero has not responded to that
21   letter, a copy of which is attached hereto as Appendix A. Copies of that letter were sent to the
22   offices of Senators Maria Cantwell and Patty Murray, and to Representative Pramila Jayapal.
23   Representative Jayapal's response is attached hereto as Appendix B.
24            8.     The Guild is aware of the fact that the government proposes to mollify those
25   opposed to the sale of the archive facility by suggesting that archived records of historical
26
     DECLARATION OF LISA A. OBERG                                       James M . Rupp, Attorney
                                                                        4103 - 42nd Ave NE
     Page 3                                                             Seattle WA 98105
                                                                        Tel: (206) 697-8173




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 1   significance will be digitized. We believe that proposed "solution" is, at best, disingenuous.

 2   First, it would be many years before the materials (60,000 cubic feet) could be digitized. Of
 3   more importance is the government's failure to recognize the important intrinsic value to
 4   researchers of having local and up-close visual access to original documents. In addition, the

 5   hardship and harm to quality research resulting from the removal of archival records to
 6   another region is incalculable. The Pacific Northwest is a very large geographic region and

 7   many researchers are challenged to incur the expense of travelling to Seattle from within the
 8   region. To further move records further from researchers compounds an already constrained
 9   environment for access to historical records.
10

11   I declare under penalty of perjury that the foregoing is true and correct.
12
     DATED this_ day of January, 2021 at Seattle, Washington
13
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     DECLARATION OF LISA A. OBERG                                       James M. Rupp, Attorney
                                                                        4103 - 42 nd Ave NE
     Page 4                                                             Seattle WA 98105
                                                                        Tel: (206) 697-8173




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 8                                  APPENDIX A
 9                                     TO
10                        DECLARATION OF LISA A. OBERG
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     DECLARATION OF LISA A. OBERG                  James M. Rupp, Attorney
                                                   4103 - 42 nd Ave NE
                                                   Seattle WA 98105
                                                   Tel: (206) 697-8173




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                                                                               PACIFIC NORTHWEST ','         ,    1

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12 February 2020



David Ferriera, Archivist
National Archives and Records Administration
8601 Adelphi Road
College Park, MD 20740


Mr. Ferriera:

The Pacific Northwest Historians Guild is a large group of scholars, teachers, students, and others
interested in the preservation, development, and dissemination of Pacific Northwest history. As such,
we are writing to express our objections to the proposed closure of the regional branch of the National
Archives located in Seattle, Washington. Of utmost importance is that the 60,000 cubic feet
representing the permanent archival records currently housed at the facility remain in the Pacific
Northwest.

Access to these records is essential for researchers exploring important events in our region's history
including Chinese exclusion, immigration to the Pacific Northwest, tribal records, Japanese American
incarceration, and more. It is essential that these records remain close to similar records maintained in
this region, which provide researchers with critical insight into numerous areas of study, including
understanding the role of the federal government in relation to local jurisdictions in order to understand
the impact and significance of historical events and how they affect us today.

We understand the facility will be sold and the current site redeveloped. We are advocating for the
lease or purchase of a smaller facility in the Pacific Northwest (Idaho, Oregon or Washington) to house
the permanent archival collections or collocating those materials with another regional federal agency.

It seems unlikely that in the timeframe proposed for the closure of the facility (2024) digitization of
these records would be completed. While we are supportive of any digitization efforts, as historians
there are also many situations where an examination of the original material is invaluable. In addition,
there are important privacy considerations, particularly regarding records relating to the Bureau of
Indian Affairs, which must be preserved.

While we understand the need to consolidate federal facilities, we ask that you reconsider your decision
to relocate the permanent archival records and request that a new location in the Pacific Northwest be
identified for those records.

Sincerely yours,




Nicole Robert, President
On behalf of the Pacific Northwest Historians Guild Board

cc: The Honorable Patty Murray, the Honorable Maria Cantwell and the Honorable Pramila Jayapal




                                                                                                                  235
 The Honorable Patty Murray
 154 Russell Senate Office Building
 United States Senate
 Washington, DC 20510

 The Honorable Pramila Jayapal
 1510 Longworth House Office Building
 United States House of Representatives
 Washington, DC 20515

 The Honorable Maria Cantwell
 511 Hart Senate Office Bui lding
 United States Senate
 Washington, DC 20510




     cc: The Honorable Patty Murray, the Honorable Maria Cantwell and the Honorable Pramila Jayapal




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 8                                  APPENDIXB
 9                                     TO
10                        DECLARATION OF LISA A. OBERG
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     DECLARATION OF LISA A. OBERG                  James M. Rupp, Attorney
                                                   4103 -42 nd Ave NE
                                                   Seattle WA 98105
                                                   Tel: (206) 697-8173




                                                                             237
              PRAMILA JAYAPAL                                                                             1510 LONGWORTH House OFFICE Bu1L□ING
             ?n-, DISTRICT, WASHINGTON                                                                           WASHINGTON, DC 20515
                                                                                                                    (202) 225-3106
~   HOUSE COMMITTEE ON THE JUDICIARY                                                                                1904 3RD AVENUE
                                                                                                                        SUITE 510
            V1cE CHAIR, SuscoMMITTEE ON
             IMMIGRATION ANO CITIZENSHiP

        MEM8EA , SuecOMMITTEE ON ANTITRUST,
                                                 C!.ongrcss of tbc Wniteb f6>tatcs                                 SEATTLE, WA 98101
                                                                                                                     (206) 674-0040

         COMMERCIAL, AND AoMINJSTRAT!VE LAW
                                                       J,oust of 31\eprtstntattbes
    HOUSE COMMITTEE ON THE BUDGET                    ~asbington; J)(( 20515-4707
     HOUSE COMMITTEE ON EDUCATION
              AND LABOR
            • MEMBER, SUBCOMMITTEE ON
     HIGHER EDUCATION ANO WORKFORCE INVESTMENT

MEMBER, SUBCOMMITTEE ON WORKFORCE PROTECTIONS




                     Nicole Robert
                     PO Box 85457
                     Seattle, WA 98145-1457

                                                               May 28, 2020

                     Dear Nicole,

                     Thank you for contacting me to express your opposition to the Office of Management and
                     Budget's (0MB) decision to sell the Sand Point archives facility in Seattle. Serving as your
                     representative in Congress is a tremendous privilege. Each and every letter, email, postcard and
                     call I receive makes a difference. I want you to know that I deeply value your input, and I'm glad
                     we agree on protecting this facility. I apologize for the delay in responding to you on this
                     important issue.

                     Like you, I am deeply disappointed by 0MB 's decision to sell the National Archives and
                     Records Administration Federal Archives and Records Center in Seattle without engaging state
                     and local officials and affected communities as required by law. As you may know, the Public
                     Buildings Reform Board (PBRB) is legally required to solicit critical local input when it
                     considers closing federal government facilities that serve the public. However, PBRB failed to
                     engage state and local officials as. well as Native American tribes, who have documents
                     important to sovereignty and history located at the Sand Point building, in the recommendation
                     process.

                     That is why I was proud to sign a bipartisan, bicameral letter to 0MB Acting Director Russ
                     Vought expressing concerns aboutPBRB's recommendation to close the National Archives
                     facility in Seattle and underscoring the flaws in the process and proposal to move the facility. I
                     was deeply disappointed that 0MB failed to heed this Congressional requests to reject PBRB's
                     recommendation to sell this treasured facility. 0MB should never have approved selling Seattle's
                     archives facility without consulting state and local officials as well as impacted communities as
                     the law requires. Please know that I will continue to follow this matter, and encourage greater
                     oversight and accountability over PBRB decisions.

                     Again, thank you for getting in touch with me about this important issue. If you have further
                     questions or concerns, please do not hesitate to call us at202-225-3106. Also, please sign up for




                                                           PRINTED ON RECYCLED PAPER




                                                                                                                                  238
my e-mail newsletter at jayapal.house.gov/contact/newsletter,join us on Face book at
facebook.com/RepJayapal, on Twitter at twitter.com/RepJayapal and on Instagram, at
instagram.com/RepJayapal to be the first to know about my work in Washington's 7th District
andinDC.

                                           Sincerely,



                                          µ~
                                           PRAMILA JAYAPAL
                                           Member of Congress




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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
         STATE OF WASHINGTON, et al.,                         NO.
 8
                                     Plaintiff,               DECLARATION OF ANN
 9                                                            OSTENDORF
                  v.
10
         RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12
             I, Ann Ostendorf, declare as follows:
13
             1.        I am a Professor of History at Gonzaga University. I am over the age of 18 and
14
     competent to testify. I make this declaration based on my personal knowledge and my expertise
15
     as a historian.
16
             2.        From the perspective of my professional work as an American historian, the
17
     value of keeping the National Archives in Seattle cannot be overstated. I teach and research on
18
     Native American history, histories of immigration, as well as the histories of race, ethnicity
19
     and nationalism in the United States. I have published books and articles in diverse outlets
20
     related to this expertise. For example, my monograph Sounds American: National Identity and
21
     the Music Cultures of the Lower Mississippi River Valley, 1800-1860 is part of a book series
22
     on early American regionalisms. As such, I know firsthand through my research how
23
     significant it is for the documents related to the history of a region to remain accessible within
24
     the region itself. In addition, my current work on the histories of diverse Gypsy/Roma people,
25
     published in the Journal of Gypsy Studies, Critical Romani Studies, and Early American
26



       DECLARATION OF ANN OSTENDORF                      1               ATTORNEY GENERAL OF WASHINGTON
                                                                              Complex Litigation Division
                                                                               800 5th Avenue, Suite 2000
                                                                                Seattle, WA 98104-3188
                                                                                     (206) 464-7744


                                                                                                   240
 1   Studies, relies on the local resources of the community studies within which I work. Finally,
 2   as a recent Fulbright Award winner stationed in Japan, and can speak with authority to say that
 3   my knowledge of and commitment to local history, specifically Japanese American history and
 4   culture in the Pacific Northwest, is what allowed for my selection to this honorable award.
 5           3.      Virtually all the scholarly work I do is dependent upon archives. Without these
 6   institutions, we have no evidence left from the past. As a result, we either live with fictions
 7   about our pasts, or lose any connection with where we came from. The result sees us living in
 8   a state of amnesia. Just as a person with amnesia loses all sense of independence and the ability
 9   to form meaningful relationships, so too will a nation devolve into ignorance, dependency and
10   crisis without a true past reality from which to build. The archives are the sources of our
11   knowledge about the past. Without these, we are no more than a person who lacks experiences
12   and contexts from which to make our decisions and judgments. The prospect is terrifying. As
13   evidenced many times throughout history, when new regimes attempt to replace old regimes
14   they often resort to the destruction of historical records. I hope our own nation has not (yet)
15   come to this.
16           4.      Some of the most significant work that we do as historians comes about from
17   surprises stashed away in the archives themselves. By removing the National Archives from
18   Seattle, the ability to uncover the regional past by the people of the region becomes infinitely
19   more difficult and removes one of these most meaning ways of doing history.
20           5.      In my own work, archives have been and continue to be crucial. Within them I
21   have discovered immigration records, land grants, trial records, among so many other sources
22   that have been crucial for me to write about the historical actors and events that make up my
23   own work. Simply put, without archives, there would be no historians.
24           6.      Removing the National Archives from Seattle with harm my work as a
25   historian, as well as the ability of those in our region to have direct access to their own history.
26   There is little chance I will fly across the country just to uncover some local stories. However,


       DECLARATION OF ANN OSTENDORF                       2                ATTORNEY GENERAL OF WASHINGTON
                                                                                Complex Litigation Division
                                                                                 800 5th Avenue, Suite 2000
                                                                                  Seattle, WA 98104-3188
                                                                                       (206) 464-7744


                                                                                                     241
 1   I am in Seattle regularly and can easily pop in to examine any item of possible relevance to my
 2   own research. If moved, this will just not happen. I, and so many other regional scholars, will
 3   just stop doing local history. Our history then will become degraded in relation to other region’s
 4   productivity. Graduate students will write fewer dissertations on local topics, leading to fewer
 5   books and other pieces of scholarship. It will be much less easy to commemorate and preserve
 6   historic sites. All this eventually trickles down to a public less educated about its own history.
 7   But beyond scholarship, it is the individual citizens of the region who will truly lose out. Our
 8   past is what holds us together. Without that we are irreplicable separated and fractured. In
 9   addition, on a personal level, people use these archives for family histories and tribal histories.
10   Genealogy is often cited as one of the most popular hobbies in the United States. This
11   productive and educational past time will be much more difficult to participate in for many in
12   our region. In addition, certain records held at the Seattle National Archives almost certainly
13   include those that tribes would need to document their very existence. Without access to this,
14   the government is enacting another hardship on regional tribes on top of so many that have
15   come before.
16   7. Thank you so much for considering these perspectives. I truly look forward to visiting the
17   Seattle National Archives for both my professional work, but also my personal edification, for
18   many years to come.
19

20   I declare under penalty of perjury that the foregoing is true and correct.
21
     DATED this 18th day of December, 2020 at Spokane, Washington.
22

23

24

25                                                  ANN OSTENDORF

26



       DECLARATION OF ANN OSTENDORF                      3                ATTORNEY GENERAL OF WASHINGTON
                                                                               Complex Litigation Division
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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                         NO.
 8
                                    Plaintiff,               DECLARATION OF ROBERT
 9                                                           BRUCE PARHAM
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                    Defendants.
12

13          I, Robert Bruce Parham, declare as follows:

14          1.        In 2011, I retired as Director of the National Archives at Anchorage after 22

15   years of federal service with the National Archives & Records Administration (NARA),

16   working in the NARA facilities located in Anchorage, Alaska, and the National Personnel

17   Records Center in St. Louis, Missouri. I received a BA in History from Western State College,

18   Gunnison, CO, an MA in Library Science with an emphasis in archives-manuscripts

19   administration from the University of Wisconsin-Madison, and an MA in History from the

20   University of Colorado-Boulder. I also hold a Certified Archivist certificate (emeritus) from

21   the Academy of Certified Archivists. I am a member of the Society of American Archivists,

22   Northwest Archivists, Cook Inlet Historical Society, Alaska Historical Society, Western

23   History Association, and the Alaska State Historical Records Advisory Board. I also currently

24   serve on the boards of the Cook Inlet Historical Society. I make this declaration based upon

25   my personal knowledge and in my personal capacity.

26




       DECLARATION OF ROBERT BRUCE                      1
       PARHAM
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 1          2.      I am very familiar with the Alaska federal records that were shipped to Seattle
 2   in 2014 when the NARA at Anchorage was closed. Over the years since that closure, I have
 3   also visited and undertaken research at the National Archives at Seattle. Based upon my work
 4   and my research since my retirement I am familiar with the NARA collections in Seattle, and
 5   most familiar with the portion of those collections which once were housed in Anchorage, as
 6   well as large cubic footages of Alaska temporary and pre-archival records in the Federal
 7   Records Center--Seattle. The pre-archival records are permanent records which still legally
 8   belong to the creating or originating Federal agency. Collectively, I will refer to all of these
 9   records as the “Alaska NARA records.”
10          3.      The Alaska NARA records span the late 19th century into the 21st Century. They
11   document the activities of nearly every federal agency, board and other entity which did work
12   concerning any aspect of Alaska, from more than 50 federal agencies. The Alaska NARA
13   records (especially those from the Bureau of Indian Affairs and the U.S. Fish and Wildlife
14   Service and their predecessor agencies) are of special relevance to the affairs of Alaska Native
15   peoples. In Alaska, these two federal agencies have had an impact on virtually every phase of
16   tribal development and individual Native life including education, health, land ownership,
17   financial affairs, employment, subsistence use, and legal rights.
18          4.      In general, Alaska NARA records are also important to other Alaskans from all
19   walks of life. In addition to Native peoples, fishermen, scientists, lawyers, engineers, real
20   estate agents, historians, genealogists, government employees (federal, state and local),
21   environmentalists, students, veterans, scholars, genealogists, historians, students or anyone
22   who needs historical information created or received by the federal government explore these
23   records. Alaska NARA records are important to individuals far removed from the history
24   profession. There has been a pervasive Federal presence in Alaska beginning with the Alaska
25   Purchase Treaty of 1867 and continuing through the District (1884-1912) and Territorial
26   (1912-1958), and Statehood (1959-.) periods. The Federal government is the largest landowner




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 1   in Alaska, covering nearly two-thirds of the total land area (222 million acres), including
 2   national parks, wildlife refuges, national forests, military installations, and the National
 3   Petroleum Reserve on the North Slope. Alaskans and Federal and State agencies rely on
 4   NARA for documentation to settle land issues, such as land claims and disputes, state and
 5   Native land selections, and navigability through federally-owned lands and waters.
 6   Documentation from the two national forests in Alaska and correspondence from the Arctic
 7   National Wildlife Refuge are still very important to today. The National Marine Fisheries
 8   Service (NMFS) with its fisheries regulations impacts fish stocks as much as fishing families.
 9   Alaska is relatively a young state. This means the bulk of the records pertaining to the State’s
10   history are federal records.
11          5.      Over the years I have presented a number of papers on matters of interest to
12   Alaska Native peoples, drawn from my research into the Alaska NARA records. These include:
13   Documenting People of Color and Other Minorities: Alaska’s Native Records at the National
14   Archives—Pacific Alaska Region (Anchorage), Northwest Archivists Conference, Missoula,
15   MT (May 1999) (attached as Exhibit A); The Records of the Pribilof Islands Program, 1868-
16   1984, presented at the 25th Anniversary Celebration of Autonomy from the Federal
17   Government, St. Paul, Pribilof Islands, Alaska (2008); and Records Relating to Alaska Natives
18   and Other Native Americans at the National Archives at Anchorage, 1886 to 1980s, Alaska
19   Native Libraries, Archives and Museums Summit, Anchorage, Alaska (April 2011).
20          6.      The portion of the Alaska NARA records previously housed in Anchorage
21   constituted about 19,500 cubic feet of pre-archival and archival records and some 7,000 rolls
22   of NARA microfilm publications from Federal agencies. Archival and pre-archival records are
23   of legal interest in cases involving events, such as Alaska Native fishing rights, adoptions,
24   tribal enrollments, environmental contamination of the public domain or affected Native land,
25   Indian trust fund accounts, and any other matter under Federal jurisdiction. After the closure
26   of the National Archives at Anchorage in 2014, the cubic footages of pre-archival and archival




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 1   records sent to Seattle was reduced to about 16,450 cubic feet, accounting for the legal and
 2   physical transfers of 1,800 cubic feet of Federal territorial court records (1884-1960) and 1,250
 3   cubic feet of Alaska Railroad records to the Alaska State Archives, Juneau.
 4          7.      Alaska NARA records are used by Alaska Natives to prove or protect their legal
 5   or civil rights to citizenship, property, education, employment benefits, veterans' status,
 6   subsistence rights, or genealogy. Alaska NARA records are also researched by local Alaska
 7   Native communities and Tribes in connection with (a) U.S. Fish and Wildlife Service and other
 8   federal agencies records documenting environmental pollutants and their impact on
 9   community health; (b) fishing and other subsistence activities; (c) requests for federal
10   recognition of their tribal status; and (d) for previously unrecognized Alaska tribes researching
11   essential evidence or documentary proof to establish their claims for recognition from the U.S.
12   Bureau of Indian Affairs as a Federally-recognized tribe.
13          8.      Federal or state employees, environmental scientists, or subcontractors from the
14   U.S. Bureau of Indian Affairs, U.S. Bureau of Land Management, the Office of the Solicitor
15   of the U.S. Department of the Interior, the U.S. Department of Justice, U.S. Army Corps of
16   Engineers, Alaska Department of Law, Alaska Department of Natural Resources, the Alaska
17   Department of Transportation and Public Facilities have all sought materials from the Alaska
18   NARA collection for such purposes as to establish Federal, state, or local responsibility for
19   environmental contamination; confirm land title; RS 2477 rights-of-way; or to identify and
20   clean up hazardous substances, pollutants, unexploded ordnance, discarded military munitions,
21   and the locations of environmentally hazardous wastes at Formerly Used Military Sites
22   (FUDS). Researchers from individual villages have used the facility in Anchorage to obtain
23   ready access to Federal archival records about their village (or a cluster of villages) in
24   connection with records documenting the Federal government’s involvement in their daily
25   lives. For example, a local resident from Galena conducted research at the NARA at Anchorage
26   office, seeking site plot plans for the former Galena Air Force Station (a FUDS Site) now




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1    known as the Galena Airport. According to the U.S. Army Corps of Engineers Alaska District
2    website     (https://www.poa.usace.army.mil/Missions/Environmental-Services/),       there   are
3    currently more than 500 sites that are eligible for the FUDS program for the entire state. Under
4    the Native American Lands Environmental Mitigation Program (NALEMP), some 229
5    Federally-recognized tribes have been impacted by past military activity on more than 600
6    former military sites. Under NALEMP, the Corps reported on its website that it had entered
7    into 30 active cooperative agreements with the impacted tribes. Commonly, large cubic
8    footages of undigitized records from multi-record groups such as the Records of Naval
9    Districts and Shore Establishments (RG 181, 1,305 cu. ft.), War Assets Administration (RG
10   270, 50 cu. ft.), and RG 77 (Office of the Chief of Engineers, 300 cu. ft.) from the pre-World
11   War II, World War II, and Cold War periods were used by government researchers, state
12   employees, contract environmental researchers, Alaska Native researchers, anthropologists,
13   and other researchers for the above purposes.
14          9.       The Alaska NARA collection includes village subsistence case files, and
15   hunting, fishing and fur farming correspondence and statistics among the records of the Alaska
16   Reindeer Service. Over the years when I worked for NARA, a steady flow of anthropologists,
17   biologists, and researchers from several Federal and state agencies used General Subject
18   Correspondence, 1933-1963, and the records of the Alaska Reindeer Service to obtain baseline
19   statistics on Native subsistence (hunting, fishing, gathering, and other subsistence activities).
20   Both series contain annual surveys on the garden and Native food activities for virtually every
21   village in Alaska. These include annual surveys containing agricultural, hunting, and fishing
22   statistics used by the U.S. Fish and Wildlife Service and to the U.S. Bureau of Indian Affairs
23   to determine fishing and hunting regulations, monitor Alaska Native harvesting of fish and
24   game, and plan for economic development programs.
25          10.      The records of the U.S. Fish and Wildlife Service in the National Archives
26   include those of several predecessors, including the Bureau of Fisheries and the Bureau of




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 1   Biological Survey. These agencies were merged in 1940 to create the Fish and Wildlife
 2   Service, which in 1956 was organized into two bureaus, the Bureau of Commercial Fisheries
 3   and the Bureau of Sport Fisheries and Wildlife. Since 1968, the U.S. Fish and Wildlife Service
 4   and its predecessors have been responsible for enforcing regulations relating to customs,
 5   commerce, and navigation; conduct scientific research on the Northern fur seal; and regulate
 6   the Alaskan fishery and fur seal industries. The U.S. Treasury Department and Bureau of
 7   Fisheries records, which are held by the National Archives in College Park, MD, have been
 8   reproduced as National Archives Microfilm Publication M720, Alaska File of the Secretary of
 9   the Treasury, 1868-1903. These and later records of the Division of Alaska Fisheries (or the
10   Alaska Division of the Bureau of Fisheries) contain information about the fishing rights of
11   Alaska Natives, areas set aside for their use, and illegal seal hunting and fishing by Natives.
12   When I worked for NARA these records were actively used to carry out the U.S. Fish and
13   Wildlife Service’s conservation programs in Alaska.
14          11.     Attached to this Declaration as Exhibit B is a list that I prepared in March 2014
15   titled Unofficial List of Records Series Having High Reference Value at NARA at Anchorage.
16   Attached to this Declaration as Exhibit C is a list that I prepared in December 2020 titled
17   Selected Records Series Descriptions Relating to Alaska Natives from the National Archives
18   Catalog (https://catalog.archives.gov/advancedsearch): Records Held by the National Archives
19   at Seattle. Attached to this Declaration as Exhibit D is a list that I prepared in December 2020
20   titled Selected Records Series Descriptions Relating to Conservation in the National Archives
21   Catalog (https://catalog.archives.gov/advancedsearch): Records Held by the National Archives
22   at Seattle. As these lists reflect, the Alaska NARA collection includes (among other records)
23   records pertaining to the U.S. Fish & Wildlife Service; the EXXON VALDEZ oil spill; the
24   Pribilof Islands; the Arctic National Wildlife Refuge; the Bering Sea; Indian lands; the Alaska
25   Native Claims Settlement Act; the Trans-Alaska Pipeline; Alaska Native allotments; land and
26   mining claims; water resources studies in southeast Alaska; mineral surveys; reindeer herding




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 1   activities; agricultural, hunting and fishing statistics used as baseline data for subsistence data;

2    an oil spill in Bethel, Alaska; the Alaska National Interest Lands Conservation Act; natural

 3   resource damage assessments; conservation plans; hazardous waste and environmental clean-

4    up activities; endangered species; Arctic organic pollutants; natural resource conservation

 5   activities; cultural resource studies; the Civilian Conservation Corps; the National Oceanic

 6   Atmospheric Administration; the National Marine Fisheries Service; and the Bureau of Ocean

 7   Energy Management. To varying degrees, all of these records support research in connection

 8   with federal agency programs concerning conservation activities in Alaska.
 9           12.     Attached to this Declaration as Exhibit Eis a list that I prepared in December
10   2020 titled Selected Records Series Descriptions Relating to Recreational and Agricultural
11   Activities from the National Archives Catalog (https://catalog.archives.gov/advancedsearch)
12   Records Held by the National Archives at Seattle. To varying degrees, all of these records

13   support research in connection with federal agency programs concerning agriculture or
14   recreation activities in Alaska.
15           I declare under penalty of perjury that the foregoing is true and correct.
16

17

18
             Executed this 3rd day of January 2021     fW
19
                                                     Robert Bruce Parham
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       DECLARATION OF ROBERT BRUCE                        7
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EXHIBIT A




            250
    DOCUMENTING PEOPLE OF COLOR AND,OTHER MINORITIES: ALASKA
  NATIVE RECORDS AT THE NATIONAL ARCHIVES-PACIFIC ALASKA REGION
                           (ANCHO~GE)'

                                  by R Bruce Parham:-Archivist
                      National Archives--Pacific Alaska Region (Anchorage)


Abstract: There are many kinds of textual and non-textual records that exist on Alaska Natives
at the National Archives--Pacific Alaska Region in Anchorage. This paper will concentrate on the
record series that are most frequently used by two researcher groups--the Alaska Native
community and academic researchers, especially anthropologists. Both groups often use Federal
population censuses on microfilm, special censuses, school records, tribal enrollment records, and
townsite trustee files, The Alaska Native community uses records to establish and protect their
rights as American citizens. Anthropologists and other textual researchers go beyond these
records and use administrative correspondence, research surveys, microfilmed records, and non-
textual records relating to specific Native communities to research topics as varied as subsistence,
tribal sovereignty, or Native history and culture. In particular, records from the Bureau oflndian
Affairs and the U .S. Fish and Wildlife_Service, will be discussed due to the impact these two
Federal agencies have had on Alaska Natives.


        Unlike non-Federal manuscript repositories, regional. records facilities of the National
Archives and Records Administration (NARA) do not face the same problems surrounding how
to collect and document minority groups. The collecting strategies are quite different, as
approved Federal agency records retention schedules identify temporary or permanent records
and establish time frames when records should be transferrea to NARA. Although the records
transfer process is not automatic, it does work as Federal agencies usually have a records
management system in place. In agency field offices, there are records officers and records
liaisons that work with NARA to ensure the periodic transfer of permanent records that are no
longer needed for official business.

        Given these differences, I will take a look at the kinds of historical documentation that
exists on Alaska Natives at the National Archives--Pacific Alaska Region in Anchorage. To the
uninitiated, working with Federal Government records can be intimidating and many researchers
often do not know what records they want, so they must be interviewed in order to be helped. In
addition, staff correspond with researchers to provide information about the records and, in some
cases, identify specific kinds of records. Records in NARA' s regional records facilities are not
arranged according to subject, but are kept in numbered record groups (abbreviated RG)
established for the Federal agencies that created or received them _Just in Anchorage, there are
over 17,000 cubic feet of pre-archival and archival records and some 75,000 rolls ofNARA
microfilm publications from over forty Federal agencies. In Anchorage, our office also operates a


       'Delivered on May 21 , 1999 at the 1999 Northwest Archivists Annual Meeting in
Missoula, MT.




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records center for pre-archival records, which are permanent records which still legally belong to
th.e creating or originating agency. Archival and pre-archival records are oflegal interest in cases
involving events, such as Indian fishing rights, adoptions, tribal enrollments, environmental
contamination of the public domain or affected Native land, Indian trust fund accounts, and any
other matter under Federal jurisdiction.

         Every week, the staff of the Anchorage office of the National Archives--Pacific AJaska
Region gets repeated telephone calls, research visits, and letters from individuals in the Alaska
Native community who are trying to prove or protect their legal or civil rights to citizenship,
property, education, employment benefits, veterans' status, or genealogy. City managers of
predominately ative communities, like the Pribilof Aleut Communities of St. Paul and St.
George Islands, hire "Lower 48" environmental scientists and historians to use the Fish and
Wildlife Service fisheries agent files (RG 22) to document environmental pollutants and their
impact on Native community health issues. ative bands, like the Kenaitze from Kenai Peninsula
and anthropologists representing unrecognized Native entities use the rich information found in
Federal records in Anchorage to establish "tribal sovereignty", apply for fishing rights, and gain
eligibility for funding and services from the Bureau oflndian Affairs by virtue of their status as
Indian tribes . In 1995, there were 227 Federally recognized Native villages, community and
cooperative associations, tribal governments, tribes, and Indian corporations in Alaslca.2

         And Alaska Natives are not the only ones who use the holdings of the Pacific Alaska
Region (Anchorage) to obtain information on various issues. There are also Federal or state
employees, environmental scientists or subcontractors from the Bureau of Indian Affairs, Bureau
of Land Management, the Office of the Solicitor of the Department of the Interior, the
Department of Justice, Alaska Department of Law, Alaska Department of Natural Resources, the
Alaska Department of Transportation and Public Facilities and so on who also call or visit our
office. They often seek to find on short notice any letters, reports, minutes, photographs,
cartographic records, or other documents which might establish Federal, state, or local
responsibility for environmental contamination, confirm land title, or RS 2477 rights-of-way
access across Federal lands. The National Archives--Pacific Alaska Region (Anchorage) also
handles telephone calls or letters from congressional offices who represent constituents who are
trying to obtain a passport, social security benefits, a civil service pension, or gain a delayed
certificate of birth.

      In serving the Native community in Alaska, our office serves five major groups:

(1)   Aleuts-live along the Aleutian Islands and the Alaska Peninsula, including the Pribilof
      Islands.



       2 U.S.,Bureau oflndian Affairs, Federally Recognized Native Entities of Alaska. In
Federal Regi ter, Nov. 13 1996 pp. 58211- 58216). Available: http://wwwartnatam. com/
alaska. html.




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(2)   Inupiats [Northern Eskimos]--means "the people" in the Inupiat language, are divided into
      four main units: the interior north Alaska coast people, Kotzebue Sound people, and the
      Bering Straits people. .The largest coastal communities are Barrow, Point Hope, and Wales.

(3)   Yu.p'ik [Southern Eskunos]--speakers of the Yup' ik language, live in southeast Alaska in
      communities stretching from the Prince William Sound on the north Pacific coast to St.
      Lawrence Island in the central Bering Sea (St. Lawrence Island, Nunivak Island, Yukon-
      Kuskokwim Delta, Bristol Bay, Alaska Peninsula, Kodiak Archipelago, and Prince William
      Sound). Yup' ik: is divided into three major mutually incomprehensible languages: Siberian
      Yup'ik, Central Yu'pik, and Alutiq.

(4)   Athabaskan Indians-occupy Interior Alaska, between the Brooks Range on the north and
      the Alaska Range in the south. There are 12 recogniz~d separate Athabaskan languages.

(5)   Tlinghit-Haida Indians [Southeast Coastal Indians]--live in southeast Alaska. Included
      among the Southeast Coastal Indians are the Tsimshian Indians ofMetlakatla who
      migrated to Annette Island near Ketchikan in 1887 from British Columbia.

Total Native population : 85~698 (1990).3

      In Alaska, the Bureau oflndian Affairs and the U.S. Fish and Wildlife Service are the two
Federal agencies have had an impact on virtually every phase of tribal development and individual
Native life including education, health, land ownership, financial affairs, employment, and legal
rights. The BIA's administration in Alaska was late in developing and unique in that with one
exception, Alaska Natives were not placed on reservations and education was the initial impetus.
The Alaska Division of the Office ofEducation was established in 1885 under an act which
directed the Secretary of the Interior to provide education for the children of Alaska. The
Division consisted of a section in the central office in Washington, DC and a field office in Seattle,
Washington.

      By March 14, 1931 , when the Secretary of the Interior transferred the Alaska Division from
the Office of Education to the Bureau oflndian Affairs, the Division's activities had expanded
beyond education and medical care into the field of economic assistance, necessitated by the
depletion of the seal herds and whale fisheries . In 1933, the new Alaska Indian Service,
headquartered in Juneau, replaced the Alaska Division. The Alaska Indian Service had five
divisions: the AJaskaNative School Service, Alaska Medical Service, and the Credit, Welfare, and
Construction Divisions. The Alaska Native School Service operated a system of day, special, and
vocational boarding schools. The Alaska Medical Service grew to encompass a system of clinics
and hospitals scattered throughout the territory. The Credit Division provided financing for the
Alaska Native Cooperative Association (ANICA), a central buying consortium for Native stores.


          3   Steve J. Langdon, The Nati\'e Peoples of Alaska (Anchorage : Greatland Graphics, 1993),
passim.




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In 1939, a revolving credit fund began to economically support the fishing industry in
southeastern Alaska and Native cooperative stores in the other parts of the territory. The Native
stores were operated in the villages as the main source of food, clothing, and other supplies and
also were used as clearing houses for furs, ivory, and Native crafts. The Welfare Division
provided financial assistance to Native families, orphaned children, physically challenged persons,
and other qualified persons. The Construction Division supervised a maintenance and repair
program and handled major construction projects. In a 1956 reorganization of the Bureau of
Indian Affairs; regional (area) offi.ces, each of which serves a single Indian tribe or small group of
tribes. In l 984, the Bureau turned over most ofits responsibilities for educating Alaska Natives
to the State of Alaska.

      The records of the Bureau of Indian Affairs contain the largest collection of records (over
1,000 cubic feet) relating to Alaska Natives and were created by the Juneau Area Office starting
in 1931 (although some files date back as far as 1887). There are records from BIA regional
offices in Anchorage, Bethel, Fairbanks, Ketchikan, Kotzebue, Nome, the Southeast Agency in
Juneau and for the Seattle (WA) Support Center. The bulk of the BIA records in Anchorage
cover the period from 1933 to 1983. They include general subject correspondence (1933-63),
budget and accounting records ( 1916-74), Native store records ( 193 9-64), Facilities Management
                                                                                       1
Office Files (1964-84), employment assistance case files (1957-73), welfare case files -(1931-70),
educational program decimal files (ca. 1920-68), records of the Seattle Support Center (1920-84)
and the Alaska Reindeer Service ( 1901-74), and student case files from Mount Edgecumbe
School, Wrangel11nstitute, and the Eklutna Industrial School (1924-83 ).

      Our office most frequently can meet the research needs of most of the Alaska Native
community by providing access to a half dozen common record types from the Records of the
Bureau of Indian Affairs (RG 75). There are many records at the Nation.al Archives--Pacific
Alaska Region (Anchorage) that can be used to protect the legal rights of Alaska's Natives or be
used for genealogical research. These records include Bureau of the Census Federal population
censuses for Alaska (1900-1920), special BIA censuses, school records, tribal enrollment records,
and the RG 49 Bureau of Land Management's townsite trustee files (1902-95). Sometimes,
records in one record group can be linked to those in another. For example, an entry from the
Alaskan Village Census Rolls in RG 75 showing an Athabaskan resident from Fort Yukon can be
linked to a deed found in BLM's townsite trustee files.

       A go0d example of a search is the family of Charles Brower ( 1863-1945), an Arctic trader
known as the "King of the Arctic." and the author ofFifty Years Below Zero (1942). Brower
was born in New York City but spent sixty years of his life in the Arctic, and became friends with
explorers, whalers, missionaries, or anyone who needed his help. Brower was the first non-Native
to live year-round with the Inupiat on the Arctic coast. A shrewd trader, he first came to Point
Barrow in 1884-85 and worked in the whaling and fur trading business and other enterprises,
including reindeer herding. Brower's firm, the Cape Smithe Whaling and Trading Company, is
still owned today by the Brower Family, who eventually controlled a number of trading posts
across Northern Alaska. Brower married twice, to Toctoo (d. 1902) and, afterwards to,




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Asianggataq. By 1977, Brower1 s descendants numbered over 100 grandchildren and over 150
great-grandchildren.4                          ·



1900-1920 ALASKA FEDERAL POPULATION CENSUSES
     As a general rule, persons conducting research on Alaska Natives start with the 1900-1920
AlaskaFederal population schedules (T623-625). The 1900-1920 general population schedule
for Charles Brower's family lists name, age, sex, marital status, occupation, relationship .to head
ofhousehold, birthplace, father1 s birthplace, mother's birthplace, and other information.


ALASKAN VILLAGE CENSUS ROLLS, 1912-72 (P2286)
       There is also a special census of various Alaska Natives, the Alaskan Village Census Rolls,
1912-72 (P2286), with the bulk dating from 1934 to 1972. Known as the "village census rolls,"
they were taken by the Bureau's teachers, physicians, nurses, 0r other agents. From 1912 to 1972,
the Natives were periodically enumerated in one of the 328 villages, towns, or cities where they
lived--just like the general population. The census rolls are arranged alphabetically by village attd
then chronologically by family surname. Although the fortnat and content of the rolls varies, they
include the village name, date taken, family's surname, dates of birth or age, place of birth, sex,
race, degree of Native blood, marital status, education (highest grade attended), occupation,
relationship to head of family, special skills (such as plumbing, ivory carving, or midwifery) and
remarks. The remarks category often show personal information on education, housing, source of
income, and family living conditions. Some rolls give additional information such as size and
value of the household's dwelling, total property value (such as household equipment, furniture,
personal effects, boats, nets, traps, livestock, dogs, and foxes); cash income; and information on
the kinds of Native foods at home.

       For many older Natives, the village census rolls are the only extant documentation of their
dates of birth, birthplace, their familial relationship:s, or percentage of Native blood they have for
Alaska' s five distinct Native groups. Although fascinating for anthropologists and other
researchers, the village census rolls often serve as essential evidence to protect the rights and
interests of the peopl.e they concern. For example, the daughter of an elderly man in Chignik
Lake; located at the end of the Alaska Peninsula, contacted our office as a last hope. He was
dying of cancer but had no personal records to prove his eligibility for veterans' burial benefits. A
few months ago, a Wrangell resident had been an orphan, finally learned of his correct date and
place of birth after sixty years. He had never received a birth certificate or a driver's license. In
these cases, and numerous other ones, the Pacific Alaska Region staff found the entries, provided
certified copies, and the affected persons gained their rightful benefits. There are also special
Aleut census rolls, ca. 1870-1966, which may be found among the Pribilof Islands Program
Records, 1870-1993 (RG 22).



        4 Charles D . Brower, Fifty Years Below Zero: A lifetime of Adventure in the Far North

(reprint ed.,Fairbanks: University of A1aska Press, 1994): xi-:\'"V.




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TLINGHIT-HAIDA ENROLLMENT FILES
       In addition to the Alaska Village Census Rolls, there are Tlinghit-Haida tribal enrollment
files (RG 75) which document membership and include vital statistics covering the period from
the 1890s to 1972 (192 boxes). For example, the file for George Barrett from Yakutat contains
his application for enrollment listing his date of birth, place of birth, sex, degree of Indian blood,
original clan and village, enrollment number and certification. Other documents include a delayed
certificate of birth, affidavits, and school correspondence.5 In addition, there are ten boxes of
tribal enroUment files for Canadian-born Tlinghit-Haida Indians. The pre-archival enrollment files
for Alaska's other Native groups (575 cubic feet) are closed to researcher:s because they are still
legally-owned by the BIA and are not yet eligible for legal transfer to NARA Reference access
to these restricted files is controlled by the BIA.


SCHOOL RECORDS
      Most periodic reports on education and schools for Alaska Natives from 1885 to 1924 were
not preserved, but infonnation was abstracted from them. These records of the Alaska Division
of the Bureau of Indian Affairs (RG 75) for 1885-1940 are located at the National Archives
Building in Washington, DC. These records contain much information about communities.
schools, and students for the period 1912-40. In 1997, NARA began a five-year proJect to
microfilm the twenty-five records series of the Alaska Division of the BIA, starting with the most
heavily used group, the Statistical Records and Reports of the Alaska Division of the Bureau of
Indian Affairs, 1912-1941 (Ml 854, 12 rolls). Two other microfilm publications have since been
completed, Letters Sent by the Office of Education, Alaska Division, Records of the Bureau of
Indian Affairs, 1877~1908 (Ml971, 32 rolls) and Indexes to General Co"espondenc e of the
Office of Education, Bureau of Indian Affairs, 1910-1930 (M2043, 2 rolls).

       In Anchorage, one of the most active series of records are the student case files for Mount
Edgecumbe Boarding School. Located near Sitka, Mount Edgecumbe attracted large numbers of
students from virtually every village in Alaska. Mount Edgecumbe was opened near Sitka in 194 l
and closed as a BIA-operated boarding school in 1983, and is now operated by the State of
Alaska. In many instances, the NARA Anchorage staff can determine if the researcher attended
this school or the other boarding schools for the right time period, and locate the student's file
which contains an application for admission, transcripts, and related documents. Often there is a
photograph of the student and correspondence with family members. Using the Brower Family of
Barrow as a typical case, the names of thirty family members are listed on the school rolls for
Mount Edgecumbe. The Pacific Alaska Region (Anchorage) receives requests for transcripts for
such varying reasons as entry into a Native regional corporation' s job training program,
application to the University of Alaska Fairbanks, entry to a truck driving school in Casper,
Wyoming, or employment with Alaska Airlines.


       5File for "Barrett, George
                                  T ," Tlinghit-Haida Tribal Enrollments, l 890s- l 976; Juneau
Area Office (Juneau, AK); Records of the Bureau oflndian Affairs, Record Group 75; National
Archives--Pacific Alaska Region, Anchorage, AK.




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      The Pacific Alaska Region (Anchorage) also.has some records from Eklutna Industrial
School (1924-45), Wrangell Institute (1932-45), and for a few of the 102 BIA day schools that
operated in Alaska. The quarterly and annual school r·e ports (806.1 ), which are found in the
Education Program Decimal Files, ca. 1938-68 (51 archives boxes), give information about
individual pupils and other information for many of these BIA day schools. The school reports
include the same kinds ofinfonnation found on the Mount Edgecumbe school census rolls--name,
age or date of birth, tribe and degree of Indian blood, and name of parent or guardian. 6

      There is an Historical Album of Bureau of.Education-Bureau of Indian Affairs Schools in
Alaska, 1924-31 (P2010, 1 roll), which is the only early concise pictorial record of Alaska Native
schools within the context of Native community life in over one hundred villages and towns.
Included in the album is basic data on each school, including construction, furniture, repairs,
teacher's remarks, local village censuses, and narrative histories. Other photographs concern
mostly BIA schools, hospitals, and clinics, 1938-71 (ca. 6,000-images), located in 175 villages and
towns, and cities. There is a separate collection of Juneau Area Office Facilities Management
Office Files, ca. 1964-84 (RG 75). They include correspondence, reports, photographs, and
blueprints relating to the construction and repair of school buildings, heating and power plants,
sewerage and water systems, and other structures in ninety-eight Native viUages.


TOWNSlTE TRUSTEE FILES
       The records of the Bureau of Land Management (RG 49) include the Townsite Trustee
Files, 1902-1992, which are frequently used to settle disputes over land ownership to vilJage or
town lots scattered across Alaska. These files relating to over 120 closed presidential, railroad,
and trustee townsites. Many of the townsite files pertain to the issue of restricted and unrestricted
Native deeds under two separate Federal acts for tracts set aside for Alaska Natives. Townsite
files include deeds, lot and block files 1 map filesi historical files, tract books, and other records.


OTHER RECORDS
     The records of the Alaska Reindeer Service and its successors. 1901-74 (29 linear feet), in
RG 75 include general correspondence, earmark registration case files, general case files for
associations and districts; apprentice contracts; general information files; reindeer herd case files;
monthly herd reports; village subsistence case files; hunting, fishing and fur farming
correspondence and statistics; marking and counting reports; and the papers of Lawrence J.
Palmer (1920-45), a senior biologist who specialized in reindeer research with the Bureau of
Biological Survey, the Fish and Wildlife Service, and the Alaska Reindeer Service.


        For example, Permanent School Census Card for Alfred Brower, May 16, 1974, School
        6

Census Rolls 1941-83 Mount Edgecumbe Boarding School (Sitka, AK), and "Annual School
Census Report," Barrow Day School, July 18, 1941, Education Program Decimal Files, ca. 193 8-
68, Juneau Area Office (Juneau, AK); Records of the Bureau of Indian Affairs, Record Group 75 ;
National Archives-Pacific Alaska Region, Anchorage, AK.




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      In Anchorage, there are records for the Alaska Resupply Program, 1920-84 (107 cu. ft.),
which includes program correspondence files, history files, ships' plans, trip reports, and logbooks
of the U.S. S. Boxer and the U.S.M.S. North Star I, II, and ID. The Alaska Resupply Program
began in 1922 when the Bureau ofEducation acquired the U .S.S. Boxer from the Navy to deliver
personnel and supplies to Bureau stations, schools, and hospitals. In 1932, the program was
transferred to the Bureau ofIndian Affairs and expanded to provide transportation services to
Alaska Natives along the coastal areas of Alaska which were without service by commercial
ocean carriers. The objective of the program was that, through the delivery of cargo and fuel, the
Natives would be able to improve their standard of living. A resupply network, including the
Seattle Support Center, a large terminal facility in Seattle, and one or two vessels was put into
place. In 1932, the first U.S.M.S. North Star replaced the Boxer and, in tum, was replaced by the
North Star ll, and III. In 1984, service was terminated on the North Star III and, afterwards, the
maritime resupply program continued under commercial contract and on military sea lift.

      The General Subject Correspondence, 1933-63 (109 archives boxes), includes
correspondence, reports, tribal council records, vital statistics, and other records pertaining to all
aspects of administration and operation of schools, census and enrollment rolls, construction and
highway projects; and economic and ruraJ development, including the arts and crafts,. Native
cooperative stores (908), fishing and fish traps (920), and the operation of Native fish canneries
(909) throughout southeastern Alaska from 1920 to I 950. There are credit operation files
regarding the BIA's efforts to make revolving loans to individuaJ Natives, Native organizations
such as community and cooperative associations, or to entire villages. These loans were often the
only source of credit available for the purchase of fishing boats or to support home financing,
education, smaU businesses like totem pole manufacturing, or corporate enterprises such as
salmon canneries.

      Among the highlights are the 1945 post-war planning surveys ( 43 l) of 91 individuaJ
villages, in which the BIA requested the village planning council to outline their Federally-funded
post-war projects to improve rural social, economic, and health conditions. Each survey
requested information on the village's location, description, climate, topography, soil conditions,
transportation, basic information [population, Native homes, economic status; water and fire
protection system; heaJth status; morbidity; government and non-government services offered;
heath; law and order; economic development].

      In a typicaJ survey, the survey forms for Diomede described the top of the island as
"relatively flat, boulder strewn tundra," with the sides almost barren rock sloping steeply into the
sea, with no tillable ground, and no trees. Transportation off the island was by ocean-going
vessels, with no docking facilities, with lighterage by skjn boat "when all of the Natives are at
home." Since there was no local post office, the Natives had to bring their mail from Nome, or
otherwise depend on "casual boats and planes" that frequented the island eight times a year. The
residents, totaling I 08 in number, had a Native-owned cooperative store, but no community
bathhouse, shop, or laundry. Over half of the islanders dressed in reindeer, seal, or egrek skins
and used grass for insoles, Hunting and ivory carving were the two main occupations for both




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men and women. There was a high illiteracy rate, ~th half of the adults never attending school,
                                                    of
60 percent unable to read or write, and 32 percent the adults unable to understand the English
language.                                           ·

     A steady flow of anthropologists, biologists, and researchers from several Federal and state
agencies have used General Subject Correspondence, 1933-63, and the records of the Alaska
Reindeer Service to obtain baseline statistics on Native subsistence. Both series contain annual
surveys on the garden and Native food activities for virtually every village in Alaska. There are
annual surveys contain agricultural, hunting, and fishing statistics, which were used by U.S. Fish
and Wildlife Service and to the BIA to determine fishing and hunting regulations, monitor Native
harvesting offish and game, and to plan for economic development programs. 7 The Agricultural,
Hunting, and Fishing Statistics, 1934- 72, in the Alaska Reindeer Service files, are more complete
and cover a longer period. 8                                   '-·



      The records of the Fish and Wildlife Service in the National Archives include those of
several predecessors, the Bureau of Fisheries and the Bureau of Biological Survey. They were
merged in 1940 to create the Fish anq Wildlife Service, which in 1956 was organized into two
bureaus, the Bureau of Commercial Fisheries and the Bureau of Sport Fisheries and Wildlife,
Since 1968, the U.S. Fish and Wildlife Service and its predecessors have been responsible for
enforcing regulations relating to customs, commerce, and navigation; conduct scientific research
on the fur seal; and regulate the Alaskan fishery and fur seal industries. The Treasury Department
and Bureau of Fisheries records, which are held by the National Archives in College Park, MD,
have been reproduced as M720, Alaska File of the Secretary of the Treasury, 1868-1903. These
and later records· of the Division of Alaska Fisheries (or the Alaska Division of the Bureau of
Fisheries) contain information about the fishing rights of Alaska Natives, areas set aside for their
use, and illegal seal hunting and fishing by Natives.

      With the purchase of Alaska in 1867, the United States acquired the Russians' sealing
program in the Pribilof Islands, the summer breeding ground of the northern fur seal. As it had
for the Russians, the harvesting of seal hides became a proven commercial venture. The
American era in Pribilof seal harvesting began in 1870 and continued for 112 years, to 1984,
providing Federal revenues of over $184 million dollars, not adjusted for inflation. The Pribilof
Islands fur sealing program was the most tightly-managed, longest running government program
in the history of the Republic. Long before the rise of the salmon industry, the gold rushes, or


       7 "920
            Hunting, Fishing, and Trapping Statistics, 1950," General Subject Correspondence,
1933-54, Juneau Area Office (Juneau, AJaska); Records of the Bureau oflndian Affairs, Record
Group 75; National Archives--Pacific AJaska Region, Anchorage, AK.

       8920 Agricultural, Hunting, and Fishing Statistics and Hunting, Fishing, and Fur Farming,
1934- 72, Records of the AJaska Reindeer Service, Juneau Area Office (Juneau, AK); Records of
the Bureau oflndian Affairs, Record Group 75; National Archives--Pacific Alaska Region,
Anchorage, AK .




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Prod.hoe Bay oil and the Alaska pipeline, the commercial value of the seal harvest had been the
focus of the Federal government's interest in Alaska. Beginning in 1910, the Federal Government
took over direct administration of the Pribiloflslands from a contractor because of complaints
about the treatment of the Aleut islanders, concern over the depletion of the seal herds, and for
other reasons. The Bureau of Fisheries assumed direct management ofboth the sealing harvest
and the islands, including responsibility for the health and welfare of the Aleuts, providing
schools, medical service1 food, fuel, clothing, and living quarters, and overseeing Native
community life. In the 1970s, with the environmental movement, massive seal hunting by the
Federal Government came to be seen in a different light. The last commercial harvest took place
in 1982. In 1984, the National Marine Fisheries Service ended direct administration of the
Pribilof Islands, although it maintains a scientific research station on St. Paul.

       In Anchorage, the Pribiloflslands Program Files, 1870-1993, relate to programs to conserve
and utilize the fur seals of the Pribiloflslands, and carrying out the responsibilities of the National
Marine Fisheries Service with the Aleut residents. There are approximately 150 cubic feet of a
rather diverse group of records--administrative correspondence, annual reports, logbooks, census
rolls, photographs, maps, property inventories, fur seal and haivesting records, and other items.
There is information on medical and dental service, including reports on the water ·supply, sewage,
and sanitary facilities, education, housing, food supply, the use of alcohol, Native ba~ accounts,
trav~I, and natural resources. These records also detail the forced removal of the entire Aleut
population (1942-45) from the Pribiloflslands to unsanitary and inadequate internment camps in
southeast Alask~ where more than 10% of the 800 evacuees died of disease and malnutrition. In
particular, the records relating to the economic life of the Islands, particularly employment,
earnings, and living conditions, have been used to protect the rights and interests of these
American citizens. For example, when the fisheries agents paid the Native workgangs canteen
wages, they unknowingly made them employees of the Federal Government. Wages paid to the
sealing crews listed in these files are usually the only surviving evidence to support the claims of
Aleuts who seek pensions under the Civil Service Reform Act of 1883.

      In a typical case, an abstract of Native earnings on St. George Island for "Alexander
Galanin" shows that he worked on the 1940 sealing harvest and, among other duties, prepared
300 sealskins for shipment, earning a total of $225.00 during the summer of 1940. This is a paltry
sum for a summer of work in a sealing plant but it qualified Alexander for a government pension
five decades later. Since the establishment of the National Archives in Anchorage, an increasing
number of Pribilovians like Alexander have used these records to document their servitude for
benefits and rights that most citizens take for granted. There are other records on the sealing
harvest, daily seal kill records, tallies of skins shipped and of meat and by-products, letters from
Outsiders asking (and usually being denied) permission to land, scientific studies, and comments
and observations made by the fisheries agents.9


       9Thornas E. Wiltsey, "Protecting Alaska's Native Population--With Federal Records," The
Record, v. 1, no. 3 (January 1995): 17-18; and "1940 Native Earnings [St. George Island,
Alaska]; Pribiloflslands Program Records, 1923-69; Records of the U.S. Fish and Wildlife




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      Of special interest are the Pribiloflslands Logbooks, 1870•1961, which are available on
microfilm, of the fur seal industry there. The logbooks were created by the resident Federal
agent. There are daily narrative accounts of island activit-ies oriented toward the seal harvest but
they include a vast amount of information about the islands and Native community life. Earlier
this year, samples of the logbooks and selected photographs of the Pribiloflslands were placed on
the National Archives Information Locator (NAIL) database on the NARA homepage on the
Internet.

      The records of the Indian Arts and Crafts Board, 1935.83 (RG 435), for the Alaska Field
Office in Juneau document Federal efforts to promote authentic Native arts and crafts in Nome,
Juneau, Sitka, and Anchorage. The records document such special projects as the Sitka
Demonstration Workshop and the Shugnak.Jade Project.

      Our office also has one gift collection of personal papers, the Sir Henry S. Wellcome
Collection, 1856-1936 (105 linear feet), that was donated in 1961 by the Trustees of the
Wellcome estate. The Wellcome Collection relates to the Tsimshian Indians and the Reverend
William Duncan, who guided them from the time they lived in British Columbia until well after
they migrated to Annette Island, Alaska in 1887. It was at this time that Sir Henry W~llcome, a
weathy American-born British philanthropist and drug manufacturer (Burroughs-Wellcome Co.),
became interested in the Metlakatla situation. In 1891, Congress set aside Annette Island as an
Indian Reserve. Trouble within the settlement occurred as a result of two contesting factions :
Duncan's rule as pastor, magistrate, and commercial leader and the U.S. Government's actions to
support Metlakatlans who sought improved school conditions. Eventually Wellcome supported
Duncan's cause and financed a program to gather documentation in support of the missionary.
This collection resulted from these efforts.

      The Wellcome Collection is a particularly rich source of ethnographic data, accompanied by
over 2,000 photographs on the Tshimshians of Alaska and British Columbia, that are now
available on NAIL on the NARA Homepage. There are photographic prints (including studio
portraits), litographs, postal cards, and glass plate negatives. These image pertain to numemus
subjects in both Metlakatla settlements in Alaska and British Columbia (including interior and
exterior views of houses, churches and other structures); totem art of the Pacific Northwest
Indians tribes; and views of President Warren G. Harding' s 1923 visit to Alaska.

      There are many other Federal records that include information about Alaska Natives and
other Native Americans at the National Archives-•Pacific Alaska Region (Anchorage), several
other NARA regional records facilities, and at National Archives repositories located in the
Washington, DC area. The type of records which exist and their content varies between each of
the Federal agencies, and there are often gaps in chronological coverage. Further information
about these records can be found in several guides: (1) Edward E. Hill's Guide to Records in the
National Archives of the United States Relating to American Indians (1981 ); (2) George S.


Service Record Group 22; National Archives--Pacific Alaska Region , Anchorage, AK .




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Ulibarri's Documenting Alaskan History: Guide to Federal Archives Relating to Alaska (1982);
Loretto Dennis Szucs's and Sandra: Hargreaves Luebking's The Archives: A Guide to National
Archives Field Branches·(t988); and Guide to Federal Records in the National Archives of the
United States, Three Volumes (1995).




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                               Unofficial List of Records Series Having High Reference Value at NARA at Anchorage
                                                                    March 2014
Record                                                              Linear Cubic               NARA
Group       Agency Records Series Title & Dates                     Ft.     Ft.      Identification # Usage
                   Aerial Photographs of Attu Island, September 18‐
         18 AAF    28, 1942. 1 box.                                       1                4707527 High/Public
                   District of Alaska. Civil Case Files, 1884‐1900.
         21 USDC 50 boxes.                                                      25                  High/Public
                   District of Alaska. Civil Dockets, 1884‐1890. 1
         21 USDC box.                                                     1                 655631 High/Public

                    District of Alaska. First Diviison. Ketchikan.
         21 USDC    Civil Case Files, 1911‐1955. 109 boxes.                    55                   High/Public

                    District of Alaska. First Diviison. Ketchikan.
         21 USDC    Civil Dockets, 1910‐1936, and 1946‐1960.                                        High/Public

                    District of Alaska. First Division. Ketchikan.
         21 USDC    Civil and Criminal Journals, 1917‐1960.                                         High/Public

                    District of Alaska. First Division at Sitka and
         21 USDC    Juneau. Civil Case Files, 1901‐1959. 366 boxes.           183                   High/Public
                    District of Alaska. First Division. Juneau.
                    Records of the Clerk of Court, including
         21 USDC    Correspondence, 1917‐1954. 23 boxes.                       12                   High/Public

                    District Court. First Division. Juneau. Coroner's
         21 USDC    Inquest Reports, 1900‐1959. 5 boxes.                        6                   High/Public
                    District of Alaska. First Division. Court Journals,
         21 USDC    1955‐1959. 1 box.                                           2                   High/Public
                    District of Alaska. First Division. Petitions and
                    Licenses to Practice Medicine and Surgery, 1900‐
         21 USDC    1913. 1 box.                                                1                   High/Public
                    District of Alaska. First Division. Skagway. Civil
         21 USDC    Case Files                                                                      High/Public



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                    Unofficial List of Records Series Having High Reference Value at NARA at Anchorage
                                                         March 2014
          District of Alaska. First Division. Sulzer.
21 USDC   Journal, 1908‐1914. 1 box.                               2                 High/Public
          District of Alaska. First Division. Valdez. Civil
21 USDC   Case Files, 1901‐1902. 2 boxes.                          1                 High/Public
          District of Alaska. First Division. Valdez. Civil
21 USDC   Registers, 1902‐1909. 4 boxes.                           6                 High/Public
          District of Alaska. First Division. Valdez. Court
21 USDC   Journals, 1901‐1909.                                     2                 High/Public
          District of Alaska. First Division. Valdez. Mixed
          Judgment Docket, 1905‐1909 (with Cordova and
21 USDC   Seward).                                                                   High/Public


                                                                                     Note: These records have
                                                                                     been microfilmed as National
                                                                                     Archives Microfilm
                                                                                     Publications M1966‐1969
                                                                                     (Admirality, Bankrupcy, Civil
                                                                                     and Criminal Cases, 1900‐
                                                                                     1960) between 1994‐2004.
                                                                                     Original case files from 1900
                                                                                     to 1934 suffered fire damage
          District of Alaska. Second Division. Nome.                                 from 1934 Nome fire and are
          Civil Criminal, Admiralty, and Bankruptcy Cases,                           very fragile after undergoing
21 USDC   1900‐1960.                                                                 conservation treatment.
          District of Alaska. Third Division. Anchorage
          (includes files from Cordova, Kodiak, Seward,
          and Valdez interfiled with cases from
          Anchorage). Civil Case Files, 1915‐1960. 951
21 USDC   boxes.                                                 476                 High/Public

          District of Alaska. Third Division. Anchorage.
21 USDC   Court Journals, 1916‐1960. 9 boxes.                     14                 High/Public



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                     Unofficial List of Records Series Having High Reference Value at NARA at Anchorage
                                                          March 2014

          District of Alaska. Third Division. Civil Registers
21 USDC   and Dockets, 1915‐1960. 21 boxes.                         6                 High/Public

          District of Alaska. Third Divison. Domestic
21 USDC   Corporation Cases, 1908‐1959. 30 boxes.                  15                 High/Public
          District of Alaska. Third Divison. Foreign
          Corporation Cases, 1905‐1958. Box numbers
21 USDC   not available.                                           15                 High/Public

          District of Alaska. Third Division. Cordova.
          Mixed Civil, Criminal, and Bankruptcy Case Files,
21 USDC   1911‐1943. 32 boxes.                                     16                 High/Public

          District of Alaska. Third Division. Cordova. Civil
21 USDC   Registers and Dockets, 1910‐1938. 3 boxes.                3                 High/Public

          District of Alaska. Third Division. Cordova.
21 USDC   Court Journals, 1910‐1940. 5 boxes.                       8                 High/Public
          District of Alaska. Third Divison. Cordova.
          Mixed Judgment Docket, 1905‐1940 (with
21 USDC   Seward and Cordova).                                                        High/Public
          District of Alaska at Eagle and Fairbanks. Civil
21 USDC   Case Files, 1900‐1909.                                                      High/Public
          District of Alaska. Third Division. Seward.
          Mixed Civil, Criminal, and Bankruptcy Case Files,
21 USDC   1911‐1943.                                                                  High/Public

          District of Alaska. Third Division. Seward. Civil
21 USDC   Registers and Dockets, 1911‐1927. 1 box.                  2                 High/Public
          District of Alaska. Third Division. Seward.
21 USDC   Court Journals, 1911‐1940. 6 boxes.                       8                 High/Public




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                     Unofficial List of Records Series Having High Reference Value at NARA at Anchorage
                                                          March 2014
          Disrict of Alaska. Third Division. Seward.
          Mixed Judgment Docket, 1905‐1940 (with
21 USDC   Cordova and Valdez).                                                        High/Public
          District of Alaska. Third Division. Valdez. Civil
21 USDC   Case Files, 1909‐1939. 50 boxes.                         25                 High/Public

          District of Alaska. Third Division. Valdez. Civil
21 USDC   Registers and Dockets, 1909‐1929. 4 boxes.                6                 High/Public
          District of Alaska. Third Division. Valdez. Court
21 USDC   Journals, 1909‐1940. 19 boxes.                            6                 High/Public
          District of Alaska. Third Division. Mixed
          Judgment Docket, 1909‐1940 (with Cordova and
21 USDC   Seward).                                                                    High/Public

          District of Alaska. Fourth Division. Fairbanks.
21 USDC   Civil Case Files, 1900‐1960. 448 boxes.                 224                 High/Public

          District of Alaska. Fourth Division. Fairbanks.
          Court Journal, 1923‐1959 (Bethel, Eagle,
21 USDC   McGrath, and Wiseman only).                                                 High/Public

          District of Alaska. Fourth Division. Fairbanks.
21 USDC   Oaths of Appointment, 1905‐1958. 7 boxes.                 4

          District of Alaska. Fourth Division. Iditarod.
21 USDC   Civil Cases and Exhibits, 1911‐1924. 31 boxes.           15                 High/Public
          District of Alaska. Fourth Division. Ruby. Civil
21 USDC   Cases, 1913‐1920.                                                           High/Public

          District of Alaska. First Division. Ketchikan.
          Office of the U.S. Commissioner. Probate
          Registers, Dockets, Journals, and Indexes, 1901‐
21 USDC   1960.                                                                       High/Public



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          District of Alaska. Third Division. Anchorage.
          Office of the U.S. Commissioner. Civil Dockets,
21 USDC   1910‐1960. 9 boxes.                                       9                 High/Public

          District of Alaska. Third Division. Anchorage.
          Office of the U.S. Commissioner. Civil Case
21 USDC   Files, 1923‐1948.                                                           High/Public
          Disrict of Alaska. Criminal Case Files, 1884‐
21 USDC   1900. 24 boxes.                                          12                 High/Public

          District of Alaska. First Division. Ketchikan.
21 USDC   Criminal Case Files, 1909‐1955. 47 boxes.                24                 High/Public

          District of Alaska. First Division. Ketchikan.
21 USDC   Civil and Criminal Journal, 1917‐1955. 8 boxes.          12                 High/Public
          District of Alaska. First Division. Juneau.
21 USDC   Criminal Case Files, 1900‐1960. 91 boxes.                46
          District of Alaska. First Division. Criminal
21 USDC   Docket, 1926‐1927. 1 box.                                 3                 High/Public

          District of Alaska. First Division. Juneau. Court
21 USDC   Journal (Criminal Cases), 1955‐1959. 1 box.               3                 High/Public
          District of Alaska. First Division. Skagway.
21 USDC   Criminal Case Files, 1901‐1909. 7 boxes.                  4                 High/Public
          District of Alaska. First Division. Skagway.
21 USDC   Judgment Dockets, 1900‐1918. 1 box.                       2                 High/Public
          District of Alaska. First Division. Tenakee.
21 USDC   Criminal Journal, 1914‐1937. 1 box.                       2                 High/Public
          District of Alaska. First Division. Office of the
          U.S. Commissioner. Juneau. Criminal Case
21 USDC   Files, 1913‐1955. 55 boxes.                              28                 High/Public




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          District of Alaska. First Division. Office of the
          U.S. Commissioner. Ketchikan. Criminal Case
21 USDC   Files, 1929‐1959.                                                           High/Public

          District of Alaska. Third Division. Anchorage.
          Criminal Case Files, 1902‐1960 (includes Valdez,
21 USDC   Cordova, and Seward). 254 boxes.                        127                 High/Public
          District of Alaska. Third Division. Anchorage.
          Criminal Dockets and Registers, 1908‐1955. 7
21 USDC   boxes.                                                    8                 High/Public
          District of Alaska. Third Division. Court
21 USDC   Journals, 1916‐1960.                                                        High/Public
          District of Alaska. Third Division. Cordova.
          Mixed Civil, Criminal, and Bankruptcy Case Files,
21 USDC   1911‐1943.                                                                  High/Public

          District of Alaska. Third Division. Cordova.
          Criminal Case Files, 1902‐1960 (includes
21 USDC   Anchorage, Valdez, and Seward).                                             High/Public
          District of Alaska. Third Division. Cordova.
21 USDC   Court Journals, 1910‐1940.                                                  High/Public
          District of Alaska. Third Division. Cordova.
          Judgment Docket, 1905‐1940 (includes Seward
21 USDC   and Valdez). 1 box.                                       2                 High/Public

          District of Alaska. Third Division. Eagle City and
21 USDC   Fairbanks. Criminal Cases, 1900‐1960.                                       High/Public
          District of Alaska. Third Division. Seward.
          Mixed Civil, Criminal, and Bankrutpty Case Files,
          1902‐1960 (includes Anchorage, Cordova, and
21 USDC   Valdez).                                                                    High/Public
          District of Alaska. Third Division. Seward.
          Criminal Case Files, 1902‐1960 (includes
21 USDC   Anchorage, Cordova, and Valdez).                                            High/Public


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          District of Alaska. Third Division. Cordova.
21 USDC   Court Journals, 1911‐1940.                                                 High/Public
          District of Alaska. Third Division. Cordova.
          Judgment Docket, 1905‐1940 (includes Cordova
21 USDC   and Valdez).                                                               High/Public
          District of Alaska. Third Division. Valdez.
          Criminal Case Files, 1902‐1960 (includes
21 USDC   Anchorage, Cordova, and Seward).                                           High/Public
          District of Alaska. First Division. Valdez.
21 USDC   Criminal Docket, 1902‐1908. 1 box.                       2
          District of Alaska. Third Division. Valdez.
21 USDC   Criminal Docket, 1902‐1960. 19 boxes.                   20                 High/Public
          District of Alaska. Third Division. Valdez. Court
          Journals, 1901‐1940 (includes Cordova and
21 USDC   Seward).                                                                   High/Public

          District of Alaska. Third Division. Anchorage.
          Office of the U.S. Commissioner. Criminal Case
21 USDC   Files, 1923‐1946. 10 boxes.                              5                 High/Public

          District of Alaska. Third Division. Anchorage.
          Office of the U.S. Commissioner. Criminal
21 USDC   Dockets and Registers, 1910‐1960. 26 boxes.             38                 High/Public
          District of Alaska. Fourth Division. Eagle and
          Fairbanks. Criminal Case Files, 1909‐1959. 91
21 USDC   boxes.                                                  46                 High/Public

          District of Alaska. Fourth Division. Iditarod.
21 USDC   Criminal Case Files, 1911‐1924. 5 boxes.                 3                 High/Public
          District of Alaska. Fourth Division. Ruby.
21 USDC   Criminal Case Files, 1912‐1917. 4 boxes.                 2                 High/Public
          District of Alaska. Third Division. Declarations
21 USDC   of Intention, 1903‐1991.                                                   High/Public



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         District of Alaska. Third Division. Petitions for
21 USDC Naturalization, 1903‐1991.                                                     High/Public
22 USFWS Pribilof Islands Logbooks, 1870‐1961                10                 297024 High/Public
         Pribilof Islands Logbooks, 1870‐1961 (Z13
         Agency‐produced microfilm not for sale by
22 USFWS NARA)                                                                          High/Public


22 USFWS Pribilof Islands Program Material , 1919 ‐ 1974     10                6922192 Low (Higher if ditigized)
         Subject and Decimal Correspondence of the
22 USFWS Pribilof Islands Program, 1923‐1969                 27                2842763 High/Public
         Correspondence Relating to the Establishment
         of the Arctic National Wildlife Refuge, 1957‐
22 F&WS 1962                                                  1                1656099 High/Public

22 USFWS Pribilof Islands Photographs, ca. 1890‐ca. 1970      3                 297055 High/Public

                                                                                       Low Use (Potential High
                                                                                       Historical/Legal Value.
                                                                                       Periodic high use by Alaska
                                                                                       and Outside legal firms
         Exxon Valdez Oil Spill Correspondence, ca. 1989‐                              dealing with cases involving
         2001 (U.S. Fish and Wildlife Service. Alaska                                  the long‐term effects of oil
22 USFWS Regional Office, Anchorage). 289 boxes.                    98                 spill on Prince William Sound.
26 USCG Bering Sea Patrol Records, 1926‐1940                 23                 297161 High/Public
26 USCG Maps and Charts, 1915‐1940 (Bering Sea Patrol)        1                6713284 High/Public
         Charts from the U.S. Revenue Cutter Manning,
26 USCG 1909‐1910                                             1                6706722 Low (Higher if ditigized)
         Documentation Relating to the M/V Selendang
26 USCG Ayu Cleanup, 2004‐2005                                4                6740926 High (potential)
26 USCG Unit Logs, 1968‐1990                                 92                6293282 High‐by USCG&Veterans
26 USGC Vessel Inspection Files, 1974‐1980                    7                6756394 High‐by USCG




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                                                                                   High/Public/State & Federal
                                                                                   Agencies/Environmental
                                                                                   Researchers. Contains
                                                                                   extensive docmentation on
                                                                                   historic transportation routes
                                                                                   and the development and use
                                                                                   of historic trails, roads, and
                                                                                   highways throughout Alaska.
                                                                                   This was the basic primary
                                                                                   source used by State of
                                                                                   Alaska's Dept. of
                                                                                   Transportation's Revised
                                                                                   Statute 2477 Project in its
                                                                                   published reports to
         Program Planning and Research                                             document rights‐of‐way on
         Correspondence, 1905‐1959 (Alaska Road                                    naviagable waters on federal
30 BPR   Commission). 42 boxes.                                 16                 lands throughout Alaska.

                                                                                   High/Public/State & Federal
         Project Correspondence, 1916‐1959 (Alaska                                 Agencies/Environmental
30 BPR   Road Commission). 92 boxes.                            32                 Researchers.




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                                                                                      Low Use. On surface, this
                                                                                      seems to be a digitization
                                                                                      candidate. These are an
                                                                                      interim set of drawings.
                                                                                      According to former Alaska
                                                                                      State Archivist John Kenney,
                                                                                      the ARC transferred its final
                                                                                      version of construction
                                                                                      drawings to the Alaska Dept.
          Construction Project Drawings and Tracings,                                 of Highways and they are now
30 BPR    1922‐1958. 31 boxes and 18 rolled bundles.                                  in the State Archives (Juneau).

          Records of Entrances and Clearances of Vessels
          in Foreign Trade, 1883‐1901 and 1916‐1953
36 USCS   (Sitka)                                                                     High/Public

          Records of Entrances and Clearances of Vessels
          in Coastwide Trade, 1867‐1901, 1926‐1944
36 USCS   (Sitka)                                                                     High/Public
          Records of Entrances and Clearances of
          Vessels/Coastwise & Aircraft in Foreign Trade,
36 USCS   1945‐1949 (Sitka)                                                           High/Public

          Records Relating to Bills of Sale [of Licensed
36 USCS   Vessels, 20 Tons or Less], 1927‐1937 (Sitka)                                Low (Higher if digitized)
          Certificates of Admeasurement, 1953‐1957
36 USCS   (Sitka)                                                                    Low (Higher if digitized)
36 USCS   Wreck Reports, 1873‐1891 (Sitka)                                           High/Public
36 USCS   Dead Vessel Files, 1920‐1966 (Juneau)            44                2190329 High/Public




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          Record of Bills of Sale of Enrolled Vessels, 1903‐
          1936 (Juneau) (v. 2‐8, 16‐23) [Alternativje title:
36 USCS   Record of Bills of Sale of Vessels]                                        Low (Higher if digitized)

          Record of Entrances and Clearances of Vessels
          Involved in the Foreign Trade, 1901‐1952
36 USCS   (Juneau) v. 11‐16, 18‐19 (includes Mixed Ports)                            High/Public
          Record of Entrances and Clearances of Vessels
          Involved in the Coastal Trade, 1901‐1909
36 USCS   (Juneau) 2 volumes                                                         High/Public
          Copies of Bills of Sale of Licensed Vessels, 20
36 USCS   Tons or Less, 1901‐1936 (Juneau) v. 3‐24                                   Low (Higher if digitized)
          Record of Special Clearances of Vessels Involved
          in the Coastal Trade, 1908‐1948 (Juneau). v. 9‐
36 USCS   10                                                                         High/Public
          General Index of Conveyances of Vessels, 1873‐
36 USCS   1934 (Juneau)                                                              Low (Higher if digitized)
          Record of Mortgages on Registered or Enrolled
          Vessels/Licensed Vessels, 20 Tons of Less
          [Alternate Title: Record of Mortgages on
          Licensed Vessels, 1905‐1947 (Mixed Ports) v. 2‐
36 USCS   15                                                                         Low (Higher if digitized)
          Record of Miscellaneous Conveyances of
36 USCS   Vessels, 1916‐1943 (Mixed Ports)                                           Low (Higher if digitized)
          Record of Tonnage Admeasurement, 1901‐1915
36 USCS   (Mixed Ports)                                                              Low (Higher if digitized)
          Record of Marshal's Sale of Vessels, 1926‐1932
36 USCS   (Mixed Ports)                                                              Low (Higher if digitized)
          General Index of Conveyances of Vessels, 1926‐
36 USCS   1949 (Mixed Ports)                                                         Low (Higher if digitized)
          Record of Entrances and Clearances of Vessels
          Engaged in Foreign Trade, 1919‐1934 (Mixed
36 USCS   Ports)                                                                     High/Public


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          Record of Entrances and Clearances of Vessels
          Involved in the Coastal Trade, 1910‐1935
36 USCS   (Mixed Ports) 6 volumes                                                     High/Public

          Copies of Certificates of Enrollment/Record of
          Consolidated Enrollment and Licenses, 1895‐
36 USCS   1938, and 1941 (Mixed Ports)                                                Low (Higher if digitized)
          Copies of Licenses of Enrolled Vessels, 1902‐
36 USCS   1911 (Mixed Ports)                                                          Low (Higher if digitized)




          Consolidated Certificate of Enrollments and
          Licenses, 1911‐1914 and 1938‐1947 (Mixed
36 USCS   Ports)                                                                      Low (Higher if digitized)
          Record of Bills of Sale for Enrolled Vessels, 1917‐
36 USCS   1936.                                                                       Low (Higher if digitized)


          Bills of Sale of Licensed Vessels, 20 Tons or Less,
36 USCS   1926‐1947 (Mixed Ports). 9 volumes.                                         Low (Higher if ditized)


          Copies of Licenses of Vessels 20 tons or less,
          1898‐1907 (Mixed Ports) [OPA: Licenses Issued
36 USCS   to Vessels under 20 Tons, 1898‐1907] v. 5‐41                                Low (Higher if digitized)
          Mixed Volume ‐ License and Enrollments under
36 USCS   20 Tons, 1952‐1954                                                          Low (Higher if digitized)




          Certicates of Registry, 1902‐1964 (Mixed Ports)
36 USCS   (Volumes 3‐23)                                                              Low (Higher if digitized)



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          Abstracts of Titles Received [OPA: Abstracts
          and Certificates of Title, 1927‐1949] (Mixed
36 USCS   Ports)                                                                     Low (Higher if digitized)
          Abstract & Certificate of Record of Title, 1925‐
36 USCS   1949 (Ketchikan)                                                           Low (Higher if digitized)
          Record of Entrances and Clearances of Vessels
          Involved in the Coastal Trade, 1938‐1953 (Taku
36 USCS   inlet)                                                                     Low (Higher if digitized)
          Record of Entrances and Clearances of Vessels
          Involved in the Coastal Trade, 1904‐1946
36 USCS   (Ketchikan). V. 22a‐34 + 2 vols.                                           High/Public

          Record of Entrances and Clearances Involved in
36 USCS   the Foreign Trade, 1898‐1952 (Ketchikan)                                   High/Public
          Copies of Licenses of Enrolled Vessels, 1893‐
36 USCS   1901 (Mary's Island)                                                       Low (Higher if digitized)
          Copies of Licenses of Enrolled Vessels, 20 Tons
36 USCS   or Less, 1893‐1908 (Ketchikan)                                             Low (Higher if digitized)
          Copies of Licenses of Enrolled Vessels, 1896‐
36 USCS   1911 (Ketchikan) 2 volumes.                                                Low (Higher if digitized)
          Record of Licensed Vessels, 1907‐1914
36 USCS   (Ketchikan)                                                                Low (Higher if ditized)
          Record of Mortgages on Registered or Enrolled
          Vessels/Licensed Vessels, 20 Tons of Less, 1912‐
36 USCS   1918 (Ketchikan)                                                           Low (Higher if digitized)
          Record of Miscellaneous Conveyances of
36 USCS   Vessels, 1924‐1928 (Ketchikan)                                             Low (Higher if digitized)
          Record of Consolidated Enrollments and
36 USCS   Licenses, 1912‐1914 (Ketchikan)                                            Low (Higher if digitized)
          Register of Collections [OPA: Certificates of
36 USCS   Registry, 1916‐1920 (Ketchikan)                                            Low (Higher if ditized)
          Record of Entrances and Clearances, 1916‐1934
36 USCS   (Nome)                                                                     High/Public



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          Record of Bills of Sale of Registered Vessels
36 USCS   under 20 Tons, 1915‐1936 (Petersburg)                                      Low (Higher if digitized)
          Records of Bills of Sale of Registered Vessels,
36 USCS   1916‐1937 (Petersburg)                                                     Low (Higher if ditized)
          Record of Mortgages on Licensed Vessels under
36 USCS   20 Tons, 1926‐1942 (Petersburg)                                            Low (Higher if ditized)
          Record of Entrances and Clearances, 1923‐1937
36 USCS   (Seward)                                                                   High/Public
          Mortgages of Licensed Vessels of 20 Tons or
36 USCS   Less, 1923‐1937 (Seward)                                                   Low (Higher if ditized)
          Record of Bills of Sale of Enrolled Vessels, 1924‐
36 USCS   1937 (Seward)                                                              Low (Higher if ditized)
          Index to Conveyances, 1908‐1946 (Cordova‐
36 USCS   Seward)                                                                    Low (Higher if ditized)
          Record of Miscellaneous Conveyances of
36 USCS   Vessels, 1923‐1937 (Seward)                                                Low (Higher if ditized)
          Record of Entrances and Clearances of Vessels
          in Foreign Trade, 1943‐1945, 1962‐1964
36 USCS   (Skagway)                                                                  High/Public
          Record of Bills of Sale of Vessels, 1916‐1941
36 USCS   (Skagway)                                                                  Low (Higher if ditized)
          Record of Mortages on Licensed Vessels under
36 USCS   20 Tons, 1922‐1953 (Skagway)                                               Low (Higher if ditized)
          Record of Bills of Sale of Licenses Vessels under
36 USCS   20 Tons, 1939‐1950 (Skagway)                                               Low (Higher if ditized)

          Oaths on Registry and Ownership of Vessels,
36 USCS   1906‐1939 (No port/subport listed)                                         Low (Higher if ditized)

          Oaths on Registry and Ownership of Vessels,
36 USCS   1919‐1936 (No port/subport listed)                                         Low (Higher if ditized)




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          Record of Mortgages on Licensed Vessels under
          20 Tons, 1917‐1931 (Custom Houses)
36 USCS   Provenance needs to be checked                                               Low (Higher if ditized)
          Record of Entrances and Clearances in Foreign
          Trade, 1919‐1934 (Custom Houses) Provenance
36 USCS   needs to be checked                                                          Low (Higher if ditized)
          General Index of Conveyances of Vessels, 1932‐
36 USCS   1948 (Unknown Subport of Entry)                                              Low (Higher if ditized)
          Coastwise Entrances and Clearences, 1885‐1935
36 USCS   (Wrangell)                                                                   High/Public
          License of Enrolled Vessels, 1898‐1911
36 USCS   (Wrangell)                                                                   Low (Higher if ditized)
          Record of Bills of Sale of Registered Vessels,
36 USCS   1935‐1936 (Wrangell)                                                         Low (Higher if ditized)
          Record of Bills of Sale of Licenses Vessels under
36 USCS   20 Tons, 1935‐1936 (Wrangell)                                               Low (Higher if ditized)
36 USCS   Wreck Reports, 1875‐1891 (Wrangell/Juneau)             1            5635202 High/Public
          Record of Miscellaneous Conveyances and
          Licenses of Merchant Vessels, 1930‐1934
36 USCS   (Wrangell)

          Alaska Native Claims Settlement Act (ANCSA)
48 DOI    Case Files, 1977‐1987 (Office of the Solicitor)        1            6423698 High‐by DOI for Public View
          Litigation Files, 1957‐1991 (Office of the
48 DOI    Solicitor)                                                                   High‐by DOI

48 DOI    Indian Land Administration Files, 1971‐1991                                  High/Public

          Alaska Native Claims Settlement Act (ANCSA)
48 DOI    Case Files, 1972‐1990 (Office of the Solicitor)       25             605152 High/Public

49 BLM    Right of Way Case Files, 1968‐1985                    15            6423832 High‐by BLM for Public View
          Serialized and Non‐serialized Terminated Rights‐of‐
49 BLM    Way, 1968‐1976                                        2             6423658 High‐by BLM for Public View


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         Terminated Rights‐of‐Way License, Permit or
49 BLM   Easement Files, 1981 ‐ 1985                                        6423722 High‐by BLM for Public View

49 BLM   Terminated Rights‐of‐Way Files, 1980                1              6423698 High‐by BLM for Public View

49 BLM   Closed Serialized Land Entry Applications, 1968‐1   5              4416181 High‐by BLM for Public View

49 BLM   Terminated Right of Way Licenses, 1968‐1985         9              6397164 High‐by BLM for Public View
         Townsite Survey Field Notes, 1910 (Fairbanks
49 BLM   Land Office)                                        1              4706545 Low (Higher if ditigized)
49 BLM   Field Notes, 1910 (Fairbanks)                       1              5647390 Low (Higher if ditigized)
49 BLM   Register Books, 1885‐1902 (Sitka Land Office)       3              5647398 Low (Higher if ditigized)
         Land Office Register Books, 1902‐1919 (Juneau
49 BLM   Land Office)                                         5             5558239 Low (Higher if ditigized)
49 BLM   Administrative Townsite Books, ca 1905‐1922          2             5557856 High‐BLM for Public View
49 BLM   Alaska Townsite Deed Books, 1906‐1975               16             5404594 High‐Public/BLM
         Land Office Register Books, 1898‐1902 (GLO,
49 BLM   Office of the Surveyor General)                      2             5559721 Low (Higher if ditigized)
49 BLM   Townsite Tract Books, 1906‐1962                      4             5509900 Low (Higher if ditigized)
49 BLM   Coal Survey Plats, 1905‐1911                         2             5647411 Low (Higher if ditigized)




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                                                                                      Very High‐by BLM (public
                                                                                      adjudication in land claims;
                                                                                      land disputes; State of Alaska
                                                                                      and Native land selections,
                                                                                      etc. from federal lands, etc.).
                                                                                      Emergency reference service:
                                                                                      one hour or less. Files are
                                                                                      either copied and/or loaned
                                                                                      to BLM Office three blocks
           Serialized Land Entry Files that were Canceled,                            from NARA Anchorage office
           Relinquished, or Rejected, ca. 1885‐1969 (Very                             to be used by Alaskans,
           Active Files for Archival Loan to                                          especially traveling from rural
49 BLM     Originating/Creating Agency)                      386               607087 areas. Loan activity: weekly.
           Register of Homestead Receipts and Fur Farm
49 BLM     Rentals, 1899‐1931                                  1               647249 Low (Higher if ditigized).
           Trans‐Alaska Pipeline System (TAPS)
49 BLM     Photographs, 1969‐1983                             43              2251156 Low (Higher if ditigized)
49 BLM     Right of Way Case Files, 1923‐1982                 16              3859196 High‐by BLM
           Patented Land Entry Case Files, 1968‐1980
49 BLM     (Fairbanks District Office)                        33              4076549 Low (Higher if ditigized)
           Land Entry Application Case Files, 1968‐1977
49 BLM     (Anchorage Area)                                    6              4477414 High‐BLM
           Contest Case Files Relating to Alaska Native
49   BLM   Rights, ca. 1965‐1972                               3              4478008   Low(Higher if ditigized)
49   BLM   Contest Files, 1968‐1975                            1              4483062   Low(Higher if ditigized)
49   BLM   Right‐of‐Way Case Files, 1968‐1983                  2              4488953   High‐BLM
49   BLM   Case Files Relating to Grazing, 1928‐1986           4              4489053   Low (Higher if ditigized)
           Adverse Claim Case Files, 1974‐1979 (Fairbanks
49 BLM     District Office)                                    5               490705 Low (Higher if ditigized)
49 BLM     Memorandums of Understanding, 1983‐1995             1              4492513 Low (Higher if ditigized)



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         Patented Land Entry Case Files, 1966‐1979
49 BLM   (Alaska State Office, Anchorage)                  68               4498952 Low (Higher if ditigized)
         Resource Management Plan Files, 1986‐1996
49 BLM   (Re‐opening of A‐J Mine)                           3               4504909 Low (Higher if ditigized)
                                                                                    High‐BLM (Public View for
         Patented Native Allotment Case Files, 1929‐                                adjudiction of land claims,
49 BLM   1969 (Alaska State Office, Anchorage)              4               4521799 disputes etc.)
         Patented Mineral Case Files, 1889‐1908
49 BLM   (Southeast Alaska)                                 2               4526529 Low (Higher if ditigized)

         Rejected Native Allotment Case Files, 1923‐                                High‐BLM (public adjudiction
49 BLM   1967                                               4               4527123 in land claims, etc.)
         Nenana Town Lot Sale Forfeiture Case Files,
49 BLM   1916‐1928                                          4               4546077 Low (Higher if ditigized)
         Right‐of‐Way Application Case Files, 1916‐1931
49 BLM   (CR & NWRR)                                        1               4571127 Low (Higher if ditigized)
         Patent Case Files, 1915‐1950 (Fairbanks Land
49 BLM   Office)                                            5               4566010 High‐BLM
         Right‐of‐Way Case Files Related to the Copper
         River & Northwestern Railroad, 1916‐1931
49 BLM   (Anchorage Land Office)                            2               4662506 Low (Higher if ditigized)
         Patent Registers, 1958‐1964 (Anchorage Land
49 BLM   Office)                                            1               4700614 Low (Higher if ditigized)
         Cadastral Survey Field Notes, 1920‐1976 (Alaska
49 BLM   State Office, Anchorage)                          14               4706077 High‐BLM/Public
         Field Notes Relating to Mineral Surveys, 1899‐
49 BLM   1970 (Anchorage Land Office)                       1               4706891 Low (Higher if ditigized)
         Field Notes Relating to Coal Surveys, ca. 1907
49 BLM   (Fairbanks Land Office)                            1               4706890 Low (Higher if ditigized)
         Withdrawn or Rejected Publc Lands
         Applications, 1975‐1979 (State of Alaska public
49 BLM   lands selections)                                  1               4711985 High‐BLM
         Contest Case Files, 1974‐1979 (Alaska State
49 BLM   Office, Anchorage)                                 2               4713089 Low‐BLM


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         Land Entry Application Case Files, 1976‐1979
49 BLM   (Fairbanks District Office)                        5               4713168 High‐BLM
         Closed Right‐of‐Way Case Files, 1970‐1984
49 BLM   (Fairbanks District Office)                        2               4713565 High‐BLM
         Serialized Right‐of‐Way Case Files, 1959‐1985
49 BLM   (Fairbanks District Office)                        6               4713601 High‐BLM
49 BLM   Closed Land Entry Case Files, 1978‐1980           17               4734537 High‐BLM
         Letters Received by the Surveyor General, 1884‐
49 BLM   1921                                              29               4735455 Low (Higher if ditigized)
         Contest Dockets, 1908‐1954 (Anchorage Land
         Office) (Public Land disputes at Anchorage,
49 BLM   Juneau, Nome, and Valdez)                          1               4739418 Low (Higher if ditigized)
         Land and Mining Claims Files, 1968‐1977
49 BLM   (Alaska State Office, Anchorage)                  26               4757262 Low (Higher if ditigized)

         Non‐Patent Native Allotment Case Files, 1964‐                              High‐BLM (public adjudiction
49 BLM   1976                                               1               4757223 in land claims, etc.)
         Land and Mining Claimsj Files, 1968‐1977
         (Alaska State Office, Anchorage) (Fairbanks
49 BLM   Area)                                             14               4557272 Low‐Higher if digitized)
         Water Resources Study Files, 1972‐1980 (for
49 BLM   Southcentral Alaska)                               8               4862392 Low (Higher if ditigized)
         Closed Land Entry Case Files, 1963‐1966 (Alaska
49 BLM   State Office, Anchorage)                           2               4928260 High‐BLM
49 BLM   Cadastral Survey Plats, 1897‐1976                  5               4943001 High‐BLM/Public
         Land Office Tract Books, 1914‐1962 (Anchorage
49 BLM   Land Office)                                       4               5511579 HighBLM/Public

         Mineral Surveys, 1885‐1983 (Survey plats of
49 BLM   mineral claims, excludes Southeastern Alaska)      1                        Low (Higher if ditigized)
         Records of the Mananuska Colonization Project,
49 WPA   1935‐1942                                         37               6923483 High




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                                                                                    High/Public/Proof of date,
                                                                                    place of birth, degree of
                                                                                    Native Blood, for over 400
                                                                                    Native villages in Alaska.
                                                                                    Proof for obtaining U.S.
                                                                                    passports, Alaska Permanent
                                                                                    Dividend Fund checks,
                                                                                    Veterans burial beneftis,
                                                                                    social security benefits,
                                                                                    Certificates of Degree of
                                                                                    Indian or Alaska Native
         Village Census Rolls, 1912 (Bulk: 1934‐1972)                               Blood, obtaining tribal
75 BIA   (Juneau Area Office). 58 boxes.                                            recognition, etc.

         National Archives Preservation Microfilm
         P2286, Alaska Village Census Rolls, 1912 (bulk:
75 BIA   1934‐1972)‐1972. 66 rolls. Finding Aid.                                    Same as above

                                                                                    Reference copies screened for
                                                                                    FOIA 6 (b) privacy
                                                                                    restrictions. This set was
                                                                                    used for public reference and
                                                                                    to make photocopies to avoid
         Village Census Rolls, 1912 (Bulk: 1934‐1972)‐                              using fragile original set of
75 BIA   1972. Screened Reference Set (43 boxes)                                    records.
         Historical Albums of Bureau of Education‐
         Bureau of Indian Affairs Schools in Alaska, 1924‐
75 BIA   1931. (Juneau Area Office)                           1                     High/Public

         General Subject Correspondence, 1933‐1963.
         (Juneau Area Office). 108 boxes. In OPA as:
75 BIA   Decimal Files, 1933‐1963                            46              626283 High/Public




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                                                                                    High/Public (Boxes 1‐2
                                                                                    contain photographs of U.S.S.
                                                                                    Boxer and M/V North Star III
                                                                                    relating to BIA's Resupply
         Mission Correspondence, ca. 1935‐1947                                      Program operated by its
75 BIA   (Juneau Area Office). 3 boxes.                     1                       Seattle Support Center).
                                                                                    Low (Higher if digitized).
                                                                                    Contains photographs of
                                                                                    Chena Tanana Flood (1967)
         Mission Correspondence, 1967. Juneau Area                                  and Tyonek photo story
75 BIA   Office. Box 7.                                           1                 (1968).
         Still Picture Photograph Files, 1950‐1971
75 BIA   (Juneau Area Office). 5 boxes.                           2                 High/Public




                                                                                    High/Public. Early date
                                                                                    (1912) is misleading, as bulk of
         Education [Decimal Files], 1912‐1977 (Juneau                               records are probably from
75 BIA   Area Office). 69 boxes.                                                    1940s and later.

                                                                                    High/Public. Record set of
                                                                                    BIA's legal documentation on
                                                                                    former BIA school sites
                                                                                    throughout Alaska. Prior to
                                                                                    transfer to NARA, a reference
                                                                                    photocopy set was made for
         Village School Land Transaction Files, 1894‐1999                           the BIA's official use at their
75 BIA   (Juneau Area Office). 31 boxes.                         10                 Juneau office.



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                                                                                     Low (Higher if digitized). Lists
                                                                                     Bureau of Education and BIA
         Personnel Lists, 1918‐1964 (Juneau Area Office).                            teachers employed in Alaska
75 BIA   2 boxes.                                                 1                  from 1918‐1964.
         Real Property Reports, 1955‐1968 (Juneau Area
75 BIA   Office). 2 boxes.                                  1               2805987 Low (Higher if ditigized)


                                                                                     Low (Note: Central Council of
                                                                                     the Tlingit‐Haida Indian Tribes
                                                                                     of Alaska (Juneau) has a
                                                                                     reference photocopy set used
                                                                                     for tribal enrollments of its
                                                                                     members). The BIA loaned
                                                                                     these records for copying
         Tribal Enrollments, ca. 1890s‐1976 (Juneau Area                             prior to the transfer of the
75 BIA   Office). 225 boxes.                                                         records to NARA.

                                                                                     High/Public. Note: Usage
         Mission Correspondence. Village Census, ca.                                 same as Village Census Rolls,
75 BIA   1969‐1974 (Bethel Indian Agency) 3 boxes.                1                  1912 [bulk: 1934‐1972]‐1972.

                                                                                     High/Public. Note: Usage
         Tribal Census Files, ca. 1940‐1968. (Bethel                                 same as Village Census Rolls,
75 BIA   Indian Agency). 5 boxes.                                 2                  1912 [bulk: 1934‐1972]‐1972.
         Administrative Correspondence, 1947‐1961
75 BIA   (Bethel Indian Agency). 4 boxes.                         2                  High/Public
         Education Program Decimal Files, 1945‐1960
75 BIA   (Bethel Agency). 7 boxes.                                2                  High/Public
         Mission Correspondence, 1960‐1973 (Bethel
75 BIA   Indian Agency) 52 boxes.                                                    High/Public




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                                                                                     High/Public. Microfilmed on
                                                                                     National Archives
                                                                                     Preservation Microfilm
                                                                                     P2258, Alaska Village Census
         Alaska Native Village Censuses, 1946‐1971                                   Rolls 1912 [bulk: 1934‐1972]‐
75 BIA   (Fairbanks Agency). 3 boxes.                             2                  1972..

         Mount Edgecumbe (Boarding/High) School.
         Yearbooks, 1947‐1983 (Box labels: Publication
75 BIA   Record Set, 1947‐1983). 6 boxes.                 3                  626973 High/Public
                                                                                    High/Public. Indexes to
                                                                                    Mount Edgecumbe
                                                                                    Boarding/High School's
                                                                                    Individual Student Case Files,
                                                                                    1983. Used to verify high
                                                                                    school graduation for
         Mount Edgecumbe (Boarding/High) School                                     purposes of employment,
         (Juneau Area Office). School Census Cards,                                 attend trade or vocational
         1941‐1983 [Formerly: School Census Rolls]. 25                              schools, admission to
75 BIA   boxes.                                          11                  626965 colleges/universities, etc.


                                                                                     High/Mount Edgecumbe High
                                                                                     School attendees, graduates,
                                                                                     and staff; referrals from
         Mount Edgecumbe (Boarding/High) School                                      BIA/U.S. DOI Office of the
         (Juneau Area Office). Individual Student Case                               Special Trustee for American
75 BIA   Files, 1941‐1983. 241 boxes.                            80                  Indians (Juneau/Anchorage).

                                                                                    High/Public. Individual files
                                                                                    were screened by NARA staff
         Mount Edgecumbe (Boarding/High) School                                     for privacy restrictions. The
         (Juneau Area Office). Administrative                                       entire records series has not
75 BIA   Correspondence, 1968‐1975. 21 boxes.            10                  632548 been screened.


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                   Unofficial List of Records Series Having High Reference Value at NARA at Anchorage
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                                                                                    High/Attendees and
         Wrangell Institute (Juneau Area Office).                                   graduates of Wrangell
75 BIA   Student Files, ca. 1932‐1975. 64 boxes.                 22                 Institute
         File of Sheldon Jackson on Alaskan School
         Matters, 1886‐1889 (Alaska Division of the
75 BIA   Bureau of Indian Affairs). 1 box.                        1                 Public/High

         Photographs of Schools, Hospitals, and Clinics,
75 BIA   1938‐1950 (Juneau Area Office). 40 boxes.               15                 High/Public
         Education Program Decimal Files, 1936‐1968
75 BIA   (Juneau Area Office). 62 boxes.                                            High/Public
         Decimal Files Relating to Social Services, 1940‐
75 BIA   1969 (Juneau Area Office). 25 boxes.                     9                 High/Public
         Field Agent Reports on Schools, 1935‐1967
75 BIA   (Juneau Area Office). 1 box.                             1                 High/Public
         Annual Reports of Reindeer Herds, ca. 1908‐
         1932. Alaska Reindeer Service (Juneau Area
75 BIA   Office). 2 boxes.                                        1                 High/Public

         Decimal Correspondence. Alaska Reindeer
75 BIA   Service (Juneau Area Office). 30 boxes.                 12                 High/Public
         Circulars Relating to Reindeer Herding in Alaska.
         Alaska Reindeer Service (Juneau Area Office). 1
75 BIA   box.                                                     1                 High/Public
         Reindeer Program Correspondence, 1914‐1945.
         Alaska Reindeer Service (Juneau Area Office). 1
75 BIA   box.                                                     1                 High/Public

         Historical Files, 1929‐1948. Alaska Reindeer
75 BIA   Service (Juneau Area Office). 1 box.                     1                 High/Public
         Correspondence Relating to Sales, 1934‐1953.
         Alaska Reindeer Service (Juneau Area Office). 1
75 BIA   box.                                                     1                 High/Public



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         Correspondence Relating to Reindeer Meat,
         1937‐1943. Alaska Reindeer Service (Juneau
75 BIA   Area Office). 1 box.                                      1         2789137 High/Public
         General Case Files. Alaska Reindeer Service
75 BIA   (Juneau Area Office). 20 boxes.                           7                 High/Public
         Monthly Herd Reports. Alaska Reindeer Service
75 BIA   (Juneau Area Office). 2 boxes.                            1                 High/Public
         Monthly Herd Reports. Togiak‐Weber‐Wilson.
         Execution of the Act of September 1, 1937.
         Alaska Reindeer Service (Juneau Area Office). 1
75 BIA   box.                                                      1                 High/Public

         Correspondence Relating to Reindeer Brands
         and Earmarks, 1923‐1940 (Alaska Reindeer
75 BIA   Service (Juneau Area Office). 1 box.                                2789526 High/Public
         Correspondence Relating to Declarations of
         Reindeer Ownership in Alaska, 1937‐1941.
         Alaska Reindeer Service (Juneau Area Office). 2
75 BIA   boxes.                                                    1                 High/Public

                                                                                     High/Public. Consists of
                                                                                     statistical surveys throughout
                                                                                     rural Alaska, ca. 1930s and
                                                                                     later. Used by state and local
                                                                                     government entities as
                                                                                     baseline data source for
                                                                                     subsistence data; used by
                                                                                     academic researchers and
                                                                                     other users. Additional
                                                                                     surveys are found in RG 75
         Agricultural, Hunting, and Fishing Statistics.                              General Correspondence,
75 BIA   Juneau Area Office. 4 boxes.                              2                 1933‐1963.




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                     Unofficial List of Records Series Having High Reference Value at NARA at Anchorage
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           Correspondence of Lawrence J. Palmer, 1920‐
           1945. Alaska Reindeer Service (Juneau Area
75 BIA     Office). 5 boxes.                                 2                2794621 High/Public
           Nunivak Development Project Files, 1955‐1970.
75 BIA     Alaska Reindeer Service. 5 boxes.                        2                 High/Public
           Administrative Correspondence Relating to the
           Sale of Reindeer and Reindeer Products, 1940.
           Alaska Native Service (Juneau Area Office). 1
75 BIA     box.                                                     1                 High/Public
           Administrative Correspondence, 1934‐1953.
           Alaska Reindeer Service (Juneau Area Office). 1
75 BIA     box.                                                     1                 High/Public
           Program Correspondence Files, 1947‐1966
           [Originally: Program Correspondence Files,
           1920‐1966]. Juneau Area Office (Seattle
75 BIA     Support Center). 4 boxes.                                2                 High/Public

           Log Books of the U.S.S. Boxer and North Star
           [originally filed with: Program Correspondence
75 BIA     Files, 1920‐1966. 3 boxes.                               1                 High/Public

           Historical Albums of Bureau of Education‐
           Bureau of Indian Affairs Schools in Alaska,
           Historical Files, 1929‐1948. Alaska Reindeer
75 BIA     Service (Juneau Area Office). 1 box.                     2                 High/Public
                                                                                      High/Public/Federal
          As‐Built Engineering Drawings, 1940‐1945, and                               Agencies/Environmental
77 USACOE 1960s (ca. 8,573 items)                                                     Researchers




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                                                                                        High/Public/Federal
                                                                                        Agencies/Environmental
                                                                                        Researchers. When
                                                                                        transferred to NARA, one set
                                                                                        of aperature cards was sent
                                                                                        with the original drawings.
                                                                                        The second set of aperture
                                                                                        cards remained with the
            Aperture Cards to As‐Built Engineering                                      originatnig/creating agency's
            Drawings, 1940‐1945, and 1960s (Nos. 1‐8,653                                local records manager at
            cards). Serves as reference set to original                                 USACOE Alaska District
77   USACOE drawings.                                                                   (JBER).
            Construction Project Photographs, 1950‐1985                                 High/Public/Federal
            (U.S. Army Corps of Engineers, Alaska District).                            Agencies/Environmental
77   USACOE 40 boxes.                                          18               5150368 Researchers.
            Installation Historical Files, 1915‐1973 (U.S.
            Army Corps of Engineers, Alaska District). 47                                High/Public/Environmental
77   USACOE boxes.                                                   15                  Researchers
            Records of the Navy Alaska Coal Commission,
80          1920‐1922.                                                2                  High/Public
            Correspondence Relating to Civilian
95   USFS   Conservation Corps Activities, 1937‐1942            1                596832 High/Public
            Correspondence Relating to Creation of
95   USFS   National Forests in Alaska, 1903‐1911               1               1145486 High/Public
95   USFS   Historical Photograph Files, 1906‐1994                    5                 High/Public
            Case Files Relating to Timber Sales, 1911‐1940s
95   USFS   (Chugach/Tongass NFs)                              16                        High/Public
            Correspondence Relating to Spruce Log
95   USFS   Program, 1942‐1944                                  1               1079832 Low (Higher if ditigized)
            Decimal Correspondence 1908‐1976 (Region 10,                                High/Public/Environmental
95   USFS   Juneau)                                                              113478 Researchers/USFS




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            Central Classified Files, 1909‐1976 [Subject
            Correspondence, Region 10 (Juneau), 1908‐                                  High/Environmental
 95 USFS    1976]                                               58             1137914 Researchers
            Decimal Correspondence, Chugach National                                   High/Public/Environmental
 95 USFS    Forest, 1919‐1989                                                          Researchers/USFS
                                                                                       High/Public/Federal
            Decimal Correspondence, Tongass National                                   Agencies/Enviromental
 95 USFS    Forest, 1960‐1984                                                          Researchers
 95 USFS    Historical Files, 1915‐1968                                        1145964 High/Pubic
            Land Case Files, Region 10 (Alaska Region), 1903‐                          High/Environmental
 95 USFS    1996                                                                       Researchers/USFS
            Ranger Diaries, 1908‐1965 (Chugach                                         High/USFS/Environmental
 95 USFS    NF/Tongass NF)                                      19              840215 Researchers
            Subject Correspondence, Chugach National                                   High/Environmental
 95 USFS    Forest, 1909‐1959                                                          Researschers
            Land Case Files, Chugach National Forest, 1909‐                            High/USFS/Environmental
 95 USFS    1990                                                                       Researchers
            Land Case Files, Tongass National Forest, 1960‐                            High/Environmental
 95 USFS    1974                                                                       Researchers
            Subject Correspondence, Tongass National                                   High/Environmental
 95 USFS    Forest, ca. 1933‐1959                                                      Reseachers

          U.S. Army Signal Corps. Alaska Communications
111 USASC System. General Correspondence, 1909‐1939.                                    High/Public
          Photographs of Federal Aviation
          Administrations Stations in Alaska, ca. 1940s‐ca.
237 FAA   1980s. 3 boxes.                                        1             1752366 High/Public
          FAA Photographs, ca. 1960s‐ca. 1980s.                                        Low (Potentially Higher if
237 FAA   Unprocessed. Ca. 30 boxes.                                                   digitized)
          Engineering Drawings, 1900‐1977 (1‐5,004, with
322 ARR   gaps) (18 map cabinet drawers)                                                High/Public
322 ARR   Unnumbered Drawings                                        3                  High/Publc
          Tanana River Bridge, 1920‐1921 (blueline
322 ARR   drawings, 24 sheets) 1 Archival Map Tube                   1                  High/Public


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322 ARR   General Files of the Alaska Railroad, 1915‐1921     2                 5730 High/Public

322 ARR   Decimal Files of the Alaska Railroad, 1914‐1923          5                 High/Puglic
322 ARR   Decimal Files, 1924‐1956                                                   High/Public
          U.S. Air Force Commands, Activities, and
          Organizations. Alaska Communications System.
          Records of the Alaska Communications System,
          1902‐1962. See also RG 111 (U.S. Army Signal
342       Corps).                                                                    High/Public
370 PIM   Pribilof Islands Program Material , 1919 ‐ 1974    10              6922192 High




                                                                                     High/Academic/NOAA
                                                                                     Researchers. Consists of 21
                                                                                     separate series of daily
                                                                                     logbooks, censuses, maps,
                                                                                     property inventories,
                                                                                     administrative
                                                                                     correspondence, time books,
                                                                                     seal harvesting records,
                                                                                     agents' annual reports, annual
                                                                                     reports of sealing operations,
                                                                                     subject and decimal
                                                                                     correspondence, St. Paul
                                                                                     Telegrams (Govt. &
                                                                                     Commercial), Miscellaneous
                                                                                     Reports, Letterpress
                                                                                     Correspondence (1888‐1910),
          Records of the Pribilof Islands Program, 1870‐                             photographs, publications,
370       1985.                                             139                      and other related materials.




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                                                                                        High/Academic Researchers.
                                                                                        Consists of 18 separate
                                                                                        records series of textual and
                                                                                        non‐textual materials relating
                                                                                        to the Tsimsian Indians of
                                                                                        Metlakatla, BC and
                                                                                        Metlakatla, Alaska. Most
                                                                                        frequently used: (1) A‐L File,
             Sir Henry S. Wellcome Collection, ca. 1856‐                                ca. 1856‐1936 (27 cf); and (2)
       DMG   1936. 298 boxes.                                       120                 Index to A‐L File, n.d. (30 cf).
                                                                                        High/Public/Academic
             Photographs of the Inhabitants of Metlakatla,                              Researchers. This series in
             British Columbia and Metlakatla, Alaska, ca.                               the Wellcome Collection has
             1856 ‐ 1936. Sir Henry S. Wellcome Collection,                             been digitized on the NARA
       DMG   ca. 1856‐1936. 943 items.                                           297169 website.
None




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            294
             Selected Records Series Descriptions Relating to Alaska Natives
                          from the National Archives Catalog
                                (https://catalog.archives.gov/advancedsearch

                        Records Held by the National Archives at Seattle
                                         (Seattle, WA)

                                               December 30, 2020


Record      Creating            Records Series       Dates        National     National           City/
Group       Agency,             Title                             Archives     Archives           Geographic
            Office or                                             Identifier   Catalog            Area
            Bureau                                                             Full Catalog
                                                                               Record
018         Army Air Forces     Aerial Photographs   9/18/1942-   4707527      https://catalog.   Attu
                                of Attu Island       -9/28/1942                archives.gov/id
                                                                               /4707527

022         U.S. Fish and       Census, Birth,       1877-1956    5730881      https://catalog.   Pribilof
            Wildlife Service.   Death, and                                     archives.gov/id    Islands
            Bureau of           Marriage Records                               /5730881
            Commercial          of the Pribilof
            Fisheries.          Islands
            Region 1
            (Pacific).
            Pribilof Islands
            Program.
022         U.S. Fish and       Pribilof Islands     1913-1921    2555605      https://catalog.   Pribilof Islands
            Wildlife Service.   Glass Plate                                    archives.gov/id
            Bureau of           Negatives                                      /2555605
            Fisheries.
            Division of
            Alaska Fisheries.
            Pribilof Islands
            Program.
022         U.S. Fish and       Pribilof Islands     1870-1961    297024       https://catalog.   Pribilof Islands
            Wildlife Service.   Logbooks                                       archives.gov/id
            Bureau of                                                          /297024
            Commercial
            Fisheries.
            Region 1
            (Pacific).
            Pribilof Islands
            Program.
Pribilof    Aleut               Pribilof Islands     1919-1974    6922192      https://catalog.   Pribilof Islands
Islands     Community of        Program Material                               archives.gov/id
Program     St. Paul. Alaska.                                                  /6922192
Material
s
Collectio
n


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                                                                                                             295
                                                                                                            2
022   U.S. Fish and        Pribilof Islands    ca. 1890-   297055    https://catalog.    Pribilof Islands
      Wildlife Service.    Photographs         ca. 1970              archives.gov/id
      Pribilof Islands                                               /297055
      Program.
022   U.S. Fish and        Subject and         1923-1945   2842763   https://catalog.    Pribilof Islands
      Wildlife Service.    Decimal Files                             archives.gov/id
      Division of                                                    /2842763
      Alaska Fisheries.
      Pribilof Islands
      Program.
048   Dept. of the         Alaska Native       1972-1990   605152    https://catalog.
      Interior. Office     Claims Appeals                            archives.gov/id
      of the Regional      Board Case Files                          /605152
      Solicitor, Alaska.
048   Dept. of the         Alaska Native       1977-1987   6741088   https://catalog.
      Interior. Office     Claims Settlement                         archives.gov/id
      of the Regional      Act Case Files                            /6741088
      Solicitor, Alaska.
048   Dept. of the         Indian Land         1971-1991   610816    https://catalog.
      Interior. Office     Administration                            archives.gov/id
      of the Regional      Case Files                                /610816
      Solicitor, Alaska.
048   Dept. of the         Litigation Case     1999-2000   6882671   https://catalog.    Bethel Oil Spill
      Interior. Office     Files                                     archives.gov/id
      of the Regional                                                /6882671
      Solicitor, Alaska.
049   Bureau of Land       Alaska Townsite     1906-1975   5404594   https://catalog.
      Management.          Deed Books                                archives.gov/id
      Alaska State                                                   /5404594
      Office.
      Anchorage.
      Office of the
      Townsite
      Trustee.
049   Bureau of Land       Non-Patented        1964-1976   4757223   https://catalog.
      Management.          Native Allotment                          archives.gov/id
      Alaska State         Case Files                                /4757223
      Office.
      Anchorage.
049   Bureau of Land       Patented Native     1920-1969   4521799   https://catalog.
      Management.          Allotment Case                            archives.gov/id
      Alaska State         Files                                     /4521799
      Office.
      Anchorage.
049   Bureau of Land       Rejected Native     1923-1967   527123    https://catalog.a
      Management.          Allotment Case                            rchives.gov/id/4
      Alaska State         Files                                     527123
      Office.
      Anchorage.
049   Bureau of Land       Townsite Tract      1906-1962   509900    https://catalog.a
      Management.          Books                                     rchives.gov/id/5
      Alaska State                                                   509900
      Office.
      Anchorage.
      Office of the


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                                                                                                    296
                                                                                                            3
      Townsite
      Trustee.
049   Bureau of Land     Townsite Trustee      ca. 1905-    6457726   https://catalog.a
      Management.        Files                 1995                   rchives.gov/id/2
      Alaska State                                                    6457726
      Office.
      Anchorage.
      Office of the
      Townsite
      Trustee.
049   Bureau of Land     Case Files Relating   1928-1976    4489053   https://catalog.
      Management.        to Grazing                                   archives.gov/id
      Fairbanks                                                       /4489053
      District Office.
049   Bureau of Land     Contest Case Files    ca. 1965 -   4478008   https://catalog.
      Management.        Relating to Native    1972                   archives.gov/id
      Fairbanks          Alaskan Rights                               /4478008
      District Office.
049   General Land       Nenana Town Lot       1916-1928    4546077   https://catalog.    Native Village of
      Office.            Sale Forfeiture                              archives.gov/id     Nenana
      Fairbanks Land     Case Files                                   /4546077
      Office.
056   Dept. of           Government            1885- ca.    2629271   https://catalog.
      Commerce and       Agents’ Records       1906                   archives.gov/id
      Labor. Bureau of   Pertaining to the                            /2629271
      Fisheries.         Pribilof Islands
057   U.S. Geological    Project Chariot       1958-1963    642639    https://catalog.
      Survey.            Files                                        archives.gov/id
      Geologic                                                        /642639
      Division. Branch
      of Alaskan
      Geology.
075   Dept. of the       Files of Sheldon      1886-1889    2990361   https://catalog.    The correspondence
      Interior. Bureau   Jackson Relating to                          archives.gov/id     and reports concern
      of Education.      Schools in Alaska                            /2990361            supplies, buildings,
                                                                                          and students of
                                                                                          schools at Afognak,
                                                                                          Anvik, Haines,
                                                                                          Klawack, Killisnoo,
                                                                                          and Tuxican.

075   Dept. of the       Album of United       1924-1931    1183051   https://catalog.
      Interior. Office   States Public                                archives.gov/id
      of Education.      Schools in Alaska                            /1183051
075   Bureau of Indian   Correspondence of     1953-1956    2887105   https://catalog.
      Affairs. Alaska    the Alaska Native                            archives.gov/id
      Native Service.    Industries                                   /2887105
                         Cooperative
075   Bureau of Indian   Administrative        1947-1961    2933641   https://catalog.    Bethel
      Affairs. Bethel    Correspondence                               archives.gov/id
      Area Office.                                                    /2933641
075   Bureau of Indian   Administrative        1955-1973    649532    https://catalog.
      Affairs. Bethel    Correspondence                               archives.gov/id
      Area Office.                                                    /649532



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075   Bureau of Indian   Mission              1955-1972   2669488   https://catalog.
      Affairs. Bethel    Correspondence                             archives.gov/id
      Area Office.                                                  /2669488

075   Bureau of Indian   Mission              1931-1953   2648213   https://catalog.   Mekoryuk
      Affairs. Alaska    Correspondence                             archives.gov/id
      Native Service.    Relating to                                /2648213
      Bethel Area        Mekoryuk, Alaska
      Office.
075   Bureau of Indian   Village Census       1966-1968   2655229   https://catalog.
      Affairs. Bethel    Rolls                                      archives.gov/id
      Area Office.                                                  /2655229
075   Bureau of Indian   Village Census       1946-1971   2945552   https://catalog.
      Affairs. Alaska    Rolls                                      archives.gov/id
      Native Service.                                               /2945552
      Fairbanks
      Agency.
075   Office of Indian   Native Store         1942-1945   2989241   https://catalog.   Villages represented
      Affairs. Alaska    Supply Accounts                            archives.gov/id    in this series are:
      Indian Service.                                               /2989241           Noatak, Noorvik,
                                                                                       Nunapitchuk,
                                                                                       Perryville, Pilot
                                                                                       Point, Pilot Station,
                                                                                       Point Hope, Point
                                                                                       Lay, Savoonga,
                                                                                       Shaktoolik,
                                                                                       Shishmaref,
                                                                                       Stebbins, Tanana
                                                                                       Crossing
                                                                                       (Tanacross),
                                                                                       Tananak, Tanunuk,
                                                                                       Tetlin, Venetie,
                                                                                       Wales, Wainwright,
                                                                                       White Mountain,
                                                                                       and Yakatat.

075   Bureau of Indian   Financial Files      1941-1955   2749585   https://catalog.
      Affairs. Alaska    Relating to Native                         archives.gov/id
      Native Service.    Stores                                     /2749585
075   Bureau of Indian   Individual Indian    1941-1955   2945650   https://catalog.
      Affairs. Alaska    Account Paid                               archives.gov/id
      Native Service.    Invoice Files                              /2945650
075   Bureau of Indian   Individual Indian    1949-1951   2988325   https://catalog.
      Affairs. Alaska    Accounts Ledger                            archives.gov/id
      Native Service.    Control Files                              /2988325

075   Bureau of Indian   Administrative       1957-1971   628668    https://catalog.
      Affairs. Juneau    Files Relating to                          archives.gov/id
      Area Office.       Employment                                 /628668
                         Assistance
075   Bureau of Indian   Agricultural,        1935-1972   632046    https://catalog.
      Affairs. Juneau    Hunting, and                               archives.gov/id
      Area Office.       Fishing Statistics                         /632046
075   Bureau of Indian   Annual and           1938-1964   1801238   https://catalog.
      Affairs. Juneau    Quarterly School                           archives.gov/id
      Area Office.       Reports                                    /1801238

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075   Bureau of Indian   Cash Receipt         1952-1961   3027219   https://catalog.
      Affairs. Juneau    Registers                                  archives.gov/id
      Area Office.                                                  /3027219
075   Bureau of Indian   Credit Operations    1964-1972   2945992   https://catalog.
      Affairs. Juneau    Files                                      archives.gov/id
      Area Office.                                                  /2945992
075   Bureau of Indian   Decimal Files        1933-1963   626283    https://catalog.
      Affairs. Juneau                                               archives.gov/id
      Area Office.                                                  /626283
075   Bureau of Indian   Decimal Files        1940-1969   2817396   https://catalog.
      Affairs. Juneau    Relating to Social                         archives.gov/id
      Area Office.       Services                                   /2817396
075   Bureau of Indian   Education Decimal    1934-1972   2284292   https://catalog.
      Affairs. Juneau    Files                                      archives.gov/id
      Area Office.                                                  /2284292

075   Bureau of Indian   Employment           1957-1975   623530    https://catalog.
      Affairs. Juneau    Assistance Case                            archives.gov/id
      Area Office.       Files                                      /623530
075   Bureau of Indian   Estate Heirship      1948-1964   2800795   https://catalog.
      Affairs. Juneau    Case Files                                 archives.gov/id
      Area Office.                                                  /2800795
075   Bureau of Indian   Facilities Manage-   1957-1975   2839289   https://catalog.
      Affairs. Juneau    ment Office                                archives.gov/id
      Area Office.       Correspondence                             /2839289
075   Bureau of Indian   Field Agent          1935-1967   2812545   https://catalog.
      Affairs. Juneau    Reports on Schools                         archives.gov/id
      Area Office.                                                  /2812545
075   Bureau of Indian   Housing              1953-1975   2839241   https://catalog.
      Affairs. Juneau    Improvement                                archives.gov/id
      Area Office.       Program Files                              /2839241
075   Bureau of Indian   Individual Indian    1949-1976   2825173   https://catalog.
      Affairs. Juneau    Money Accounts                             archives.gov/id
      Area Office.       Case Files                                 /2825173
075   Bureau of Indian   Individual Indian    1943-1964   2953623   https://catalog.
      Affairs. Juneau    Money Account                              archives.gov/id
      Area Office.       Ledger Sheets                              /2953623
075   Bureau of Indian   Individual Indian    1942-1974   2825178   https://catalog.
      Affairs. Juneau    Money Accounts                             archives.gov/id
      Area Office.       Ledgers and                                /2825178
                         Collection
                         Vouchers
075   Bureau of Indian   Individual Indian    1939-1952   2945725   https://catalog.
      Affairs. Juneau    Money Mixed Files                          archives.gov/id
      Area Office.                                                  /2945725
075   Bureau of Indian   Individual Indian    1984-1990   4700164   https://catalog.
      Affairs. Juneau    Probate Case Files                         archives.gov/id
      Area Office.                                                  /4700164
075   Bureau of Indian   Interior Board of    1985-1985   4699276   https://catalog.
      Affairs. Juneau    Appeal Case File                           archives.gov/id
      Area Office.                                                  /4699276
075   Bureau of Indian   Land Transaction     1894-1999   626999    https://catalog.
      Affairs. Juneau    Files Relating to                          archives.gov/id
      Area Office.       Schools in the                             /626999



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                         Territory and State
                         of Alaska
075   Bureau of Indian   Mission                1935-1968   2734706    https://catalog.
      Affairs. Juneau    Correspondence                                archives.gov/id
      Area Office.                                                     /2734706

075   Bureau of Indian   Mixed Accounting       1928-1961   641272     https://catalog.
      Affairs. Juneau    Records                                       archives.gov/id
      Area Office.                                                     /641272
075   Bureau of Indian   Photographs of         1938-1977   5722986    https://catalog.
      Affairs. Juneau    Schools, Hospitals,                           archives.gov/id
      Area Office.       and Clinics                                   /5722986
075   Bureau of Indian   Program                1947-1966   2846972    https://catalog.
      Affairs. Juneau    Correspondence                                archives.gov/id
      Area Office.       Files                                         /2846972
075   Bureau of Indian   Real Property          1955-1968   2805987    https://catalog.
      Affairs. Juneau    Reports                                       archives.gov/id
      Area Office.                                                     /2805987
075   Bureau of Indian   Records Relating to    1938-1960   5888720    https://catalog.
      Affairs. Juneau    the Design and                                archives.gov/id
      Area Office.       Construction of                               /5888720
                         Schools, Hospitals
                         and Other
                         Structures
075   Bureau of Indian   [School]               1960-1970   1870939    https://catalog.
      Affairs. Juneau    Newspapers                                    archives.gov/id
      Area Office.                                                     /1870939
075   Bureau of Indian   Store Reports          1963-1964   27567277   https://catalog.
      Affairs. Juneau                                                  archives.gov/id
      Area Office.                                                     /2756727
075   Bureau of Indian   Student Grant,         1951-1961   2800794    https://catalog.
      Affairs. Juneau    Loan, and                                     archives.gov/id
      Area Office.       Scholarship Case                              /2800794
                         Files
075   Bureau of Indian   Tribal Enrollment      1960-1970   627502     https://catalog.
      Affairs. Juneau    Case Files [Tlingit-                          archives.gov/id
      Area Office.       Haida Indians]                                /627502
075   Bureau of Indian   Trust                  1940-1984   4667559    https://catalog.   Hoonah
      Affairs. Juneau    Administration                                archives.gov/id
      Area Office.       Case Files Relating                           /4667559
                         to the Hoonah War
                         Authority
075   Bureau of Indian   Village Census         1935-1972   628296     https://catalog.
      Affairs. Juneau    Rolls                                         archives.gov/id
      Area Office.                                                     /628296
075   Bureau of Indian   Alaska Village         1966-1968   2655229    https://catalog.
      Affairs. Juneau    Census Rolls                                  archives.gov/id
      Area Office.                                                     /2655229
075   Bureau of Indian   Welfare Case Files     1931-1963   627695     https://catalog.
      Affairs. Juneau                                                  archives.gov/id
      Area Office.                                                     /627695
075   Bureau of Indian   Individual Student     1951-1962   2805131    https://catalog.   Goodnews Bay
      Affairs. Juneau    Files [Goodnews                               archives.gov/id
      Area Office.       Bay Day School]                               /2803201



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075   Bureau of Indian   Administrative       1968-1975   632548     https://catalog.
      Affairs. Juneau    Correspondence                              archives.gov/id
      Area Office.       Files                                       /632548
      Mount
      Edgecumbe
      Boarding School.
075   Bureau of Indian   Closure Files        1957-1983   77820285   https://catalog.   Sitka
      Affairs. Juneau                                                archives.gov/id
      Area Office.                                                   /77820285
      Mount
      Edgecumbe
      Boarding School.
075   Bureau of Indian   School Census        1941-1983   626965     https://catalog.   Sitka
      Affairs. Juneau    Cards                                       archives.gov/id
      Area Office.                                                   /626965
      Mount
      Edgecumbe
      Boarding School.
075   Bureau of Indian   Student Case Files   1941-1983   623682     https://catalog.
      Affairs. Juneau                                                archives.gov/id
      Area Office.                                                   /623682
      Mount
      Edgecumbe
      Boarding School.
075   Bureau of Indian   Mount Edgecumbe      1947-1983   626793     https://catalog.   Sitka
      Affairs. Juneau    Yearbooks                                   archives.gov/id
      Area Office.                                                   /626793
      Mount
      Edgecumbe
      Boarding School.
075   Bureau of Indian   Student Case Files   1933-1975   627581     https://catalog.   Wrangell
      Affairs. Juneau                                                archives.gov/id
      Area Office.                                                   /627581
      Wrangell
      Institute.
075   Bureau of Indian   Alaska Resupply      1946-1984   611322     https://catalog.
      Affairs. Juneau    Program.                                    archives.gov/id
      Area Office.       Administrative                              /611322
      Seattle Support    Files
      Center. Alaska
      Resupply
      Program. North
      Star III (ship).
075   Bureau of Indian   Alaska Resupply      1946-1984   611016     https://catalog.
      Affairs. Juneau    Program.                                    archives.gov/id
      Area Office.       Drawings                                    /611016
      Seattle Support
      Center. Alaska
075   Bureau of Indian   Alaska Resupply      1925-1960   630954     https://catalog.
      Affairs. Juneau    Program.                                    archives.gov/id
      Area Office.       Logbooks [North                             /630954
      Seattle Support    Star & Boxer]
      Center.
075   Bureau of Indian   Alaska Resupply      1946-1984   610971     https://catalog.
      Affairs. Juneau    Program.                                    archives.gov/id
      Area Office.       Logbooks                                    /610971

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      Seattle Support
      Center. Alaska
      Resupply
      Program. North
      Star III (ship).
075   Bureau of Indian     Alaska Resupply        1946-1984   611353    https://catalog.
      Affairs. Juneau      Program. Manifest                            archives.gov/id
      Area Office.         and Permit Files                             /611353
      Seattle Support
      Center. Alaska
      Resupply
      Program. North
      Star III (ship)
075   Bureau of Indian     Alaska Resupply        1946-1984   610159    https://catalog.
      Affairs. Juneau      Center. Master’s                             archives.gov/id
      Area Office.         Files                                        /610159
      Seattle Support
      Center. Alaska
      Resupply
      Program.
075   Bureau of Indian     Alaska Resupply        1946-1984   610820    https://catalog.
      Affairs. Juneau      Center. Trip                                 archives.gov/id
      Area Office.         Reports                                      /610820
      Seattle Support
      Center. Alaska
      Resupply
      Program. North
      Star III (ship)
075   Bureau of Indian     Administrative         1934-1953   2791270   https://catalog.
      Affairs. Alaska      Correspondence                               archives.gov/id
      Native Service.                                                   /2791270
      Branch of Land
      Operations. Area
      Land Operations.
      Alaska Reindeer
      Service.
075   Office of Indian     Administrative         1940-1940   279446    https://catalog.
      Affairs. Alaska      Correspondence                               archives.gov/id
      Indian Service.      Relating to the Sale                         /2794746
      Division of          of Reindeer and
      Forestry and         Reindeer Products
      Grazing. Alaska
      Reindeer Service.
075   Dept. of the         Annual Reports of      1908-1932   2790811   https://catalog.
      Interior. Office     Reindeer Herds                               archives.gov/id
      of the Territorial                                                /2790811
      Governor. U.S.
      Reindeer Service.
      Alaska Reindeer
      Service.
075   Office of Indian     Circulars Relating     1933-1943   2789186   https://catalog.
      Affairs. Alaska      to Reindeer                                  archives.gov/id
      Indian Service.      Herding in Alaska                            /2789186
      Division of
      Forestry and



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      Grazing. Alaska
      Reindeer Service.
075   Office of Indian    Correspondence of     1920-1945   2794621    https://catalog.
      Affairs. Alaska     Lawrence J. Palmer                           archives.gov/id
      Indian Service.                                                  /2794621
      Division of
      Forestry and
      Grazing. Alaska
      Reindeer Service.
075   Bureau of Indian    Correspondence        1937-1943   2794524    https://catalog.
      Affairs. Juneau     Relating to                                  archives.gov/id
      Area Office.        Declarations of                              /2794524
      Alaska Reindeer     Ownership of
      Service.            Reindeer in Alaska
075   Office of Indian    Correspondence        1923-1940   2789526    https://catalog.
      Affairs. Alaska     Relating to                                  archives.gov/id
      Indian Service.     Reindeer Brands                              /2789526
      Division of         and Earmarks
      Forestry and
      Grazing. Alaska
      Reindeer Service.
075   Bureau of Indian    Correspondence        1911-1960   631598     https://catalog.
      Affairs. Alaska     Relating to                                  archives.gov/id
      Native Service.     Reindeer Herds in                            /631598
      Branch of Land      Alaska
      Operations. Area
      Land Operations.
      Alaska Reindeer
      Service.
075   Office of Indian    Correspondence        1937-1943   2789137    https://catalog.
      Affairs. Alaska     Relating to                                  archives.gov/id
      Native Service.     Reindeer Meat                                /2789137
      Alaska Reindeer
      Service.
075   Bureau of Indian    Correspondence        1934-1953   2789161    https://catalog.
      Affairs. Juneau     Relating to Sales                            archives.gov/id
      Area Office.                                                     /2789161
      Alaska Reindeer
      Service.
075   Bureau of Indian    Decimal               1901-1974   628886     https://catalog.
      Affairs. Alaska     Correspondence                               archives.gov/id
      Native Service.                                                  /628886
      Branch of Land
      Operations. Area
      Land Operations.
      Alaska Reindeer
      Service.
075   Bureau of           Financial Ledgers     1915-1925   2825034    https://catalog.
      Education.                                                       archives.gov/id
      U.S. Reindeer                                                    /2825034
      Service.
075   Bureau of           Historical Files of   1893-1922   74859535   https://catalog.
      Education. U.S.     the General                                  archives.gov/id
      Reindeer Service.   Superintendent of                            /74859535
                          the Alaska
                          Reindeer Service

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075   Bureau of Indian    Historical Files       1929-1948   2790532   https://catalog.   Barrow
      Affairs. Juneau                                                  archives.gov/id    Holy Cross
      Area Office.                                                     /2790532
      Alaska Reindeer
      Service.
075   Bureau of Indian    Monthly Herd           1937-1968   631118    https://catalog.
      Affairs. Alaska     Reports                                      archives.gov/id
      Native Service.                                                  /631118
      Branch of Land
      Operations. Area
      Land Operations.
      Alaska Reindeer
      Service.
075   Office of Indian    Nunivak                1955-1970   2794759   https://catalog.
      Affairs. Alaska     Development                                  archives.gov/id
      Indian Service.     Project Files                                /2794759
      Division of
      Forestry and
      Grazing. Alaska
      Reindeer Service.
075   Office of Indian    Reindeer Program       1914-1945   2790793   https://catalog.
      Affairs. Alaska     Correspondence                               archives.gov/id
      Indian Service.                                                  /2790793
      Division of
      Forestry and
      Grazing. Alaska
      Reindeer Service.
090   Dept. of Health,    Administrative         1944-1958   656873    https://catalog.
      Education, and      Files                                        archives.gov/id
      Welfare. Public                                                  /656873
      Health Service.
      Indian Health
      Service. Juneau
      Native Hospital.
090   Dept. of Health,    Director’s Files       1949-1983   634110    https://catalog.
      Education, and                                                   archives.gov/id
      Welfare. Public                                                  /634110
      Health Service.
      Indian Health
      Service. Arctic
      Health Research
      Center.
090   Dept. of Health,    History Files          1949-1971   657234    https://catalog.
      Education, and                                                   archives.gov/id
      Welfare. Public                                                  /657234
      Health Service.
095   U.S. Forest         Correspondence         1937-1942   596832    https://catalog.   Southeast
      Service. Region     Relating to Civilian                         archives.gov/id    Alaska
      10.                 Conservation                                 /596832
                          Corps (CCC)
                          Activities
298   Dept. of Defense.   Genealogical           1947-1981   4872674   https://catalog.   Point Barrow
      Dept. of the        Census of Eskimos                            archives.gov/se
      Navy. Office of     at Point Barrow,                             arch?q=Barrow
      Naval Research.     Alaska                                       %20families&f
      Naval Arctic                                                     .oldScope=(des

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      Research                                                           criptions%20or
      Laboratory.                                                        %20online)&f.
                                                                         level=series&f.
                                                                         locationIds=26
                                                                         &SearchType=
                                                                         advanced
370   National Oceanic     Administrative        1913-1985   2839291     https://catalog.
      and Atmospheric      Records Relating to                           archives.gov/id
      Administration       the Fishing and Fur                           /2839291
                           Industries in the
                           Pribilof Islands
370   Dept. of the         Annual Reports        1925-1959   2775205     https://catalog.
      Interior. U.S.                                                     archives.gov/id
      Fish and Wildlife                                                  /2775205
      Service. Branch
      of Alaska
      Fisheries.
370   National Oceanic     Subject and           1966-1992   100463691   https://catalog.
      and Atmospheric      Decimal Files                                 archives.gov/id
      Administration.                                                    /100463691
      National Marine
      Fisheries Service.
      Alaska Region.
435   Indian Arts and      Alaska Field Office   1935-1983   605073      https://catalog.
      Crafts Board         Correspondence                                archives.gov/id
                                                                         /605073
513   Indian Health        Alaska Area Native    1959-1986   3651543     https://catalog.
      Service. Alaska      Health Service                                archives.gov/id
      Area Native          Manual and                                    /3651543
      Health Service.      Transmittal Notices

513   Indian Health        Circulars             1962-1988   4717771     https://catalog.
      Service. Alaska                                                    archives.gov/id
      Area Native                                                        /4717771
      Health Service.

513   Indian Health        Decimal Files         1947-1979   656542      https://catalog.
      Service. Alaska                                                    archives.gov/id
      Area Native                                                        /656542
      Health Service.
513   Dept. of Health      Engineering           1964-1989   4718549     https://catalog.
      and Human            Reports                                       archives.gov/id
      Services. Indian                                                   /4718549
      Health Service.
      Alaska Area
      Native Health
      Service.
513   Dept. of Health      Supporting            1980-1993   28592235    https://catalog.
      and Human            Documents for                                 archives.gov/id
      Services. Indian     Final Reports on                              /28592235
      Health Service.      Alaska Native
      Alaska Area          Villages
      Native Health
      Service.



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                     Selected Records Series Descriptions Relating to
                     Conservation in the National Archives Catalog
                             (https://catalog.archives.gov/advancedsearch

                     Records Held by the National Archives at Seattle
                                      (Seattle, WA)

                                              January 1, 2021


Record   Creating            Records Series        Dates        National     National           City/
Group    Agency,             Title                              Archives     Archives           Geographic
         Office or                                              Identifier   Catalog            Area
         Bureau                                                              Full Catalog
                                                                             Record
022      U.S. Fish and       Blueprints,           1913-1952    75857360     https://catalog.   Sea Islands National
         Wildlife Service.   Drawings, and                                   archives.gov/id    Historic Landmark
         Bureau of           Maps                                            /75857360          District
         Commercial
         Fisheries.
         Region 1
         (Pacific)
022      U.S. Fish and       Correspondence        1957-1962    1656099      https://catalog.   Arctic National
         Wildlife Service.   Relating to the                                 archives.gov/id    Wildlife Refuge
         Region 7.           Arctic National                                 /1656099
                             Wildlife Refuge
022      U.S. Fish and       Exxon Valdez Oil      1989-1991    596645       https://catalog.
         Wildlife Service.   Spill                                           archives.gov/id
         Alaska Regional     Correspondence                                  /596645
         Office.
         Anchorage.
022      U.S. Fish and       Maps Related to       ca. 1970-    2194652      https://catalog.
         Wildlife Service.   the Alaska National   ca. 1980                  archives.gov/id
         Alaska Regional     Interest Lands                                  /2194652
         Office.             Conservation Act
         Anchorage.
022      U.S. Fish and       Natural Resource      1989-1992    76605971     https://catalog.
         Wildlife Service.   Damage                                          archives.gov/id
         Alaska Regional     Assessment Studies                              /76605971
         Office.
         Anchorage.
022      U.S. Fish and       Briefing Statement    1984-1998    4685560      https://catalog.
         Wildlife Service.   Files                                           archives.gov/id
         Alaska Region.                                                      /4685560
         Fisheries and
         Ecological
         Services.
         Anchorage Field
         Office.
022      U.S. Fish and       Conservation Plans    1993-1998    4693288      https://catalog.
         Wildlife Service.                                                   archives.gov/id
         Alaska Region.                                                      /4693288


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      Fisheries and
      Ecological
      Services.
      Anchorage Field
      Office.
022   U.S. Fish and       Correspondence        1992-1998   4697017   https://catalog.   Amchitka Island
      Wildlife Service.   and Contracts                               archives.gov/id
      Alaska Region.      Relating to                                 /4697017
      Fisheries and       Hazardous Waste
      Ecological          Cleanup on
      Services.           Amchitka Island,
      Anchorage Field     Alaska
      Office.
022   U.S. Fish and       Endangered            1975-2000   5681090   https://catalog.
      Wildlife Service.   Species Delisting                           archives.gov/id
      Alaska Region.      Files                                       /5681090
      Fisheries and
      Ecological
      Services.
      Anchorage Field
      Office.
022   U.S. Fish and       Endangered            1994-1997   5681094   https://catalog.
      Wildlife Service.   Species Listing                             archives.gov/id
      Alaska Region.      Petition Files                              /5681094
      Fisheries and
      Ecological
      Services.
      Anchorage Field
      Office.
022   U.S. Fish and       Endangered            1982-2008   5681099   https://catalog.
      Wildlife Service.   Species Recovery                            archives.gov/id
      Alaska Region.      Plans                                       /5681099
      Fisheries and
      Ecological
      Services.
      Anchorage Field
      Office.
022   U.S. Fish and       Environmental         1980-1998   4684504   https://catalog.
      Wildlife Service.   Cleanup Files                               archives.gov/id
      Alaska Region.      Relating to Eagle                           /4684504
      Fisheries and       River Flats, Alaska
      Ecological
      Services.
      Anchorage Field
      Office.
022   U.S. Fish and       Files Relating to     1993-2004   4449172   https://catalog.
      Wildlife Service.   Persistent Organic                          archives.gov/id
      Alaska Region.      Pollutants in the                           /4449172
      Anchorage Field     Arctic
      Office.
022   U.S. Fish and       Records of            1983-1995   4685694   https://catalog.
      Wildlife Service.   Working Groups                              archives.gov/id
      Alaska Region.      and Task Forces                             /4685694
      Anchorage Field
      Office.



                                                                            Parham Exhibit D, Page 2 of 5
                                                                                                     308
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022   U.S. Fish and       Research Reports       1988-2007   46897111   https://catalog.
      Wildlife Service.                                                 archives.gov/id
      Alaska Region.                                                    /4689711
      Anchorage Field
      Office.
022   U.S. Fish and       General                1987-1995   4841787    https://catalog.
      Wildlife Service.   Correspondence                                archives.gov/id
      Alaska Regional                                                   /4841787
      Office. Kenai
      National Wildlife
      Refuge.
077   U.S. Army Corps     Conservation of        1935-1978   4862392    https://catalog.
      of Engineers.       Natural Resources                             archives.gov/id
      Alaska District.    Files                                         /4862392
079   National Park       Correspondence         1974-1981   3887744    https://catalog.
      Service. Alaska     Related to Trails                             archives.gov/id
      Regional Office.                                                  /3887744
      Anchorage.
079   National Park       Cultural Resource      1964-1983   6789310    https://catalog.
      Service. Alaska     Studies                                       archives.gov/id
      Regional Office.                                                  /6789310
      Anchorage.
079   National Park       SEAL-611, Subject      1952-1984   2268065    https://catalog.
      Service. Alaska     Files [Alaska Task                            archives.gov/id
      Regional Office.    Force General                                 /2268065
      Anchorage.          Files]
095   Dept. of            Correspondence         ca. 1937-   596832     https://catalog.
      Agriculture.        Relating to Civilian   ca. 1942               archives.gov/id
      Forest Service.     Conservation                                  /596832
      Region 10           Corps (CCC)
      (Alaska Region).    Activities
095   Dept. of            Correspondence         1939-1940   1112204    https://catalog.
      Agriculture.        Relating to Works                             archives.gov/id
      Forest Service.     Progress                                      /1112204
      Region 10           Administration
      (Alaska Region).
095   Dept. of            Historical             1906-1994   2184520    https://catalog.
      Agriculture.        Photograph Files                              archives.gov/id
      Forest Service.                                                   /2184520
      Region 10
      (Alaska Region).
187   Natural             Files Related to       1941-1943   783921     https://catalog.
      Resources           Resource Planning                             archives.gov/id
      Planning Board.                                                   /783921
      Region 10
      (Alaska).
370   Dept. of the        Administrative         1913-1985   2839291    https://catalog.   Includes “a list of
      Interior. U.S.      Records Relating to                           archives.gov/id    people [Aleuts]
      Fish and Wildlife   the Fishing and Fur                           /2839291           interned at the
      Service. Bureau     Industries in the                                                Funter Bay Evacuee
      of Commercial       Pribilof Islands                                                 Camp [during World
      Fisheries.                                                                           War II].”
370   National Oceanic    Administrative         1960-1990   75857341   https://catalog.
      and Atmospheric     Files [Pribilof                               archives.gov/id
      Administration.     Islands Fur Seal                              /75857341
                          Program]

                                                                              Parham Exhibit D, Page 3 of 5
                                                                                                          309
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      National Marine
      Fisheries Service.
370   National Oceanic     Northern Fur Seal    1911-1999   118571982   https://catalog.
      and Atmospheric      Management and                               archives.gov/id
      Administration.      Operational Files                            /118571982
      National Marine
      Fisheries Service.
370   National Oceanic     Publications         1956-1986   118571395   https://catalog.
      and Atmospheric      Relating to the                              archives.gov/id
      Administration.      Pribilof Islands                             /118571395
      National Marine      [Pribilof Islands
      Fisheries Service.   Fur Sealing
                           Program]
370   National Oceanic     Reports [Pribilof    1914-1992   75857322    https://catalog.
      and Atmospheric      Islands Fur Seal                             archives.gov/id
      Administration.      Program]                                     /75857322
      National Marine
      Fisheries Service.
      Alaska Region.
370   Dept. of the         Annual Reports       1925-1959   2775205     https://catalog.
      Interior. U.S.                                                    archives.gov/id
      Fish and Wildlife                                                 /2775205
      Service. Bureau
      of Commercial
      Fisheries.
370   National Oceanic     Consultation Files   1978-1983   4728364     https://catalog.
      and Atmospheric                                                   archives.gov/id
      Administration.                                                   /4728364
      National Marine
      Fisheries Service.
      Alaska Region.
370   National Oceanic     Fisheries            1961-1992   4509773     https://catalog.
      and Atmospheric      Management Plan                              archives.gov/id
      Administration.      Files                                        /4509773
      National Marine
      Fisheries Service.
      Alaska Region.
370   National Oceanic     Subject and          1966-1992   100463691   https://catalog.
      and Atmospheric      Decimal Files                                archives.gov/id
      Administration.                                                   /100463691
      National Marine
      Fisheries Service.
      Alaska Region.
370   National Oceanic     Tagging Data Files   1967-1972   4730993     https://catalog.
      and Atmospheric                                                   archives.gov/id
      Administration.                                                   /4730993
      National Marine
      Fisheries Service.
      Alaska Region.
370   National Oceanic     Data Survey Files    1920-1980   2194742     https://catalog.
      and Atmospheric                                                   archives.gov/id
      Administration.                                                   /2194742
      National Marine
      Fisheries Service.
      Alaska Region.



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      Auke Bay
      Laboratory.
370   National Oceanic     Project Case Files   1907-1994   2194504    https://catalog.
      and Atmospheric      and Research Data                           archives.gov/id
      Administration.                                                  /2194504
      National Marine
      Fisheries Service.
      Alaska Region.
      Auke Bay
      Laboratory.
589   Dept. of the         Final                ca. 1978-   37596049   https://catalog.
      Interior. Bureau     Environmental        2012                   archives.gov/id
      of Ocean Energy      Studies Reports                             /37596049
      Management.




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            312
  Selected Records Series Descriptions Relating to Recreational and Agricultural
                 Activities from the National Archives Catalog
                             (https://catalog.archives.gov/advancedsearch

                     Records Held by the National Archives at Seattle
                                      (Seattle, WA)

                                                  January 1, 2021


Record   Creating            Records Series           Dates         National     National           City/
Group    Agency,             Title                                  Archives     Archives           Geographic
         Office or                                                  Identifier   Catalog            Area
         Bureau                                                                  Full Catalog
                                                                                 Record
004      U.S. Food           Correspondence           1917-1919     1126387      https://catalog.
         Administration.     Files                                               archives.gov/id
         Alaska State                                                            /1126387
         Food
         Administration.
022      U.S. Fish and       Historical Files for     1948-1950     4449168      https://catalog.
         Wildlife Service.   the Lake Hood                                       archives.gov/id
         Branch of Alaska    Land and Seaport                                    /4449168
         Fisheries.          Base Project
030      Dept. of            Project                  1916-1959     606338       https://catalog.
         Commerce.           Correspondence                                      archives.gov/id
         Bureau of Public                                                        /606338
         Roads. Alaska
         Road
         Commission.
049      Bureau of Land      Water Resources          1972-1980     4862392      https://catalog.   Southcentral Alaska
         Management.         Study Files                                         archives.gov/id
         Alaska State                                                            /4862392
         Office.
         Anchorage.
075      Bureau of Indian    Agricultural,            1935-1972     632046       https://catalog.
         Affairs. Juneau     Hunting, and                                        archives.gov/id
         Area Office.        Fishing Statistics                                  /632046
077      U.S. Army Corps     Permit Files             1914-ca.      654570       https://catalog.
         of Engineers.                                1960                       archives.gov/id
         Alaska District.                                                        /654570
079      Dept. of the        Land Planning            1971-1979     3983788      https://catalog.
         Interior.           Group Files                                         archives.gov/id
         Heritage                                                                /3983788
         Conservation and
         Recreation
         Service.
079      Dept. of the        Mission                  1974-1980     3965506      https://catalog.
         Interior.           Correspondence                                      archives.gov/id
         Heritage                                                                /3965506
         Conservation and



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                                                                                                                 313
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      Recreation
      Service.
095   Dept. of            Administrative        1942-1944   079832    https://catalog.a
      Agriculture. U.S.   Files Relating to                           rchives.gov/id/1
      Forest Service.     the Alaska Spruce                           079832
      Region 10           Log Program
      (Alaska Region).
095   Dept. of            Case Files Relating   1911-1970   112073    https://catalog.a
      Agriculture. U.S.   to Timber Sales                             rchives.gov/id/1
      Forest Service.                                                 112073
      Region 10
      (Alaska Region).
095   Dept. of            Correspondence        1903-1911   145486    https://catalog.a
      Agriculture. U.S.   Relating to the                             rchives.gov/id/1
      Forest Service.     Creation of                                 145486
      Office of the       National Forests in
      Forester.           Alaska
095   Dept. of            Decimal Files         1944-1974   1137478   https://catalog.
      Agriculture. U.S.                                               archives.gov/id
      Forest Service.                                                 /1137478
      Region 10
      (Alaska Region).
095   Dept. of            Decimal Files         1959-1962   1112183   https://catalog.
      Agriculture.        Relating to Timber                          archives.gov/id
      Forest Service.     Management                                  /1112183
      Region 10
      (Alaska Region).
095   Dept. of            Historical Files      1915-1968   1145964   https://catalog.
      Agriculture.                                                    archives.gov/id
      Forest Service.                                                 /1145964
      Region 10
      (Alaska Region).
095   Dept. of            Land Case Files       1907-1989   875682    https://catalog.
      Agriculture.                                                    archives.gov/id
      Forest Service.                                                 /875682
      Region 10
      (Alaska Region).
095   Dept. of            Land Use Case         1970-2003   2353576   https://catalog.    Chugach National
      Agriculture.        Files                                       archives.gov/id     Forest
      Forest Service.                                                 /2353576
      Chugach
      National Forest.
095   Dept. of            Land Classification   1924-1933   2642196   https://catalog.    Tongass National
      Agriculture.        Reports                                     archives.gov/id     Forest
      Forest Service.                                                 /2642196
      Tongass National
      Forest.
095   Dept. of            Maps of the           1969-1969   2642297   https://catalog.    Tongass National
      Agriculture.        Tongass National                            archives.gov/id     Forest
      Forest Service.     Forest                                      /2642297
      Tongass National
      Forest.
095   Dept. of            Ranger Diaries        1908-1965   840215    https://catalog.    Chugach and
      Agriculture.                                                    archives.gov/id     Tongass National
      Forest Service.                                                 /840215             Forests


                                                                             Parham Exhibit E, Page 2 of 7
                                                                                                       314
                                                                                                          3
      Region 10
      (Alaska Region).
164   Georgeson, C. C.   Letters Received    1902-1909   2641870   https://catalog.    Sitka
      (Charles           by Charles                                archives.gov/id
      Christian)         Christian                                 /https://catalog.
                         Georgeson                                 archives.gov/id
                                                                   /2641870
164   Georgeson, C. C.   Letters Sent by     1891-1920   2641777   https://catalog.    Sitka
      (Charles           Charles Christian                         archives.gov/id
      Christian)         Georgeson                                 /2641777
164   Dept. of           Annual Reports      1907-1927   2445485   https://catalog.    Kodiak
      Agriculture.                                                 archives.gov/id
      Office of                                                    /2445485
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Kodiak
164   Dept. of           Copies of Letters   1916-1924   2108836   https://catalog.    Kodiak
      Agriculture.       Sent                                      archives.gov/id
      Office of                                                    /2108836
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Kodiak
164   Dept. of           Correspondence      1915-1919   2109515   https://catalog.    Kodiak
      Agriculture.                                                 archives.gov/id
      Office of                                                    /2109515
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Kodiak
164   Dept. of           Letters Received    1907-1924   2108825   https://catalog.    Kodiak
      Agriculture.                                                 archives.gov/id
      Office of                                                    /2108825
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Kodiak
164   Dept. of           Correspondence      1917-1932   2121117   https://catalog.    Matanuska
      Agriculture.                                                 archives.gov/id
      Office of                                                    /2121117
      Experiment
      Stations.
      Agricultural
      Experiment
      Station,
      Matanuska
164   Dept. of           Copies of Letters   1917-1922   2111784   https://catalog.    Matanuska
      Agriculture.       Sent                                      archives.gov/id
      Office of                                                    /2111784
      Experiment
      Stations.

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      Agricultural
      Experiment
      Station,
      Matanuska
164   Dept. of           Administrative      1910-1926   2165767   https://catalog.   Rampart
      Agriculture.       Files                                     archives.gov/id
      Office of                                                    /2165767
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Rampart
164   Dept. of           Copies of Letters   1922-1925   654570    https://catalog.   Rampart
      Agriculture.       Sent                                      archives.gov/id
      Office of                                                    /654570
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Rampart
164   Dept. of           Letters Received    1906-1924   2165764   https://catalog.   Rampart
      Agriculture.                                                 archives.gov/id
      Office of                                                    /2165764
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Rampart
164   Dept. of           Letters Received    1904-1925   2165765   https://catalog.   Rampart
      Agriculture.       from the Alaska                           archives.gov/id
      Office of          Headquarters                              /2165765
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Rampart
164   Dept. of           Administrative      1927-1930   2581420   https://catalog.   Sitka
      Agriculture.       Correspondence                            archives.gov/id
      Office of                                                    /2581420
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Sitka
164   Dept. of           Administrative      1898-1932   2103183   https://catalog.   Sitka
      Agriculture.       Files                                     archives.gov/id
      Office of                                                    /2103183
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Sitka
164   Dept. of           Administrative      1900-1908   1937190   https://catalog.   Sitka
      Agriculture.       Letters Received                          archives.gov/id
      Office of          from Substations                          /1937190
      Experiment

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      Stations.
      Agricultural
      Experiment
      Station, Sitka
164   Dept. of          Copies of Letters   1898-1927   2022337   https://catalog.   Sitka
      Agriculture.      Sent                                      archives.gov/id
      Office of                                                   /2022337
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Sitka
164   Dept. of          Copies of Letters   1929-1932   2030429   https://catalog.   Sitka
      Agriculture.      Sent                                      archives.gov/id
      Office of                                                   /2030429
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Sitka
164   Dept. of          Correspondence      1907-1932   2107175   https://catalog.   Sitka
      Agriculture.      with the                                  archives.gov/id
      Office of         Agricultural                              /2107175
      Experiment        Experiment
      Stations.         Stations at
      Agricultural      Fairbanks and
      Experiment        Matanuska
      Station, Sitka
164   Dept. of          Correspondence      1926-1932   2034136   https://catalog.   Sitka
      Agriculture.      with the Chief of                         archives.gov/id
      Office of         Insular Stations                          /2034136
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Sitka
164   Dept. of          Correspondence      1917-1924   2079671   https://catalog.   Sitka
      Agriculture.      Concerning Cattle                         archives.gov/id
      Office of                                                   /2079671
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Kodiak
164   Dept. of          Correspondence      1906-1931   2107213   https://catalog.   Sitka
      Agriculture.      Relating to                               archives.gov/id
      Office of         Horticulture in                           /2107213
      Experiment        Alaska
      Stations.
      Agricultural
      Experiment
      Station, Sitka
164   Dept. of          Journal and Time                2071579   https://catalog.   Sitka
      Agriculture.      Book                                      archives.gov/id
      Office of                                                   /2071579
      Experiment

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      Stations.
      Agricultural
      Experiment
      Station, Sitka
164   Dept. of         Letters Received     1900-1927   1994876   https://catalog.   Sitka
      Agriculture.                                                archives.gov/id
      Office of                                                   /1994876
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Sitka
164   Dept. of         Letters Received     1908-1925   2012051   https://catalog.   Sitka
      Agriculture.                                                archives.gov/id
      Office of                                                   /2012051
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Sitka
164   Agriculture.     Letters Received     1900-1927   1893400   https://catalog.   Sitka
      Office of        from the                                   archives.gov/id
      Experiment       Department of                              /1893400
      Stations.        Agriculture
      Agricultural
      Experiment
      Station, Sitka
164   Dept. of         Letters Received     1909-1919   1917540   https://catalog.   Sitka
      Agriculture.     from Other Federal                         archives.gov/id
      Office of        Agencies                                   /1917540
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Sitka
164   Agriculture.     Letters Received     1908-1927   1956088   https://catalog.   Sitka
      Office of        from Substations                           archives.gov/id
      Experiment                                                  /1956088
      Stations.
      Agricultural
      Experiment
      Station, Sitka
164   Dept. of         Notebooks                        2084071   https://catalog.   Sitka
      Agriculture.                                                archives.gov/id
      Office of                                                   /2084071
      Experiment
      Stations.
      Agricultural
      Experiment
      Station, Sitka
220   Federal Field    Subject Files        1964-1971   596835    https://catalog.
      Committee for                                               archives.gov/id
      Development                                                 /596835
      Planning in
      Alaska



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                                                                                                 318
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378   Economic            Drawings Related     1965-1971   3029317   https://catalog.
      Development         to the Economic                            archives.gov/id
      Administration.     Development                                /3029317
      Seattle (Western)   Administration in
      Region.             Alaska
378   Economic            Project Case Files   1965-1971   1122393   https://catalog.
      Development                                                    archives.gov/id
      Administration.                                                /1122393
      Seattle (Western)
      Region.




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3

4

5

6                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
7
        STATE OF WASHINGTON, et al.,                           NO. 2:21-cv-00002
8
                                     Plaintiffs,               DECLARATION OF RICHARD J.
9                                                              (CHALYEE ÉESH) PETERSON
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants.
12

13
        Richard J. (Chalyee Éesh) Peterson declares as follows:
14
            1.        I am over the age of 18 and competent to testify. I make this declaration based on
15
     my personal knowledge.
16
            2.        I am the President of the Central Council of Tlingit and Haida Indian Tribes of
17

18   Alaska (“Tlingit & Haida”). I am Tlingit from the Kaagwaataan Clan, an enrolled Tribal citizen

19   of Tlingit & Haida, and a Tribal citizen of the Organized Village of Kasaan. My Tlingit name
20   is Chalyee Éesh.
21
            3.        Tlingit & Haida is the largest federally-recognized Tribe in Alaska. We are one
22
     of two regional Tribes in Alaska. Tlingit and Haida was recognized by the United States as a
23
     Tribal government pursuant to Section 8 of the Act of June 19, 1935 (49 Stat. 388), as amended
24

25   by the Act of August 19, 1965 (79 Stat. 543), and the Tlingit and Haida Status Clarification Act

26   (Public Law 103-454, Title II, 108 Stat. 4792). Our Tribal headquarters are in Juneau, Alaska.




       DECLARATION OF RICHARD J.                         1
       (CHALYEE ÉESH) PETERSON

                                                                                                   320
1           4.      We have 32,051 enrolled Tribal citizens. Our Tribal citizens are also members
2
     of their ancestral Tribal communities, the federally-recognized Alaska Native Villages and local
3
     Tribes throughout Southeast Alaska. More than 6,000 of our Tribal citizens currently live in
4
     Seattle, the Puget Sound Region, and other places in Washington State.
5
            5.      The Haida and Tlingit people have lived on our aboriginal lands since time
6

7    immemorial. The Tlingit people call our aboriginal homelands Lingit Aaní, the great land and

8    waters now known as Southeast Alaska.       We were here when the Spanish, the British, the
9    Russians, and finally the Americans appeared on our shores. We are still here. We have survived
10
     epidemics, wars and cultural onslaughts and we remain here, a vibrant and growing people. We
11
     are the original occupants of Lingit Aaní and we remain the steadfast guardians and caretakers
12
     of the sacred and wonderous lands and waters of Southeast Alaska.
13

14          6.      Southeast Alaska is a maritime archipelago over 500 miles long, stretching from

15   Yakutat in the north to Saxman in the south. The National Archives at Seattle contain the single

16   most important collection of documents regarding this, our ancestral territory, and about our
17   Tlingit and Haida peoples. These documents are an invaluable resource for our Tribe and our
18
     Tribal citizens. We use them constantly.
19
            7.      Since 1867, when the United States “bought” Alaska from Russia, we have had
20
     extensive, on-going, and extremely well-documented interactions with the United States
21

22   Government. From 1867 until 1959, Alaska was administered as a federal Territory. All

23   governmental records relating to Southeast Alaska’s Tribes and Tribal members were federal—

24   everything from archeological records to deeds and birth, death and marriage records. The
25

26




       DECLARATION OF RICHARD J.                       2
       (CHALYEE ÉESH) PETERSON

                                                                                                321
 1   National Archives at Seattle contain those records. They are absolutely irreplaceable historical,
 2
     genealogical, cultural, anthropological, and judicial records for our Tribe and Tribal members.
 3
             8.      It is important to understand that, even now, after Alaska Statehood and the
 4
     passage of the Alaska Native Claims Settlement Act, 95% of the land and almost all the waters
 5
     in Southeast Alaska are controlled and managed by the United States for agricultural (forestry),
 6

 7   conservation, recreational, and fisheries purposes. The federal lands include the Tongass

 8   National Forest, at nearly 17 million acres. They include the National Conservation System
 9   Units of Glacier Bay National Park, 3.2 million acres, Admiralty Island National Monument,
10
     nearly 1 million acres, and the Misty Fjords National Monument, over 2.3 million acres. Located
11
     throughout these federal lands are past and current Native village sites, ancient places sacred to
12
     our peoples, and important seasonal hunting, fishing and gathering sites. We regularly use and
13

14   visit these places.

15           9.      Additionally, there are over 12,000 acres of Alaska Native Allotments in

16   Southeast Alaska, an acreage that could increase if our Vietnam Veterans were able to select
17   allotments within the Tongass, our homelands, through the recently adopted Alaska Native
18
     Veteran Program. Our Tribal Realty and Forestry Trust Program manages the allotments
19
     through Indian Self-Determination and Educational Assistance Act agreements with the Bureau
20
     of Indian Affairs. Tlingit & Haida has an Agreement with the United States Forest Service to
21

22   document and implement the Indigenous Guardians Program, which has the purpose of

23   connecting community-led stewardship of the Tongass and to catalyze practices and approaches

24   that support indigenous stewardship, indigenous technical knowledge, conservation science, and
25
     natural resource management.
26




       DECLARATION OF RICHARD J.                        3
       (CHALYEE ÉESH) PETERSON

                                                                                                  322
1           10.     The vast expanses of land and waters in Southeast Alaska are not empty. Our
2
     Tribe, our Tribal citizens, and people more recently arrived in Southeast Alaska live in and
3
     actively use these lands and waters on a constant and continual basis. The current and future
4
     uses, development, and conservation of these lands and waters are always in flux and constantly
5
     present issues for our Tribe and our Tribal citizens.
6

7           11.     We need ready access to the National Archive records to address how the federal,

8    State, and Tribal governments are managing Lingit Aaní. The lands and waters of Southeast
9    Alaska are our lifeblood. Our role as guardians and caretakers is critical for our present
10
     generations and equally so for our future generations. Our ancestors took care of Lingit Aaní
11
     for us, and we will take care of it for our children, our grandchildren, and theirs.
12
            12.     Among the many documents and records that our Tribe uses, routinely and
13

14   regularly, in the National Archives at Seattle are:

15                  a. Native Allotment files;

16                  b. Native Townsite Files and Tract Books;
17                  c. Tongass National Forest historical records;
18
                    d. Subsistence hunting, fishing, and gathering records;
19
                    e. Traditional place name historical records;
20
                    f. Archeological records;
21

22                  g. Alaska Native Claims Settlement Act records concerning sacred sites,

23                      village sites, and traditional use sites;

24                  h. Southeast Alaska forest management records;
25

26




       DECLARATION OF RICHARD J.                           4
       (CHALYEE ÉESH) PETERSON

                                                                                               323
 1                  i. Fisheries records, including historical records and current management
 2
                       records;
 3
                    j. Many of Tlingit & Haida Central Council’s own historical records;
 4
                    k. Tribal enrollment records for Tlingit and Haida and the other federally-
 5
                       recognized Tribes in Southeast Alaska;
 6

 7                  l. Census records;

 8                  m. Vital records – birth, death, marriage records;
 9                  n. Declarations of citizenship;
10
                    o. Deed books;
11
                    p. Vessel licensing records;
12
                    q. Certificates of Naturalization;
13

14                  r. Historical photographs and recordings;

15                  s. Military service records of tribal members, including enlistment and muster

16                     rolls, draft cards, and discharge records;
17                  t. Territorial and Russian government records; and
18
                    u. Russian – American Company records and log books.
19
            13.     Moving these National Archive records in Seattle to Kansas City, Missouri, or
20
     Riverside, California, would substantially and irreparably injure our Tribe’s ability to access
21

22   these critically important documents. Our Southeast Alaska staff and Tribal citizens are able to

23   travel to Seattle easily and relatively inexpensively. Other Tribal citizens live in Seattle and

24   around Puget Sound and have ready access to the National Archives. Indeed, some Tribal
25

26




       DECLARATION OF RICHARD J.                         5
       (CHALYEE ÉESH) PETERSON

                                                                                                  324
 1   members even live in the Sand Point neighborhood, very close to the current Seattle National
 2
     Archive facility itself.
 3
             14.     We are committed to doing whatever we can to keep these important records
 4
     where they can be accessed and used by our Tribe and our Tribal citizens. To that end, our Tribal
 5
     General Assembly on October 1, 2020, passed the attached Resolution TA 20-17, “Opposition
 6

 7   to the Closure of Seattle National Archives and Records Administration Facility.”

 8           15.     The Central Council of Tlingit & Haida Indians of Alaska respectfully requests
 9   that this Honorable Court enjoin the proposed sale of the National Archives property in Seattle.
10

11           I declare under penalty of perjury that the foregoing is true and correct.

12
             DATED this ___
                        04 day of _____________,
                                    January       2021 at ______________,
                                                 _____      Juneau        Alaska.
13

14

15

16                                                  Richard J. (Chalyee Éesh) Peterson

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       DECLARATION OF RICHARD J.                         6
       (CHALYEE ÉESH) PETERSON

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 5

 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7
         STATE OF WASHINGTON, et al.,                          NO.
 8
                                      Plaintiff,               DECLARATION OF CHAIRMAN
 9                                                             HARRY PICKERNELL, SR
                  V.
10
        RUSSELL VOUGHT, et al.,
11
                                      Defendants,
12
            I, Harry Pickernell, Sr, declare as follows:
13
             1.        I am Chairman of the Confederated Tribes of the Chehalis Reservation, a
14
     federally recognized Indian tribe ("Tribe"). I am over the age of 18 and competent to testify. I
15
     make this declaration based on my personal knowledge.
16
            2.         I have been Chairman of the Tribe for approximately four (4) years and I served
17
     as Vice Chairman before that. As the highest elected official in the Tribe, I am responsible for
18
     overseeing the health, safety and welfare of the members of the Tribe and the residents of the
19
     Chehalis Reservation. I preside over the Business Committee, which is the equivalent of other
20
     tribes ' tribal councils. I also ensure that the culture and history of the Tribe is preserved and
21
     supported, including the operations of the Tribe ' s Historic Preservation Department and the
22
     activities of anthropologists retained to assist the Tribe in gathering historical, language, and
23
     cultural information about the life of the Tribe since time immemorial. Prior to the present
24
     day, the Tribe developed a dictionary of its language and is currently gathering information,
25
     stories, interviews and other resources to produce a comprehensive examination of the Tribe ' s
26




       DECLARATION OF HARRY                                             ERROR! AUTOT EXT ENTRY NOT D EFI NED.
       PICKERNELL, SR.
                                                                                                                326
 1   history, language, pre and post contact activities, religion, etc in order to preserve that

 2   information for the future generations. The Federal Archives have been and will be in the

 3   future an essential source of materials for preserving the understanding of the Tribe and the

 4   Tribe's culture.

 5          .,,., .   The Tribe has always been a fishing tribe located at the confluence of the

 6   Chehalis and Black Rivers. The Tribe's Reservation was created in 1864 by Executive Order

 7   and, as its name indicates, was the Reservation for Upper and Lower Chehalis tribes and bands,

 8   and Cowlitz, Satsop, Wynoochee and Qualiokwah bands and tribes resident in what became

 9   Southwest Washington. The Tribe has over 900 members, over 40% of whom are under the

10   age of 18, which puts a special burden on the Tribal Government to find and preserve the

11   information about the Tribe's past and culture.

12          4.        The Federal Archives in Seattle contain substantial documents relating to the

13   tribes and bands listed in paragraph 3 above. Those include duplicates of documents, which

14   are far more than copies, ledgers, records, payroll information, photos, and important

15   documents relating to the both the Tribe's culture and also the interaction between the Tribe

16   and the United States government. I am informed by the Tribe's anthropologists that many of

17   these documents are originals and not digitized and has been and continue to be important to

18   advancing the Tribe's understanding of its past.       The Tribe's anthropologists have used

19   archived reports, letters, photographs, ledgers, receipts, documents relating to cemetery and

20   genealogical records, and Indian mis and crafts correspondence. Moreover, when the Tribe

21   sought to advance its claim to rights in its aboriginal territory and its off Reservation fishing

22   rights before various federal tribunals, the documents which reside in Seattle and the ability to

23   examine those documents first hand was vital to the Tribe's presentations. If the valuable

24   documents contained at the Federal Archives in Seattle are shipped to some remote location

25   where they may or may not be accessible and the hidden gems may never be found, the Tribe

26   will suffer a great loss and damage.




       DECLARATION OF HARRY                             2              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       PICKERNELL, SR.
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 1          5.      As stated above, the Tribe used archival records when it appeared before the

 2   Indian Claims Commission; used archival records from Seattle when it sought federal court

 3   affirmation of its off Reservation fishing rights; will use archival records in its Atlas project

 4   described above; and uses archival information in its interaction with the State of Washington

 5   concerning hunting, fishing and gathering.

 6               6. The Tribe is engaged in two forms of conservation activities: a) conservation

 7   relating to low escapement returns of Spring Chinook and Steelhead and b) conservation for

 8   habitat restoration involving lands within the Chehalis Homeland. Each such activity may be

 9   assisted by records at the Federal Archives, which will require first hand research and which

10   could not be accomplished if the Archives move from Seattle.

11          7.      Since the United States and its agencies are under an Executive Order requiring

12   consultation on matters affecting tribes, Executive Order 13175, I was shocked to only learn

13   recently that the United States was attempting to sell the Archive site in Seattle and move the

14   Tribe ' s archives away. As a result, this will constitute the first demand from the Tribe to

15   perform the United States' trust responsibility under the Executive Order and consult on this

16   with the Tribe before taking any further action.

17          8.      As stated above, the Tribe only learned about the proposal to sell the building

18   and move the Seattle Archives when the Attorney General for the State of Washington and not

19   the United States brought this matter to the Tribe's attention.

20          9.      The Tribe is constantly confronted with problems or outside actions that

21   threaten its sovereignty, its culture, its way oflife. An immediate example relates to a proposal

22   to build a dam on the Chehalis River, which would directly impact many aspects of the Tribe ' s

23   and its members lives. What relevant documents do the Federal Archives contain that would

24   help protect the Tribe from such an incursion. If the building is sold and the Federal Archives

25   are shipped away, the Tribe would suffer a damage in being unable to bring such records to

26   bear, a damage that would strike at the heart of the Tribe' s identity, culture and its members




       DECLARATION OF HARRY                              3             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       PICKERNELL, SR.
                                                                                                         328
 1   religions. It would also hinder the Tribe ' s anticipated legal actions to challenge the creation of

 2   a dam that would damage the Tribe ' s fish habitat and conservation programs and would

 3   inundate religious and cultural sites. The removal of archived records would simply create

 4   direct damage for which no mitigation would ever compensate.

 5           10.     I declare under penalty of perjury that the foregoing is true and correct.

 6
     DATED this 23rd day of December, 2020 at the Chehalis Reservation m the State of
 7
     Washington.
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       DECLARATION OF HARRY                               4              ERROR! AUTOTEXT ENTRY NOT DEFI NED.

       PICKERNELL, SR.
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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                         NO.
 8
                                    Plaintiff,               DECLARATION OF ANNETTE
 9                                                           PIERRE
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                    Defendants,
12
            I, Annette Pierre, declare as follows:
13
            1.        I am an enrolled member of the Kalispel Tribe of Indians (“Kalispel Tribe”)
14
     and a historian of the Kalispel Tribe. I am over the age of 18 and competent to testify. I make
15
     this declaration based on my personal knowledge.
16
            2.        I have been the Tribal Historic Resource Program Manager since 2017. My
17
     Bachelor’s degree in Ethnic Studies is from Washington State University and I obtained my
18
     Master’s degree in Library and Information Science from the University of Washington in
19
     2015. In my current position, I am responsible for researching tribal documents at the National
20
     Archives in Seattle and disseminating the information to our tribal government and tribal
21
     members. Prior to serving in my current position, I was a graduate student in the Master of
22
     Library and Information Science (MLIS) Program at the University of Washington.
23
            3.        The Kalispel Tribe is a federally recognized Indian tribe with its Reservation
24
     land base located in Eastern Washington; the Tribe’s ancestorial land stretches into Canada,
25
     Idaho and Montana.
26




       DECLARATION OF ANNETTE PIERRE                    1                 ERROR! AUTOTEXT ENTRY NOT
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 1           4.      The National Archives at Seattle houses documents which are invaluable to the
 2   Kalispel Tribe and the Tribe utilizes these archives extensively. Specifically, this facility holds
 3   thousands of the Kalispel Tribe’s documents including, but not limited to photographs,
 4   ethnographies, reports, minutes, maps, correspondence, notes from our language, birth records,
 5   death records, land records, school records, leases of Indian lands, statistical reports, and a
 6   plethora of other important information. These documents continue to be an important resource
 7   that the Tribe needs access to. The Indigenous knowledge recorded in these documents is
 8   priceless.
 9           5.      In my position I routinely need access to these valuable historic documents and
10   having these documents located in Washington State, where they can be readily and easily
11   accessed, is important.
12           6.      These records fill important gaps and help support historic governance issues.
13   At the National Archives at Seattle, I have found Tribal Council resolutions that were
14   previously lost. I have also found Industrial Survey Reports from 1929; through these reports
15   we were able to see photographs of our elders, as well as snippets from their lives. I have found
16   Indian Census Rolls that the Tribe has used for enrollment purposes. I’ve found prayers,
17   hymns, and stories in our language. These are just a few of the many documents located in this
18   facility that are priceless to our Tribe.
19           7.      To my knowledge, no federal agency or federal government representative
20   contacted the Kalispel Tribe in connection with the federal government’s decision to sell the
21   National Archives at Seattle. My first knowledge of the sale was through the media.
22           8.      The Kalispel Tribe will suffer if these records are moved out of Seattle/Pacific
23   Northwest. There will be loss of family histories, school records, resolutions, land records,
24   marriage records, and many others. There will be cultural harm with loss of records that are
25   important to our cultural preservation. There will be financial harm, costs associated with travel
26   to obtain records not located in Seattle. Even worse, there will be total loss of access for those




       DECLARATION OF ANNETTE PIERRE                     2                  ERROR! AUTOTEXT ENTRY NOT
                                                                                 DEFINED.789-7600

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 1   who cannot afford to travel. There will be an undue burden placed on tribes and tribal people
 2   to access these documents. Moving these documents also poses a risk of irreparable damage
 3   and risk for loss of items during transit to any proposed facility. The myriad of tribal documents
 4   at the National Archives Seattle has helped fill voids in our Tribe’s history and continue to be
 5   an important resource that we need access to. These records tell stories of our resilience. The
 6   voices of our ancestors speak to us through these archives, their words continue to resonate
 7   with us today.
 8

 9   I declare under penalty of perjury that the foregoing is true and correct.
10
     DATED this ___         Decembe
                30 day of _____________, _____ at ____________________,
                                         202        Seattle             _____________.
                                                                           Wa
11               day        r - month    0 year           city               state
12

13

14                                                  ANNETTE PIERRE

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       DECLARATION OF ANNETTE PIERRE                     3                 ERROR! AUTOTEXT ENTRY NOT
                                                                                DEFINED.789-7600

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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                         NO.
 8
                                    Plaintiffs,              DECLARATION OF RICHARD
 9                                                           REICH
                 V.
10
        RUSSELL VOUGHT, et al.,
11
                                    Defendants.
12
            I, Richard Reich, declare ;;ts follows:
13
            1.        I am an attorney employed part time as a Senior Legal Counsel in the Office of
14
     the Tribal Attorney of the Muckleshoot Indian Tribe. I am over the age of 18 and competent
15
     to testify. I make this declaration based on my personal knowledge.
16
            2.        I have been employed in my current position since late 2001, full time until
17
     May of 2018, and now part time. As a Senior Legal Counsel, I am responsible for providing
18
     legal advice and representation to the Muckleshoot Tribe on a wide range of issues including
19
     treaty rights, tribal recognition, and tribal jurisdiction, all of which are infonned by the
20
     historical record of the United States' dealings with the Muckleshoot people. Important and
21
     unique portions of this historical record are housed at the National Archive repository at Sand
22
     Point in Seattle. Prior to serving as Senior Legal Counsel for the Muckleshoot Indian Tribe, I
23
     served as the Reservation Attorney for the Quinault Indian Nation for over eighteen years from
24
     1982 to late 2001 and as Tribal Attorney for the Muckleshoot Indian Tribe from March 1978
25
     to 1982. In my prior positions with the Quinault Nation and Muckleshoot Tribe I was also
26



       DECLARATION OF RICHARD REICH                     1                OFFICE OF THE TRIBAL ATTORNEY
                                                                           MUCKLESHOOT INDIAN TRIBE
                                                                              39015 172ND AVENUE SE
                                                                                AUBURN, WA 98092
                                                                                   (253) 939-33 I I


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 1   responsible for providing tribal government officers with legal advice and assistance on similar

 2   issues.

 3             3.   During my tenure as counsel for the two tribes, I have represented the

 4   Muckleshoot Indian Tribe and the Quinault Indian Nation in United States v. Washington, No.

 5   C70-9213 and other litigation and administrative proceedings involving treaty rights,

 6   jurisdictional, and tribal recognition issues. In connection with that litigation and other work

 7   for the two tribes I have personally engaged in research at the National Archives repository in

 8   Seattle, and have employed or otherwise worked with researchers reviewing historical

 9   documents relating to the tribes at the Seattle repository.

10             4.   The Muckleshoot Indian Tribe is a federally recognized Indian Tribe whose

11   membership is composed of descendants of the Duwamish and Upper Puyallup people who

12   inhabited Central Puget Sound. Its tribal government is based on the Muckleshoot Indian

13   Reservation in King County, Washington. It is a successor in interest to tribes and bands of

14   Indians party to the Treaties of Medicine Creek, 10 Stat. 1132, and the Treaty of Point Elliott,

15   12Stat.927.

16             5.   The Quinault Indian Nation is a federally recognized tribe composed of

17   descendants of the Quinault, Queets, Hoh, Quileute, Chehalis, Chinook, and Cowlitz people

18   who inhabited the Olympic Peninsula and Southwest Washington. Its tribal government is

19   based in the village of Taholah on the Quinault Indian Reservation in Grays Harbor County,

20   Washington. It is a successor in interest to the tribes and bands that were party to the Treaty

21   with the Quinault, also known as the Treaty of Olympia. 12 Stat. 971.

22             6.   The National Archives repository at Seattle contains significant historical

23   records of the United States dealings with Tribes located in Washington including the

24   Muckleshoot Indian Tribe and Quinault Indian Nation. Many of these records are poorly

25   indexed, have never been digitized, and are not available elsewhere. Because these records

26



       DECLARATION OF RICHARD REICH                      2                OFFICE OF THE TRIBAL AHORNEY
                                                                            MUCKLESHOOT INDIAN TRIBE
                                                                               39015172ND AVENUE SE
                                                                                 AUBURN, WA 98092
                                                                                  (253) 939-3311


                                                                                                         334
 1   are not digitized and are poorly indexed, the ability to physically access the records to review
 2   them is critical.
 3           7.      Attached hereto as Exhibit A is an example of the unique and historically
 4   important records that can be found browsing through the physical records available at the
 5   National Archives in Seattle. Exhibit A is a true and correct copy of a May 3, 1855 letter
 6   written by Governor and Superintendent of Indian Affairs Isaac I. Stevens to Indian Agent Col.
 7   Michael T. Simmons (with a typewritten transcription) providing Simmons with instructions

 8   on the negotiation of the Treaty with the Quinault or the Treaty of Olympia, 12 Stat. 971,
 9   following the failed Grays Harbor Treaty Council with the Chehalis, Chinook, Cowlitz and
10   Quinault. The letter is particularly important because no minutes have ever been located for
11   the Treaty with the Quinault which Simmons negotiated at Taholah with the Quinault and
12   Quileute in 1855. The letter directs Simmons to conclude a treaty with the Quinault and
13   Quileute and explains that Stevens intended to negotiate a separate treaty with the Chehalis,
14   Chinook, and Cowlitz in Olympia upon his return from treaty councils in Eastern Washington.
15   The letter sheds light on the relationship of the three latter groups to the Treaty with the
16   Quinault which was one of the principal issues litigated in consolidated proceedings in United
17   States v. Washington, No. 9213 Subproceeding 83-3 and Chehalis v. Washington, No. 83-

18   117(T), 18 F.Supp.3d 1172, 1180- 1203 (W.D. Wash. 1992). Exhibit A was admitted into
19   evidence in that case as Exhibit USA-M-60 to address the relationship of the three Southwest
20   Washington groups to the Treaty with the Quinault. See, Id. FF 43-44, 18 F.Supp.3d at 1188.
21           8.      The original May 3, 1885 letter from Stevens to Simmons was located by
22   researchers physically browsing through unindexed Puget Sound Indian Agency records held

23   at the National Archives in Seattle, and presumably remains there today. It is an irreplaceable
24   part of the history of the relationship between Washington Tribes and the United States that is
25   only available at the National Archives in Seattle and could only be located by physically
26   accessing the records there. Relocation of the records held at the National Archives repository


       DECLARATION OF RICHARD REICH                     3                 OFFICE OF THE TRIBAL ATTORNEY
                                                                           MUCKLESHOOT INDIAN TRIBE
                                                                             39015 172ND AVENUE SE
                                                                               AUBURN, WA 98092
                                                                                  (253) 939-3311


                                                                                                          335
 1   in Seattle would significantly impair the ability of Washington Tribes to locate and access

 2   records like the May 3, 1855 letter from Stevens to Simmons that are critical to understanding

 3   the United States relationship to Washington Tribes.

 4          I declare under penalty of perjury that the foregoing is true and correct.

 5
            Dated this 4th day of January, 2021 at Bellevue, Washington.
 6

 7

 8
 9                                                 Richard Reich

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       DECLARATION OF RICHARD REICH                     4                 OFFICE OF THE TRIBAL ATTORNEY
                                                                            MUCKLESHOOT INDIAN TRIBE
                                                                               3901 5 J72ND AVENUE SE
                                                                                 AUBURN, WA 98092
                                                                                     (253) 939-33 I l


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•
                                                             Office Supdt . Ind. Affair s.
                                                            Olymp ia W.T. May 3d 1855 •

                    I herew ith give instru ction for negoc iating Treat ies with
                 the remai ning Tribes of your distri ct.

                     The progra mme of the Treaty herew ith enclos ed is
                 precis ely like that of the Grey's Harbo r Council, with
                                                                             the
                 excep tion that the reserv ations are left entire ly to
                                                                             the
                 discre tion of the Presid ent, and provision is made for
                                                                             the
                 comin g in of the severa l Tribes at differ ent times . You
                                                                             will
                 inform the Qui-n ai-ults and Que-l ey-yu ts that they
                 remai n in their count ry for the presen t, the upper Chehawill
                                                                              lis
                 that they may be incorp orated with one of the Tribes at
                                                                             the
                 Head of the Sound should they desire it, and the Cowli
                 Indians that they may be joined with the Upper Cheha tz
                                                                             lis.
                 The Chinooks, Shoal water Bay and lower Cheha lis may
                                                                              be
                 inform ed that their reserv ation will be select ed so as
                                                                              to
                 provid e them with fisher y cc potato e groun ds.

                    You will just get the signat ures of the Qui-n ai-ults and
                Que-l ay-yu ts, and the remai ning Tribes will be treate d with
                in Olympia, There must be no retrea t or depar ture from
                lines establ ished at Grey's Harbo r, and it is of the utmosthe
                                                                               t
                exigen ce that excep ting the Qui-n i-ults and Qui-la y-yuts



•               the overtu res should (?) their chiefs and Head men comin ,
                (?) purpo se. Mr. Shaw by month ly visits (?) manag

                time bring about the result .       In all these (?) you are
                reque sted to advise with Hon. C. H. Mason (?) of
                Territ ory, and in my absen ce the Acting Gover nor.
                                                                              g
                                                                     ement will
                I think be able to (?) frame of mind and in the cours e
                                                                             of

                                                                            the

                                                                                                   (?)
                                                                                     Isaac I Steve ns
                                                                                           Gover nor
                Col. M. T. Simmons
                {?) Agent
                Puget Sound Distri ct

                                            ,,,,~''   .   "''"'"'   ''· ~:, -,:';'
                Trans criptio n of origin al handw ritten letter with some words
                suppli ed (guessed at) by Barba ra lane. Other missing words
                are not supplied and are indica ted by {?) in the above
                transc riptio n.

                Origin al letter found at Natio nal Archi ves (Sand Point
                region al depos itory, Seattl e), RG 75, Recor ds of the Puget
                Sound Agency, Box l.




•                                                                                             CAUSE 9213 - Sub #83-3
                                                                                              DEFENDANT
                                                                                              EXHIBIT
                                                                                              NO._ _ _---Cu:;.:s:;.:A.:;_-...cM.;..-_6_0_ __

    Exhibt A Declaration of Richard Reich       Page 1                                                 oc_r_1_5_19_9o___
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                         Exhibt A Declaration of Richard Reich                                                 Page 2


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     Exhibt A Declaration of Richard Reich
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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                          NO.
 8
                                     Plaintiff,               DECLARATION OF JOSHUA
 9                                                            LEONARD REID
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12
            I, Joshua Leonard Reid, declare as follows:
13
            1.        I am over the age of 18 and competent to testify. I make this declaration based
14
     on my personal knowledge.
15
            2.        I am the John Calhoun Smith Memorial Endowed Associate Professor of
16
     History at UW (UW or University), Washington State’s largest public research university.
17
     Additionally, I am an associate professor in the American Indian Studies Department and
18
     director of the Center for the Study of the Pacific Northwest. I have held this position as an
19
     associate professor since fall quarter 2015; I was appointed to the CSPN directorship
20
     September 16, 2018, and the endowed professorship on July 1, 2019. As an associate professor
21
     in history and American Indian studies at the UW, I have responsibility for teaching four
22
     courses annually in topics on American Indian & Indigenous history, environmental history,
23
     history of the North American West, and other topics. Additionally, I guide graduate students
24
     and advanced undergraduate students in their own research—I also conduct substantial
25
     research and regularly publish—on these topics.
26




       DECLARATION OF JOSHUA LEONARD                    1
       REID
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 1          3.      My expertise as a researcher and Indigenous historian comes from over
 2   seventeen years of graduate and professional work. I received my Ph.D. in History, with a
 3   Designated Emphasis in Native American Studies, from the University of California, Davis, in
 4   2009; an M.A. in History from UC Davis in 2005; and a B.A. in Political Science and Studies
 5   in the Environment from Yale University in 1994. My primary field in graduate school was
 6   American Indian history, with an emphasis in the North American West and environmental
 7   history, and my dissertation focused on the Makah Nation’s historical relationship with the
 8   ocean. From 2009-2015 I was an assistant professor in the History Department at the
 9   University of Massachusetts, Boston, where I also founded and directed that institution’s
10   Native American and Indigenous Studies program. Since 2015, I have been at the University
11   of Washington as a tenured associate professor in both the History and American Indian
12   Studies Departments. I have taught a range of classes at the undergraduate and graduate levels
13   in American Indian history, environmental history, U.S. history, and the North American West,
14   along with a study abroad to Aotearoa New Zealand. I am currently advising four Ph.D.
15   students.
16          My service commitments demonstrate that my colleagues both at the University of
17   Washington and beyond value my intellectual contributions to the disciplines of History and
18   American Indian Studies. In addition to directing the Center for the Study of the Pacific
19   Northwest, I currently serve on the Board of Directors for the National Council for History
20   Education, and serve as a steering committee member for the D’Arcy McNickle Center for
21   American Indian and Indigenous Studies at the Newberry Library in Chicago, IL. Additionally,
22   I am a co-editor of the Henry Roe Cloud Series on American Indians and Modernity for Yale
23   University Press. I also edit the Emil and Kathleen Sick Series on Western History and
24   Biography with the University of Washington Press and serve on the editorial advisory board
25   of the Pacific Northwest Quarterly. Over the years I have occupied leadership roles in the
26   American Historical Association (council member 2013-2016, program committee chair for




       DECLARATION OF JOSHUA LEONARD                  2
       REID
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1    AHA 2020) and the Western History Association (nominating committee 2015-2017, Sally
2    and Ken Owens Book Award, program committee co-chair for WHA 2019, distinguished
3    speaker) and served on prize committees for a number of professional groups. I am regularly
4    asked to speak at conferences and at universities in the United States and abroad, to review
5    manuscripts and textbooks for publication, and to contribute to curriculum both locally and
6    nationally, most recently for the National Humanities Center and the Smithsonian.
7           My research and publications have received a number of recognitions and awards over
8    the years. Major sources of competitive fellowships and grants for my research have come
9    from universities, the Ford Foundation, the Gates Foundation, and the American Philosophical
10   Society. Most notably, my first book, The Sea Is My Country: The Maritime World of the
11   Makahs (Yale University Press, 2015) won numerous awards and acknowledgements from the
12   Western History Association, Organization of American Historians, American Society for
13   Ethnohistory, and the North American Society for Oceanic History. I have received favorable
14   reviews for The Sea Is My Country in the major academic journals in my fields.
15          Additionally, I am an expert witness for the Makah Nation, an American Indian
16   community at the most northwestern point of the contiguous United States. I composed a nearly
17   200-page report for the Makah, which details the historical importance of hunting whales, a
18   customary practice that tribal negotiators reserved for themselves and their defendants in the
19   1855 Treaty of Neah Bay. Still ongoing, this work is being done to help the tribal nation
20   petition for a waiver to the Marine Mammal Protection Act so that they can exercise their
21   reserved treaty rights without interference from the federal government.
22          4.      The archival records housed at the National Archives at Seattle have been
23   critical to my past and ongoing research. While working on my dissertation and The Sea Is My
24   Country, I conducted substantial research at the Seattle NARA branch, accumulating months
25   of time spread out across years, poring over documents. During the first summer of intensive
26   research (July-September 2004), I accessed dozens of archival boxes worth of material. I spent




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 1   the first week of research just going through the physical copies of relevant finding aids,
 2   identifying documents I wanted to see. As I perused the boxes and file folder, I found new
 3   documents that had escaped my notice during the first review of the finding aids. This is how
 4   research works—when physically locating one item, you come across other proximate records
 5   that are sometimes even more important.
 6          Overall, I ended up taking notes from over 500 pages of documents spread across
 7   fifteen boxes of material from the Taholah Indian Agency (Record Group 75, Bureau of Indian
 8   Affairs) during the first summer of research. Material accessed included correspondence
 9   relating to Indian fishing rights, 1931-45 (Boxes 554-557); decimal files on Makah hunting
10   and fishing (Boxes 89, 170), pelagic sealing (Boxes 71, 171), reservation inspections (Boxes
11   102 & 103), and other maritime issues (Box 111); reservation superintendents’ daily files
12   (Boxes 558, 560, & 561); and others. Additionally, I relied on several key rolls of microfilm,
13   such as the Alanson Wesley Smith microfilm (three rolls) and reports of field jurisdiction
14   inspections (one roll), only available at this branch or in the main branch in Washington, D.C.
15   As I finished the dissertation and revised it for publication (2008-2013), I made a few more
16   visits to the Seattle branch for follow-up research, going back to some documents to double-
17   check quotations and notes or to pursue new interpretive threads. Handwritten or typed, the
18   documents included letters from Makahs written to the federal government; minutes from tribal
19   council meetings; photographs of Makahs, their fishing vessels, and the reservation; letters
20   from federal agents, teachers, and inspectors; maps with marginalia; and field notes. With the
21   exception of the microfilm reels, these documents exist nowhere else; nor are they digitized.
22          Additionally, I drew from these documents when composing my expert witness report
23   and testimony for the Makah Nation’s efforts at exercising their treaty rights through a petition
24   for a waiver to the Marine Mammal Protection Act. I specifically filed Office of Indian Affairs
25   inspection reports (1884, 1896, 1929, and 1932) and reports and memoranda on sealing among
26




       DECLARATION OF JOSHUA LEONARD                    4
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1    the exhibits I enclosed with my report in 2019. This case is ongoing, and I will undoubtedly
2    need to reference more documents from the Seattle NARA facility for this.
3           I am also working on a new research project about the Makah Nation’s engagement
4    with the Olympic Coast National Marine Sanctuary. The 45 boxes of records of the Makah
5    Tribal Council (1930-1970)—not digitized and only available at the Seattle NARA facility—
6    are critical to this research. I began working with this collection during the late spring and
7    summer of 2019; I had intended to return to these records this last summer, but the pandemic
8    closure has prevented me from returning to this research for now. This project is part of a larger
9    initiative on Indigenous peoples, protected spaces of nature, and conservation that the Center
10   for the Pacific Northwest is doing in collaboration with University of New Mexico’s Center,
11   Southwest and Southern Methodist University’s Clements Center for Southwest Studies, York
12   University (Toronto), University of Helsinki, and numerous tribal nations. As planned, this
13   overall initiative will result in multiple symposia held in the United States and internationally,
14   two edited collections of original research done in collaboration with tribal nations, and
15   conservation and partnership capacity building among Indigenous communities and national
16   parks and similar protected spaces of nature.
17          Overall, I would assess my dependence on the unique archival records at the Seattle
18   NARA facility as quite high. More importantly, the research I do is in service to federally
19   recognized tribal nations and relates importantly to issues of conservation, natural resource
20   use, and treaty rights. My career literally depends on having regular access to these archival
21   records.
22          5.      My research at the Seattle NARA branch has contributed to 7 of my
23   publications and reports. These include:
24      •   “Makah Whaling: History, Culture, and Continued Relevance Today,” expert witness
25          report for the Makah Nation’s waiver application to the National Oceanic and
26          Atmospheric Administration (May 2019).




       DECLARATION OF JOSHUA LEONARD                     5
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1       •   The Sea Is My Country: The Maritime World of the Makahs (New Haven: Yale
2           University Press, 2015). This book won an Honorable Mention for the Frederick
3           Jackson Turner Prize (2016) from the Organization of American Historians; an
4           Honorable Mention for the John Lyman Book Award in US Maritime History (2016)
5           from the North American Society for Oceanic History; the Caughey Western History
6           Prize, John C. Ewers Award, and Sally and Ken Owens Award (all 2016) from the
7           Western History Association; and the Erminie Wheeler-Voeglin Book Award (2016)
8           from the American Society for Ethnohistory.
9       •   “From ‘Fishing Together’ to ‘To Fish in Common With’: Makah Marine Waters and
10          the Making of the Settler Commons in Washington Territory,” Journal of the West 56.4
11          (Fall 2017): 48-56.
12      •   “Indigenous-Anglo Interactions over Pacific Marine Space: Makahs, Maori, and the
13          British Empire in the Pacific,” in Facing Empire: Indigenous Experiences of Empire in
14          a Revolutionary Age, eds. Kate Fullagar and Michael A. McDonnell (Baltimore: Johns
15          Hopkins University Press, 2018).
16      •   “Articulating a Traditional Future: Makah Sealers and Whalers, 1880-1999,” in Tribal
17          Worlds, eds. Brian Hosmer and Larry Nesper (Albany: State University of New York
18          Press, 2013), 163-184.
19      •   “Marine Tenure of the Makah,” in Indigenous Knowledge and the Environment in
20          Africa and North America, eds. David Gordon and Shepard Krech (Columbus: Ohio
21          University Press, 2012), 243-258.
22      •   “Indigenous Maritime Geographies of the Pacific Northwest,” in Routledge Handbook
23          to North American Indigenous Modernities and Modernisms, eds. Kirby Brown, Alana
24          Sayers, and Stephen Ross (in progress).
25          6.     I have taught research-oriented classes and independent studies that have
26   involved undergraduate students conducting research at the Seattle branch of NARA. During




       DECLARATION OF JOSHUA LEONARD                  6
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1    the Fall 2015 quarter, I taught the “Colloquium in History,” a required course for history
2    majors. I focused the topic on the Indigenous Pacific Northwest, and I had several students
3    pursue topics that brought them into the regional branch of the archives. I even scheduled a
4    field trip there to introduce students to the archives and archivists, showing them how to use
5    finding aids to locate necessary archival documents. If the archives were relocated outside of
6    Seattle, I would be unable to do these types of field trips and hands-on training for students.
7    During the Spring 2020 quarter, I taught this research colloquium again, this time focusing on
8    US federal Indian policy. I had planned to take them to the regional archives so that they could
9    conduct research there, but the pandemic shutdown meant that I had to cancel not just this
10   research field trip but the entire research component of this course, which depended on access
11   to this particular archival institution.
12           I have also guided students through research-based independent studies and honors
13   projects in which they have conducted original research in the regional NARA. During the
14   2018-19 academic year, one undergraduate in American Indian Studies conducted a three-
15   quarter intensive research project on the Quinault Nation’s efforts to conserve and manage
16   their forestry and fishery resources in the second half of the twentieth century, precisely at the
17   time that the federal government sought to liquidate these people’s natural resources. She drew
18   heavily from the archival records related to forestry leases on tribal lands. That same academic
19   year, another student completed her honor’s research thesis on the Suquamish Nation’s
20   successful efforts to maintain their cultural history in the late-twentieth century. She, too, used
21   the regional NARA archives to delve into Suquamish history over the last century. Both
22   women, students of color, accessed non-digitized records only available at the Sand Point
23   facility. Most importantly, both women are headed to graduate school, in part due to the
24   enjoyable and ground-breaking research they were able to conduct at this archive. This branch
25   of the federal archives is key to guiding students through research projects related to regional
26   tribal nations, especially on issues related to environmental management and conservation.




       DECLARATION OF JOSHUA LEONARD                     7
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1           7.      I currently advise four PhD students in the History graduate program at the UW.
2    One of them has used the regional NARA archives at Sand Point to begin working on her
3    dissertation research. Her project investigates the Muckleshoot Nation’s early economic
4    development efforts in the twentieth century. Critical, non-digitized records for her dissertation
5    are only available at the Sand Point facility. With the recent pandemic shutdowns, she has been
6    unable to access these records that she needs in order to move forward on her dissertation. A
7    second student who is completing his MA and preparing to move on for his PhD needs to
8    access a range of records at the regional federal archives, particularly those related to local
9    Indigenous activism in Puget Sound. Because of the pandemic shutdown, he has not even had
10   a chance to review the finding aids or meet with archivists in order to identify the files he needs
11   to review.
12          Much like the research I conducted, both of these students depend on having access to
13   physical copies of non-digitized records and browsing through related files near the ones they
14   pulled. This is how this level of in-depth research is done. If this regional NARA facility is
15   closed, I will be unable to train graduate students at using valuable federal records on topics
16   related to tribal nations in the Pacific Northwest—they simply will not be able to adequately
17   pursue these kinds of topics.
18          8.      I first learned of the impending sale of the National Archives at Seattle on
19   January 14, 2020, when I received an email announcement about it from the Pacific Northwest
20   Historians Guild. At that point I began reaching out to my contacts at various tribal nations to
21   see what they had heard about the December 27, 2019, Public Buildings Reform Board (PBRB)
22   recommendation for the expedited closure and sale of the archives facility at Sand Point. They,
23   too, had just heard the news. About a week later, news of this recommendation was circulating
24   across campus. As Director of the Center for the Study of the Pacific Northwest, I reached out
25   to a colleague who directs the Center for American Indian and Indigenous Studies at the UW,
26   and we drafted a letter recommending that the PBRB reconsider and reverse their




       DECLARATION OF JOSHUA LEONARD                     8
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 1   recommendation. I sent this letter to Adam Bodner, the Executive Director of the PBRB, on
 2   January 25. Copies of this letter were also sent to key people at NARA, including David
 3   Ferriero, Archivist, Debra Wall, Deputy Archivist, Erica Pearson, Director, and Gary Stern,
 4   General Counsel; White House staff, including Tyler Fish, Sr. Policy Advisor & Tribal Liaison,
 5   Jennifer Bradley Lichter, Deputy Assistant to the President for Domestic Policy & Deputy
 6   Director; people at the GSA, such as Emily (Webster) Murphy, Administrator, and Daniel W.
 7   Mathews, Commissioner; Russell T. Vought, Acting Director of OMB; and the offices of
 8   members of Washington State’s congressional delegation, including Rep. Denny Heck, Rep.
 9   Pramila Jayapal, Rep. Derek Kilmer, and Senator Patty Murray. Bodner did not bother to reply.
10   However, I received replies from Brendan Woodbury (Heck’s office), Mindi Lindquist
11   (Murray’s office), the Public and Media Communications Office of NARA, and David
12   Ferriero. I have attached a copy of the letter I sent to the PBRB, along with Ferriero’s reply.
13   Around this time, I also alerted staff at the American Historical Association about the
14   recommended closure. I have also communicated with reporters working on these stories. Most
15   recently, I was consulted for and quoted in Hallie Golden’s “ ‘Our history is contained there’:
16   loss of archives threatens Native American tribes,” The Guardian, December 30, 2020
17   (https://www.theguardian.com/us-news/2020/dec/30/seattle-national-archives-indigenous-
18   people-property-sale).
19          9.      In my previous responses, I have already signaled a number of harms that I will
20   suffer professionally, along with harms to the UW’s academic programs, if the records housed
21   at the Sand Point NARA facility are moved out of Seattle/out of the Pacific Northwest. For me
22   professionally, this will make my current and future research more burdensome. I will need to
23   dedicate weeks of work away from home in order to conduct research that I can normally fit
24   into my usual schedule as a professor at the UW. Not only will this be a burden on my time,
25   but it will also incur financial costs. To spend several weeks at an archive facility in another
26   city will involve spending money on flights, rental cars, hotel accommodations, and meals out.




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1    All told, a two-week research trip, for example, could cost several thousand dollars; if the
2    archives remain in Seattle, it costs nothing for me. In order to cover these costs, I will need to
3    dedicate time to applying for research grants in order to finance these research trips. (And let’s
4    consider the time I have spent drafting this declaration; I think Bodner and the PBRB owe me
5    a sizable check—please let me know where I can send the invoice.) All told, moving the
6    archives out of Seattle will cost me personally. After completing the research I am already
7    committed to finishing, I would likely not pursue research topics that would require heavy use
8    of the documents if they are moved away from Seattle.
9           Moving the records away from the facility in Seattle would also harm undergraduate
10   and graduate students at the UW. I would not be able to train new generations of researchers
11   to use federal records. If the regional branch of the archives is closed, current graduate students
12   will have a hard time completing their dissertations, without incurring substantial financial
13   costs, as outlined above. Future graduate students will be less likely to pursue topics related to
14   local tribal nations and environmental issues without access to these records. Additionally,
15   potential graduate students will look at graduate programs elsewhere instead of coming to the
16   UW, where they have ready access to a critical archival institution, i.e., the one at Sand Point.
17   Moreover, the kinds of graduate students who work in these records are often Native students
18   doing research on their own tribal nations or related Indigenous peoples. So, not only will the
19   loss of the archives create undue hardship for our students, but it will also make it harder for
20   us to diversify the academy, one of the critical missions of what we do as educators at the UW.
21          While these harms all seem quite severe, I worry most about the harms caused to the
22   Pacific Northwest and Alaska’s tribal nations. They reference the archives heavily to protect
23   their treaty rights and natural resources in court, to petition the federal government for federal
24   recognition, and to conduct important genealogical work to register for tribal membership.
25   Their history is literally housed at this branch of the federal archives here in Seattle. Unlike
26   academic researchers, they do not have access to competitive and hard-to-secure research funds




       DECLARATION OF JOSHUA LEONARD                     10
       REID
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1    to finance lengthy trips outside the region in order to do this necessary work. Moving the
2    archives and these records outside Seattle or the Pacific Northwest is a direct violation of their
3    treaty rights and a violation of the federal government’s trust responsibilities to tribal nations.
4    As best as I can tell, not a single tribal nation was consulted in this decision.
5           10.     The irony of this situation is not lost on historians. While the PBRB’s decision
6    to close and sell the regional branch of the federal archives is breathtakingly shortsighted, it
7    comes as no surprise that this has occurred during the time of an administration that rejects
8    expert knowledge and confuses the removal of monuments of white supremacy and racism
9    with the erasure of history. By removing the federal archives from Seattle and the Pacific
10   Northwest, the federal government is actively taking the anti-democratic step of making the
11   people’s history inaccessible to the people. It violates the basic standards of access and
12   preservation, the crux of what it means to be an archive. This pending sale must be stopped,
13   and the federal government must invest in keeping this archival facility in the Pacific
14   Northwest, if not Seattle specifically.
15

16   I declare under penalty of perjury that the foregoing is true and correct.
17
     DATED this 31st day of __December__, _2020_ at _____Seattle_____, ___Washington___.
18                 day              month         year               city                   state
19

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22
                                                    Joshua Leonard Reid
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       DECLARATION OF JOSHUA LEONARD                      11
       REID
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8                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
9                                       AT SEATTLE

10   STATE OF WASHINGTON, et al.,                       Case No.

11                          Plaintiff,                  DECLARATION OF BRANDON
                                                        CHRISTOPHER REYNON
12                    vs.

13   RUSSELL VOUGHT, et al.,

14                          Defendants.

15

16          I, Brandon C. Reynon, declare as follows:
17          1.     I am the Tribal Historic Preservation Officer (THPO)/Assistant Director for

18   the Puyallup Tribe of Indians Historic Preservation Department, and an enrolled member of

19   the Puyallup Tribe of Indians. I am over the age of 18 and competent to testify. I make this

     declaration based on my personal knowledge.
20
            2.     I have been the THPO for 8 years. As THPO, I am responsible for
21
     responsible for overseeing all the preservation and cultural resource protection for the
22
     Puyallup Tribe. Many of the aspects of my job duties include overseeing the protection,
23


     DECLARATION OF BRANDON C. REYNON – PAGE 1                                  LAW OFFICE
                                                                         PUYALLUP TRIBE
                                                                           3009 PORTLAND AVENUE
                                                                             TACOMA, WA 98404
                                                                                (253) 573-7877



                                                                                                    351
 1   preservation and acquisition of archival materials related to the Puyallup Tribe. A majority

 2   of the information in our Tribal Archives is copies obtained over many years by our late

     Tribal Historian Judy Wright. She spent many years in the National Archives in Seattle
 3
     combing thru the archives and all the information related to our Tribe. Today we preserve
 4
     those copies. As technology has changed and copy machines are able to provide higher
 5
     quality copies, we will need to repeat Ms. Wrights work. Prior to serving as THPO, I was
 6
     the Archive Technician from 2008-2012. I spent much of my time archiving tribal
 7   documents that were obtained from the National Archives.

 8          3.     The Puyallup Tribe of Indians located on the Puyallup Tribe Reservation in

 9   Tacoma, Washington is a Federally Recognized Tribe. Since time immemorial, our

     homelands ranged from Three Tree Point to the North, down to the Nisqually River to the
10
     South, West to Hood Canal, and East to the tops of the Cascade Mountain Range. The
11
     Puyallup Tribe is one of the three reservations formed from the Medicine Creek Treaty of
12
     1854, and Fox Island Council of 1856. We have maintained a Tribal Government well
13
     before the arrival of non-native settlers, and we maintain that Sovereignty today. The Tribe
14   consists of over 5,500 members located mostly in Washington State.
15          4.     One of the most important records for the Puyallup Tribe housed at the

16   National Archives are the documents related to Cushman Boarding School. These

     documents are specific to not only the Puyallup Tribe, but also all 29 Tribes of Washington
17
     State, and many Tribes from Alaska, Vancouver, BC, Canada, Idaho, Montana, Oregon, and
18
     Northern California. Children from these states and provinces were sent to Cushman
19
     Boarding School as part of the Tribal genocide conducted by the United States Government
20
     from 1888-1921. It also houses the medical records of Cushman Hospital. Cushman
21   Hospital was a medical facility established by the U.S. Government and housed patients
22   who supposedly had Tuberculosis (TB). Records from the National Archives show that not

23   all the patients (men, women, and children) had TB, but were kept there to be tested as


     DECLARATION OF BRANDON C. REYNON – PAGE 2                                  LAW OFFICE
                                                                          PUYALLUP TRIBE
                                                                           3009 PORTLAND AVENUE
                                                                             TACOMA, WA 98404
                                                                                (253) 573-7877



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1    human subject for such things as vaccines, and sterilization method experiments. These rare

2    documents are un-digitized and are only found at the National Archives in Seattle. These

     documents are extremely important to stay here where the people they affected can access
3
     them when they require it for family and tribal history research. Some of these documents
4
     contain the handwriting of tribal members and their stories in their voice. Simply making a
5
     copy and digitizing it for research will not allow the descendants of these Tribal members
6
     access to their personal history and family survival story. The connection to these
7    documents cannot be measured and cannot be felt over a computer screen. Access to these

8    sensitive, one of kind documents are essential to the historical trauma of the Puyallup

9    people.

               5.   Federal Programs such as the Army Corp of Engineers, U.S. Transit
10
     Administration, National Park Service, and Department of Defense all require information
11
     obtained from the National Archives to build our Tribal Archives. This information is used
12
     in obeying the National Historic Preservation Act requirements for cultural resource
13
     protections. We use this information along with our own Tribal historical knowledge to
14   form the necessary responses to protect our sacred sites and archaeological area.
15             6.   The Puyallup Tribe’s Historic Preservation Department first learned of the

16   decision to sell the Seattle National Archives facility from Tallis King George, a historian

     that we have close connections with and who visits the Seattle facility regularly. This
17
     individual came in for an office visit to inform us of the sale near the end of January 2020.
18
               7.   No Government official had communication, notification, and most
19
     importantly, no consultation occurred with the Puyallup Tribe Chairman or Council, cultural
20
     resource protection staff, or archival staff regarding the potential closure and sale of the
21   Seattle National Archives.
22             8.   Representatives of the Puyallup Tribe of Indians, along with several other

23   Tribes of the Washington met with National Archives staff in February of 2020. In this


     DECLARATION OF BRANDON C. REYNON – PAGE 3                                     LAW OFFICE
                                                                           PUYALLUP TRIBE
                                                                             3009 PORTLAND AVENUE
                                                                               TACOMA, WA 98404
                                                                                  (253) 573-7877



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1    meeting, we voiced our frustration that no consultation was done with the Tribes regarding

2    the closure and sale of the Archives facility and relocation of the documents to other states.

     In this meeting we voiced our objection and offered to work with other Tribes to find a more
3
     suitable location in Washington. We also voiced the connection to the documents and that
4
     digitized access is insufficient for Tribes. Our connection to the records is personal and
5
     spiritual. We felt like our concerns were ignored, and taken out of formality, rather than
6
     with serious consideration.
7           9.      National Archives location in Seattle houses records of the Puyallup Tribe

8    that are invaluable and irreplaceable. In addition to what I stated above regarding the

9    Cushman records, other important records located here include historic documents that

     contain family histories, probate documents, written correspondence letters, census records,
10
     maps, and microfilm that are of great value to our community. Removing these histories
11
     from those people who it matters most to will likely mean a loss of access to these records.
12
     Although the National Archives is promising to digitize the records to make them more
13
     accessible, we know that the number of staff needed and time it will take to fulfill this
14   obligation creates a hardship and could take more than a decade to complete. The records
15   housed in this facility assist with establishing enrollment for members, are used for the

16   enforcement of our treaty rights. Other important documents housed here are the important

     ones that originally recorded our culturally significant sites such as archaeological sites,
17
     Traditional Cultural Properties. These sites are protected under the NHPA. Without access
18
     to the archives locally, our staff will no longer have the opportunity to visit the National
19
     Archives and conduct research on behalf of the Puyallup Tribe and just as important our
20
     membership, who find their family history located in Seattle at this facility. The records
21   they can see after our research provides them a spiritual and cultural connection. Other
22   important records found are maps. The original map of the Puyallup and Muckleshoot

23   reservations from 1856 shows private land claims and important sites that corroborate our


     DECLARATION OF BRANDON C. REYNON – PAGE 4                                    LAW OFFICE
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     oral hi stories and claims of the boundaries that wc ori gi nally agreed to in I 854 during the

 2   negotiations of the Medicine          reek Treaty.   ince that Treaty Counci I and the other

     meetings following it, our boundaries have constantly been disputed. Having such physical
 3
     records near us, only help with lega l claims. Another important record collection that Tribal
 4
     researchers seek are the census records. These have highly valuable cultural meaning as
 5
     many of these records li st Indian names of our ancestors. We hold cultural naming
 6   ceremonies and having access to these names helps us to continue this practice and carry on

 7   the nan1es of our people so they can be remembered. Without these records we'd be unable

 8   to continue this research and ceremony.

 9
     I declare under penalty of perjury that the foregoing is true and correct.
10

11                       L/rr}f
     DATED      this     _        day                     , 'ZvZ...(   at

12

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14
                   day                  month


                                                   yea:~--~te
                                                     BRANDON C. REYNON
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                                                                                   LAW OFFICE
     DECLARATION OF BRANDON C. REYNON - PAGE 5
                                                                            PUYALLUP TRIBE
                                                                              3009 PORTLAND AVENUE
                                                                                TACOMA, WA 98404
                                                                                   (253) 573-7877


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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7
         STATE OF WASHINGTON, et al.,                          NO.
 8
                                     Plaintiff,                DECLARATION OF PROF.
 9                                                             BRETT RUSHFORTH
                  V.
10
         RUSSELL VOUGHT, et al.,
11
                                     Defendants
12
             I, Brett Rushforth declare as follows:
13
             1.        I am an Associate Professor at the University of Oregon and serve as
14
     Department Head for the Department of History in the University's College of Arts and
15
     Sciences. I am over the age of 18 and competent to testify. I make this declaration based on
16
     my personal knowledge and based on my experience as Department Head where I have become
17
     very familiar with the research interests of our 29 faculty and the intellectual pursuits of our
18
     approximately 30 graduate students and 300 undergraduate students who have declared a major
19
     or a minor in History at the University of Oregon.
20
            2.         I hold a PhD in history from the University of California, Davis (2003). Before
21
     arriving at the University of Oregon, I taught for ten years at the College of William and Mary
22
     in Williamsburg, Virginia. I have been Department Head of the University of Oregon's History
23
     Department since June 2018. I am a historian of comparative slavery and colonialism,
24
     specializing in Native American and West African experiences in the French colonies from the
25
     1500s to 1800s. In 2012, I published Bonds ofAlliance: Indigenous and Atlantic Slaveries in
26


       DECLARATION OF PROF. BREIT                                         ATIORNEY GENERAL OF OREGON
                                                                          OREGON DEPARTMENT OF JUSTICE
       RUSHFORTH                                                               I 162 COURT STREET NE
                                                                                   SALEM, OR 97301
                                                                                     (503) 3 78~002




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          New France, which won four national and international awards, including the Merle Curti

     2    Award from the Organization of American Historians for the best book in American social

     3    history. I have also published on the history of Native American nations in the Pacific
     4    Northwest.
     5            3.     As one of only two comprehensive research university members of the
     6    Association of American Universities in the Pacific Northwest, the University of Oregon takes

     7    great care and pride in the quality and quantity of the research we produce and we take very

     8    seriously our role as a research institution in the Pacific Northwest. A number of the scholars

     9    on our faculty specialize in discoveries relating to the unique history of this region, especially
 IO       as it relates to our nation's use and misuse of federal land, as well as the rich history of the

11       diverse number ofNative American tribes in the region. We offer courses on the history of the

12       Pacific Northwest and adjacent regions to more than 300 undergraduate students per year.

13       Approximately half of our graduate students conduct research on subjects that draw upon

14       resources housed at the NARA facility in Seattle and a substantial number of our graduate

15       students focus on the history of the Pacific Northwest, studying the region's public lands,
16       environmental history, rural history, and Native American history. Faculty and graduate

17       students have received national grants for these studies, including PhD candidate Hayley

18       Brazier, who was recently awarded a National Science Foundation grant to study Oregon's

19       historical use of oceanic resources. Current University of Oregon graduate students are

20       pursuing research in the areas that are fundamentally dependent on materials housed in the

21       NARA Seattle facility, including research into Federal Indian policy and the history of PNW

22       tribes and Alaska Natives, the history of the Pacific Ocean, the history of U.S.-Russian
23       relations, PNW environmental politics, and immigration history in the PNW. Faculty around

24       the university have made substantial contributions to our body of research concerning the

25       Pacific Northwest, its lands and its people, including scholars who contribute to the
26


           DECLARATION OF PROF. BREIT                       2                 ATIORNEY GENERAL OF OREGON
           RUSHFORTH                                                          OREGON DEPARTMENT OF JUSTICE
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                                                                                       (503) 378-6002




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          preservation of Native American languages and those who have made seminal contributions

     2    to our understanding of the history of Oregon's Native American tribes.
     3             4.     Records that are currently housed at the National Archives in Seattle are critical

     4    to the work of many scholars in the University of Oregon's History Department, including

     5    faculty, graduates and undergraduates. I estimate that at least five of our faculty and a third of

     6    our graduate students are engaged in research that relies on materials housed at the NARA

     7    Seattle facility. While I understand there is a proposal ultimately to digitize the materials

 8        housed in the NARA Seattle facility, my experience as a scholar has taught me that digital

 9        images cannot replace access to primary materials if one is to truly interpret the lessons of our
10        past.
11                5.     Here is an example of where a digital image of a primary resource simply

12       cannot suffice, as experienced by a colleague, Professor Marsha Weisiger, researching

13       information relating to the Bureau of Indian Affairs. In her research, notations on the back of

14       a photograph that had been examined before only in a digital format revealed the specific

15       location of where the photo was taken. That allowed her to physically visit the point where the

16       photo was taken, making it possible to definitively debunk an (unintentional) false narrative

17       by the Bureau of Indian Affairs that guided and legitimated a conservation program that

18       impoverished the Navajo Nation. It proved to be a pivot point in her multiple award-winning

19       book, Dreaming ofSheep in Navaio Country. . It was at the NARA photo archives in College

20       Park, Maryland, that she found this information, which helped transform her understanding of

21       events. My experience as a scholar is similar; there is very often no substitute for the

22       information one gleans from an original source and it is just not possible for digitization to

23       capture all that must be understood from original material.
24                6.    Most digitizing projects pay attention only to the front of the documents,
25       without clearly recording marginalia or the back of the documents. They also often skip
26       repeated copies of documents, which might include scribblings or information regarding drafts


           DECLARATION OF PROF. BREIT                       3                 ATIORNEY GENERAL OF OREGON
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          or multiple recipients. For example, even had an archivist digitized the back of the photo

     2    Professor Wiesiger found so helpful, it is likely they would not have matched them up in a way

 3        that would have unequivocally debunked the false narrative. (How would she definitively

 4        know it was not the back of the previous or following photo?) There are often little notes

 5       attached to federal documents like that, which may prove important but may not appear so to

 6       the archivist. Penciled information and erasures are often too light to read on a digital copy, as

 7       well, but clearly visible on the original. Often, too, the people charged with digitizing are not

 8       sufficiently careful that all pages are clearly legible. Finally, digitizing is time-consuming and

 9       thus costly. Many collections (for example, most of those associated with the Works Progress

IO       Administration (WPA)) have never been processed, much less digitized, making digitized

11       collections of federal records extremely incomplete. So, effectively, closing the Seattle facility,

12       even with the promise of digitization of its contents, will make the Seattle NARA's documents

13       inaccessible to PNW historians for years to come, and even if digitization is completed at some

14       point in the future, it cannot substitute for the tangible historic record.
15               7.      Another example of the importance of the NARA materials to our scholars is

I6       the Southwest Oregon Research Project (SWORP), a project developed by the University of

17       Oregon and the Coquille Indian Tribe, in collaboration with the Smithsonian Institution. Our

18       scholars' access to materials housed in Seattle not only documented tribal governance and the

19       history of Oregon's Southwestern tribes, but also enabled nearly twenty people to earn

20       graduate degrees at the University of Oregon, including fourteen PhDs and six master's

21       degrees. Access to archival materials and the ability to collaborate easily with tribal leaders

22       was essential, and the relative geographic proximity of these materials to the tribes and our

23       scholars was critical to this work. Moreover, History Professor Steven Beda's research project

24       about forestry and natural resource use by timber workers on Oregon's public lands has

25       engaged rural community members throughout the state, rooted in materials in Seattle's

26       NARA, the removal of which will cause significant delays and can have meaningful impacts


           DECLARATION OF PROF. BRETT                         4                 ATTORNEY GENERAL OF OREGON
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      on very current debates over current land- and public-policy. We in the Northwest are

 2   constantly debating how to use and manage our public lands. Many of the records contained

 3   at Seattle's NARA branch contain the history of past land management decisions, which are

 4   crucial for developing informed future land management policies. Put differently, the closure

 5   of Seattle NARA would not just be a loss to scholars and students. It would also be a loss for

 6   the region and anyone who cares about the past, present, and future of our public lands.

 7   Moving the archives will have a dramatic impact on the ability of these scholars to complete

 8   their research within externally imposed deadlines and thwart the research of even more

 9   scholars of the Pacific Northwest moving forward.
10           8.     Further examples of the importance of ready access to NARA materials can be

11   found in our undergraduate program. Undergraduate classes have conducted research on

12   Northern Paiute History and the Indigenous people of the Great Basin, which includes

13   southeastern Oregon. In recent years, more than twenty undergraduate students have traveled

14   to Seattle to perform research on-site, some supported with fellowships and grants, as an

15   integral experience in their development as scholars. Their work at the NARA Seattle facility

16   has supported their publication of peer-reviewed articles; presentations at local, regional, and

17   national academic     conferences;   and    completion of independent,        faculty-mentored

18   undergraduate research projects submitted as writing samples for successful graduate school

19   applications. Moving the archives will have a dramatic impact on the ability of these scholars

20   to complete their research within externally imposed deadlines and thwart the research of even

21   more scholars of the Pacific Northwest moving forward.

22          9.      Ready access to materials housed in NARA's Seattle facility has been

23   instrumental in allowing our faculty insight into land management issues that help shape

24   current policy. For example, while serving as an expert witness on a case involving Oregon's

25   Board of Forestry (Linn County v. State ofOregon), one of our faculty consulted research that

26   he had previously conducted at the Bureau of Land Management Records at NARA-Seattle.


       DECLARATION OF PROF. BRETT                      5                 ATTORNEY GENERAL OF OREGON
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     As this case is still in the appeals process and may require additional research, moving the

 2   records has the potential to disrupt research crucial to the State of Oregon and the management

 3   of its state forests. Beyond this specific case, NARA-Seattle contains many records pertinent

 4   to public lands in the Northwest. Moving these records not only threatens our scholarly

 5   research, but also our ability to offer research-informed opinions on contemporary legal and

 6   policy matters.
 7             I 0.    In February 2020, the Dean of Libraries for the University of Oregon co-signed

 8   a letter to numerous federal agencies involved in the proposal to move the NARA Seattle

 9   archives. In that letter, we, along with colleagues at universities in Oregon, Washington, and

10   Alaska, described the harms that would result to our institutions and our scholars by the

II   proposed move. To my knowledge, the University of Oregon received no response to this

12   letter.
13             1l.     The loss of this regional archive will diminish opportunities for undergraduate

14   student research and learning across many disciplines. It will become prohibitively expensive

15   for undergraduate training to include experience working with the National Archives, the most

16   significant archive of historical materials in the nation. Furthermore, as explained in paragraph
17   7, the archives housed in Seattle were critical for the doctorial work of University of Oregon

18   students and the Coquille Indian Tribe, specifically for completion of the Southwest Oregon

19   Research Project (SWORP). Moving the materials from the region, which is already

20   geographically isolated in terms of travel costs, will harm advanced students' access to

21   materials, scholars, and tribes. In an era when the public has rightly expressed concern about

22   the increased cost of higher education, moving archival materials to two distant archives, each

23   more than one thousand miles away, will dramatically increase research costs for those
24   studying the history of the Pacific Northwest and the development and administration of

25   federal policy in the region, adding to the financial burden of graduate education. About a third

26   of current UO graduate students in history have research activities that depend upon the


       DECLARATION OF PROF. BRETT                        6                ATTORNEY GENERAL OF OREGON
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     archives in Seattle. Additionally, a faculty member, Kevin Hatfield, has for more than twenty

 2   years worked closely with the Basque communities in Oregon, Idaho, and Nevada, sharing

 3   extensive source materials housed in Seattle. This work, and a similar project to broaden public

 4   access to archival materials, will no longer be possible if the collections in Seattle are spread

 5   to archives in southern California and Missouri. The very act of moving these records to distant

 6   archives means that researchers studying the history of the Pacific Northwest will have no

 7   access to vital records for a period of years, while they are readied for shipment, shipped,

 8   unpacked, and inventoried. Thus, even ignoring the additional cost and time involved in

 9   traveling to distant archives, for a long period of time, none of these vital records will be

IO   available at all. That means important research cannot be done, which will impact graduate

11   students who are currently researching and writing dissertations and faculty scholars who are

12   writing books on the history of the Pacific Northwest.

13

14   I declare under penalty of perjury that the foregoing is true and correct.

15
     DATED this51't day of      .),'l1JVAJ::j , 2."1.(   a t _W
                                                              __6Ci_/J
                                                                     _[_, _ _ _ Oregon
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                day                 month
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      DECLARATION OF PROF. BRETT                         7                ATTORNEY GENERAL OF OREGON
                                                                          OREGON DEPARTMENT OF JUSTICE
      RUSHFORTH                                                               I 162 COURT STREET NE
                                                                                  SALEM, OR 9730 I
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 5
 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7
          ST ATE OF WASHING TON, et al.,                      NO.
 8
                                     Plaintiff,               DECLARATION OF DELANO
 9                                                            SALUSKIN
                  V.
10
         RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12
             I, Delano Saluskin, declare as follows:
13
             I.        I am an enrolled member of the Confederated Tribes and Bands of the Yakama
14
      Nation ("Yakama Nation"), and currently serve as Chairman of the Yakama Nation Tribal
15
      Council. l am over the age of 18 and competent to testify. I make this declaration based on my
16
      personal knowledge.
17
             2.        I have been Tribal Council Chairman for one year, and have served as a Yakama
18
     Nation Tribal Council Member for nine years. As Tribal Council Chairman, I am responsible
19
      alongside my fellow elected officials for asserting and defending the Treaty with the Yakamas
20
     of June 9, 1855, 12 Stat. 951 ("Treaty of 1855"), and all Yakama Nation laws developed
21
     thereunder. These efforts often require that Yakama Nation staff under my direction access to
22
     the National Archives at Seattle to research the Yakama Nation's records stored there.
23
             3.        The Yakama Nation is a sovereign, federally-recognized Native Nation
24
     pursuant to our inherent sovereignty and the rights reserved in the Treaty of 1855. In the Treaty
25
     of 1855, our ancestors reserved the 1.4 million acre Yakama Reservation in what is now central
26
                                                                             Y AKA~lA NATION
     DECLARATION OF DELANO SALUSKIN - I                                  OFFICE OF LEGAL COUNSEL
                                                                         P.O. Box 150 / 401 Fort Road
                                                                            Toppenish, WA 98948
                                                                            Phone (509) 865-7268




                                                                                                         363
      Washington State for our exclusive use and benefit. The Yakama Nation 's Governmental

 2    Headquarters are located within the Yakama Reservation, where our Government serves more

 3    than 11 ,000 enrolled Yakama Members.

 4           4.      The National Archives at Seattle houses a collection of Yakama Indian Agency

 5    records directly relevant to the Yakama Nation, including but not limited to the Yakama

 6    Nation' s Tribal Council and General Council meetings from the 1940' s through the I960' s

 7    that is both essential to the Yakama Nation ' s history and currently undigitized. These records

 8    include motions, resolutions, and minutes, which constitute many of the laws and supporting

 9    legislative histories that remain in legal effect throughout our Yakama Territory today.

10           5.      The Yakama Nation uses records maintained at the National Archives at Seattle

11    to assert and defend its inherent sovereign and Treaty reserved rights.         For example, the

12    Yakama Nation researched and relied on Yakama Indian Agency records from Record Group

13    75 located at the National Archives at Seattle to support our recent federal litigation against a

14    local jurisdiction who challenged the location of the Yakama Reservation' s boundaries. See

15    Confe derated Tribes and Bands of the Yakama Nation v. Klickitat County, et al., Nos. I9-

16    35807, 19-35821 (9th Cir. argued Nov. 20, 2020).

17           6.      This is not the first time that the Yakama Nation has disputed the National

18    Archives And Records Administration ' s ("NARA") improper handling of the Yakama

19    Nation's records. The Yakama Nation continues to request that NARA protect and preserve

20    the Yakama Nation's Treaty Map, which was drawn by Washington Territorial Governor Isaac

21   Stevens at the 1855 Walla Walla Treaty Council to show our ancestors the scope of their

22   Treaty-reserved lands. This record is extremely significant as one of the few original records

23   remaining from the Walla Walla Treaty Council. The Treaty Map was transferred back to

24    Washington D.C. along with the Treaty of 1855 and promptly lost in the United States' records

25   until 1930. NARA now refuses to return the Treaty Map to its rightful and protected place in

26
                                                                               YAKAMA NATION
     DECLARATION OF DELANO SALUSKIN - 2                                   OFFIC E: OF LEGAL COUNSEL
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                                                                             Toppenish, WA 98948
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      the Yakama Nation's Treaty File; instead leaving it out for public circulation at the National

 2    Archives at College Park, MD.

 3           7.      The Yakama Nation first learned that the United States was selling the National

 4    Archives at Seattle from Dr. Andrew Fisher, ethnohistorian and professor at William and Mary

 5    College in Virginia. The Yakama Nation was not consulted on the sale pursuant to Executive

 6    Order 13175 or the United States' trust responsibilities under the Treaty of 1855 prior to

 7    learning of the proposed sale from Dr. Fisher. On January 24, 2020, the Yakama Nation

 8    notified the United States by letter of our objections to the National Archives at Seattle sale,

 9   and demanded consultation. To date, the United States has refused to consult on a government-

IO   to-government basis with the Yakama Nation concerning this proposed sale.

ll           8.      A true and correct copy of the Yakama Nation's January 24, 2020 letter sent to

12   the United States Office of Management and Budget, United States Public Buildings Reform

13   Board, and NARA is attached as Exhibit A.

14           9.      The Yakama Nation will be extremely prejudiced if the National Archives at

15   Seattle is sold and the Yakama Nation' s records are relocated outside the Pacific Northwest.

16   Many of the Yakama Nation's foundational resolutions, and the records related thereto, are

17   stored at the National Archives at Seattle. The Yakama Nation will have to decide whether to

18   expend significant resources to digitize the entirety of NARA's Yakama Nation-related

19   collection, or expend significant resources for travel and lodging every time the Yakama

20   Nation needs to access its records. This will injure our ability to effectively assert and defend

21   our Treaty-reserved rig hts. Enrolled Yakama Members researching their ancestors and their

22   lands will have to overcome sig nificant financial hurdles to access their records into the future.

23   Given the United States' significant record management failures in the past, we are concerned

24   that the transfer of these records will result in further misplaced Yakama Nation documents

25   that may never be found again. This sale should never have been authorized without the United

26
                                                                               YAKAMA NATION
     DECLARATION OF DELANO SALUSKIN - 3                                    OFFICE OF LEGAL COUNSEL
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                                                                             Toppenish, WA 98948
                                                                             Phone (509) 865-7268




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      States first consulting with the Yakama Nation about the significant injury this decision will
 2    cause to our Members and our Government.
 3

 4    I declare under penalty of perjury that the foregoing is true and correct.
 5
      DATED this 22nd day of December, 2020 at Toppenish, Yakama Reservation.
 6

 7
 8

 9                                                  Delano Saluskii{, Chai~an
                                                    Yakama Nation Tribal Council
10

II

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                                                                               YAKAMA NATION
     DECLARATION OF DELANO SALUSKIN - 4                                   OFFICE OF LEGAL C O UNSEL
                                                                          P.O. Box 150 / 401 Fort Road
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EXHIBIT A




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                                Confederated Tribes and Bands
                                of the Yakama Nation
                                                                                                     Established by the
                                                                                                     Treaty of June 9, 1855




•            January 24, 2020

             Sent via Electronic Mail

             To: Office of Management and Budget
                 c/o Mick Mulvaney
                 john.m.mulvaney@omb.eop.gov

             To: Public Buildings Reform Board, GSA
                 c/o Angela Styles, Board Member
                 angela.styles@pbrb.gov
                 fastainfo@pbrb.gov

             To: National Archives
                 c/o David S. Ferriera, Archivist
                 david.ferriero@nara.gov

          Re: CONSULTATION DEMAND - PROPOSED SALE OF THE SEATILE BRANCH OF THE NATIONAL
              ARCHIVES AND RECORDS ADMINISTRATION

          To Whom It May Concern:

                 I write at the direction of the Yakama Nation Tribal Council Executive Committee
         for the Confederated Tribes and Bands of the Yakama Nation to oppose to proposed closure
         and sale of the Seattle Branch of the National Archives and Records Administration
         ("Seattle Branch"). The Seattle Branch holds a treasure trove of irreplaceable historical
         information relating to the Yakama Nation. This 73-year old archive and records center
         was created here in the Pacific Northwest to make vital historic information more
         accessible for the people who were most likely to use them. The archives quietly and
         without fanfare are a critical part of the Northwest historical repository for Native peoples,
         giving them direct access to critical government documents regarding their history.

               Without question, the Seattle Branch is an invaluable resource for Native peoples of
        the Pacific Northwest. So the news that the Public Buildings Reform Board, a federal
        advisory committee that has been in existence for less than year, has identified the
        National Archives at Seattle as "High Value Asset" that should be sold to the highest bidder
        through an expedited sale and disposal process, is a disturbing revelation. Even more
        disturbing is that this determination was made in late December 2019 without following
        the government-to-government tribal consultation requirements of Executive Order 13175
        despite the clear "tribal implications" of this decision. 1


         See Exec. O1·der No. 13,175, 65 Fed. Reg. 67,249 (Nov. 9, 2000) (Consultation and Coordination with Indian
         1


        Tribal Governments) (requiring federal agencies to establish an accountable process to ensure meaningful and

                                           Post Office Box 151, Toppenish, WA 98948 (509) 865-7268




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 LETI'ER - CONSULTATION DEMAND
 JANUARY 24, 2020



         The Yakama Nation regularly makes use of the National Archives at Seattle to carry
 out research of their history. If the National Archives at Seattle is sold, the archived
 materials will have to be moved. The materials will be split up, with records going to
 Kansas City, MO and Riverside, CA. Splitting up these records and archived materials will
 be a profound impediment to the Yakama Nation's historical work, increasing the time,
 labor, and costs necessary to access these critical records. The integrity of this vast
 collection, along with its ecosystem of archivists and librarians, which helps make the
 National Archives at Seattle an invaluable resource for the Yakama Nation, will be lost.

        The federal government is looking to cash in on the property the archives sit on. But
if it does so, it does it at the expense of access, preservation and protection of materials
unique to the Yakama Nation. The United States must engage in government-to
government consultation before any final decision is made. Moving forward without
having consulted with the Yakama Nation is improper and the process must be halted and
analyzed correctly. Until such time, we request you suspend this damaging and not-fully-
considered sale and transfer.

         Please respond to this request for government-to-government consultation in
writing, with a courtesy copies to Mr. Ethan Jones, Lead Attorney for the Yakama Nation
Office of Legal Counsel, at P.O. Box 150, Toppenish, WA 98948 and electronically at
ethan@yakamanation-olc.org.

Respectfully,




timely input by tribal officials in the development of regulatory policies that have tribal implications. Policies
with tribal implications are ones that have substantial direct effects on one or more Indian tribes, on the
relationship between the federal government and Indian tribes, or on the distribution of power and
responsibilities between the federal government and Indian tribes.)

                                                    PAGE20F2




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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                            NO.
 8
                                     Plaintiff,                 DECLARATION OF VETA R.
 9                                                              SCHLIMGEN
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12

13

14
     I, Veta R. Schlimgen, declare as follows:
15
            1.        I am a professional historian with the rank of Associate Professor who teaches
16
     at Gonzaga University. I am over the age of 18 and competent to testify. I make this declaration
17
     based on my personal knowledge and my expertise as a historian.
18
            2.        I am an expert in the history of the United States in the 20th century, particularly
19
     in the areas of U.S. expansion and empire, U.S. citizenship and constitutionalism, racial and
20
     ethnic relations (especially Asian American and Pacific Islander American), and the Pacific
21
     world. My research is on Filipinas/os in the U.S. West, and I am the author of “The Invention
22
     of ‘Noncitizen American Nationality’ and the Meanings of Colonial Subjecthood in the United
23
     States” (Pacific Historical Review) and “Filipino Students, Racial Formation, and the
24
     Consequences of Exclusion” (Pacific Northwest Quarterly). I hold a Doctor of Philosophy
25
     degree in History from the University of Oregon. I received the 2010 W. Turrentine Jackson
26




       DECLARATION OF VETA R.                              1              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       SCHLIMGEN
                                                                                                        370
 1   Award from the American Historical Association’s Pacific Coast Branch for the best
 2   dissertation on 20th-century western history. In addition to Gonzaga University, I have worked
 3   as a historian and educator at the University of California, Riverside, California State
 4   University, Fullerton, and as the Director of the Brea Museum and Heritage Center in Brea,
 5   California.
 6          3.      I have done extensive archival research on the West Coast, and the NARA
 7   Seattle branch has been crucial to my research. Indeed, part of the appeal of my job at Gonzaga
 8   is because of its geographic proximity to the Seattle archives. The many documents at NARA-
 9   Seattle provide rare details that help historians communicate the stories of migrants and
10   immigrants from the Pacific region to the Pacific Northwest and Alaska. This includes people
11   whose origins are in Oceania (ranging from the Marshall Islands and Micronesia to Guam and
12   Samoa) and in Asia, from Korea to Indonesia. Historians like me need the NARA archives in
13   Seattle to build and understand multi-directional histories. These histories explain the impact
14   of U.S. expansion into the Pacific and its influence there as well as the origins of our regional
15   diversity. Histories of Asian Americans highlight the unique dynamics of the Pacific Northwest
16   when compared to California. And all these histories relied on NARA-Seattle sources.
17          4.      Specifically, I have used immigration case files on individuals who migrated
18   from the Philippines and materials on Filipino who worked in Alaska and moved through the
19   port at Seattle. These documents are significant because they reveal the terms of U.S.
20   colonialism (and colonial policy) in the Philippines. For example, a few case files show that
21   part-Chinese Filipinos were barred from entering the mainland U.S. (because the U.S.
22   implemented Chinese exclusion laws in its Pacific colonies). Other documents provide insight
23   into the Cold-War campaign of the Seattle Immigration inspector who worked to try to exclude
24   Filipinos returning from Alaska. The value of these records on-site (and in physical rather than
25   digital form) is that I happened upon source materials among case files. On-site archives
26   provide greater access to the wealth of material in the NARA collection.




       DECLARATION OF VETA R.                           2              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       SCHLIMGEN
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 1          5.      I have used—and plan to continue to use—NARA Seattle materials to
 2   reconstruct the history of migration between the Asian Pacific, Oceania, and the western
 3   United States. The Seattle NARA records provide a unique portrait of Filipina/o migration to
 4   the U.S., one that is distinct from the stories told by the records at the NARA San Bruno
 5   location. Pacific Northwest migrants had a different background and purpose than California
 6   migrants, something demonstrated by the Seattle NARA records. I have documented these
 7   distinctions in journal articles I published, including a Summer 2020 article in the Pacific
 8   Historical Review.
 9          6.      These records are important to the work that historians do and to contemporary
10   understandings of our region and national communities. They detail the terms of U.S.
11   imperialism in the Pacific and, particularly, in the Philippines, as well as the on-going
12   relationship the U.S. has with former colonies and dependent regions. I used NARA Seattle
13   materials to understand the implementation of imperial law and the impact of this law on the
14   Philippines and on Filipino communities in the Northwest.
15          7.      The failure to notify any of my professional organizations, including the
16   American Historical Association and the Society for Historians of American Foreign
17   Relations, suggests a real lack of awareness of the significance of the Seattle NARA archives
18   to the work of historians and the significance of this history to the region and the nation.
19          8.      Removal of the NARA Seattle records will create obstacles to access.
20   Specifically, I planned to use the archives, which are easier to access regularly in Seattle (I live
21   in Spokane, about 300 miles away). Removal of the archives creates barriers to access and a
22   greater financial burden to conduct research because of the need to travel beyond the Pacific
23   Northwest.
24          9.      Removal of this regional archives works against the purpose of the National
25   Archives system by restricting access and creating geographic obstacles to free and open access
26   to these records.




       DECLARATION OF VETA R.                             3              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       SCHLIMGEN
                                                                                                       372
 1          I declare under penalty of perjury that the foregoing is true and correct.
 2
     DATED this fourth day of January, 2021, at Spokane, Washington.
 3

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 5
                                                  Veta R. Schlimgen
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       DECLARATION OF VETA R.                           4             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       SCHLIMGEN
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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                          NO. 2:21-cv-00002
 8
                                     Plaintiffs,             DECLARATION OF AARON M.
 9                                                           SCHUTT
                  V.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12
            I, Aaron M. Schutt, declare as follows:
13
             1.        I am President and Chief Executive Officer of Doyon, Limited (Doyon), the
14
     Alaska Native regional corporation for Interior Alaska. I am also an enrolled Tribal member
15
     of the Native Village of Tanana. I am over the age of 18 and competent to testify. I make this
16
     declaration based on my personal knowledge.
17
            2.         I have been President and CEO of Doyon since 2011 and have worked at the
18
     company since 2006. Prior to my time at Doyon, I was a practicing attorney licensed in Alaska.
19
     I primarily represented Tribes and Alaska Native corporations.
20
            3.         Doyon is headquartered in Fairbanks, Alaska. Doyon owns 12.5 million acres
21
     of land in Alaska that it received pursuant to the Alaska Native Claims Settlement Act
22
     (ANCSA) of 1971. Doyon has over 20,000 Alaska Native shareholders. As President and CEO,
23
     I am responsible for overseeing the business operations of the company, our shareholder
24
     records and relations, and land management, among other things. Each of these Doyon
25
     functions uses the records at the National Archives at Seattle periodically.
26




       DECLARATION OF AARON M.
       SCHUIT




                                                                                                  374
            4.       Doyon's Alaska Native shareholders live across the United States. On

2    December 17, 2020 Doyon' s shareholder information system records indicate that we have

3    20,349 shareholders. The following are the locations of those shareholders:

4                •   3,663 rural Interior Alaska villages within the Doyon region;

5                •   5,494 Fairbanks and Fairbanks North Star Borough;

6                •   5,698 within Alaska, but outside of Interior Alaska; and,
7                •   5,494 outside of Alaska, including each of the forty-nine other states.

 8   There are 1,476 Doyon shareholders living in the Pacific Northwest states of Washington,

9    Oregon and Idaho, including 1,056 Doyon shareholders living in Washington, 309 in Oregon,

10   and 111 in Idaho.
11          5.       The National Archives at Seattle houses many records important to Doyon and

12   to its individual shareholders. The National Archives at Seattle house some original ANCSA
13   records, pre-statehood Alaska land records, Alaska Census records, Bureau of Indian Affairs

14   (BIA) records for Alaska, and litigation records for the Federal District Court for the District

15   of Alaska. Many of these records are unique, rare, un-digitized, and otherwise unavailable

16   elsewhere. It is very important that Doyon's staff can browse physical records as opposed to

17   remotely requesting copies of documents sight unseen.
18          6.       Many of our Alaska Native shareholders have Certificates of Indian Blood
19   (CIBs) that are inaccurate or incomplete. Doyon uses ems for several purposes related to

20   shareholder status. The BIA issues CIBs to Alaska Natives based on its records. The BIA

21   records for Alaska are housed at the National Archives in Seattle. Many of our shareholder
22   records detailing shareholders' Alaska Native blood quantum are based upon original BIA

23   records from the 1970s and earlier. In 1992 and 2007, Doyon, pursuant to ANCSA began

24   enrolling descendants, born after 1971, of original shareholders. In order to receive these Class
25   C shares, a descendant must be at least one-quarter Alaska Native. It is critical for Doyon and

26   its shareholders to be able to access BIA records to help correct incomplete or inaccurate ems




       DECLARATION OF AARON M.                          2
       SCHUTT




                                                                                                    375
 1   that affect descendants' ability to enroll to Doyon and for voting status of other shareholders.

 2   I have had to correct my own Doyon shareholder records related to my Alaska Native blood

 3   quantum, that was based on my BIA          cm. I made this correction to ensure my Doyon
4    shareholder file is accurate for my children and future grandchildren.

 5          7.      Doyon also uses the records stored at the National Archives at Seattle to help

 6   protect the subsistence and conservation interests of its Alaska Native shareholders. ANCSA

 7   extinguished aboriginal hunting and fishing rights for Alaska Natives throughout Alaska.

 8   ANCSA, 43 U.S.C. §1603(b). The Alaska National Interest Land Conservation Act of 1980

 9   (ANILCA) recognized a subsistence preference for rural Alaskans, including Alaska Natives

10   engaged in hunting, fishing and other subsistence uses on federal public lands included in

11   federal conservation system units. ANILCA, P.L. 96-487, Title VIII. These records are

12   important as there is a now forty-year history of litigation in state and federal courts to protect

13   Alaska Native subsistence rights in these conservation system units. The Seattle archives

14   facility is therefore used in connection with Federal programs for conservation purposes,

15   namely the Federal subsistence program in Alaska, including research in connection with that

16   program.

17          8.      I have also personally used the National Archives at Seattle in my professional

18   work. In 2016, I wrote an article published in the Alaska Law Review titled ANCSA Section

19   7(i): $40 Million Per Word and Counting, 33 Alaska L. Rev. 229 (2016). The article addressed

20   the long history of litigation in the 1970s and early 1980s around the revenue sharing provision

21   of ANCSA called Section 7(i). The records for the Federal District Court for the District of

22   Alaska are housed at the National Archives in Seattle. I used a number of those records in my

23   research and writing of the law review article.

24          9.      In 2017, I co-authored an article published in the Alaska Law Review titled The

25   Grand Compromise: The ANCSA Section 7(i) Settlement Agreement, 34 Alaska L. Rev. 201
26   (2017). The article addressed the settlement agreement that ended the long history of litigation




       DECLARATION OF AARON M.                           3
       SCHUTI




                                                                                                      376
 1   in the 1970s and early 1980s about ANCSA Section 7(i). The records for the Federal District

2    Court for the District of Alaska are housed at the National Archives in Seattle. I used a number

3    of those records in my research and writing of the law review article.
4            10.       Doyon learned from public media reports about the plan to relocate the records

5    of the National Archives stored in Seattle. In 2014, Doyon learned from public media reports

6    about the decision to close the Anchorage, Alaska National Archives facility and move all of

7    the Alaska records to the National Archives at Seattle.
 8           11.       No federal agency or federal government representative contacted Doyon in

 9   connection with the federal government's decision to sell the National Archives at Seattle. The

10   federal government has an obligation to consult with Doyon, as an Alaska Native corporation

11   for federal actions that impact an Alaska Native corporation, its lands or shareholders. It also

12   had this obligation in 2014 when it closed the Anchorage, Alaska facility and failed to uphold

13   its obligation.
14

15           I declare under penalty of perjury that the foregoing is true and correct.
16

17
             DATED this ±_ day of j,P,.-,1.v"'-""   J , 1.o q   at Anchorage, Alaska.

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20                                                  Aaron M. Schutt

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       DECLARATION OF AARON M.                           4
       SCHUIT




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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                             NO.
 8
                                        Plaintiff,               DECLARATION OF WILLIAM E.
 9                                                               SIMEONE
                    v.
10
        RUSSELL VOUGHT, et al.,
11
                                        Defendants.
12

13             I, William E. Simeone, declare as follows:

14             1.        I am over the age of 18 and competent to testify. I make this declaration based

15   on my personal knowledge.

16             2.        I am an anthropologist who contracts with Alaska Native Corporations and

17   government agencies to research and write about the history and culture of Alaska Native

18   people.

19             3.        When there was a branch of the National Archives in Anchorage I frequently

20   used a variety of records including U.S. census data, reports from the Bureau of Indian Affairs,

21   letters and reports from the U.S. Fish and Wildlife Service, letters and reports from the U.S.

22   Department of Interior Department of Education, letters and reports from U.S. Department of

23   the Army, and letters and reports in the Congressional Record. These records provided

24   information and details about Alaska history and Alaska Native communities not available

25   anywhere else. Moving the records out of Alaska made it more difficult for me to access

26   necessary data that enriched my research. Moving the archives out of Seattle and




       DECLARATION OF WILLIAM E.                           1              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       SIMEONE
                                                                                                               378
 1   storing the information in warehouses will make it impossible to access information that is
 2   crucial to understanding Alaska Native history.
 3          I declare under penalty of perjury that the foregoing is true and correct.
 4
     DATED this 30th day of December 2020 at Carbondale, Illinois.


                                                    lu�ES;.�
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                                                   William E. Simeone
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      DECLARATION OF WILLIAM E.                        2             ERROR! AUTOTEXT ENTRY NOT DEFINED.
      SIMEONE


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6                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
7
        STATE OF WASHINGTON, et al.,                        NO. 2:21-cv-00002
8
                                    Plaintiffs,             DECLARATION OF POLLACK
9                                                           SIMON JR.
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                    Defendants,
12
            I, Pollack Simon Jr., declare as follows:
13
            1.        I am the Chief and Chairman of Dena’ Nena Henash, known in English as the
14
     Tanana Chiefs Conference (TCC). I am over the age of 18 and competent to testify. I make
15
     this declaration based on my personal knowledge.
16
            2.        TCC is an intertribal organization comprised of the thirty-seven federally
17
     recognized Alaska Native Tribes and five Alaska Native communities in the Interior Alaska
18
     Region.1 TCC itself is an Indian Tribe under the Indian Self-Determination and Education
19
     Assistance Act. See 25 U.S.C. § 5381(b).
20

21          1
               The federally recognized Tribes located in the Tanana Chiefs Conference region are as
     follows: Alatna Village, Allakaket Village, Anvik Village, Arctic Village, Beaver Village, Birch
22   Creek Tribe, Chalkyitsik Village, Circle Native Community, Evansville Village (aka Bettles
23   Field), Galena Village (aka Louden Village), Healy Lake Village, Holy Cross Village, Hughes
     Village, Huslia Village, Koyukuk Native Village, Manley Hot Springs Village, McGrath Native
24   Village, Native Village of Eagle, Native Village of Fort Yukon, Native Village of Minto, Native
     Village of Ruby, Native Village of Stevens, Native Village of Tanacross, Native Village of
25   Tanana, Native Village of Tetlin, Native Village of Venetie Tribal Government, Nenana Native
     Association, Nikolai Village, Northway Village, Nulato Village, Organized Village of Grayling
26   (a.k.a. Holikachuk), Rampart Village, Shageluk Native Village, Takotna Village, Telida Village,




       DECLARATION OF POLLOCK SIMON                     1
       JR.
                                                                                                  380
1           3.      I am an enrolled Tribal member of the Allakaket Village, a federally recognized
2    Tribe and one of TCC’s member Tribes.
3           4.      TCC was formed in 1915, shortly after the Klondike and Alaska Gold Rushes,
4    to negotiate with the United States Government, to protect our Alaska Native land rights, to
5    fight for Tribal self-determination, and to encourage Alaska Native unity. TCC has a long
6    history of dealing with the United States Government, dating back to our earliest days.
7    Because of our long history of dealings with the United States, many irreplaceable, important,
8    historically and culturally significant federal documents relating to TCC and to our member
9    Tribes are stored in the National Archives’ Seattle facility.
10          5.      I have been the Chief and Chairman of TCC since October of 2020 and
11   previously served as a TCC Executive Board Member and its Secretary / Treasurer. As Chief
12   and Chairman, I am responsible for the general supervision, management, and control of the
13   day-to-day operations of the programs, services, and activities of TCC in accordance with the
14   policy and direction of the TCC Board of Directors.
15          6.      TCC is based in Fairbanks, Alaska. TCC’s vast Interior Alaska Region covers
16   an area of 235,000 square miles, which is equal to 37% of the entire State of Alaska and is just
17   slightly smaller than the size of the State of Texas.
18          7.      TCC is a signatory to the Alaska Tribal Health Compact with the United States
19   Secretary of Health and Human Services, and carries out federal programs for Alaska Natives,
20   American Indians, and other eligible individuals, through funding agreements with the Indian
21   Health Service and the Bureau of Indian Affairs, as authorized by, inter alia, the Indian Health
22   Care Improvement Act, 25 U.S.C. §§ 1601 et seq., P.L. 94-437, as amended, and Titles IV and
23   V of the Indian Self-Determination and Education Assistance Act, 25 U.S.C. §§ 5301 et seq.,
24

25   Village of Dot Lake, and Village of Kaltag. Indian Entities Recognized by and Eligible To
     Receive Services from the United States Bureau of Indian Affairs, 85 Fed. Reg. 5462, 5466-67
26   (Jan. 30, 2020).




       DECLARATION OF POLLOCK SIMON                      2
       JR.
                                                                                                    381
 1   P.L. 93-638, as amended (“ISDEAA”). Pursuant to ISDEAA, TCC operates the Chief Andrew
 2   Isaac Health Center, a state-of-the-art regional health clinic in Fairbanks, Alaska, and provides
 3   health services in village clinics throughout most of the interior region. TCC provides a wide
 4   range of health care and social services in a way that balances traditional Athabascan and
 5   Alaska Native values with modern demands to the forty-two Alaskan communities in the
 6   Interior Region. TCC began in 1915 at a meeting of the Traditional Chiefs of the Athabascan
 7   Tribes of the Alaska Interior. At that time, the Traditional Chiefs of the Tanana Athabascan
 8   Tribes met with United States District Court Judge James Wickersham to negotiate over land,
 9   employment, education, conservation, health care and management of hunting and fishing
10   resources in the Interior Region. TCC subsequently incorporated as a nonprofit corporation
11   “[t]o secure the Alaska Native people of the region of the Tanana Chiefs Conference the rights
12   and benefits to which they are entitled under the laws of the United States and the State of
13   Alaska,” “[t]o promote the common welfare of the Natives of Alaska and their physical,
14   economic, and social well-being,” “[t]o seek an equitable adjustment and settlement of Native
15   affairs and the land claims of the Native people of said region,” and “[t]o promote good
16   government,” among other purposes. TCC is “the historic successor to the Tanana Chiefs
17   Conference, the traditional consultative and governing assembly of the Athapascan people of
18   Interior Alaska, from time immemorial, and shall have all of the rights, duties, powers, and
19   privileges of this historic assembly.”
20          8.      The National Archives at Seattle houses many irreplaceable records critically
21   important to TCC, to its member Alaska Native Villages and Tribes, and to all our individual
22   Tribal citizens in the Interior Region. The National Archives at Seattle house original Alaska
23   Native Claims Settlement Act (ANCSA) records, pre-Statehood Alaska land records, Alaska
24   Census records, Bureau of Indian Affairs (BIA) records for Alaska, and records of the United
25   States District Court for the District of Alaska. Many of these records are unique, exceedingly
26   rare, un-digitized, and unavailable elsewhere. It is absolutely critical that TCC’s member




       DECLARATION OF POLLOCK SIMON                     3
       JR.
                                                                                                    382
1    tribes, Tribal citizens and TCC’s staff are able to review the original, physical documents and
2    records at the Archives, as opposed to remotely requesting copies of documents sight unseen.
3             9.    The Alaska Native Claims Settlement Act, Alaska National Interest Lands
4    Conservation Act, and pre-Statehood Alaska land records in the Archives are particularly
5    important to TCC and Tribal citizens as those records relate to Alaska Native allotments, and
6    applications for Alaska Native allotments.
7             10.   Briefly, in 1906, Congress passed the Alaska Native Allotment Act. It
8    authorized individual Alaska Natives a homestead of up to 160 acres of land. In 1956, the
9    Native Allotment Act was amended to require Native allotment applicants to provide proof of
10   continuous use and occupancy of the land for five years. With the passage of ANCSA, the
11   Native Allotment Act was repealed on December 18, 1971. However, all applications pending
12   on or before December 18, 1971, with any agency of the Department of the Interior were
13   allowed to be processed under the 1906 Act as amended.
14            11.   TCC has a Native allotment program that helps our Tribal citizens with pending
15   Native allotment applications. Even though it has been just over forty-nine years since the
16   passage of ANCSA and the repeal of the Native Allotment Act, many original and
17   reconstructed Native allotment applicants and their heirs are still fighting for title to the land
18   they used, applied for, and rightfully deserve.
19            12.   Given the passage of time between the filing of a Native Allotment application
20   (prior to December 18, 1971) and today, proving continuous use and occupancy can be
21   extremely difficult. Many Native allotment applicants must go through an administrative
22   hearing process to prove continuous use and occupancy of the lands they applied for. These
23   allotment hearings can take years, even decades, from start to finish. Witnesses pass away,
24   applicants’ memories fade, and documents are lost as each administrative process continues
25   along.
26




       DECLARATION OF POLLOCK SIMON                      4
       JR.
                                                                                                     383
 1          13.       ANCSA and pre-statehood records located at the National Archives at Seattle
 2   hold critical evidence that Tribal citizens can use to prove use and occupancy for their Native
 3   allotment applications. Moving the Archives’ location from Seattle, a direct flight from
 4   Fairbanks or Anchorage, Alaska, will effectively make access impossible for Tribal citizens.
 5   Most Native allotment applicants do not have the means, whether it be health or financial, to
 6   travel further than Seattle to search these records or pay someone to travel further to search
 7   these records.
 8          14.       The Archive’s records also contain information that help settle land disputes
 9   between Native allotment owners and local, regional, and statewide government agencies. One
10   example is when the State of Alaska wants to authorize a public trail through a Native allotment
11   for recreational use and there is disagreement over whether the trail was used, and for what
12   purpose, during the period Alaska was a Territory. In a recent United Stated District Court case
13   involving that issue, the documentary evidence needed included federal records related to the
14   use of specific trails during the early 1900’s. These sorts of records are often found in the
15   Archives and nowhere else.
16          15.       Another example is when federal and State conservation priorities impinge on
17   Native allotment owners’ rights and impinge on the subsistence hunting and fishing rights of
18   Tribal members. Moving the National Archives from Seattle to Kansas City or Riverside will
19   cause needless expense and make it difficult—and insurmountable for many Tribal members—
20   to do the research necessary to resolve these disputes and to present evidence to the Courts.
21          16.       Furthermore, under the FAST Act, exempt properties include properties used
22   for research in connection with federal programs for agricultural, recreational or conservation
23   purposes. Section 3(5)(B)(viii). The National Archives at Seattle is used for research in
24   connection with federal conservation programs in Alaska.
25          17.       This research includes materials collected by the Federal Field Committee for
26   Development Planning in Alaska, which produced the seminal 1968 report which documented




       DECLARATION OF POLLOCK SIMON                     5
       JR.
                                                                                                     384
 1   (among other things) federally-owned areas of Alaska used by Alaska Natives for hunting,
 2   fishing and other subsistence activities. The 1968 Report provided much of the factual basis
 3   for both the 1971 Alaska Native Claims Settlement Act and Title VIII of the 1980 Alaska
 4   National Interest Lands Conservation Act (ANILCA).
 5             18.   ANILCA, in particular, set aside massive federal conservation system units
 6   across Alaska and through Title VIII reserved for Alaska Natives and other rural Alaska
 7   residents a preferential right to engage in subsistence activities (including hunting and fishing)
 8   in those conservation system units under a federal subsistence conservation program operated
 9   jointly by the Department of the Interior and the Department of Agriculture. The Title VIII
10   regime operates principally though the Federal Subsistence Board, ten regional advisory
11   councils, and numerous local advisory committees, and council and committee records are
12   maintained in the National Archives at Seattle.
13             19.   TCC participates regularly and actively in championing the subsistence rights
14   of its member Tribes before the Board and the regional councils, and in providing support for
15   its tribal governments in proceedings before those bodies. The National Archives at Seattle is
16   therefore integral to research in connection with federal conservation programs in Alaska.
17             20.   TCC first learned about the Government’s intent to relocate the Seattle National
18   Archive records in early December, 2020. No federal agency or federal government
19   representative contacted TCC about this decision or engaged in an effective, meaningful Tribal
20   consultation with TCC or any of its member Alaska Native Villages and federally recognized
21   Tribes about this decision.
22   ///
23   ///
24   ///
25   ///
26   ///




           DECLARATION OF POLLOCK SIMON                  6
           JR.
                                                                                                     385
 1       I declare under penalty of perjury that the foregoing is true and correct.

 2                        ~

 3
         DATED this   _1 day of January 2021 at Fairbanks, Alaska.
 4

 5

 6                                              Pollack Simon Jr.
                                                Tanana Chiefs Conference
 7                                              Chief/ Chairman
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     DECLARATION OF POLLOCK SIMON                    7
     .TR.

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6                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
7
        STATE OF WASHINGTON, et al.,                         NO.
8
                                   Plaintiff,                DECLARATION OF
9                                                            CHARLES W. SMYTHE
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                   Defendants,
12
            I, CHARLES W. SMYTHE, declare as follows:
13
            1.        I am Director of the Culture and History Department at Sealaska Heritage
14
     Institute. I am over the age of 18 and competent to testify. I make this declaration based on
15
     my personal knowledge.
16
            2.        I am a Ph.D. cultural anthropologist with extensive experience conducting
17
     ethnographic and ethnohistorical research (including archival research) in Southeast Alaska. I
18
     served as a research administrator from 1979-82, designing and overseeing sociocultural
19
     impact studies in Alaska rural communities for the Bureau of Land Management. From 1982-
20
     1994, I was an independent research scholar during which I conducted anthropological and
21
     historical research in Southeast Alaska and other regions of the state, except for several years
22
     when I oversaw a $685,000 research project for the State of Alaska on the impacts of the Exxon
23
     Valdez oil spill on Alaska’s oiled communities. From 1994-2000, I was an anthropologist with
24
     the National Museum of Natural History, Smithsonian Institution, and from 2001 to 2013, I
25
     was the Ethnography Program Manager for the Northeast Region, National Park Service,
26




       DECLARATION OF CHARLES W.                        1             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       SMYTHE
                                                                                                   387
 1   designing and overseeing ethnographic and ethnohistorical research projects in that region.
 2   During this time I served as a research consultant to SHI conducting archival and ethnographic
 3   research for a complex repatriation claim. I returned to Alaska in 2013 and have worked at SHI
 4   in my current position since that time.
 5          3.       The attached list (AFN Letter) identifies the scope of NARA records held in
 6   Seattle that are important to me for research purposes. In particular, I have used records
 7   pertaining to the Native histories of Southeast Alaskan communities of Ketchikan, Wrangell,
 8   Petersburg, Tenakee and Haines including the following types: census, Native Townsite
 9   records from the General Land Office (now the Bureau of Land Management), records of the
10   disposition of townsite lots held in trust by the Bureau of American Indian Affairs, records of
11   Indian allotments, records (letters and reports of school officials) of the Bureau of Education
12   pertaining to issues affecting Native populations in these communities, records of
13   recommended or proposed reservations of tidelands for the exclusive use of Natives under the
14   Organic Act of 1884, trials pertaining to such reserved lands, relevant newspaper records from
15   1867 to the 1960s, records relating to the Alaska Native Brotherhood and Sisterhood (the oldest
16   Native organization in continuing operation in the US), records relating to civil rights (voting
17   rights, the elimination of the dual school system, etc.) of the Alaska Territory that remained
18   under federal control until 1959. These types of records are unique and do not exist in any
19   other repository. For example, I attempted to track down records of tidelands reserves proposed
20   for Ketchikan and Juneau at the National Archives in Washington, D.C., and was only able to
21   discover a single entry for the Ketchikan Reserve in the original handwritten ledger book of
22   all Indian reserves from throughout the United States – no other records apparently exist at the
23   national level. The ability to browse physical records is essential for such research, for only
24   through this technique is it possible to identify and/or follow-up suggestions and indications
25   of further sources based on what has been discovered in the course of research, such as tracking
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       DECLARATION OF CHARLES W.                        2             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       SMYTHE
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 1   down sequential letters on the same topic within a specific agency using the name of the
 2   specific office or author.
 3          4.      In Alaska, such historical research is often needed by agencies seeking
 4   information necessary for decision-making regarding the use or allocation of natural resources
 5   or to document the cultural and religious significance of cultural properties eligible for listing
 6   in the National Register. The historical research described above (#3) was carried out by myself
 7   as part of a Congressionally-mandated study sponsored by the USDA Forest Service and the
 8   DOI Bureau of Land Management and Bureau of Indian Affairs to examine why five
 9   communities in Southeast Alaska --- Haines, Ketchikan, Petersburg, Tenakee and Wrangell --
10   - had been denied eligibility to form village or urban corporations under terms of the 1971
11   Alaska Native Claims Settlement Act. [Report entitled, A Study of Five Southeast Alaska
12   Communities by the Institute of Social and Economic Research, University of Alaska-
13   Anchorage, 1994).
14          5.      Another area in which federal agency records can be of high value for research
15   and documentation purposes is the collection and analysis of cultural and historical data related
16   to sites of cultural and religious significance to Southeast AK Native people that may be
17   affected by federal undertaking or that may be eligible for listing in the National Register of
18   Historical Places under Sections 106 and 110, respectively, of the National Historic
19   Preservation Act, as amended (NHPA). President Worl and I have independently gathered and
20   utilized such documents in the conduct of research and documentation of the historical and
21   cultural significance of historic sites and burial places in Southeast Alaska. While our efforts
22   have often utilized such documents acquired directly from federal agencies, these documents
23   are the types of records that are retained by the federal archives. This includes, for example,
24   records of federal land transactions involving sites of cultural and historical significance, the
25   documentation of such sites for purposes of protection and preservation, the identification and
26   documentation of burial sites and petroglyphs, the documentation of the dimensions of




       DECLARATION OF CHARLES W.                         3             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       SMYTHE
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 1   historical and cultural significance of cultural sites and landscapes, etc. In Alaska, such
 2   activities are often regular and ongoing components of the responsibilities of federal land
 3   management agencies such as the DOI Bureau of Land Management, National Park Service,
 4   Fish and Wildlife Service, and USDA Forest Service. Historical documents are often brought
 5   into SHI’s tribal consultations with these agencies regarding the identification, documentation,
 6   preservation treatment, and discussions of the historical and cultural significance of sites that
 7   may be eligible for listing in the National Register (Section 110) or may be subject to impacts
 8   from a federal undertaking (Section 106) (or that may be the subject of a violation of the
 9   Archeological Resources Protection Act). Such documents may be presented by SHI or the
10   federal agency during consultations, and in themselves become part of the consultation record.
11   Often federal agencies have conducted their own investigation of such places, while in other
12   instances SHI has done so. For example, SHI recently succeeded in listing a traditional cultural
13   property in Auke Bay (located in Juneau) in the National Register that utilized federal land
14   records that identified and documented federal recognition of traditional uses of a tract of land
15   that was practiced at the time the land was acquired by the National Park Service shortly after
16   statehood, which was memorialized in the deed of transfer in the form of an easement.
17   Similarly, records of a Bureau of Land Management survey that identified the presence of
18   Indian graves on the sites were also important (see National Register of Historic Places
19   Registration Form for X’unáxi (Indian Point/Auke Cape).
20          6.      One of my colleagues who has worked for years through the University of
21   Washington and Portland State University has used the Seattle NARA facility on projects to
22   document the cultural, religious, and historical significance of park resources for the National
23   Park Service. Such information is necessary for the design and implementation of appropriate
24   management procedures for park resources significant to traditionally-associated peoples. He
25   reports that he has used the archives extensively for his research for Indian tribes and NPS
26   units over the years through the multi-agency Cooperative Ecosystem Studies Unit (CESU)




       DECLARATION OF CHARLES W.                        4              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       SMYTHE
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1    system, including for studies with small and previously under-documented parks such as
2    Ebey’s Landing, Lewis and Clark NHP, John Day Fossil Beds, and others.
3                7. SHI President Dr. Rosita Worl was first informed on the impending closure and
4    sale of the Seattle archives facility by the regional Indian tribe of Southeast Alaska, the Central
5    Council of the Tlingit and Haida Indian Tribes of Alaska, via email dated Jan. 24, 2020. She
6    received a link to an article published on a web site, MyNorthwest:
     https://mynorthwest.com/1670992/seattle-national-archives-closure-
7
     recommendation/?fbclid=IwAR1v5RbXKCwLctzrbya-
8
     fJJvnRFy0cRJcOiQi5xGmJc3WQx5GIMefqVA7DQ
9
     This was extremely alarming to us for many reasons, and we wrote a letter objecting to the
10
     proposed closure to Russel T. Vought, Acting Director, Office of Management and Budget
11
     (attached). We also notified our Congressional delegation of our concerns. Subsequently, we
12
     learned that the Central Council followed suit with letters to the National Archives and the
13
     Alaska Congressional delegation, and also that the Alaska Historical Society was also fighting
14
     against this action.
15
     Our letter came six years after the NARA repository in Anchorage, AK, was slated to be closed.
16
     At that time, we were informed that a portion of the records would be scanned for use by
17
     Alaskan researchers and were invited to submit a list of such records that were of high value
18
     to Alaska Native tribes and organizations. At that time, SHI President Worl was in discussion
19
     with Ms. Julie Kitka, President of the Alaska Federation of Natives (a statewide Alaska Native
20
     advocacy organization), about this issue. Dr. Worl supported the AFN effort to urge our senior
21
     Senator Murkowski to oppose the proposal, and along with other entities we provided to AFN
22
     a list of the NARA records that were of highest value for purposes of digitization. In July of
23
     2014, Sen. Murkowski wrote to the United States Archivist urging him to stop the action and
24
     shared Ms. Kitka’s letter with him (see attached letter with list of highly valued records). To
25

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       DECLARATION OF CHARLES W.                         5              ERROR! AUTOTEXT ENTRY NOT DEFINED.
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1    my knowledge, we have not received a response to any of these letters. The promise to digitize
2    prioritized archival records likewise has not materialized.
3           8.      By transferring the national archival collection relating to the Pacific Northwest
4    to some distant locale in the United States, and in addition by dividing it into two collections
5    as proposed, this action violates a trust responsibility of the federal government to house and
6    make available its records in the region to which they apply. It will mean that the collection
7    will be unavailable for many of the very people whom it is expected to serve, who will not be
8    able to afford travel-related costs to visit and view the collection. This will deny them access
9    to highly valued materials through which they can recover their histories and further, to learn
10   about and educate others about this history, and deny opportunities to researchers and scholars
11   to develop understanding of the history and use such understandings to contribute to public
12   knowledge and respond to the needs of state and federal agencies to incorporate such history
13   into their decision-making affecting the people of the United States. This is important to all
14   peoples, but is especially important to those groups such as Native Americans whose histories
15   are underrepresented in many arenas and which SHI, for one, seeks to redress through its
16   cultural and historical research and publications on Southeast Alaska Native cultures.
17          9.      For an example, one of my employees worked at the Tulalip Tribes’ Hibulb
18   Cultural Center from 2014-2017. During this time period, she along with Hibulb Cultural
19   Center staff utilized the NARA in Seattle. As Assistant Curator at Tulalip, she was responsible
20   for conducting background research and researching thematic content related to exhibits along
21   with the Senior Curator. This exhibit research required utilizing outside resources such as the
22   archives and library. The Hibulb Cultural Center had a small archive with material on the
23   Tulalip Indian Fair, but curatorial staff felt that they needed to find some additional information
24   on the fair and NARA would have this information available. In 2016-17, she went to NARA
25   three times with Hibulb Cultural Center staff to conduct preliminary research for the upcoming
26   exhibit on the Tulalip Indian Fair 1915-1927. At NARA she requested information on the




       DECLARATION OF CHARLES W.                         6              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       SMYTHE
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 1   Tulalip Indian Fair from the early 1900s. This included viewing archival documents in the
 2   form of historic photographs, pamphlets, a roster of attendees and events from the Indian Fair,
 3   information on the cost of livestock and handicrafts, newspapers from the era, and letters from
 4   the organizers of the Tulalip Indian Fair. This additional information enhanced some of the
 5   other material on the Tulalip Indian Fair from Hibulb Cultural Center’s library and archives at
 6   Tulalip. The information gathered at NARA was utilized for the exhibit that was placed on
 7   information panels, object labels, and other exhibit related content. This enhanced the exhibit
 8   and provided background information from the 1900s which could not easily be obtainable
 9   from online resources.
10

11   I declare under penalty of perjury that the foregoing is true and correct.
12
     DATED this 31st day of December, 2020, at Juneau, Alaska.
13

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15
                                                   CHARLES W. SMYTHE
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       DECLARATION OF CHARLES W.                        7              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       SMYTHE
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SEALASKA
HERITAGE


Feb. 4, 2020



Russel T. Vought
Acting Director
Office of Management and Budget
725 17th Street, NW
Washington, D.C. 20503



Dear Mr. Russel T. Vought,

I am writing to express my deepest dismay and consternation about the decision to close the
National Archives and Records Administration (NARA) Federal Archives and Records Center
in Seattle, Washington. This facility houses invaluable records of vital importance to the
Native communities in Alaska, and removing these records to California and Missouri will
have a severe detrimental impact on these communities.

Already, Alaska’s records were removed from the state after the closure of the NARA center
in Anchorage in 2014. With the removal of archival records to Riverside, California, Alaskan
materials will be far out of reach for Alaskan researchers, students, attorneys, government
agencies, and the general public. By moving the records even further from Alaska, NARA is
creating significant hardship for members of the public to see and use the materials as is
their right. Only a tiny fraction of the materials have been digitized, despite promises to
prioritize digitization when the facility in Anchorage closed. Indigenous records are
particularly impacted by this move. The records of a community document the history and
culture of that community, making them absolutely vital for cultural revitalization,
repatriation, and personal or family research. The records held at the Seattle NARA facility
are incredibly important to Native communities. Staff at Sealaska Heritage routinely refers
researchers to the Seattle NARA facilities to conduct further studies for genealogy, scholarly
work, and more with the extensive resources held in Seattle. Moving the records to California
and Missouri will cause unacceptable hardship.

NARA’s mission statement reads: “Our mission is to provide public access to Federal
Government records in our custody and control. Public access to government records
strengthens democracy by allowing Americans to claim their rights of citizenship, hold their
government accountable, and understand their history so they can participate more
effectively in their government.” By closing the Seattle facility and restricting the access of
Alaska Natives and all citizens of Alaska to their own records, NARA is turning its back on the


 105 S. Seward St. Suite 201   Juneau AK, 99801    907-463-4844   I   sealaskaheritage.org




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very mission of the institution. A branch facility must be available in the Pacific Northwest to
serve researchers in the Pacific Northwest and Alaska.

Additionally, this decision comes with no warning. No public input was requested before the
decision was reached to close the primary access point to thousands of federal records that
are not available elsewhere. The decision to close this facility must be rescinded until input
from stakeholders and the public can be sought. This decision does not take into account the
negative impacts this closure will have on the Native communities in Alaska, and their voices
must be heard.

To rectify this grave error, the Office of Management and Budget (OMB) must reject the
recommendation of the Public Buildings Reform Board (PBRB) to close the NARA facility in
Seattle, Washington. Public input must be sought before any further action is taken, and
Native communities must be a part of the conversation.



Sincerely,




Rosita Worl
President



CC:

Senator Lisa Murkowski
522 Hart Senate Office Building
Washington, DC 20510

Senator Dan Sullivan
702 Hart Senate Office Building
Washington, DC 20510

Congressman Don Young
Office of Congressman Don Young
2314 Rayburn House Office Building
Washington, DC 20515




                                                                                            395
    LISA MURKOWSKI                                                                                       510 L STREET, SUITE 600
                                                                                                       ANCHORAGE, AK 99501-1956
            A LASKA
                                                                                                              (907) 271-3735

      COMMITTEES:                                                                                      101 12TH AVENUE, ROOM 329
                                                                                                        FAIRBANKS, AK 99701-6278
ENERGY AND NATURAL RESOURCES
       RANKING MEMBER                     ilnttro ~rates ~rnatr                                               (907) 456-0233

                                                                                                      800 GLACIER AVENUE, SUITE 101
       APPROPRIATIONS                           WASHINGTON, DC 20510-0203                                   JUNEAU, AK 99801
                                                                                                             (907) 586-7277
  HEALTH, EDUCATION, LABOR,
                                                         (202) 224-6665
       AND PENSIONS                                    (202) 224-5301 FAX                             805 FRONTAGE ROAO, SurrE 105
                                                                                                          KENAI, AK 99611-9104
       INDIAN AFFAIRS                                                                                        (9071 283-5808
                                                       July 10, 2014
                                                                                                      1900 FIRST AVENUE, SUITE 225
                                                                                                       KETC,IIKAN, AK 99901-6059
                                                                                                             (907 I 225-6880

                                                                                                   851 EAST WESTl'OINT DRIVE. SUITE 307
      The Honorable David Ferriero                                                                       WASILLA, AK 99654-7142
                                                                                                             (907) 376-7665
      Archivist of the United States
      National Archives and Records Administration
      8061 Adelphi Road
      College Park, MD 20740-6001

      Dear Mr. Ferriero:

               Enclosed is a letter from Julie Kitka, President of the Alaska Federation of Natives (AFN),
      regarding the closure of the National Archives and Records Administration (NARA) facility in Anchorage,
      Alaska and the digitization of important record groups currently housed there. AFN is Alaska's largest
      statewide Native organization representing 15 l federally-recognized tribes, 134 village corporations, 12
      regional corporations, and 12 regional nonprofit and tribal consortia. Ms. Kitka's letter lists a number of
      record groups that are important to Alaska's Native peoples and asks that these records be included as high
      priority for digitization.

               I understand that the period for the public to comment on digitization priorities officially ended on
      June 30th, and that your staff may have already identified some of the record groups listed by AFN as high
      priority. Nevertheless, given that your agency is required to consult with tribes on a government-to-
      government basis, and to consult with Alaska Native corporations and consortia, I believe it is important
      for you and your staff to review the entire list prepared by AFN and understand the importance of all of
      these records to Alaska's Native peoples. The expense and difficulty involved in travelling from rural
      Alaska to Seattle cannot be overstated. Yet, many of these records contain information that is important to
      the history and culture of Native Alaskans and the sovereignty of their tribal governments. Digitization
      will enable this information to be readily available to all those who rely on it.

               I therefore encourage you, as NARA begins the digitization process and works toward developing a
      full digitization plan and timeline, to give full and serious consideration to the enclosed list. I look forward
      to hearing from you about this important matter.




                                                           sa urkowski
                                                          United States Senator




      cc:        Julie Kitka, President, Alaska Federation ofNatives
                 Gloria O'Neill, President/CEO, Cook Inlet Tribal Council
                 Dr. Rosita Wort, President, Sealaska Heritage Institute

      Enclosure
                                                 HOME PAGE AND WEB MAfL
                                                    MURKOWSKI.SENATE.GOV




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ALASKA FEDERAT ION
    OF NATI VES



                                        July 11, 2014

Sent Via Electronic Mail
The Honorable Lisa Murkowski                   The Honorable Mark Begich
United States Senate                           United States Senate
709 Senate Hart Office Building                111 Senate Russell Office Building
Washington, D.C. 20510                         Washington, DC 20510
~gan Alvanna-                                  Andrea Sanders@begidJ.senate.gov
SJ!rrmfle@m urkowski.senat~.gQy:

The Honorable Don Young
United State House of Representatives
2314 Rayburn House Office Building
Washington, D.C. 20510
Alex.Ortiz~ mail.house.gov

       Re: National Archives and Records Administration; Anchorage Facility Closure

Dear Senators Murkowski and Begich and Congressman Young:

        I write on behalf of the Alaska Federation of Natives (AFN), the largest statewide
Native organization in Alaska, to express our grave disappointment with the National
Archives and Records Administration (NARA) decision to permanently close its Anchorage
facility and to transfer millions of pages of records vital to the Alaska Native community to
its Seattle facility.

        I fu rther write regarding NARA's intent to digitize its Alaska records-from
Seattle- so that they may be readily accessible to all Alaskans via the Internet. AFN
unequivocally supports this pronouncement. However, we request your assistance in
urging the agency to designate the following Alaska Native records as a "high priority," and
digitize them straight away for immediate availability:

RECORD GROUP /COLLECTION NO.              TITLE

RG 75                              Alaska Village Census (all volumes)
RG 435                             Indian Arts and Crafts Board
RG 75                              Alaska Reindeer Service, 1901-1974
RG 22; 370                         Pribilof Island Materials, 1872-1970
RG 18                              Aerial Photos of Attu Island




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Senators Murkowski and Begich and Congressman Young                        July 7, 2014
NARA's Anchorage Facility Closure                                           Page 2 of 3


RG48                           Alaska Native Claims Settlement Act, 1972-1990
RG95                           Correspondence Relating to CCC Activities, 193 7-1942
RG 95                          Correspondence Relating to Creating of National
                               Forests in Alaska, 1903-191
RG 21                          Civil Case Files, 1884, Sitka
RG 21                          Civil Case Files, 1900, Juneau
RG 21                          Civil Case Files (New Series), 1960, Juneau
RG48                           Alaska Native Claims Settlement Act, 1977-1987, Office
                               of Secretary of Interior
RG48                           Alaska Native Claims Settlement Act, 1990, Office of the
                               Solicitor
RG48                           Appeal Case Files, 1971, Office of the Solicitor
RG48                           Claim Case Files, 1970-1995, Office of the Solicitor
RG 48                          Claim Files, 1993-1989, Office of the Solicitor
RG48                           Indian Land Administration Files, 1990, Office of the
                               Solicitor
RG49                           Rejected Native AJlotment Case Files, 1923-1967,
                               Bureau of Land Management
RG 49                          Selected Townsite Trustee Deeds, Deed Books and Tract
                               Books
RG 49                          Native Assertion of Rights Contest Files, 1965-1972,
                               Fairbanks District Office
RG 57                          Project Chariot Files, 1958-1963, USGS
RG 75                          Alaska Reindeer Service (all)
RG 75                          Bureau of Indian Affairs (all)
RG 79                          Cultural Resource Studies, 1964-1983, Alaska Regional
                               Office
RG79                           Subject Files [Cultural Resource Studies], 1964-1984,
                               National Park Service
RG79                           Cultural Resource Studies and Research, 1964-1990
RG 90                          History Files, Alaska Native Health Service
RG 95                          Land Case Files, 1903-1989, Forest Service Region 10
RG 95                          Historical Photograph Files, 1908-1994, Forest
                               Service
RG 95; 10                      Correspondence Relating to Civilian Conservation Corps
                               Activities, 1937-1942
RG 95; 10                      Correspondence Relating to the Creation of National
                               Forests in Alaska, 1903-1911, Forest Service




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Senators Murkowski and Begich and Congressman Young                          July 7, 2014
NARA's Anchorage Facility Closure                                             Page 3 of 3


RG 220                            Subject Files, 1964-1971, Federal Field Committee
RG 370                            Copy Negatives (Black & White), 1925-1959,
                                  Commercial Fisheries

      Thank you in advance for your careful consideration of AFN's request. If you have
any questions or comments about this letter, please contact me directly.

                                         Sincerely,
                                         ALASKA FEDERATION OF NATIVES




                                         Julie E. Kitka
                                         President



Cc:   William A. Mayer, Executive-Research Services, NARA
      Gloria O'Neill, President/CEO, Cook Inlet Tribal Council
      Dr. Rosita Worl, President, SeaAlaska Heritage Institute




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                         00
                         ADVOCATE
                                             OCA-Greater Seattle
                                             Asian Pacific American Advocates
                                             www.ocaseattle.org |info@ocaseattle.org | 202.223.5500
                                             PO Box 14141, Seattle, WA 98104


                         December 28, 2020

                         Dear Office of the Attorney General:

                         Formerly known as the Organization of Chinese Americans, OCA Asian Pacific
                         Advocates was founded in 1973 with a vision of uniting Chinese Americans across
       PRESIDENT         the United States into one representative voice. Today, OCA has transformed into a
       Connie So
                         national organization dedicated to advancing the social, political, and economic well-
  VICE PRESIDENT         being of Asian Pacific Americans in the United States. OCA is nonprofit, non-
    Bruce Huang          partisan organization representing over 10,000 people nationally, including affiliates,
      SECRETARY
                         college affiliates, and general membership.
        Alyssa Au
                         The Greater Seattle Chapter (“OCA-GS”) was formed in 1995 as an affiliate of the
     TREASURER
    Chi Saeteurn         national OCA organization. Since its inception, OCA-GS has served the Greater
                         Seattle Chinese and Asian American and Pacific Islander American community as
BOARD MEMBERS            well as other communities in the Pacific Northwest. It is recognized in the local
        AT LARGE
     Amy Huang           community for its advocacy of civil and voting rights as well as its sponsorship of
      Frank Irigon       community activities and events.
    Kendall Kosai
       Willon Lew
   Travis Quezon         The National Archives facility located in Seattle, Washington is fundamental to our
  Jacqueline Wu          community’s conservation and educational efforts relating to immigrant and
     Terry Yaplee
  John Yasutake
                         Native/Indigenous ancestry and history. These Archives house critical information
                         that must remain accessible to the communities, specifically the Northwest
                         communities, since it holds our histories. For our members and the communities we
                         serve, the Archives provide a critical source of information in the following ways:

                                 • The Archives have been used as an educational resource for our local
                                   college and university faculty who rely on access to the Archives for
                                   research and classroom teaching purposes.
                                 • For our Asian and Native/Indigenous communities, the Archives are a
                                   critical tool to be used to learn more about their history. Through these
                                   public records, we can connect generations through their life experiences.
                                   In fact, two of OCA-GS’s former past Presidents have relied on these
                                   Archives to write and publish their books, which have historical
                                   significance to our community and state.
                                 • Many of our members, including the current OCA-GS President, are
                                   descendants and/or relatives of Japanese, Filipino, and Chinese veterans of
                                   World War II. We used the Archives to gather information to support the
                                   efforts to award the Congressional Gold Medal to our veterans.
                                 • The Archives are critical partners in the conservation of our community’s
                                   history. The Archives’ numerous government documents include court
                                   records, documents from the Bureau of Indian Affairs, military records,
                                   genealogical records, and immigration records as well. Of particular
                            Founded in 1973 as the Organization of Chinese Americans, OCA is a national organization
                     dedicated to the social, political, and economic well-being of Asian Pacific Americans in the United States.
                                             OCA NATIONAL CENTER I 1322 18th St NW Washington DC 20036
                                     T 202 223 5500 I F 202 296 0540 I www.ocanational.org I oca@ocanational.org

                                                                                                                            400
             interest to OCA-GS are the Chinese Exclusion Act files that cover not only
             Washington, Oregon, Idaho, and Alaska from the 1850s to 1980s, but also
             include Chinese who entered the U.S. through any of these states but
             settled or visited elsewhere in the U.S. Volunteers have carefully created
             one of the best NARA indices of these files. One notable person in their
             files was Soong Mei Ling Soong, also known as Madame Chiang Kai-shek,
             who, in 1937, was named along with her husband as Time’s “Man and Wife
             of the Year.”
Most Chinese Americans left few records of their lives and history prior to 1950, but
the Archive’s record of the exclusion files document families, marriages, lifestyles,
occupations, businesses, land ownership, religion, food, medicine, travels to and from
China, networking, organizations, and other information that otherwise cannot be
obtained. John Jung's 2020 publication of "In Search of Chinese Immigrants" and
Trish Hackett Nicola's September 16, 2020 lecture posted on the Legacy website
demonstrates the versatility and usefulness of the Chinese Exclusion Act files.

Moving the files to NARA Riverside or Missouri would be a great loss to scholars and
American citizens of Asian and Pacific Islander ancestry, many of whom have played
an important role in the development of the United States, such as former Washington
Governor Gary Locke and numerous other political, judicial, and economic leaders. It
would be a disservice to the general population in their ability to conveniently utilize
these documents to learn about their history.

We look forward to working with the Attorney General’s Office in their efforts to save
the Archives facility in Seattle from closure.

Sincerely,


Connie So
President
OCA Asian Pacific Advocates, Greater Seattle Chapter




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6                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
7
        STATE OF WASHINGTON, et al.,                           NO.
 8
                                     Plaintiff,                DECLARATION OF GARY C.                  I
9                                                              STEIN, PH.D.
                 V.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12
            I, Gary C. Stein, declare as follows:
13
            1.        I am a retired historian. I am over the age of 18 and competent to testify. I make
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     this declaration based on my personal knowledge.
15
            2.        I received my Ph.D. from the University of New Mexico in 1975. My major
16
     field was History of the American West with a specialization in Native American History. In
17
     my 45-year career I worked primarily as a research historian, rather than a teaching historian.
18
     My frrst such position was with the Cooperative Park Studies Unit (CPSU, a National Park
19
     Service funded project) on a project to identify Alaska Native historic sites that were eligible
20
     for selection by the 12 Alaska Native Regional Corporations under Section 14(h)(l) of the
21
     Alaska Native Claims Settlement Act of 1971. I then worked for the Alaska Department of
22
     Natural Resources in Anchorage on a project to identify the historic uses of Alaska's navigable
23
     rivers, lakes, and streams. Finally, I worked for the Bureau of Indian Affairs' Branch of
24
     Acknowledgement and Research in Washington, DC, researching the history of Native
25
     American groups seeking acknowledgement as federally recognized Indian tribes. In my
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       DF.CT.ARATlON OF GARY C STEIN                                     ERROR! AUTOTEXT ENTRY NOT DEFINED.


                                                                                                           402
 1   retirement I continue to write and publish on Alaska History, utilizing research materials that

2    I have identified over more than 40 years, much of which is now housed at the Seattle Federal

3    Records Center.
4           3.      The first time I conducted research at the Seattle Federal Records Center was

5    in 1972, when I was with the CPSU in Fairbanks. The records center was helpful in gathering

6    information relating to the identification of historic sites throughout the Aleutian Islands,

 7   which led to the publication of my Cultural Resources of the Aleutian Region. 2 Vols.

 8   Anthropology & Historic Preservation, Cooperative Park Studies Unit, University of Alaska-

9    Fairbanks, Occasional Papers No. 6, 1977, as part of the broader 14(h)(l) project. I was also

IO   able to do some personal research about the Japanese removal of the Native population of Attu
                                                                          I

11   Island to Japan as prisoners of war during World War II. This research, prin'iarily in manuscript

12   records of the Bureau of Indian Affairs, Governor of Alaska Papers, and Fish & Wildlife

13   Service records, led to my presenting a paper-"Uprooted: Native Casualties of the Aleutian

14   Campaign of World War 11"-at the Western Historical Association's annual meeting in 1976. ·

15   It was the first historic study of the removal of the Attuans to Japan.
16           4.      The next time I conducted research at the Federal Records Center in Seattle was

17   in 1991, when I assisted a colleague from the Bureau of Indian Affairs in his research on one

18   of the Native groups in Washington State that was petitioning for recognition as an Indian

19   tribe. We looked at a host of manuscript materials dealing with Native history in the state from

20   the 19th century through the 20th •
21           5.      There are thousands of pages of rare, one-of-a-kind, undigitized documents at

22   the Federal Records Center in Seattle. It is highly unlikely that funding will be available any

23   time soon to properly go about digitizing these records. This will have a stifling effect on

24   research whether its by scholars studying a specific topic in Pacific Northwest history,

25   attorneys or their clients researching the ins-and-outs of specific legal questions, or individuals

26   simply interested in family or local history. Native tribes, especially, and their members will




       OECLARATTON OF GARY C STEIN                       2              ERROR! AUTOTEXT ENTRY NOT DEJ<lNED.


                                                                                                           403
1    have a difficult time identifying records that have gone to California or Missouri that might be

2    pertinent to their research.

3            6.      As noted above (item 2) I continue to write about Alaska's history in my

4    retirement. Many of the research materials that I still carry around with me are copies of

5    manuscripts that are now located at the Seattle Federal records Center. lbis is particularly true

6    because some of these documents were once held by the National Archive~ Pacific-Alaska

7    Region in ·Anchorage. That records center was an important place to do research (2 to 3 times

 8   a week) when I returned briefly to Alaska in 2012-14. I was able to finish researching the book
9    I was working on relating to the Alaskan activities of the U.S. Revenue-Cutter Service (a

10   predecessor of the U.S. Coast Guard). Documents relating to those activities were found in a
                                                                          I


11   wide range of record groups, from Coast Guard records themselves, Bureau of Indian Affairs
12   records, Federal District Court documents, Pribilof Island logbooks held in National Oceanic

13   and Atmospheric Administration records, and many others. One specific thing I noticed was
                                      '-
14   that manuscript records I had once seen at the U.S. Coast Guard Academy Library in New

15   London, Connecticut, had at some point been transferred to the Anchorage records center.

16   These are invaluable documents for Pacific Northwest and Alaska history. Moving them from

17   Anchorage to Seattle was outrageous in itself. Throwing them further away from legitimate

18   researchers is worse.
19           7.      I first learned of the impending sale of the National Archives facility in Seattle

20   from colleagues in Alaska in January 2020. It was certainly a shock to hear that this was

21   happening. Now, with another projected moved of these records within only seven years, the

22   types of researchers able to access needed records will be further limited. As Alaska's

23   Congressional Representative, Don Young, wrote to David Ferriero, Archivist of the United

24   States, on February 19, 2020, "When the National Archives in Anchorage, Alaska, closed in

25   2014, about 20,000 cubic feet of pre-archival and permanent archival records were shipped

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       DRCLARATTON OF GARY C. STRTN                                     ERROR! AUTOTEXT ENTRY NOT DEFINED.

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 1   from Anchorage to Seattle. NARA promised the residents of Alaska that the records would at

 2   least stay in the Pacific Northwest." It is time to keep that promise.
 3          8.      Those of us who write the hlstory of the Pacific Northwest were waiting

 4   patiently for the promised digitization of records that had been removed from Alaska in 2014.

 5   Now we are afraid that the process will not go forward for a lifetime.
 6
     I declare under penalty of perjury that the foregoing is true and correct.
 7

 8
     DATED this 29th day of       December, 2020 at·St. Louis, Missouri.
 9                 day              month     year

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11
                                                          Gary Carf' Stein, Ph.D.
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 6                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                         NO.
 8
                                    Plaintiff,               DECLARATION OF JULIE K.
 9                                                           STEIN
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                    Defendants.
12

13          I, Julie K Stein, declare as follows:

14          1.        I am the Executive Director of the Burke Museum, Washington State Museum

15   of Natural History and Culture, which is fiscally managed by the University of Washington. I

16   am over the age of 18 and competent to testify. I make this declaration based on my personal

17   knowledge and information collected in in my capacity as the Executive Director of the Burke

18   Museum.

19          2.        I have been a professor at the University of Washington (UW) for 40 years, and

20   Executive Director of the Burke Museum for 15 years. As Executive Director, I am responsible

21   for the staff, budgets, and facility of the Burke Museum, including providing access to the

22   descendants of the people who made the objects we hold in trust. Prior to serving as Executive

23   Director of the Burke Museum, I was Divisional Dean of Research, Computing, and Facilities,

24   College of Arts and Sciences, University of Washington, and Curator of Archaeology at the

25   Burke Museum, and Professor of Anthropology.

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       DECLARATION OF JULIE K. STEIN                    1             ERROR! AUTOTEXT ENTRY NOT DEFINED.


                                                                                                 406
 1          3.      The Burke Museum was founded in 1885 by the Young Naturalists, a group of
 2   curious teenagers inspired by seeing Seattle transform before their eyes. For 135 years, the
 3   Burke Museum has built upon this legacy, collecting objects that help us understand how the
 4   Northwest has grown and changed. The designation of Washington State Museum ensures that
 5   this collection would be a public resource for generations. The Burke Museum cares for and
 6   shares natural and cultural collections so all people can learn, be inspired, generate knowledge,
 7   feel joy, and heal.
 8          4.      The Burke Museum is a public museum that helps researchers, students,
 9   families, advocates, and the general public to gain information about the objects we have,
10   which includes helping them access the archival information that resides in the National
11   Archives facility in Seattle. We help them get started and direct them to the resources they
12   need. Most of our cultural and natural objects are from the Northwest region, and are directly
13   tied to the National Archives.
14          5.      We learned in February of 2020 from Senator Maria Cantwell, and via an article
15   in the Seattle Times, of a planned sale and closure of the National Archives facility in Seattle.
16          6.      Closure of the National Archives facility in Seattle would seriously hamper the
17   ability of the Burke Museum’s affiliated faculty and research associates to conduct research
18   on, among many subject areas, including local tribal land, allotment, conservation, and related
19   histories. Access to the National Archives directly impacts our ability to support not only our
20   own mission but our faculty, graduate students, and tribal partners, all of whom regularly use
21   the National Archives facility to conduct research for the enhancement of public knowledge,
22   the understanding of Northwest history, and for understanding the history and rights of
23   Indigenous communities.
24          7.      Closing the Seattle National Archives facility and moving the records outside
25   of Seattle would have a devastating impact on the Burke Museum’s research efforts in
26   connection with Native American Tribes. For instance, several members of the Burke




       DECLARATION OF JULIE K. STEIN                    2              ERROR! AUTOTEXT ENTRY NOT DEFINED.


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 1   Museum’s Native American Advisory Board (NAAB) use the Seattle Archives for research on
 2   boarding schools, food sovereignty, fishing rights, public education curriculum development,
 3   and language repatriation and renaming of important landmarks. This research is often
 4   implemented into museum exhibits on display at the Burke Museum.
 5          8.      Moreover, a number of Burke Museum staff and NAAB members have used
 6   the Seattle Archives for numerous heritage preservation workshops/trainings for collections
 7   care and disaster recovery. Their space, staff and resources are beneficial to all cultural
 8   institutions in our area. They are charter members of the Seattle Heritage Emergency Response
 9   Network (SHERN) and instrumental in building a regional emergency response network and
10   supply cache. They are valued partners in preservation and disaster preparedness.
11          9.      Additionally, K. Tsianina Lomawaima, the Burke Museum’s former Adjunct
12   Curator of Anthropology, conducts research and teaches classes on Native nations and federal
13   Indian policy, particularly the federal Indian school system. To do so, she regularly used access
14   to records at Sand Point for her own research and to train Native students in the methods of
15   historiography and to introduce them to records critical to the histories of their communities in
16   the Pacific Northwest. The records pertinent to American Indian Native nations housed in the
17   NARA Regional Records Center at Sand Point are invaluable resources for the Native peoples
18   of the states and region served. These records are not replicated – but rather are complemented
19   – by the records in Washington, DC. Whereas the DC archives house records from the offices
20   and perspective of the BIA Central Office, the regional centers, including the Seattle facility,
21   house records from the local federal Indian agencies (reservations, villages, schools, hospitals,
22   and such). The information that is available relatively close to hand to Native researchers is
23   critically important and simply irreplaceable. Although generated and archived by the federal
24   bureaucracy these records contain abundant documentation of Native lives, voices, and
25   experiences – such as school records, Tribal Council minutes, correspondence, photographs,
26   maps, and much, much more. Washington state alone is home to 29 federally recognized tribes




       DECLARATION OF JULIE K. STEIN                    3              ERROR! AUTOTEXT ENTRY NOT DEFINED.


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1    (with many located in the Puget Sound area or within a day’s travel of Sand Point); add in
2    Alaska, Oregon, and Idaho and documentation central to the histories and experiences of
3    hundreds of Native Nations and Alaska Native villages are at stake.
4            10.     Removing the physical records contained at the National Archives in Seattle
5    from the Northwest would also effectively deprive many of the Burke’s tribal partners from
6    being able to access these records at all. For instance, the Burke Museum and the Seattle
7    Archives already serve as an information database for NAAB member Nisqually tribe, who
8    currently do not have the archival resources or facilities built for such a use. Having local,
9    physical access to the records at the Seattle facility is critical for many Nisqually kids who
10   want to learn about their heritage. These children might not be able to travel to Kansas or
11   California to conduct their research. Additionally, NAAB member Suquamish tribe regularly
12   uses the Seattle facility’s collection of records regarding tribal fishing rights.
13           11.     Finally, for decades, the Burke Museum has been host to researchers who have
14   traveled to Seattle from across Alaska and Washington specifically to do research at the Seattle
15   National Archives facility. Due to travel costs, these trips are combined with research
16   scheduled at the Burke Museum in Seattle. The research at the Seattle facility has been focused
17   on Indian land claims, treaty rights, boarding schools, and notes from Indian agents, as well as
18   research on Japanese internment camps. It would be an excessive hardship if these archives
19   were moved, and, for many in the Pacific Northwest, would effectively cut off access to these
20   crucial historical public documents.
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       DECLARATION OF JULIE K. STEIN                      4              ERROR! AUTOTEXT ENTRY NOT DEFINED.


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 1   I declare under penalty of perjury that the foregoing is true and correct.
 2

 3                6 day of _________,
     DATED this _____        January 2021 at Seattle, Washington.

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                                                   ________________________
 7                                                 Julie K. Stein
                                                   Executive Director
 8                                                 Burke Museum, Washington State Museum of
 9                                                 Natural History and Culture

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       DECLARATION OF JULIE K. STEIN                    5              ERROR! AUTOTEXT ENTRY NOT DEFINED.


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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8   STATE OF WASHINGTON, et al.,                      Case No.

 9                          Plaintiff,                 DECLARATION OF
                                                       SAMUEL J. STILTNER
10                    vs.

11   RUSSELL VOUGHT, et al.,

12                          Defendants.

13

14          SAMUEL J. STILTNER, under penalty of perjury, declares as set forth below:

15          1. I am a member of the Puyallup Tribe of Indians, one of the co-plaintiffs herein. I

16   was admitted to the Washington State Bar in 1977. Most of my career has been devoted to

17   the representation of sovereign tribal governments, but I have engaged in general practice as

18   well. I have been employed as the lead Fisheries Attorney of the Law Office of the Puyallup

19   Tribe since 2004. I began serving as the Director of the Law Office in 2013. I am 68 years of

20   age, competent to testify herein, and I make this declaration based on personal knowledge.

21          2. The Puyallup Tribe is a federally recognized sovereign tribal government and a

22   party to the Medicine Creek Treaty of 1854, which was ratified and proclaimed in 1855. The

23   Tribe today has over 5,500 tribal citizens and is headquartered in Tacoma on the Puyallup

                                                                                 LAW OFFICE

      DECLARATION OF SAMUEL J. STILTNER – PAGE 1                         PUYALLUP TRIBE
                                                                           3009 PORTLAND AVENUE
                                                                             TACOMA, WA 98404
                                                                                (253) 573-7877



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1    Indian Reservation.

2            3. Our Law Office serves as the in-house legal department of our tribal government.

3    We provide legal advice and representation to our tribal government and to all of its

4    departments, commissions and entities, and we report directly to the Puyallup Tribal Council,

5    which is the elected governing body of the Puyallup Tribe.

6               Tribal uses of the National Archives at Seattle in connection with
            federal programs for agricultural, recreational, or conservation purposes,
7                      including research in connection with the programs.

8            4. The treaty tribes in Washington State use and rely upon the National Archives at

9    Seattle for historical evidence in support of their fishing rights, and to prove the locations of

10   their usual and accustomed fishing areas at treaty times. The tribes focus on those areas to

11   conserve and protect fish habitat and to enhance fisheries through the construction,

12   maintenance, and operation of salmon hatcheries. In most if not all cases their work is

13   supported by federal program funding; the most common statutory authority is Pub. L. 93-
14   638, which authorizes contracts awarded by the Department of the Interior under Title I of
15   the Indian Self-Determination and Education Assistance Act, 25 U.S.C. §§ 5301 et seq.
16   (hereinafter “ISDEAA”). These contracts are also used for the conservation and preservation
17   of other historical, cultural, and archeological assets, locations and values. This funding is an
18   exercise of the United States’ trust responsibility to tribes.
19           5. The Puyallup Tribe administers and performs federal programs, functions, services,
20   and activities under ISDEAA contracts. Our Law Office reviews all grant and funding
21   contracts before they are submitted to the Puyallup Tribal Council for approval and execution;
22   frequently, we assist in their preparation and negotiation. Our duties also include legal
23   guidance and review with respect to contract performance and compliance. My personal role

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1    is supervisory as well as direct, especially in Treaty fisheries matters.

2           6. An example of research at the National Archives building in Seattle to fulfill the

3    Puyallup Tribe’s contractual obligations to the Department of the Interior under a “638

4    contract,”, i.e., a contract under the ISDEAA, is provided by the Declaration of Jeffrey Paul

5    Thomas, dated January 4, 2021, and submitted in this action (hereinafter “Jeff Thomas

6    Declaration”). Mr. Thomas is the Director of the Puyallup Tribe Timber, Fish, and Wildlife

7    (TFW) Program, which is a component of the Puyallup Tribal Fisheries Department.

8           7. Director Thomas’s TFW Program is funded by an ISDEAA Title I contract. Our

9    office assisted with its preparation and negotiation, and we performed a full review of the

10   contract, as well as an FY 2020 modification, before they were submitted to the Puyallup

11   Tribal Council for review and execution. An excerpt from the contract documents, maintained

12   on file in our Law Office, which details some of the Tribe’s contractual duties that are relevant

13   to this action, is the Scope of Work for the FY 2020 modification. A copy of the excerpt is
14   attached as Exhibit A hereto. One of the contractual duties undertaken by the Tribe in the FY
15   20 TFW contract modification required prioritizing the “potential of advancing the Tenalcut
16   (White) River crossing and prairies through the local, state and/or national historic register
17   nomination process – as a historically significant battlefield (or being associated with
18   significant persons, or being an archeological district).” (See Exhibit A hereto, last page,
19   where highlighted.) Director Thomas’s declaration shows that in order to perform this
20   contractual duty for the Department of the Interior, it was necessary to review records that are
21   available only at the National Archives at Seattle.
22          8. In ¶¶ 5, 6, 9, and 10 of his declaration, Director Thomas provides testimony
23   concerning records he reviewed at the National Archives in Seattle concerning the military

                                                                                      LAW OFFICE

      DECLARATION OF SAMUEL J. STILTNER – PAGE 3                             PUYALLUP TRIBE
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 1   field actions and command reporting records of US Army troops produced during and after

 2   the Puget Sound Indian War. The records he reviewed included the correspondence between

 3   the local Indian Agent/Superintendent of the Puyallup Indian Agency and the Commissioner

 4   of Indian Affairs in Washington D.C., and significantly, the local correspondence between

 5   the US Army and the Washington Territorial Militia. These records, available only at the

 6   National Archives in Seattle, specify “the strategies, actions, and/or decisions they were

 7   making to subjugate the Puyallup Indians; and include the specifically-detailed day-to-day

 8   descriptions of the culture, the dynamics, the individuals, and/or the socio-political trends

 9   characterizing the early Puyallup tribal community membership and their government too.”

10   See Jeff Thomas Declaration at page 2, ¶ 4, lines 17 - 20.

11    Loss of Puyallup Indian land through forced allotment and forced sale, discovered in
       the correspondence of the Puyallup Indian Agency and the records of the Puyallup
12          Indian Land Commission maintained at the National Archives at Seattle.
13          9. The loss of the Puyallup Tribe’s land began in 1854 with the Medicine Creek
14   Treaty, which ceded thousands of square miles of land to the United States. By 1904, most of
15   what was left was owned by non-Indians and by business corporations owned by non-Indians.
16   Learning the detailed steps and methods employed to accomplish this massive transfer of land
17   required years of historical investigation by many members of our Tribe, and later by others
18   with special backgrounds who were employed to help, under the direction of the Puyallup
19   Tribal Council. Little was known about that period in our history because of the language
20   barrier of that era. I have direct personal knowledge of some of that investigation, because
21   when I was a college student in 1971-1972, I was one of those who were sent by our Tribal
22   Council to the National Archives building in Seattle to review records and bring back copies.
23          10.   I reviewed records of the Puyallup Indian agent/superintendent including

                                                                                 LAW OFFICE

      DECLARATION OF SAMUEL J. STILTNER – PAGE 4                         PUYALLUP TRIBE
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1    correspondence to and from the Commissioner of Indian Affairs in Washington, D.C.

2    Additionally, I reviewed records of the Puyallup Indian Land Commission, which was created

3    and funded by a special act of Congress in 1893, later known as the Puyallup Allotment Act,

4    designed specifically to break up our land and facilitate its sale to non-Indians. These records

5    were contained in Records Group 75 of the Department of the Interior. The records also

6    included correspondence with local officials and Tacoma business elites as well as

7    transactional and auction records. The local records would not exist in any other location.

8           11. The records enabled the Tribe to learn that the land acquisition process was

9    dominated in a variety of ways by local business interests including the Northern Pacific

10   Railroad, the publisher of a downtown Tacoma newspaper, the head of the local Chamber of

11   Commerce, the president of a local real estate firm, and a timber company. Five individuals

12   served as a kind of “pool” of guardians that were used to sell the land, because the

13   Commission always chose one of the same five people, and they were all non-Indians. Often
14   they sold the allotments on the very day after being appointed. Land was allotted to children
15   with living parents, then one of the five non-Indian guardians was appointed for the child, and
16   the guardian sold the child’s land. These are examples of how the Puyallup Tribe lost its land,
17   just from the time period of the records I was assigned to review. Land titles and other
18   historical records for that time period and others were also reviewed by other researchers there
19   and in other locations. I summarize the materials I reviewed to show that important
20   information would never have been discovered if it had not been conserved by the Department
21   of the Interior in Records Group 75 maintained at what was then called the National Archives
22   and Records Center in Seattle (better known within our Tribe at that time as the “Sand Point
23   Archives”).

                                                                                   LAW OFFICE

      DECLARATION OF SAMUEL J. STILTNER – PAGE 5                            PUYALLUP TRIBE
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                                                                                TACOMA, WA 98404
                                                                                   (253) 573-7877



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 1                              Lack of notice and denial of consultation.

 2             12. None of the defendant agencies contacted or provided notice to the Puyallup Tribe

 3   before deciding to sell the National Archives building in Seattle.

 4             13. The Puyallup Tribal Council wrote to 0MB, objecting to sale of the National

 5   Archives building in Seattle, and requesting government-to-government consultation. See

 6   Letter of Hon. David Z. Bean to then-Acting Director Russell Vought, Office ofManagement

 7   and Budget, emailed January 24, 2020. A true and correct copy of the letter is attached hereto

 8   as Exhibit B. No response to the letter was ever received.

 9             14. The Northwest Indian Fisheries Commission, on behalf of its member tribes,

10   including the Puyallup Tribe, wrote to 0MB on January 28, 2020, with copies going to the

11   Public Buildings Reform Board, the General Services Administration, and the National

12   Archives and Records Administration, expressing concerns and requesting that the National

13   Archives building in Seattle not be sold. None of the agencies with decision-making roles

14   under the Federal Assets Sale and Transfer Act (FASTA) ever responded in any way to the
15   letter.

16             I certify under penalty of perjury under 28 U.S.C. § 1746 that the foregoing is true and
17   correct. SIGNED this 5th day of January, 2021 , at Tacoma, Puyallup Indian Reservation,
18   Washington.

19

20
                                                     Samuel J. Stiltner
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                                                                                      LAW OFFICE

      DECLARATION OF SAMUEL J. STILTNER - PAGE 6                              PUYALLUP TRIBE
                                                                                3009 PORTLAND AVENUE
                                                                                  TACOMA, WA 98404
                                                                                     (253) 573-7877



                                                                                                          416
                  Exhibit A
                              TO
DECLARATION OF SAMUEL J. STILTNER
    ISO PUYALLUP TRIBE OF INDIANS




                                    417
AMENDMENT OF SOLICITATION/MODIFICATION OF CONTRACT
                                                                                                           , 1. CONTRACT ID CODE                              I   PAGE OF PAGES

                                                                                                                                                                     1     I           7
2. AMEN!JME~T/MOD!F!CATiON NO.                             : 3. EFFECTiVE DATE                      4. REQUJSIT,ON/PURCHASE REQ. NO.                   ,5. PROJECT NO. (If applicable)

0010                                                       isee Block 16C                          0020209443
6. !SSUED BY                                        CODE   !Al2                                     7. AOMIN!STERED BY (lfot.~erthan Item 6)            CODE       IA12
BIA NWRO 00012                                                                                      DOI, BIA NWRO
911 NE ETH AVENUE                                                                                   911 NE 11TH AVENUE
Contracting Office                                                                                  Contracting Office
Portland OR 97232                                                                                   Portland OR 97232


8. NAME A.IIID ADDRESS OF CONTRACTOR (No .• street cow,ty, State ar.d ZIP Code/                         9A. AME~DMEN7 OF SOLIC!TAT:ON NO.
                                                                                                   ~
PUYALLUP TRIBE OF INDIANS
A ttn: ATTN GOVERNMENT POC                                                                              98. DATED (SEE ITEM 11)

3009 E PORTLAND AVE
T ACOMA WA 98404-4926
                                                                                                        10A. MODIFICATION OF CONTRACT/ORDER NO.
                                                                                                   X
                                                                                                        A19AV00973

                                                                                                        10B. DA'!'ED (SEE ITEM 13)

CODE      0070297424                                       : FACILITY CODE                               09/09/2019
                                                           '   11. THIS ITEM ONLY APPLIES TO AMENDMENTS OF SOLICITATIONS

0Toe above numbered salici'..ation is amended as setfarth in Item 14.    The hour and date specified far receipt of Offers                   O is extended.       D Is not extended.
  Offers must acknowledge receipt of 1hls amendment prior to 1he hour and date specified in 1he solicitation or as amended , by one of the following methods: (a) By comple1ing
  Items 8 and 15, and re1uming     _ _ _ _ copies of the amendmen~ (b) By acknowledging receipt of this amendment on each copy of the offer submitted; or (c) By
  separate letter or telegram which indudes a reference to the soilcitatlan and amendment numbers. FAILURE OF YOUR ACKNOWLEDGEMENT TO BE RECEIVED AT
  THE PlACE DESIGNATED FOR THE RECEIPT OF OFFERS PRIOR TD THE HOUR AND DATE SPECIFIED MAY RESULT IN REJECTION OF YOUR OFFER If by
  virtue of this amendment you desire to change an offer already submlttBd, sudh dhange may be made by telegram or latter, provided each telegram or letter makes
  reference to tr.a solicitation and this amendment. and is received prior to the opening hour and date specified.
12.ACCOUNTINGANDAPPROPRIATION DATA(lf,equi/8d)                                              Net Increase:                                          $12 3,502.00
01
                   13. THIS ITEM ONLY APPLIES TO MODIFICATION OF CONTRACTS/ORDERS. IT MODIRES THE CONTRACT/ORDER NO. AS DESCRIBED IN ITEM 14.


 CHECK ONE     A. THIS CHA~GE ORDER IS ISSUED PURSUANT TO: (Spac/fy authority) THE CHANGES SET FORTH IN ITEM 14 ARE MADE IN THE CONTRACT
                  ORDER NO. IN ITEM 10A.


               B. THE ABOVE NUMBERED CONTRACT/ORDER IS MODIFIED TO REFLECT THE ADMINISTRATIVE CHANGES (such as changes in paying office,
                  appropriation date, etc.) SET FORTH IN ITEM 14, PURSUANTTOTHEAUTHORrTYOF FAR43.103(b).


               C. THIS SUPPLEMEIIITALAGREEMENT IS ENTERED INTO PURSUANT TO AUTHORITY OF:



               D. OTHER (Specify type of modification and authority)

     X          P.L. 93-638 Indian Self Determination and Education Assistance Act
E. IMPORTANT;      Con1rac1Dr Dis not ~ is required to sign this document and rerum _ _ _ _ _ _l::;..._ copies to the issuing office.
14. DESCRIPTION OF AMENDMENT/MODIFICATION (Organized by UCF section headings, Including solicitation/contract subject matter where feasible.)
CFDA Number: 15.034
DUNS Numbe r : 146765938
- Single Agreement -
REASON FOR MODIFICAION:

(1) To provide One-time FY 2020 Timber, Fish and Wildlife (TFW) Proj ect funds in the amount
of$ 123,502.00. These funds are to be utilized in accordance to the attached Statement of
Work and Budget. These funds will not result in an increase to t he base in subsequent
years.

All other terms and conditions remain unchanged .
Continued
Except as provided herein, all terms and aanditians of the dacumenl referenced in 11em 9 Aor 10A. as heretofore changed, remains undhanged and in full farce and effect.
15A. NAMEA.111O TITLE OF SIGNER (Type orprint)                                                       16A. NAME AND TITLE OF CONTRACTING OFFICER (Type or print)

                                                                                                       Kristine Whittaker BIA-2019-Ll-000117
15B. CONTRACTOR/OFFEROR
                               I                                          15C. DATE SIGNED          168. UNITED STATES OF AMERICA

                                                                                                                                         2020.09.19
                                                                                                                                                                         16C. DATE SIGNED



                               I         -
----=====cc..;:.===="---------'---------'--
              (5/gnBtu,aofporsonsulhorlzod/Ds/gn)                                                                            t.J,£:.#--L_ ,:..!1:44 -u7'( O'
NSN 7540-01-152-8070                                                                                                                                STANDARD FORM 30 (REV. 10-83)
Ptevious edition unusab!e                                                                                                                           Presaibed by GSA
                                                                                                                                                    FAR (48 CFR) 53.243




                                                                                                                                                                                            418
                            REFERENCE NO. OF DOCUMENT BEING CONTINUED                                                      OF
  CONTINUATION SHEET Al 9 AV00 973 /00lO                                                                                         7
NA)l1E OF OFFEROR OR CONTRACTOR
PUYALLUP TRIBE OF INDIANS
  'TEM NO.                              SU!>PLIES/SERVICES              QUAN:ITY i.lNIT   UNITPR'CE                  AMOUNT

     (A)                                       (B)                       (C)      (D)       (E)                          (F)

                 Delivery Location Code: 000981791 2
                 BIA PlO PUYALLUP TRIBE OF INDIANS
                 3009 E. PORTLAND AVENUE
                 TACOMA WA 98404-4926 US

                Account Assignm: K G/L Account: 6100.252!0
                Business Area: AOOO Commitment Item: 252IOO Cost
                Center: AAPP10115T Functional Area:
                AON311313.999900 Fund: 201A2100DD Fund Center:
                AAPP10115T PR Acct Ass i gn: 01
                Period of Performance: 10/01/2 018 to 09/30/2023


 00620          MOD 10: ONE-TIME TFW Supplement                                                                     1 23,50 2.00
                Obligated Amount: $123,502.00


                 -- AWARD SUMMARY --

                MOD 9 $     85,385.00
                MOD 10 $   123,502.00

                 TOTAL   $5,687,941.00




NSN 7540-01-152-8087                                                                                  OPTIONAL FORM 336 (+ 86)
                                                                                                      Sponsored by GSA
                                                                                                      FAA(4B CFR) 53.110




                                                                                                                                 419
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 1'1luda 25, 2020

 Mr. Rndy Peone, Fiuerles iBio!oglst
 DOI, Bureau ofmcllan A.'1fefn
 Northwest llep,nal Oflke
 ~u N.E. 11111 Awme
 ~rtlanc!. Orego11 9723.2-41~



 Dear Sir,

 The Puyallup tnbal application for FY-2020 "Timber, Fish and Wildlife (TFW) Supple:mcntal,.
 funds is enclosed for your consideration, as instructed. The application package consists of. l) a
 Puyallup tribal FY-2020 WJFW Supplemental" Activities Scope of Work, 2) an FY-2020
 proposed budget (based upon a $123,502), and 3) a Puyallup tn"bal resolution specific to the FY-
 2020 wrFW Supplemental" grant funds application.

The package also includes a copy ofthe FY-2019 annual report for tn"bal TFW Supplemental
(Forests and Fish Report) implementation activities conducted during FY2019, along with a cover
letter specifically inlroducing the Puyallup tn'bal FY-20 J9 ''TFW Supplement.al" Activities
Annual Report.

The Puyallup tribal FY-2020 gcope of work describes that TFW Supplemental (Forests and Fish
Report) imp1emcntation efforts will emphasi7.e activities involving the followii:g categories of
work: forestry projects assessment and mitigation. forestry projects compliaIJCC, forest-based
fisheries research. and fomtry plannmg.

The BIA typically provides the Puyallup Tribe with TFW Supplemental (Forests and Fish Report)
implementation funds under the P .L. 93-638 Annual Funding Agreement.

Please let me know if you have any questions or need further information.

Sincerely,

   ~f>~M0-4.,-
 effiey P. Thomas, Senior Fisheries Biologist
Ti!Dber, Fish & Wildlife Program
Puyallup Tribe of Indians
6824 Pioneer Way West
Puyallup, WA 98371
(253) 680-S565/office; Jeffrey.Thomas@Puyalluptn'be-nsn.gov

Enclosures: 1) Puyallup Tribe oflndians/FY-2020 BIA "TFW Supplemental" Funds Grant
Proposal (including budget); 2) Puyallup Tribal Council Resolution No. '2,.. o 2, 0 .




                                                                                                                420
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                              Bll'Nu of mdlan Af/afrs "TFW Supplementar Grant Plq)asal
               Puyallup Tribe of lr:.iiana FY~020 "TFW SUpplerninar Adlvlties Scope of WOik (03-13-.20)


                              PUYALLUP TRIBE OF Il'!/IDIANS
                                 FISHERIES DIVISION

                  FY-2029 "Tnfl SUPP.l.EIIIENT/!L,, ACTIVlT.fES
                                              Scsin !I/ 1Yo?k
                                            (JW&~il 20, 2026)


FORESTRY PROJ".EC"fS &. TREATl' RESOURCE PROTECTION
  •    Fcrestry Pa-ojeets A11e111:1m~t & M!tlpdon
       Review local forestry projects to both identify and fulfill their Timber/Fish/Wildlife
       Agreement fisheries, or other treaty resource assessment or mitigation needs.

  •    S~l'Bde F«ntry Au31Smma~~pdon Jmprowmmts
       Mmritor/respond to statewide forest practices ~ssment, process, or mitigation
       improvement actions - e.g. tribal scientist's coalition           management
                                                                           proposals, forestry
       alternate plan rules or guidance, state Forest Practices Board adaptive management
       p-ogram implementation, etc.

FORESTRY COMPLIANCE & TR.EATY RESOURCE PROTECTION
  e   For-mtry ? :roj~cts C3ropi1,:~ce l\i.fo.l:L~ g AeA'lvify
      Promote or fulfill forestry compliance monitoring needs and responses, high]iglrting local
      tnbal fisheries, or other treaty resource concems.

FORESTRY RESE/1....RCH & T REATY IUl:SOURCE PROTECTION
      ACi:S 2020 IntmifJtimw Come.,---ece: Co:1-v=e ""-Afo;,;·!u!!s:, A O:rguized Seai~ns

      Research and highlight key concepts, tools and methods to use to recognize and/or
      accommodate local tn"bal integrated natural and cultwal resource values, and ecosystem
      service-based tn'bal wellbeing goals. Organize and convene a preconference worlcshop
      and complementing mid-conference panel session for the ACES (A Community on
      Ecosystem Services) 2020 International Confermce to spotlight baseline pro~
      planning and enforcement concepts to use for protecting cultural ecosystem services.
      ACES International Conferences are held by the US Geological Survey and other
      pertinent federal natura1 resource--based service agmcies, on a bic:m.rial basis.

  ~   Tf!HiN 2C20 Cultural ReNm-ce 1"- ro~n Laadene!p Ii.tleS:i31l8
      Monitor and participate in the WDNR-based TFW 2020 CUitural Resoua-ce Protection
      Negotiations as the TFW Program representative of the Puyallup Tribe. Puyallup TFW
      effiJI1s will focus upon ensuring that the con~ and messages emergiag froJil the
      negotiations are properly contextualized as to their merits in terms of the existing TFW
      tnoal cultural resources risk assessment/protections system, and ensuring that all TFW
      tribal caucus needs and concerns are fully addressed via any 2020 TFW cultural
      resources protection negotiated provisions.

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                                   Bureau of Indian Alllrs "TfW Supplemlh!llr Orant Pn,pont
                    Puyallup trlle of lndla111 FY-i020 "TFW Su!Jlilam•tal" AcllvltlD Scope ofWor'.: {03•13-20)



     •    PuyaGup W1tenlleci Foresa S_,a.C!IMp 8 ~ l)ev~mat
          Promote culturally-recommended stewardship strategies within all ofthe forests in the
          Puyallup watershed, and upon the lands managed us industrial forests in particular. The
          need to use mutually reinforcing management system concepts, and the need to integrate
          local Timber, Fish aod Wildlife implanentation approaches for private forests with those
          being used by other f.edercl, state or local entities within the Puyallup watershed will be
          advanced.

     o    Loai !.1ore1t mtecticm 2esea.rcl! 4 Jl'h ~
          Promote/fulfill forest-related fisheries habitat or populatioos' research needs, especially
          involving local forestry com,ctive aclion or local fisheries resource mitigation conccms.
          Propose. implement and evaluate a tribal community cultural sovereignty cuniculwn
          foCUKd upon the integrated natural and cultural resource protection concepts employed
          during Puyallup Tribal Timber, Fish & Wildlife (TFW) Program wmk.

     • Other Treaty bo~ri:eat beam
       Promote non-fish treaty needs via researching methods for integrating Puyallup tribal
       values into all treaty resource managc:mmt, and wor!tlng to enhance the cum:nt cuhuraJ.
       resource protection system that TFW officials use to fulfill Puyallup tn'bal TFW cultural
       resource protection goals. The potential ofadvancing the Tenalcut (White) River crossing
       and prairies through the local, state and/or national historic re:,pster nomination process -
       as a historically-significant battlefield (or being associated with significant persons, or
       being an archaeological district) - will be prioritized fur FY-2O2O work, too.

FORESTRY PLANNING & TREATY P..ESOURCE PROTECTION
     •    Loed Fo.auy ~ agE~tmn md Activities
          Represent tn"bal fisheries concems related to the differing TFW cooperators whom are
          responsible for local fittest plmming. and the possible local forest planning decisions they
          might undertake.

     ~   Fil'R lmpl&Mentldbn :r,;ip nf?'lg b ~
         Address tribal fishmes concerns regarding the statewide Forests and Fish Report (FFR)
         implementation planning entities and their specific FFR implementation efforts, mostly
         highlighting direct participation upon both the T/F/W Cultural Resources Roundtable, as
         well as the FFR Small Forest Landowners Advisory Committee.
          • Stnewlde FFR lm,-me.,tdDn Pfannfllg Enw.-lncluda:
                   FFR Tllbal Sc:ientllts <:oalltlo,i (Incl. Trlbll FFR Polii:y Wlll1c&n>upJ
                   FFR Small Ftnst landownersAdvlsDry QlnvnlltN [tnemberl
                   TIW Cultural Resoirc:u Roundl:able [ ~ l r j
                   FFR Resdldl Commltliee ll FFR R...-ch SclentlflcAdY!sory Gr1111P5
                   Tf'W PolkyG11111p
                   WadllftllOnSta~ Fotest Pradlcl!s loatdsor qencles - Folllst p ~ Board, WDNR, WDOE, WDfW, IWfP, etc.
***¢0.Qic,••·$...ljl:. ,;,••••c••..•r:io•,:.:!)..,~(,llr**¢*:!<O•,;.o••>••oo@,:,• t~O•:u,,,;,,:,¢,::(lQ$0****,:-:,:,,i;. ~u;1,:,~;




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                                                                                                                                       422
                  Exhibit B
                              TO
DECLARATION OF SAMUEL J. STILTNER
    ISO PUYALLUP TRIBE OF INDIANS




                                    423
                  ~u~allu~ T~ibe of Indians
Russell T. Vought
Acting Director
Office of Management and Budget
Executive Office of the President
1650 Pennsylvania Avenue, N.W.
Washington, D.C. 20503
Via Email: Russell.t.vought<@omb.eop.gov



Dear Acting Director Vought:

As Chairman of the Puyallup Tribe I write to oppose Public Buildings Reform Board's
recommendation to close and sell the National Archives and Records Administration's Sand
Point Archive Center located in Seattle, Washington. We strongly urge the Office of
Management Budget to reject this proposal.

The Sand Point Center is very important to the 272 federally-recognized tribes in the Pacific
Northwest (Washington, Oregon and Idaho) and Alaska. Our Tribe relies on the Sand Point
Center for access to critical historical documents. Among the many important historical
materials housed at Sand Point are the original copies of correspondence between Governor
Stevens, Indian agents, the Tribal leaders during treaty negotiations in the mid-19 th Century, as
well as original drafts of the treaties themselves. Importantly, this Office houses critical
documents associated with litigation that document the Tribe's effort to protect our treaty rights
and territory.

If the Sand Point Center is closed, all of its archived materials will need to be moved. We
understand that records will be sent all the way to Kansas City, Missouri and other archived
materials will be sent to Riverside, California. Obviously, such new locations will make it
much harder for our Tribe and those in the Pacific Northwest and Alaska to access these
historically important and culturally significant archived records and materials. A sale of the
Sand Point Center will undoubtedly have an impact on tribes. In fact, it will be a profound,
negative and irreparable impact. Yet, the Public Building Reform Board, the National Archives
and Records Administration, the Office of Management and Budget, nor any other federal
agency has engaged in government-to-government tribal consultation as required by Executive
Order 1317 5. Worse, the federal agencies did not even alert Tribes about the proposed sale.




  3009 E. Portland Avenue        •       Tacoma, Washington 98404 •             253/573-7800
                                                                                            161906-1




                                                                                                       424
Russell T. Vought, Acting Director
Page2

 We call on you to reject the sale of the Sand Point Center. You can simply remove it from the
 list of proposed properties. At the very least, we ask you to delay any further steps toward
 selling the Sand Point Center until you engage in tribal consultation.


                                                   Sincerely,
                                                  J). ~ -(_,,, (?J2A..<,,--
                                                   David Z. Bean
                                                   Chairman




                                                                                         161906-1




                                                                                                    425
From: Kathryn Wray
Sent: Friday, January 24, 2020 3:08 PM
To: Russell.t.Vought@omg.eop.gov
Cc: Mary J. Pavel <MPAVEL@SONOSKY.COM>
Subject: Letter from the Puyallup Tribe of Indians

Mr. Vought,
Please find attached a letter from David Bean, Chairman of the Puyallup Tribe of Indians
regarding the Sand Point Archive Center in Seattle, Washington.
If you have any difficulties opening the attachment, please let me know.
Kind regards,


Kathryn Wray
Kathryn C. Wray, RP
Registered Paralegal
Sonosky, Chambers, Sachse,
   Endreson & Perry LLP
1425 K. Street, NW, Suite 600
Washington, D.C. 20005
P. 202.682.0240 (ext. 677)
F. 202.682.0249D. 202.312.1677
kwray@sonosky.com




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received this message in error, please notify us by reply e-mail or by telephone (call us collect at (202)
682-0240) and immediately delete this message and any and all of its attachments.




                                                                                                          426
From: Kathryn Wray
Sent: Friday, January 24, 2020 3:19 PM
To: russell.t.vought@omb.eop.gov
Cc: Mary Pavel

Subject: Letter from the Puyallup Tribe of Indians

Mr. Vought,

Please find attached a letter from David Bean, Chairman of the Puyallup Tribe of Indians regarding the
Sand Point Archive Center in Seattle, Washington.

If you have any difficulties opening the attachment, please let me know.

Kind regards,

Kathryn Wray

Kathryn C. Wray, RP
Registered Paralegal
Sonosky, Chambers, Sachse,
Endreson & Perry LLP
1425 K. Street, NW, Suite 600
Washington, D.C. 20005
P. 202.682.0240 (ext. 677)
F. 202.682.0249D. 202.312.1677
kwray@sonosky.com

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682-0240) and immediately delete this message and any and all of its attachments.




                                                                                                        427
                  Exhibit C
                              TO
DECLARATION OF SAMUEL J. STILTNER
    ISO PUYALLUP TRIBE OF INDIANS




                                    428
                          Northwest Indian Fisheries Commission
                                            6730 Martin Way E., Olympia, Washington 98516-5540
                         Phone (360) 438-1180                    www.nwifc.org                          FAX# 753-8659


                                                        January 28, 2020



Russell T. Vought
Acting Director
Office of Management and Budget
The White House
725 - 17th Street, NW
Washington, DC 20503

Re:      Opposition of Proposed Closure and Sale of Pacific Northwest Regional Archives (National
         Archives & Records Administration), Seattle, WA

Dear Acting Director Vought:

We would like to inform you of our concerns with the proposed closure and sale of the PNW
Regional Archives in Seattle, Washington. These comments are offered in opposition of the
recommendation of the Public Buildings Reform Board (PBRB) to the Office of Management and
Budget (0MB) that the Federal Archives and Records Center (FARC), in Seattle should be sold to
generate revenue for the federal government. Our concerns are submitted on behalf of our
member tribes of the Northwest Indian Fisheries Commission (NWIFC). 1 Unfortunately, we were
only recently informed of this proposal. There was no notice or consultation with our member
tribes who are directly affected by this proposal.

The National Archives maintains the FARC in Seattle, Washington. The FARC contains historical
records from all federal agencies that have operated in the Pacific Northwest, many of which date
back to the exploration and pre-date the formation of Oregon Territory and Washington Territory.
Such historical information is extremely valuable to all citizens of the United States, especially to
our member tribes.

Under a recently enacted statute, the Federal Assets Sale and Transfer Act of 2016 (FASTA), the
FARC is being recommended for closure and sale, with the archived documents transferred to two
separate locations far from the Pacific Northwest. Your assistance in preventing the closure of the
facility and transfer of these priceless historical records is urgently requested.

The purpose of FASTA is to maximize utilization of federal facilities. This includes the sale of "high
value" assets of the United States to provide revenue, expedite the sale of "unneeded" federal
properties, and reduce governmental energy consumption, among other purposes.

1
    The NWIFC member tribes are party to United States v. Washington, 384 F. Supp. 312, aff'd, 520 F.2d 676,
    (commonly known as the Boldt Decision) and include: the Lummi, Nooksack, Swinomish, Upper Skagit, Sauk-
    Suiattle, Stillaguamish, Tulalip, Muckleshoot, Puyallup, Nisqually, Squaxin Island, Skokomish, Suquamish, Port
    Gamble S'Klallam, Jamestown S'Klallam, Lower Elwha Klallam, Makah, Quileute, Hoh, and Quinault.




                                                                                                                     429
  Opposition of Proposed Closure and Sale of Pacific Northwest Regional Archives (National Archives
                                                            & Records Administration), Seattle, WA
                                                                                  January 28, 2020
                                                                                             Page 2



We can assure you that the FARC is not "unneeded." Rather, it is utilized daily by innumerable
state, federal, and scholarly members of the public performing the historical research necessary to
shed light on many current national issues. The information held therein was relied upon heavily by
Washington State, United States, and tribal officials-and by the late Honorable United States
District Judge George H. Boldt in achieving the landmark resolution of United States v. Washington.
The records continue to be utilized by anthropologists, scientists, and historians to identify historic
events and locations of importance to the nation.

The archival records are of extreme importance to our member tribes, as they document the
culture, traditions, and lifestyles of the original inhabitants of the Pacific Northwest and have been
instrumental in achieving just interpretations of treaties between such tribes and the United States.
As you know, according to the United States Constitution, those treaties are the Supreme Law of
the Land. We fail to see how the closure of this facility furthers the purposes of the Act.

It is noteworthy that the FASTA exempts from sale property used in connection with research by
federal programs for agricultural, recreational, or conservation purposes and for purposes used in
connection with river, harbor, flood control, reclamation, or power projects. Governmental
programs routinely rely upon information housed in the FARC when planning, siting, and
determining the appropriateness of the development of such facilities. The information has been
used by our member tribes in the defense of the treaty-reserved rights and for historic information
on their culture and history. Its importance is not "unneeded." Tribes believe that keeping FARC
open to the tribes is part of the fiduciary obligation in the preservation of said rights.

Please join us in recommending to the General Services Administration, the Public Buildings and
Reform Board established under the Act, and the Office of Management and Budget that this
property not be sold or alternatively, that the records not be transferred to sites outside the region.
Doing so will place these records outside the reach of tribal members and their government officials
who need them most. Thank you for your consideration.



                                               Sincerely,




                                               Lorraine Loomis
                                               Chairperson



cc: Honorable Patty Murray, U.S. Senate
    Honorable Maria Cantwell, U.S. Senate
    Honorable Peter Defazio, Ranking Member, U.S. House of Representatives, Committee on
       Transportation and Infrastructure




                                                                                                          430
Opposition of Proposed Closure and Sale of Pacific Northwest Regional Archives (National Archives
                                                          & Records Administration), Seattle, WA
                                                                                January 28, 2020
                                                                                           Page 3

 Honorable Debra Haaland, Member, U.S. House of Representatives, Committee on Oversight &
     Government Reform
 Honorable Derek Kilmer, Member, U.S. House of Representatives, Committee on Appropriations
 Tyler Fish, Senior Policy Advisor & Tribal Liaison, White House Office of Intergovernmental
     Affairs
 Jennifer Bradley Lichter, Deputy Assistant to the President for Domestic Policy and Deputy
     Director, White House Domestic Policy Council
 Adam Bodner, Executive Director, Public Buildings Reform Board, Executive Office of the
     President
 David Ferriero, Archivist of the United States, National Archives Records Administration
 Debra Wall, Deputy Archivist, National Archives Records Administration
 Erica Pearson, Director, National Archives Records Administration
 Gary Stern, General Counsel, National Archives Records Administration
 Emily (Webster) Murphy, Administrator, General Services Administration
 Daniel W. "Dan" Mathews, Commissioner, Public Buildings Service, Office of the Administrator,
     General Services Administration
 Rogina Steiner, Staff Attorney, Port Gamble S'Klallam Tribe
 NWIFC Tribal Chairs
 NWIFC Commissioners




                                                                                                    431
DocuSign Envelope ID: F90E096E-4E8B-494F-B776-B4151AF2674B




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         6                                UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF WASHINGTON
         7
                   STATE OF WASHINGTON, et al.,                        NO.
         8
                                                 Plaintiff,            DECLARATION OF THOMAS
         9                                                             STRONG, VICE-CHAIRMAN OF
                            v.                                         THE SKOKOMISH INDIAN
       10                                                              TRIBE
                   RUSSELL VOUGHT, et al.,
       11
                                                 Defendants,
       12
                       I, Thomas Strong as Vice-Chairman of the Skokomish Indian Tribe, declare as follows:
       13
                       1.        I am an enrolled member of the Skokomish Indian Tribe. I am over the age of
       14
               18 and competent to testify. I make this declaration based on my personal knowledge.
       15
                       2.        I have been the Vice-Chairman of the Skokomish Indian Tribe for the past two
       16
               years. I have been a member of the Skokomish Tribal Council for over fourteen years.
       17
                       3.        As the Vice-Chairman and a Tribal Council Member, I am responsible for
       18
               ensuring the integrity of our enrollment roll for our tribe. This requires the use of the census
       19
               records housed at the National Archives in Seattle. Prior to serving as the Vice-Chairman for
       20
               the Skokomish Indian Tribe, I was a cultural resources technician and enrollment officer for the
       21
               Skokomish Indian Tribe. This required me to perform the administrative function of maintaining
       22
               and verifying the data utilized to confirm, or deny, membership into the Tribe. This work relies
       23
               directly upon the census records we collected during our research at the National Archives. This
       24
               also required extensive work in the archives over a number of months, and on an ongoing basis.
       25

       26


                 DECLARATION OF THOMAS STRONG,                    1              ATTORNEY GENERAL OF WASHINGTON
                                                                                    COMPLEX LITIGATION DIVISION
                 VICE-CHAIRMAN OF THE                                                800 5TH AVENUE, SUITE 2000
                 SKOKOMISH INDIAN TRIBE                                                SEATTLE, WA 98104-3188
                                                                                            (206) 464-7744



                                                                                                          432
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         1             4.       As the Vice-Chairman and a Tribal Council Member, I am also responsible for
         2     defending the Tribe’s territory and Treaty rights to hunt, gather, and fish. The National Archives
         3     in Seattle is key to this defense, giving tribal staff and consultants timely access to critical
         4     reference materials.
         5             5.       The Skokomish Indian Tribe is an Indian tribe with a governing body duly
         6     recognized by the Secretary of the Interior. Indian Entities Recognized and Eligible to Receive
         7     Services from the United States Bureau of Indian Affairs, 85 Fed. Reg. 5462 (January 30,
         8     2020). The Tribe is re-organized under the Indian Reorganization Act of June 18, 1934. 48
         9     Stat. 984, 987, 25 U.S.C. § 5123; Theodore H. Haas, Ten Years of Tribal Government under
       10      I.R.A. (1947). The Tribe operates under its Constitution and by-laws first adopted on April 2,
       11      1938, and approved by the Secretary of the Interior May 3, 1938, amended January 15, 1980,
       12      as approved by the Secretary of the Interior March 17, 1980. Id.; Skokomish Const. The Tribe,
       13      as the successor in interest to the Skokomish and Twana people, is a signatory to the Treaty of
       14      Point No Point of January 26, 1855 and retains reserved Treaty rights. 12 Stat. 933 (Ratified
       15      Mar. 8, 1859 and Proclaimed Apr. 29, 1859); United States v. Washington, 384 F. Supp. 312,
       16      376-377 at Finding Nos. 133-134 (W.D. Wash. 1974).
       17              6.       The Tribe is located within the Hood Canal drainage area of the State of
       18      Washington. Id. The Skokomish’s Reservation is defined by an Executive Order and later
       19      Proclamations.     Exec. Order of President Ulysses S. Grant (February 25, 1874).           The
       20      Reservation is comprised of only a few thousand acres of land and the vast majority of the core
       21      Reservation located along the Skokomish River is undevelopable wetlands. The lack of
       22      developable land has hampered Tribe’s economic and other infrastructural development. As
       23      such, the Tribe has limited financial resources to conduct research (directly or through
       24      consultants) and having the National Archives in Seattle has lessened that financial burden.
       25

       26


                 DECLARATION OF THOMAS STRONG,                    2               ATTORNEY GENERAL OF WASHINGTON
                                                                                     COMPLEX LITIGATION DIVISION
                 VICE-CHAIRMAN OF THE                                                 800 5TH AVENUE, SUITE 2000
                 SKOKOMISH INDIAN TRIBE                                                 SEATTLE, WA 98104-3188
                                                                                             (206) 464-7744

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         1             7.       As of December 28, 2020, there are 781 enrolled members of the Skokomish
         2     Indian Tribe. A significant number of these members, if not the majority, live in the State of
         3     Washington within a few hours travel to the National Archives facility in Seattle.
         4             8.       For more than a century, the Tribe and its members suffered at the hands of
         5     agents implementing policies of the United States which sought to strip away Skokomish’s
         6     language, culture, and heritage. Despite having been subject to this adversity to this day the
         7     Tribe and its members’ cultural identity remains strong, in part due to the ability to rediscover
         8     lost knowledge preserved at the National Archives facility in Seattle. The closure of this
         9     facility would undoubtedly inflict a most grievous injury upon the Tribe and its members and
       10      once again cut off Skokomish’s connection to the past.
       11              9.       The Tribe relies on this critical facility, for amongst other things to: maintain
       12      its enrollment roll; secure and preserve its territory and Treaty rights to hunt, gather, and fish;
       13      and maintain cultural knowledge.
       14              10.      To fund its primary mission, which is the effective governance of the
       15      Skokomish people and resources, in 1995 the Tribe entered into a Compact of Self-Governance
       16      with the United States of America. The Tribe has also entered in other various agreements with
       17      federal agencies and obtained numerous federal grants (e.g., Pacific Coastal Salmon Recovery
       18      Fund with NOAA Fisheries, Performance Partnership Grant with EPA, Capacity Grant with
       19      EPA, Pacific Salmon Treaty, Mass Marking Grant, Hatchery Cyclical Maintenance Fund with
       20      BIA). The National Archives in Seattle is an invaluable and essential research tool to fulfill the
       21      obligations under the Compact, various agreements, and grants.
       22              11.      In addition, a significant number of members rely on the fisheries to support
       23      themselves and their families. In light of poor fishery run returns, declining global markets,
       24      and COVID-19 restrictions, money is scarce. As such, the members would face undue
       25      financial harm if they were prevented from travelling to a local facility to conduct their own
       26


                 DECLARATION OF THOMAS STRONG,                     3                ATTORNEY GENERAL OF WASHINGTON
                                                                                       COMPLEX LITIGATION DIVISION
                 VICE-CHAIRMAN OF THE                                                   800 5TH AVENUE, SUITE 2000
                 SKOKOMISH INDIAN TRIBE                                                   SEATTLE, WA 98104-3188
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         1     research into their families’ histories, their homeland, their Treaty, and their traditional ways
         2     of life.
         3                12.   Lastly, the Tribe was not meaningfully consulted regarding the closure and sale
         4     of the National Archives in Seattle, nor the intended means of preservation of irreplaceable
         5     records or other significant documents/items maintained at that facility. The Tribe has not
         6     been given any meaningful opportunity for input into this deplorable process. The Tribe fears
         7     that critical pieces of its history and history of the Pacific Northwest will be lost forever if this
         8     closure and sale is not immediately stopped.
         9
       10      I declare under penalty of perjury that the foregoing is true and correct.
       11
               SIGNED AND DATED this 4th day of January, 2021 at Skokomish Nation, Washington.
       12
       13

       14
                                                               Thomas Strong, Vice-Chairman
       15                                                      Skokomish Tribal Council
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                 DECLARATION OF THOMAS STRONG,                      4                ATTORNEY GENERAL OF WASHINGTON
                                                                                        COMPLEX LITIGATION DIVISION
                 VICE-CHAIRMAN OF THE                                                    800 5TH AVENUE, SUITE 2000
                 SKOKOMISH INDIAN TRIBE                                                    SEATTLE, WA 98104-3188
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6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
7
        STATE OF WASHINGTON, et al.,                             NO.
8
                                      Plaintiff,                 DECLARATION OF MICHAEL
9                                                                SEAN SULLIVAN
                  v.
10
        RUSSELL VOUGHT, et al.,
11
                                      Defendants.
12
13          I, Michael Sean Sullivan, declare as follows:

14          1.         I am a public historian, university lecturer, and cultural resource professional. I

15   am over the age of 18 and competent to testify. I make this declaration based on my personal

16   knowledge.

17          2.         I have been practicing and teaching Historic Preservation methodology in the

18   Pacific Northwest for over 30 years and have been a leader in local and federal preservation

19   issues, policies and projects since completing a Masters degree at Western Washington

20   University and post graduate studies at the University of Washington. Since founding Artifacts

21   Consulting, a historic preservation studio, in 1997, I have instituted a personal and company

22   focus on preservation policy directed at architectural conservation treatments, investment tax

23   credit strategies, and historic resources regulatory compliance. I have been directly involved

24   in applications and approval of more than $500 million in tax incentive leveraged rehabilitatio n

25   projects and have advocated for historic preservation efforts at virtually every level of activity

26   from world heritage site issues to local landmark campaigns. I also served as the Conservator




       DECLARATION OF MICHAEL SEAN                         1
       SULLIVAN
                                                                                                        506
1    for the Washington State Capitol Campus for more than a decade. In addition, I have directed
2    the preparation of nominations to the National Register of Historic Places, Historic Structure
3    Reports, and restoration plans for important National Historic Landmarks such as the Ernest
4    Hemingway House in Ketchum Idaho, the Panama Hotel and King Street Station in Seattle
5    Washington, and hundreds of historic buildings and sites in the Pacific Northwest. I was also
6    project manager for the assessment of damage to historic buildings and sites following the
7    Nisqually Earthquake on behalf of the Washington State Legislature and am currently engaged
8    in earthquake preparedness policy development in Washington State.
9           3.      I have been widely published on such varied themes as Japanese American
10   history in the Pacific Northwest, Pacific maritime history, and Puget Sound regional settlement
11   and history with an emphasis on the Tacoma area. I have taught courses on Pacific Northwest
12   History and Tacoma history at the University of Washington Tacoma for more than 20 years
13   and write and edit TacomaHistory.live, a website on south sound historical topics. I wrote the
14   introduction to the new edition of Puget’s Sound, a Narrative of Early Tacoma and the
15   Southern Sound, published by the University of Washington Press in 2018. I have also written
16   articles in Columbia: The Magazine of Northwest History, Fall 2018, and Discover Nikkei, an
17   on-line journal of Japanese migrants and their descendants (Tacoma Nihonmachi, ca. 1920 and
18   Gone To Market in Tacoma, WA), http://www.discovernikkei.org/en/.
19               4. In 2017, I was appointed by Governor Inslee to the Washington State Advisory
20   Council on Historic Preservation. In addition, I serve as chairman of the Board of Directors
21   and Executive Committee for HistoryLink, an on-line encyclopedia of Washington State
22   History, and am Past President of the Washington Trust for Historic Preservation. I also serve
23   as an Advisor from Washington State to the National Trust for Historic Preservation. In 2012,
24   I was elected to the Advisors Executive Committee of the National Trust for Historic
25   Preservation. I am an affiliate faculty member at the University of Washington Tacoma and
26   am an associate at the Center for the Study of Community and Society at UW Tacoma.




       DECLARATION OF MICHAEL SEAN                     2
       SULLIVAN
                                                                                                  507
1           5.      I am a regular user of the National Archives Center at Sand Point and rely on
2    the records and archival materials for historical information and background for the
3    documentation and nomination of historic places in the Pacific Northwest. I am also routinely
4    involved in identifying and documenting potential historic and cultural resources in
5    conjunction with the Federal Environmental Protection Act and State environmental laws as
6    they apply to publicly funded transportation, recreation, and educational projects, which
7    requires Seattle Archives research. In addition, I have and continue to use the Seattle Archives
8    in connection with nominations to the National Register of Historical Places.
9           6.      Listing on the National Register of Historic Places is the Federal process of
10   recognizing and conserving places, buildings, objects and sites that are recognized as
11   contributing to the history and story of the American people. In addition to the recognized
12   cultural value that comes with National Register listing, Federal, State and local environmental
13   protection laws and processes cite National Register listing or eligibility as a condition for
14   protection or mitigation treatment.
15          7.      Listing on the National Register of Historic Places is also a prerequisite for
16   receiving Federal Rehabilitation Tax Credits for investment and costs associated with the
17   rehabilitation and restoration of historic commercial buildings and properties.
18          8.      Buildings and sites are nominated for listing on the National Register of
19   Historic Places with a package of written and photographic documents submitted to the
20   National Park Service and the Keeper of the National Register after review by each State’s
21   Governor and State Historic Preservation Officer. The nomination package includes a rigorous
22   statement of significance, a physical description narrative, ownership and location data and a
23   portfolio of historic and current photographs, and cartographic materials. The creation of a
24   property’s nomination package generally requires extensive use of the National Archives
25   facility. Indeed, in conjunction with my colleagues at Artifacts Inc., we have used the Seattle
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       DECLARATION OF MICHAEL SEAN                      3
       SULLIVAN
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1    Archives to provide supporting documentation of several hundred historic sites and places in
2    the Pacific Northwest and Alaska.
3           9.      Among the varied materials at the National Archives at Seattle I have particular
4    interest and professional need for are property records, Government Land Office ledgers and
5    maps, immigration and census records, Federal court files, tax and assessment documents,
6    military records, treaties, tribal relations records and Native American policy materials and
7    related documents, biographical materials, railroad/land grant records, coastal survey logs and
8    charts, photographic and cartographic materials and early documents related to federal lands,
9    parks and maritime locales.
10          10.     I have worked on several National and Local Register of Historic Places
11   nominations and cultural resource assessments that have drawn heavily on the National
12   Archives in Seattle including the Sand Point Naval Air Station (historic district), Panama Hotel
13   Building (National Landmark related to Japanese American internment), M.V. Western Flyer
14   (fishing/scientific vessel), Port Gamble (National Landmark district, Kitsap County), several
15   United States Post Office Buildings, George Pickett House/San Juan National Park (San Juan
16   Island/Bellingham), Ernest Hemingway House (Ketchum ID), Veterans Hospitals at American
17   Lake, Seattle and Fort Walla Walla, and shoreline and waterfront properties related to the
18   newly created Federal Maritime Heritage Area in Washington State. My research from the
19   Archives helped to establish that these properties qualified for inclusion on the National
20   Register of Historic Places.
21          11.     Over the last few years, I also have used the National Archives in Seattle to
22   document historic places associated with Latino people in the Yakima Valley and greater Puget
23   Sound area as well as places associated with African American history in the Pacific
24   Northwest. This work has been funded by the National Park Service and the Washington State
25   Office of Archaeology and Historic Preservation in an effort to increase the listing of properties
26




       DECLARATION OF MICHAEL SEAN                       4
       SULLIVAN
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1    on the National Register of Historic Places, which reflect untold or under represented
2    American people and stories.
3           12.     Closure of the National Archives facility in Seattle came as startling news to
4    my colleagues and I as cultural resource professionals, public historians, and educators. Only
5    a small fraction of the archival materials at NARA have been copied or digitally scanned for
6    access other than in person. While archival material at most other public record depositories in
7    the area (University of Washington Digital Library, Washington State Historical Society,
8    Seattle, Tacoma Public Library, Washington State Archives, HistoryLink), are being made
9    accessible through digital formats advanced by local high tech industries’ capacity and
10   resources, the Federal Archive materials at the NARA facility are almost entirely unique,
11   unhandled and uncopied. They are only broadly cataloged, which means that research involves
12   the pursuit of inquiry on a page by page, document by document basis. The potential loss of
13   the millions of records in the NARA collection would be devastating for local historians like
14   myself. The removal of the entire body of archival materials would severely degrade both our
15   access and the possibility of information discovery related to threatened and unrealized historic
16   and cultural resources.
17          13.     Simply put, the closure of the NARA facility and the removal of the Federal
18   Archives from the Pacific Northwest will have a profound negative impact on my professional
19   work and the efforts of others to recognize and preserve our country’s historic places and story.
20   The Pacific Northwest and Alaska are not recognized equally with other regions of the country
21   in sites and locales listed on the National Register of Historic Places. The Federal Archives are
22   an indispensable source of historical information needed to document and nominate the
23   region’s historic places. The removal of the Federal archival materials at Seattle NARA, with
24   their concentration on Alaska and the Pacific Northwest, would greatly complicate the work
25   of historians and cultural resource researchers and dilute the records into larger collections
26   which are themselves poorly cataloged and largely unscheduled for digital access. For




       DECLARATION OF MICHAEL SEAN                      5
       SULLIVAN
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1    professional historians and educators like myself, the need to travel and spend more time in
2    research represents a significant additional expense and loss. For students and citizen
3    researchers it simply takes the Federal records out of reach entirely. More importantly, the
4    results of relocating the Federal archives delays or prevents the research and documentation
5    needed to identify and protect historic places in the Pacific Northwest and the important stories
6    that go with them.
7
     I declare under penalty of perjury that the foregoing is true and correct.
8
9    DATED this 30th day of December, 2020 at Tacoma, Washington.
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                                                   Michael Sean Sullivan
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       DECLARATION OF MICHAEL SEAN                      6
       SULLIVAN
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8                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
9                                       AT SEATTLE

10   STATE OF WASHINGTON, et al.,                       Case No.

11                          Plaintiff,                  DECLARATION OF AMBER NICOLE
                                                        TAYLOR
12                    vs.

13   RUSSELL VOUGHT, et al.,

14                          Defendants.

15
            I, Amber N. Taylor, declare as follows:
16          1.      I am the Collections Management Lead for the Puyallup Tribe of Indians,
17   Historic Preservation Department and a Puyallup Tribal Member. I am over the age of 18 and

18   competent to testify. I make this declaration based on my personal knowledge.

19          2.      I have been the Collections Management Lead for approximately 2 years and

     have worked in the department for 4.5 years. As the Collections Management Lead, my duties
20
     consist of acquiring, preserving, and making accessible to the Puyallup Tribe, its Membership
21
     and the Community, records of on-going value in any format which reflect the cultural, social,
22
     economic and political history of the Puyallup Tribe. I work directly with Puyallup Tribal
23


      DECLARATION OF AMBER NICOLE TAYLOR – PAGE 1                                 LAW OFFICE
                                                                          PUYALLUP TRIBE
                                                                            3009 PORTLAND AVENUE
                                                                              TACOMA, WA 98404
                                                                                 (253) 573-7877



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1    Members, Employees, and the Community by assisting with research requests, genealogy,

2    and artifact donations. It is also my responsibility to obtain documents of historical value from

     outside sources to add to and enrich our collections. Prior to serving as the Collections
3
     Management Lead, I was an Archive Technician for 2 years at the Puyallup Tribe. My duties
4
     in this position consisted of accessioning, cataloging, digitizing, and preserving records of on-
5
     going value in any format to enhance historical knowledge.
6
            3.      The Puyallup Tribe is a Federally Recognized Tribe made up of roughly 5500
7    members. The Puyallup Tribe is located in Pierce County, Washington, and many of the

8    Tribe’s members live and reside on or near the reservation. The Puyallup Tribe was

9    established in 1854 when the Medicine Creek Treaty was signed and later ratified. We have

     a very rich history and a great connection to the Pacific Northwest and surrounding areas
10
     because of our long history in the region.
11
            4.      The Puyallup Tribe has a large amount of important records that are held at
12
     the National Archives in Seattle. These records are the basis for which enrollment is
13
     established, reservation boundaries have been determined, treaty rights and laws are protected
14   and upheld, and historical and genealogical research has been fulfilled. Some of the most-
15   used records include the Allotment documents that establish who was allotted land and where.

16   These documents also establish genealogical connections within families. All of the Cushman

     hospital and Boarding School records are housed at National Archives in Seattle. We get
17
     requests from community members and out-of-state requests pertaining to Cushman often.
18
     All of the records from the Puyallup/Seattle Indian Agency and the Portland Area Indian
19
     Agency are held at the Seattle location. These are incredibly valuable and help establish
20
     agricultural, industrial, and financial documentation pertaining to the Pacific Northwest
21   Tribes, including the Puyallup Tribe. All of the Puyallup Indian Land Commission records
22   which include the status of Puyallup Indian lands, including the sale of these lands are highly

23   valuable to us and irreplaceable. These records include original, hand-drawn maps of the


      DECLARATION OF AMBER NICOLE TAYLOR – PAGE 2                                   LAW OFFICE
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 1   reservation and important historical connections to our ancestors. Viewing these records in-

 2   person has a great effect on our connection to the records themselves. Having the ability to

     be in the presence of original historical documents pertaining to our people and who we are
 3
     today as a Tribe is highly important as this connection impacts our culture, our rights as a
 4
     Tribe and the closeness we feel to our ancestors. In my current position at the Puyallup Tribe,
 5
     I work with very old, very poor photocopies from the 1960s and 1970s created from some of
 6
     the records from National Archives in Seattle; the emotions and connection when viewing
 7   these photocopies are in no way the same as viewing the originals, there’s more of a

 8   disconnect and my fear is that the records will not share the same connection to the land and

 9   people that they do now if they are simply relocated and digitized. These records will not be

     visited by the people who treasure them most if they are relocated out of state. This decision
10
     will make it impossible to view the records in-person for most of our community and
11
     membership because it will create a financial hardship.
12
            5.      In my position, I typically don’t assist with federal programs, occasionally I
13
     get requests from the Puyallup Tribe’s Fisheries Department for any information and
14   documentation pertaining to use of the waterways for conservation. More specifically,
15   Hylebos Creek, Commencement Bay, and the Puyallup River. When fulfilling these requests,

16   the records at National Archives Seattle are included in my research and are used for legal

     purposes by the department requesting them.
17
            6.      When I began working in the Puyallup Tribe’s Historic Preservation
18
     Department, I sat down with my grandmother Ramona Bennett who is a Puyallup Tribal Elder
19
     and former Council Chairwoman. Ms. Ramona Bennett shared some of her experience with
20
     me regarding the National Archives while she was in office. Judy Wright was working in a
21   museum position within the tribe and was copying as many records at the Seattle National
22   Archives facility as she could out of fear that somehow they might be destroyed. It would not

23   be realistic to copy everything of importance. But if the National Archives facility in Seattle


      DECLARATION OF AMBER NICOLE TAYLOR – PAGE 3                                  LAW OFFICE
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1    is sold, and the records are shipped off to warehouses in distant locations, our fears that

2    important records maps and objects will be destroyed seem likely to come true.

            7.      The Puyallup Tribe’s Historic Preservation Department first learned of the
3
     decision to sell the Seattle National Archives facility from Tallis King George, a historian that
4
     we have close connections with and who visits the Seattle facility regularly. This individual
5
     came in for an office visit to inform us of the sale near the end of January 2020.
6
            8.      Our department was never contacted by anyone connected to any federal
7    agency or any representative connected to the federal government’s decision to sell the

8    National Archives facility in Seattle, WA. It wasn’t until after the decisions had been made

9    to sell the facility that we were invited to attend a meeting with federal representatives and

     the Tribes on February 11, 2020 held at the National Archives in Seattle.
10
            9.      The only input that my department has had was at the meeting held on Feb.
11
     11, 2020 in which we were able to ask questions from the National Archives Representatives.
12
     The response was that the building was going away and there are no other alternative options
13
     for the records. This is where I learned there is no review process and the government’s
14   decision, without consultation of the Tribes and community, was final.
15          10.     The National Archives location in Seattle houses records that the Puyallup

16   Tribe deems as priceless. These records include irreplaceable historic documents including

     family histories, probate documents, written correspondence letters, census records, maps,
17
     and microfilm that are of great value to our community. If these records are relocated there’s
18
     the high possibility that we will lose access to these records for a long period of time.
19
     Although the National Archives is promising to digitize the records to make them more
20
     accessible, we know that the amount of staff needed and time it will take to fulfill this
21   obligation creates a hardship and could take more than a decade to complete. The records
22   housed in this facility assist with establishing enrollment for members, are used for the

23   enforcement of our treaty rights, and have been important in terms of culturally significant


      DECLARATION OF AMBER NICOLE TAYLOR – PAGE 4                                   LAW OFFICE
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 1   sites and usual and accustomed areas within our reservation and the Puget Sound region.

 2   Without access to the archives locally, our staff will no longer have the opportunity to visit

     the National Archives and conduct research on behalf of the Puyallup Tribe. Many of our
 3
     members find their family history located in Seattle at this facility and without access to these
 4
     records locally they will no longer have the opportunity to seek out these records. Additional
 5
     hardships include not having the capability to view these records in-person. There’s a spiritual
 6
     and cultural connection to these records for our people and the other communities that access
 7   them. The last time I visited the Seattle National Archives facility I found a record that listed

 8   the sale of my ancestors, the Jacksons’ land. A photo of that portion of the record is attached

 9   as Exhibit A. My aunt 4x’s removed, Jennie Jackson, of these ancestors, was murdered for

     her land because it was a highly sought after location. I feel a connection to this document, a
10
     large-bound records book. This is just one example of a record that holds individual value to
11
     me. There are thousands of similar documents that have personal meaning for those who
12
     research here. We also found an original map of the Puyallup and Muckleshoot reservations
13
     from 1856 that shows private land claims and important sites. A photo of that map is included
14   as Exhibit B. Our boundaries have been disputed for decades and records such as this help
15   with legal claims. Another important record collection that Tribal researchers seek are the

16   census records. These have highly valuable cultural meaning as many of these records list

     Indian names of our ancestors. We hold cultural naming ceremonies and having access to
17
     these names helps us to continue this practice and carry on the names of our people so they
18
     can be remembered. Without these records we’d be unable to continue this research and
19
     ceremony.
20

21

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      DECLARATION OF AMBER NICOLE TAYLOR – PAGE 5                                   LAW OFFICE
                                                                            PUYALLUP TRIBE
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                                                                                TACOMA, WA 98404
                                                                                   (253) 573-7877



                                                                                                         516
 1   I declare under penalty of perjury that the foregoing is true and correct.

 2
     DATED this 4th day of January, 2021 at Graham, Washington.
 3

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 5
                                                   AMBER NICOLE TAYLOR
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      DECLARATION OF AMBER NICOLE TAYLOR – PAGE 6                                  LAW OFFICE
                                                                            PUYALLUP TRIBE
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                                                                                                     517
                    Exhibit A
                                 TO
DECLARATION OF AMBER NICOLE TAYLOR
       ISO PUYALLUP TRIBE OF INDIANS




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                    Exhibit B
                                 TO
DECLARATION OF AMBER NICOLE TAYLOR
       ISO PUYALLUP TRIBE OF INDIANS




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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                          NO.
 8
                                     Plaintiff,               DECLARATION OF JOSEPH
 9                                                            EVANS TAYLOR III
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants.
12

13          I, Joseph Evans Taylor III, declare as follows:

14          1.        I am a professor of history at Simon Fraser University. I am over the age of 18

15   and competent to testify. I make this declaration based on my personal knowledge and my

16   expertise as a scholarly historian for more than three decades, much of which has been spent

17   conducting research at federal archives including NARA’s regional archive in Seattle.

18          2.        I received a PhD in History from the University of Washington in 1996. I

19   studied early and modern North American history, western North American history,

20   environmental history, and colonial Latin American history. I have written widely on the

21   fisheries and history of salmon management, Pacific Northwest Indian treaties as they related

22   to salmon management, western North American recreation and environmental gentrification,

23   and the history of transfer payments for federal lands in the western United States. I am

24   currently writing a history of congressional conservation policies regarding federal lands since

25   1785, and a biography of the Colorado congressman who authored the Taylor Grazing Act,

26   which in 1934 organized the remaining public lands in the American West for grazing




       DECLARATION OF JOSEPH EVANS                      1              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       TAYLOR III
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 1   conservation. My major publications include Making Salmon: An Environmental History of
 2   the Northwest Fisheries Crisis (Seattle 1999—George Perkins Marsh Prize for Best Book in
 3   Environmental History, Choice Award; Oscar Winther Prize and Theodore C. Blegen Award
 4   for related essay); Pilgrims of the Vertical: Yosemite Rock Climbers and Nature at Risk
 5   (Cambridge 2010—National Outdoor Book Prize); Persistent Callings: Seasons of Work and
 6   Play on the Oregon Coast (Corvallis 2019); and “Follow The Money: A Spatial History of In-
 7   Lieu Programs for Western Federal Lands” (Stanford, ongoing web-based mapping project). I
 8   was also an expert witness in Washington v. United States 584 U.S. ___ (2018), writing on the
 9   history of salmon ecology and attitudes regarding salmon runs in 1854-1855. I taught
10   environmental and western history at Iowa State University from 1996 to 2003, and the same
11   at Simon Fraser University since 2004. I have also been an affiliated researcher at Stanford
12   University’s Center for Spatial and Textual Analysis since 2010.
13          3.      Like other scholarly historians, a crucial part of my research involves
14   examining what are called “primary documents,” that is texts created contemporaneous to the
15   events I study. These may include correspondence, reports, and other file materials produced
16   by contemporaries, officers, and agencies, plus legislative and administrative materials
17   produced in the field or in Washington, DC. These are sometimes located at small regional
18   museums, history societies, and university archives, but the main depositories for my research
19   have been the main and branch campuses of the National Archives and Records
20   Administration. Across my career I have spent more than a year of my life in the Downtown
21   and College Park (II) National Archives buildings and the Archives Unit of the Library of
22   Congress. In fact, a photo of my younger self is still on display in the basement of Archives II
23   to illustrate the features of the building. The other key resource for my research has been
24   NARA’s regional facilities, including five presidential libraries and the regional archives in
25   Seattle and San Bruno. I began researching at the Seattle Branch archive in 1991 while working
26   on my M.A. thesis at the University of Oregon on the aboriginal salmon fisheries, and I




       DECLARATION OF JOSEPH EVANS                      2             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       TAYLOR III
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 1   continued this research after matriculating at the University of Washington in 1992 while
 2   working on a broader history of scientific salmon management. I have returned to the facility
 3   periodically for research as an expert witness in a tribal treaty case, and to map transfer
 4   payments to western counties because of natural resource activities on federal lands. Since my
 5   grad student days, however, I have guided other students in their research at Seattle’s NARA
 6   facility, first with undergraduate research papers that taught research skills and the confidence
 7   to work in archival materials, and later when my own grad students at Simon Fraser University
 8   needed to examine federal primary documents housed at NARA’s Seattle Branch.
 9          4.      Among the materials that I have examined at NARA’s Seattle Branch are Office
10   of Indian Affairs and Army correspondence related to the negotiation of treaties in Oregon and
11   Washington territories, and the management of nineteenth-century reservations regarding
12   salmon fisheries, spiritual practices, and land claims. I have used the facility to review Bureau
13   of Census records on local population and economic development for a history of the Nestucca
14   River watershed on the Oregon coast, plus genealogical records that helped to flesh out family
15   histories and labor patterns within the valley from 1880 to the 1940. The collection of U.S.
16   Bureau of Fisheries materials at the Seattle Branch was important for tracing scientific research
17   on salmon and ocean conditions, and federal fish cultural activities and research from the 1890s
18   to the 1960s for Making Salmon. My more recent visits have reviewed Department of Interior
19   and Bureau of Land Management records regarding logging, revenues, and transfer payments
20   related to the Oregon & California Railroad grant lands (O&C Lands) for the “Follow the
21   Money” mapping project. Other visits were to work in Geological Survey cadastral survey
22   materials and Army correspondence during the territorial period in western Washington
23   Territory for a report to the court in the Washington v. United States litigation. Each collection
24   was a crucial resource for capturing the details and contexts of past events. Some records are
25   now digitized or microfilmed, but the vast majority of the DOI, BLM, and USBF materials are
26   only in paper and available nowhere but the Seattle Branch.




       DECLARATION OF JOSEPH EVANS                       3             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       TAYLOR III
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 1          5.      The records contained at NARA’s Seattle Branch are used to document the
 2   historical patterns of management of tribes, environmental management, and fiscal policies
 3   and consequences in the Pacific Northwest and Alaska. Tribes rely on the materials housed on
 4   site to study treaty relations, NAGPRA claims, land disputes, and government to government
 5   relations. Historians working on regional environmental issues have access in one place to a
 6   wide array of archived federal materials on land, timber, mineral, and fishery management.
 7   The regional archives minimizes the need to travel to many different sites, which is costly and
 8   time consuming but also undermines the ability to make connections across disparate, often
 9   seemingly unrelated files and collections. In the case of the materials related to the O&C Lands,
10   accessing all the records at one site enabled me to see adjacent receipts and reports in context,
11   giving me a much clearer sense of what federal administrators and managers were working on
12   at the time. It also showed exactly when in the early 1940s the DOI finally compensated
13   counties in western Oregon for tax bases lost in 1916. Similarly, the cadastral survey records
14   contained information that allowed me to identify relevant Army correspondence also located
15   at the Seattle Branch. The connections would have taken longer and been less obvious if I had
16   tried to do this research remotely through digital portals. This is why archivists are also a
17   crucial resource. Their knowledge of collections and even individual boxes and files makes
18   research far more efficient. To give one example, while working through the DOI records on
19   transfer payments, an archivist steered me to a box in a parallel series containing a graphical
20   text, produced by the DOI in the mid-1940s, to illustrate growing O&C timber harvest revenue
21   and the amounts of back taxes finally paid to western Oregon counties. The cadastral records
22   information was included in my expert witness testimony for Washington v. United States, and
23   the O&C timber harvest and payment information was incorporated into the Follow the Money
24   maps and will be part of a chapter in the congressional conservation book that I am presently
25   writing.
26




       DECLARATION OF JOSEPH EVANS                      4              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       TAYLOR III
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1              6.   I first learned by word of mouth about the proposed closure and sale of NARA’s
2    Seattle Branch on 23 January 2020. That same day I sent an email alert to the executive director
3    of the American Society for Environmental History, the premier scholarly organization
4    affiliated with the field of environmental history. The news came as a surprise to all of us.
5    Given the importance of NARA’s branch archives to historians and legal professionals, I and
6    everyone I spoke expressed surprise that NARA had not notified us sooner that they were
7    contemplating this closure. I and everyone I spoke with regarded it as having a potentially
8    devastating effect on the ability to conduct timely and effective research on a wide range of
9    topics.
10             7.   The most immediate impact of closing and moving the records from NARA’s
11   regional archive in Seattle will be the added expense and time required to travel to more distant
12   depositories in California or Kansas City. This will require greater periods of time and
13   finances, because it will impose greater travel and housing costs to accomplish what can now
14   be done by a two-hour drive on off days from teaching and committee work during the school
15   year. The impediments pose even greater challenges for graduate and undergraduate students
16   at my and other universities in the Pacific Northwest. Students possess neither my resources
17   nor supported research time, so completing research components of the education process will
18   put greater pressure on granting institutions, including federal programs, to support a wider
19   range of students traveling much longer distances and for longer periods to accomplish what
20   can now be done within the region for relatively less imposition on researchers. It will be an
21   even greater hindrance for historically impoverished groups such as First Nations and Indian
22   scholars, and, since the closure of NARA’s Alaska branch, this is even more true of Indigenous
23   scholars and researchers in the far north. A less obvious but equally devastating loss will be
24   the dissipation of the NARA Seattle Branch’s archival staff, and with them the loss of the
25   institutional memory that makes archivists significant partners in historical research.
26




       DECLARATION OF JOSEPH EVANS                      5              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       TAYLOR III
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 1         I declare under penalty of perjury that the foregoing is true and correct.
 2
     DATED this 28th day of December, 2020 at Burnaby, British Columbia.
 3               day              month   year      city          state
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 9                                                Joseph Evans Taylor III
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       DECLARATION OF JOSEPH EVANS                     6             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       TAYLOR III
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      6                             UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
      7
              STATE OF WASHINGTON, et al.,                          NO.
      8
                                         Plaintiff,                 DECLARATION OF THERESA
      9                                                             TREBON
                       V.
     10
              RUSSELL VOUGHT, et al.,
     11
                                         Defendants,
     12
                 I, Theresa Trebon, declare as follows:
     13
                  I.        I am the archivist and records manager for the Swinomish Indian Tribal
     14
          Community. I am over the age of 18 and competent to testify. I make this declaration based on
     15
          my personal knowledge.
     16
..               2.         I have be~n the Swinomish Tribal Archivist and Records Manager since the
     17
          department was created on January 1, 2007. As archivist and records manager, I am responsible
     18
          for documenting the tribe's ~istory, both past and present, as well as caring for materials that
     19
          relate to the history of the tribe. These include documents, oral histories, maps, and collection
     20
          items from baskets to canoes. I regularly access documents at the National Archives at Seattle
     21
          to serve a wide range of needs.. These include research for the tribe's legal department, research
     22
          to understand and build the historical record of Swinomish, and genealogical resources for the
     23
          tribal community. Prior to serving as archivist and records manager for Swinomish, I was
     24
          employed by organizations such as the Anacortes Museum, and Ebey's Landing National
     25

     26




            DECLARATION OF THERESA TREBON                                    ERROR! AUTOTEXT ENTRY NOT DEFINED.



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     Hi storical Reserve to preserve, protect, and di sseminate hi story. Prior to those organizations, I

 2   operated my own business, Continuum History and Research.
 3           3.     The Swinomish Indian Tribal Community is a sovereign entity and federally-

 4   recognized Indian tribe with approximately 1,000 enrolled members. It is an adjudicated

 5   successor in interest to certain tribes and bands of Indians which were party to the 1855 Treaty

 6   of Point Elliott, including the Kikiallus, Lower Skagit, aboriginal Samish, and aboriginal

 7   Swinomish, whose historical territories included the Samish and Skagit River watersheds and

 8   marine areas in northern Puget Sound. It occupies a reservation established under the Treaty

 9   of Point Elliott, which is located near La Conner, Washington about an hour north of Seattle.

10   It employs approximately 500 tribal goverrirnental staff who work in a wide variety of tribal

11   programs, several of which are heavily reliant on the National Archives at Seattle, as explained

12   in greater detail below.
13          4.      The Swinomish Tribe has depended on a wide variety of records from the

14   National Archives at Seattle. These include records from RG-75, in particular the records of

15   the Tulalip Indian Agency. These rare documents have not been digitized and are extremely

16   important to the Swinomjsh Community. First and foremost, the contents of RG -75 at Seattle

17   are essential to reconstructing and understanding the history of the tribe from an organic base.

18   Due to· a lack of fund~/or documenting and preserving tribal history from treaty time [ 1855]

19   to 2007 when the first tribal archive was created, the tribe has historically lacked the foundation

20   to fully understand its past, how its government was created, the steps taken to establish tribal

21   sovereignty and its treaty rights, land use decisions and more. First-hand access to the RG-75

22   documents at Seattle has been essential to helping rectify that omission. Secondly, and perhaps

23   more importantly, has been the opportunity for tribal members to see, and hold, these original

24   documents in their hands. For tribal members, the original RG-75 documents at Seattle NARA

25   are actually historical artifacts. To hold these documents, to see them with their own eyes, is a

26   physical experience of recognition and connection to their ancestors who have gone before.




       DECLARATION OF THERESA TREBON                      2              ERROR! AUTOTEXT ENTRY NOT DEFINED.



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     This actual contact with the original piece of paper signed by their grandfather or great-

 2   grandmother, etc. cannot be replicated with a digitized version of the same. An example of this

 3   is the 1896 petition signed by tribal members to construct the Swinomish Day School on the

 4   reservation. Another is the 1925 contract .signed by tribal leaders for the F-275 litigation

 5   Duwamish et. al v. United States, the first attempt by Swinomish to litigate its treaty rights.

 6   Documents like these are priceless artifacts for present-day tribal members to physically

 7   interact with and transcend the historical facts on the paper itself. Other key Record Groups at

 8   Seattle NARA include, but are not limited to, the following: RG-11, Chinese Exclusion Act

 9   documents [Swinomish tribal members intermarried with Chinese aliens]; RG-21, District

10   Court of the United States; RG-49, Bureau ·of Land Management; and RG-95 United States

11   Forest Service.
12           5.        The Swinomish Tribe utilizes the documents at Seattle NARA in multiple
13   capacities. These include enforcing tribal sovereignty and treaty rights, tribal government
14   history, litigation, land-use and inheritance issues, and tribal enrollment. For example, the tribe
15   is currently involved in litigation with the Burlington Northern Railroad, which built a railroad
16   line across the reservatiol} in the late 1800s without authorization from the tribe or the United
17   States. The tribe has relied on NARA documents from the l 880s- l 890s in order to support its
18   case. The tribe has als9prepared the first written and documented history of tribal government
19   from 1855-2020; this publication is primarily based on historical documents found at Seattle
20   NARA. Most importantly to tribal members however, are those documents at Seattle NARA
21   that untangle the threads of family history at Swinomish. These documents are found
22   throughout the subsets of RG-75 records and take a great deal of sleuthing and examination to
23   uncover undocumented genealogical ties.
24                6. Another important set ofrecords at Seattle NARA are those of the United States
25   Forest Service, RG-95. Swinomish has only begun to examine the huge array of these original,
26   undigitized records at Seattle which hold vital information on the forest management of the




       DECLARATION OF THERESA TREBON                     3              ERROR! AUTOTEXT ENTRY NOT DEFI NED.



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      Mt. Baker-Snoqualmie National Forest and how it has affected water quality and salmon

 2    habitat in the Skagit River, the only river on the West Coast that still supports all six species

 3    of Pacific salmon originally found in many Pacific Northwest rivers.

 4           7.      As Tribal Archivist I have had many communications with Patty McNamee

 5    over the preservation of historical records at Seattle NARA. I have also communicated

 6    concerns on this same topic to archivists at the National Archive branches in Washington D.

 7    C. and at College Park, Maryland.

 8           8.      The Swinomish Tribe learned of the impending sale of the Seattle NARA

 9    facility in mid-January 2020 via email from colleagues in my field.

10           9.      Swinomish was not informed of the intent of the Public Buildings Reform

11    Board despite the fact that they had visited Seattle NARA in mid-2020 and were contemplating

12    the sale of the Seattle NARA property. The Tribe's input was not solicited by PRRB despite

13    the fact that the original records at Seattle NARA are of the utmost importance to the

14    Swinomish Indian Tribal Community. And the Tribe only found out about the February 11,

15    2020 meeting allegedly held "for tribes" at Seattle NARA at the last minute from my

16    colleagues in the field. Swinomish did not receive a direct invitation from NARA officials

17    based in Washington D. C. Despite that, representatives from the Swinomish Tribal Archive

18    were able to attend said meeting.

19           10.     Representatives of the Swinomish Tribal Archive conveyed the Tribe's alarm

20    at the proposed PRRB recommendation directly to William J. Bosanko, NARA's Chief

21    Operating Officer at the February 11, 2020 meeting in Seattle, as well as the panel of associates

22    that accompanied him to that meeting from Washington D. C. Additionally, Swinomish has

23   . been in contact with Washington state government representatives including the Attorney

24    General, state senators and representatives, to try and halt this monumental decision regarding

25    the tribe's records at Seattle NARA. Responses from Washington state officials have been

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        DECLARATION OF THERESA TREBON                    4              ERROR! AUTOTEXT ENTRY NOT DEFINED.




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     supportive of keeping the facility located in the Seattle region where it is centrally located for

 2   those needing to fly in [i.e. Alaskan Natives], or drive great distances to utilize its records.

 3           11.    The Swinomish Indian Tribal Community will suffer irreparable harm if the

 4   records housed at Seattle NARA are relocated to the Midwest as relayed to us by William

 5   Bosanko at the February 11, 2020 meeting. These harms include damage to the tribe's legal

 6   department which depends on ready access to these records to establish and enforce treaty

 7   rights, as well as other issues such as property disputes. Great harm will result to the tribe's

 8   individual members who will be unable to access key documents, and hold them in their very

 9   hands, that verify family history and genealogical ties, as well as education and medical records

10   that shed light on present-day traumas for tribal members. One of the greatest hanns will be to

11   the tribe itself. Swinomish may not be able to afford the costs of repeated research trips to a

12   facility "in the Midwest" [i. e. plane fare, hotel, food] in order to continue to puzzle out the

13   Tribe's history in all areas of its existence. One trip to Seattle NARA is never enough to

14   uncover the whole story. It takes repeated and concerted efforts to piece together the overall

15   picture of any one issue, whether it is a tribal historical event or interchange with the B.I.A.,

16   from the vast collection: held at Seattle NARA. After sixteen years of making these trips to

17   Seattle NARA for this very purpose I can honestly attest to the fact that Swinomish has only

18   scratched the surface.8 f its history which is contained there, and I fear that if the records were

19   removed from Seattle, the tribe would not be able to continue its research.

20           12.    As a historian I have personally depended on the records at Seattle NARA for

21   over forty years and have utilized many record groups there. All are of immense importance

22   to the Pacific Northwest, Alaska, and British Columbia regions. However, since coming to

23   work for the Swinomish Tribe in 2004, and becoming the tribal archivist in 2007, I can honestly

24   say that no records are more crucial to tribal communities in this same region than those held

25   by Seattle NARA. The loss of the ability to examine and learn from these records first hand is

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       DECLARATION OF THERESA TREBON                     5              ERROR! AUTOTEXT ENTRY NOT DEFINED.



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        incalculable for Native American tribes here. From my perspective, and that of the Swinomish

 2 II Tribe, these records must remain in the Seattle area.
 3 11   I declare under penalty of perjury that the foregoing is true and correct.

 4
        DATED this 5th day of January, 2021 near La Conner, Washington.
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 7                                                    ~9=~
                                                      Theresa Trebon
 8                                                    Swinomish Tribal Archivist

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          DECLARATION OF THERESA TREBON                    6              ERROR! AUTOTEXT ENTRY NOT DEFINED.



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 6                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 7
        STATE OF WASHINGTON, et al.,                          NO.
 8
                                     Plaintiff,               DECLARATION OF
 9                                                            MARCELLUS TURNER
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12
            I, Marcellus Turner, declare as follows:
13
            1.        I am Executive Director and Chief Librarian of The Seattle Public Library. I am
14
     over the age of 18 and competent to testify. I make this declaration based on my personal
15
     knowledge.
16
            2.        I have been Executive Director and Chief Librarian at The Seattle Public
17
     Library for nine years. As Executive Director and Chief Librarian, I am responsible for the
18
     operations of the Central Library and 26 branch locations across the City of Seattle. I oversee
19
     approximately 700 employees responsible for delivering public library services to the people
20
     of Seattle, which include those seeking information in the comprehensive National Archives
21
     at Seattle. These archives include documents requested by researchers, historians, genealogists,
22
     students and many others.
23
            3.        The mission of The Seattle Public Library is to bring people, information and
24
     ideas together to enrich lives and build community. As a highly valued and respected public
25
     institution, the Library fulfills this mission by serving the residents of the Greater Seattle
26




       DECLARATION OF MARCELLUS                         1
       TURNER
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 1   metropolitan area, which has a population of nearly 4 million people – larger than any other
 2   area in the Pacific-Alaska region. In its Strategic Direction, the Library identifies Seattle
 3   culture and history as a service priority, thereby committing to developing local historical
 4   collections and providing research and reference services related to the history of the region.
 5   Furthermore, the organization maintains a commitment to the City of Seattle’s Race and Social
 6   Justice Initiative and embeds equity principles in its service design and delivery. The Library’s
 7   ability to effectively achieve its mission, deliver on its service priorities and honor its
 8   commitment to equity is dependent on its own resources, as well as its connections with partner
 9   institutions that extend and enhance the value of its services and counts the National Archives
10   and the University of Washington as key partners.
11           4.      The National Archives at Seattle contains a vast collection of unique,
12   unduplicated and undigitized original records from the Pacific Northwest that are essential for
13   our patrons, researchers, and staff. The records that are kept at the National Archives at Seattle
14   have been deemed important enough to be maintained by the federal government and originate
15   in the Pacific Northwest states of Alaska, Idaho, Oregon and Washington. Therefore, the
16   entirety of the collections is important, and by nature of the regional National Archives
17   program, they have intrinsic local and regional value and interest. Specific collections of
18   interest include: Bureau of Indian Affairs; Bureau of Land Management; Records of land
19   offices; Chinese Exclusion Act Case Files; Federal District, Circuit, and Territorial Court
20   Records; and Naturalization Records. These records and arguably most records held at the
21   National Archives at Seattle have not been digitized and are unavailable online. Historical
22   researchers spend hours reviewing relevant materials, and while online indexes and finding
23   aids can help them focus on particular records, they often need to review record collections in
24   person to determine the most important details. For researchers and historians, there is no
25   substitute for original records. In addition, the National Archives at Seattle staff provide critical
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       DECLARATION OF MARCELLUS                           2
       TURNER
                                                                                                        544
 1   expertise in research, retrieval and interpretation of those records for the greater public good,
 2   and often with the assistance of volunteers.
 3          5.      The Seattle Public Library is committed to providing an in-depth collection of
 4   historical materials related to the Pacific Northwest and providing professional reference and
 5   referral services. The Library also provides one of the largest genealogy collections in the
 6   Pacific Northwest. Whether working with individuals on local history or family history,
 7   fulfilling information requests from authors, attorneys, or the news media, or helping students
 8   and other government agencies with research efforts, our librarians typically call upon many
 9   of our own collections, as well as partner collections for additional resources. We regularly
10   refer our patrons to other institutions, including the National Archives. Any research involving
11   land and property, Native American and tribal rights, or immigrants to the Pacific Northwest
12   are likely to have records of interest at the National Archives at Seattle. Chinese Exclusion Act
13   records and Japanese-American internment records are two examples of important resources
14   documenting the experience of our Asian-American community.
15          6.      Librarians in our Special Collections Department regularly assist patrons with
16   property history research, whether for personal interest or for historic preservation
17   nominations. While most of the latter relate to local preservation initiatives, any nationally
18   significant buildings or buildings connected with the federal government would be referred to
19   the National Archives at Seattle for additional research.
20          7.      The Seattle Public Library first learned of the impending sale of the National
21   Archives at Seattle in mid-January 2020, following local news sources reporting on the closure
22   and discussions among professional affiliates and networks. Had the Library been given an
23   opportunity to provide feedback, we would have urged the federal government to reconsider
24   closure of this critically important research facility. Seattle is the largest metropolitan region
25   within the geographic scope of the National Archives at Seattle, and is, therefore, the most
26   appropriate location for these records. The National Archives’ mission “to provide public




       DECLARATION OF MARCELLUS                          3
       TURNER
                                                                                                     545
 1   access to Federal Government records in our custody and control” is not fulfilled when these
 2   records are removed from the region where they originated and where the people who reside
 3   are most vested and interested. Further, we agree with the National Archives mission statement
 4   “that Public access to government records strengthens democracy by allowing Americans to
 5   claim their rights of citizenship, hold their government accountable, and understand their
 6   history so they can participate more effectively in their government.” These records should
 7   remain available to the public in this region so that we can continue to understand our complex
 8   past, connect people of all communities to our regional and national story, and hold our
 9   government accountable.
10          8.      As Executive Director and Chief Librarian, I wrote a letter expressing concern
11   and requesting reconsideration of the closure to the Public Buildings Reform Board on behalf
12   of the Library Board, the Library staff and its volunteers. A copy of the letter referenced in this
13   paragraph is attached as Exhibit “A.”
14          9.      The Seattle Public Library mission is to bring people, information and ideas
15   together to enrich lives and build community, and we fulfill this mission, in part, through
16   partnerships with other regional entities. With limited funds and space, the Library prioritizes
17   local and regional records, often partnering with University of Washington Special Collections,
18   Seattle Municipal Archives, King County Archives, Washington State Archives, and other
19   entities to avoid unnecessary duplication and leaving federal records of local or regional
20   importance or origination to the province of the local National Archives. Removal of the
21   National Archives from this area would leave an unfillable void for private citizens, students,
22   government agencies, news media, and businesses who rely on these records for a wide-range
23   of needs. In addition, removal of the National Archives from this region would remove records
24   of prime importance to historically underrepresented or marginalized populations, taking
25   historical and personally valuable information away from populations who may be less-
26   resourced to travel to another location. Aside from Alaska, which did have its own National




       DECLARATION OF MARCELLUS                          4
       TURNER
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1    Archives until 2014, residents of Washington, Oregon, and Idaho can travel to the Seattle
2    archives with relative ease and at a cost substantially less than to, for instance, Missouri or
3    Southern California. People from marginalized groups who are not well-resourced will be
4    further marginalized as they will not be able to afford travel expenses or, barring that, research
5    or copy fees. For others—students, new media, authors, professor and amateur historians,
6    genealogists, etc. — removal of these records to a distant region will have a chilling effect on
7    research and, therefore, on our collective ability to understand and connect with our past.
8           10.     There is immense value in keeping the collection in the Northwest especially
9    after the closure of the Alaska facility back in 2014. When that happened, a promise was made
10   to Alaska residents to keep the files in the Northwest. In addition to being immeasurably
11   important in genealogical research for those with Native American heritage, the records needed
12   to prove tribal citizenship and fishing rights for Northwest tribes are included in this collection.
13   It compounds harm to move the collection further away and creates an immense financial
14   barrier for access.
15
16

17   I declare under penalty of perjury that the foregoing is true and correct.
18
     DATED this 4th day of January, 2020 at Seattle, Washington.
19                 day      month         year    city        state
20

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26




       DECLARATION OF MARCELLUS                           5
       TURNER
                                                                                                       547
To: fastainfo@pbrb.gov



To the Public Buildings Reform Board,



On behalf of The Seattle Public Library board of trustees, Library staff, volunteers and myself, we are
disappointed in your decision to close the National Archives and Records Administration (NARA) facility
in Seattle. This leaves the Northwestern area of the United States with no national archives facility—a
move that severely hampers regional research by students, the news media, authors, attorneys,
historians, genealogists and many government agencies at all levels.

This decision was made without public meetings and without soliciting comments from stakeholders in
the four impacted Pacific Northwest states of Alaska, Washington, Oregon and Idaho. On January 15,
2020, the Washington State Archive (WSA) was informed by NARA after a decision was already made by
the Public Buildings Reform Board (PBRB). The PBRB never gave WSA notice of the pending decision, nor
did they give the State Archives an opportunity to comment on the proposed decision. To date, the four
states have yet to hear from the PBRB, and your website is devoid of any information about the
rationale for their decision.

Keeping the collection in the Northwest is especially important since the closure of the Alaska facility in
2014. At that time, a promise was made to Alaska residents to keep the files in the Northwest. In
addition to being immeasurably important in genealogical research for those with Native American
heritage, the records needed to prove tribal citizenship and fishing rights for Northwest tribes are
included in this collection. It compounds harm to move the collection further away and creates an
immense financial barrier for access.

We ask that you take these concerns seriously and reconsider your decision to move these archives
thousands of miles away from the citizens and organizations who rely on them most. At the very least,
we ask that you slow this process down to hear from those impacted by your decision, which is a basic
practice of governing.

Thank you for your attention,



Marcellus Turner




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6                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
7
        STATE OF WASHINGTON, et al.,                          NO.
8
                                     Plaintiff,               DECLARATION OF LISSA K.
9                                                             WADEWITZ
                 v.
10
        RUSSELL VOUGHT, et al.,
11
                                     Defendants,
12
            I, Lissa K. Wadewitz, declare as follows:
13
            1.        I am a Professor of U.S. History at Linfield University in McMinnville, Oregon.
14
     I am over the age of 18 and competent to testify. I make this declaration based on my personal
15
     knowledge and my expertise as a historian.
16
            2.        I have a Ph.D. in U.S. History from UCLA and have held post-doctoral
17
     fellowships at the University of Saskatchewan and Stanford University. I acquired a tenure-
18
     track job at Linfield College (now University) in 2007. I achieved tenure in 2013 and was
19
     promoted to full Professor in 2020. I specialize in the history of the U.S. West, Native
20
     American history, and environmental history. I have published multiple peer-reviewed articles
21
     in various academic journals and peer-edited anthologies. My first book, The Nature of
22
     Borders: Salmon, Boundaries, and Bandits on the Salish Sea (2012) explores the social,
23
     regulatory, and environmental history of the shared salmon fishery between British Columbia
24
     and Washington State. The book won three book awards from the American Historical
25
     Association, the Western History Association, and the North American Society for Oceanic
26


       DECLARATION OF LISSA K.                           1              ATTORNEY GENERAL OF WASHINGTON
                                                                             Complex Litigation Division
       WADEWITZ                                                               800 5th Avenue, Suite 2000
                                                                               Seattle, WA 98104-3188
                                                                                    (206) 464-7744

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1    History. In addition to receiving several research grants from my home institution, my research
2    has garnered external financial support from several entities including the George A. and Eliza
3    Gardner Howard Fellowship at Brown University, the American Philosophical Society, and
4    the Huntington Library, to name a few.
5           3.      Archival records are at the heart of historians’ research practices. Having access
6    to the historical documents produced by federal agencies is absolutely crucial to our being able
7    to do our work and make sense of how and why past events occurred as they did. Having the
8    ability to sit down and physically process a whole collection allows historians and other
9    researchers to see details and connections that could otherwise be missed. Being in an archive
10   comprised of a full range of regional records also facilitates our ability to do investigative
11   research in as efficient a manner as possible. In conducting research at NARA for my book
12   and related articles, there were multiple occasions when I discovered a revelatory event in one
13   set of records that pushed me to immediately request records from a different federal agency.
14   In this way, I could quickly track down an investigative lead and complete my research in a
15   more efficient manner. At the Seattle NARA facility, I regularly engaged in this practice and
16   my research was more nuanced and complete as a result.
17          4.      There are numerous record groups housed at the Seattle NARA facility that
18   have been and will continue to be essential to my ongoing research. I spent months researching
19   in several collections that ended up being absolutely vital to the completion of my first book
20   and four other article-length publications that add depth to our understanding of the region’s
21   Native-newcomer, inter-ethnic, and environmental history. The U.S. Customs Service records
22   collection (Record Group 36) was one of the most important. These records offered an
23   amazingly rich window into life in the greater Puget Sound/Georgia Strait area of northwestern
24   Washington and southwestern British Columbia. My research focused on the ways in which
25   officials on both sides of the border attempted to police the salmon fishery that straddles the
26   current political border with Canada. The Customs records proved to be pivotal to my ability


       DECLARATION OF LISSA K.                          2               ATTORNEY GENERAL OF WASHINGTON
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1    to uncover the actions of fishermen, smugglers, and government officials trying to control what
2    quickly became a volatile and chaotic fishery. As of today, an extremely small percentage of
3    these records are digitized. The collection’s organization is also such that being able to identify
4    a specific document from the finding aid to request a copy from a distant archive would be
5    impossible. Successful research in many of these larger collections simply does not work that
6    way. Even if finding aids are complete enough to list the sender, recipient, date, and brief topic
7    of a specific document, such information is always incomplete. Historians need to be able to
8    sift through entire collections or large segments of collections to truly understand the nuances
9    of a situation, conflict, or relationship. Often, you need to be able to follow years’ worth of
10   correspondence to see how a certain debate or conflict was resolved. It is simply not realistic
11   for researchers to be able to do this sort of in-depth research via online brief descriptions of
12   individual documents. In addition, for most of these collections, such online resources
13   currently do not exist. Another collection that was crucial to my research on these earlier
14   publications and that are used extensively by both historians of the region and Native American
15   tribes are the records of the Bureau of Indian Affairs (Record Group 75). For the period I study
16   (nineteenth and early twentieth centuries), this collection provides unique and vital
17   documentation of the interactions between incoming Euro-American settlers, local Native
18   peoples, and the region’s fledgling governing Indian agency. The Circuit Court records
19   (Record Group 21) housed at NARA Seattle also provide a rare look into the history of legal
20   operations in the region and gave me important insights into several controversial court cases
21   involving indigenous peoples and a powerful local fish cannery. I have used these collections
22   extensively and relied on them heavily for my work on the Indians’ experience of the
23   dispossession of their fishing locations and the rise of a contested, trans-border salmon fishery
24   that defied easy regulation and contributed to the current Pacific salmon crisis. Given how few
25   of these collections have been digitized and the state of the finding aids available to researchers,
26   being able to spend extensive time systematically working through the collections in person


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1    cannot be overstated. These collections are one of a kind and their access is absolutely critical
2    for historians wanting to document the Northwest’s past.
3           5.      Historians use archival records at NARA Seattle to gain insight into the
4    workings of federal agencies in the past, their interactions with the public, and why certain
5    decisions were made. We also use pertinent manuscript collections to add depth to our
6    understandings of how different types of peoples interacted in the ways they did and to better
7    grasp the challenges confronting the diverse groups of people who already lived in the Pacific
8    Northwest and Alaska, as well as the eclectic newcomers who came to inhabit the region. I
9    could not reconstruct the processes by which Indians lost access to their historical fishing sites
10   without the Bureau of Indian Affairs records. I could not have discovered the continual threats
11   to Indian reservation boundaries by incoming white settlers without those same records. I could
12   not have explained how the rise of the commercial salmon fishing industry facilitated a
13   complex system of fish stealing and fish smuggling across the U.S.-Canada border without
14   access to the U.S. Customs Records. I was able to trace the ways in which different immigrant
15   groups manipulated the international border for fish and employment also via that collection.
16   The Circuit Court Records revealed the importance of Washington’s fish traps and the ways
17   the big cannery owners manipulated attitudes toward Indians to maintain control of prime
18   fishing locations. As noted above, all of these collections were vital to my being able to tell
19   the story of Native fishing, Indians’ dispossession, and the broader social and environmental
20   impacts of the Pacific salmon commercial fishery. This work has added to our understanding
21   of why so many Pacific salmon are on the endangered species list in the present day.
22          6.       I know from professional experience and my various contacts that the Seattle
23   NARA records are pivotal to the work of multiple state, tribal, and federal agencies. However,
24   others with more personal experience in this area can speak to this issue more directly.
25          7.      I learned of the proposed closure via a posting on Facebook and then a
26   subsequent email from fellow historians and the American Historical Association (AHA). I


       DECLARATION OF LISSA K.                           4               ATTORNEY GENERAL OF WASHINGTON
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1    was shocked at the manner in which the Public Buildings Reform Board and the Office of
2    Management and Budget proceeded with the proposed closure with no regard for the impact
3    of this action on the regional community, the tribes, and the work of professional historians.
4    As a taxpayer and professional historian, I would have expected there to be a period of
5    consultation and public feedback prior to any decisions being made. The lack of public review,
6    the heavy-handed manner in which this decision proceeded, and the lack of responsiveness
7    from those agencies feels like a violation of the public trust.
8           8.      After learning of the pending sale of the NARA archive building in Seattle, I
9    immediately wrote to my federal representatives for Oregon expressing my extreme dismay at
10   the manner in which this decision was made, the complete lack of consultation with key
11   stakeholders, the implications it would have for researchers, tribes, and state agencies. I
12   stressed the very real hardships such a decision would impose on so many of us. My political
13   representatives responded immediately, as did the AHA. I awaited news for additional
14   collective action regarding the decision, which is why I completed this document.
15          9.      If the Seattle holdings are moved and divided between facilities in Kansas and
16   Southern California, conducting archival research on the Pacific Northwest will become more
17   expensive, time-consuming, difficult, and, for some regional denizens, impossible. Because
18   my job is teaching-intensive, the only time I realistically have to travel to distant archives is
19   during January or the summer months. Currently, I can drive in my own car to the Seattle area
20   to do research at NARA. Once there, I can also conduct related research (if relevant, depending
21   on the project) at other Pacific Northwest libraries and archives that are also important to my
22   work. As a result, I am usually able to make significant progress on my research in one 1-2
23   week trip. If instead in the future I have to travel to either or both Kansas and Riverside, I will
24   be spending thousands more dollars in airfare and car rentals and my research progress will no
25   doubt suffer as a result of the more complicated logistics. I will also then have to find time to
26   travel to these distant locations in addition to the other regional repositories relevant to my


       DECLARATION OF LISSA K.                           5                ATTORNEY GENERAL OF WASHINGTON
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1    ongoing research. This decision, done with absolutely no input from the public, will be
2    disastrous for the researchers who depend on this archive for access to federal records, it will
3    impede research progress for all of us, and it will make conducting research far more
4    inconvenient and expensive.
5           10.     Historical knowledge is important. Knowing our history can help us all make
6    better choices for our collective future development. Hampering historians’ ability to access
7    crucial historical documentation will not benefit our society writ large. I urge the federal
8    agencies involved in this decision to consider what is at stake for so many of us who depend
9    on the NARA facility in Seattle.
10   I declare under penalty of perjury that the foregoing is true and correct.
11
     DATED this _2nd__ day of _January, 2021______, _McMinnville_ at __Oregon______.
12                 day              month         year              city                     state
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16
                                                   Lissa K. Wadewitz
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       DECLARATION OF LISSA K.                           6                 ATTORNEY GENERAL OF WASHINGTON
                                                                                Complex Litigation Division
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8
        STATE OF WASHINGTON, et al.,                          NO.
 9
                                    Plaintiff,                DECLARATION OF LIZABETH
10                                                            (BETSY) WILSON
                 v.
11
        RUSSELL VOUGHT, et al.,
12
                                    Defendants,
13
            I, Lizabeth (Betsy) Wilson, declare as follows:
14
            1.        I am the Vice Provost for Digital Initiatives and Dean of University Libraries
15
     at the University of Washington (UW or University). I submit this declaration in support of the
16
     State of Washington’s litigation challenging the sale of the Federal Archives and Records
17
     Center located at 6125 Sand Point Way NE, in Seattle, Washington, which houses the National
18
     Archives at Seattle.
19
            2.        I have compiled the information set forth below through personal knowledge as
20
     well as through University personnel who have assisted me in gathering this information from
21
     UW. I have also familiarized myself with the litigation in order to understand its immediate
22
     impact on the University.
23
            3.        UW is Washington State’s largest public research university. I have been the
24
     Vice Provost for Digital Initiatives and Dean of University Libraries at UW since 2001, and
25
     have been with the UW Libraries since 1992.
26




       DECLARATION OF LIZABETH                          1             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       (BETSY) WILSON
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 1          4.      Prior to joining the University in 1992, I was the Assistant Director of Libraries
 2   for Undergraduate and Instructional Services at the University of Illinois at Urbana-
 3   Champaign. I have published and presented widely on information literacy, teaching, learning,
 4   and technology; cross-sector collaborations; art historiography; global libraries; and
 5   assessment and evaluation. I have held leadership positions in the American Library
 6   Association (ALA) and the Association of College and Research Libraries (ACRL), including
 7   chair of the ACRL Instruction Section, member of ALA Council, and ACRL President. I have
 8   previously served on the Board of Trustees of OCLC, a nonprofit membership organization
 9   serving over 55,000 libraries and knowledge institutions worldwide and dedicated to the public
10   purposes of furthering access to the world's information and reducing information costs. I am
11   a past chair of the Orbis Cascade Alliance, a regional consortium of 37 academic libraries in
12   the Pacific Northwest that leverages their collective collections and purchasing power to
13   expand information access for scholarship, research, and learning. I have also served on the
14   Council on Library and Information Resources (CLIR) Board, the Governing Board of the
15   HathiTrust, the Association of Research Libraries (ARL) Board, the Digital Library Federation
16   (DLF) Executive Committee, and as Chair of the Greater Western Library Alliance (GWLA).
17   I am the recipient of the Hugh C. Atkinson Memorial Award, Miriam Dudley Instruction
18   Librarian Award, the Margaret E. Monroe Award, the Distinguished Alumnus Award from
19   University of Illinois' Graduate School of Library and Information Science, and the ACRL
20   Academic/Research Librarian of the Year.
21          5.      As the Vice Provost for Digital Initiatives and Dean of University Libraries at
22   the University of Washington, I have responsibility for management of the entire University
23   of Washington Library system which includes 16 different academic Libraries across three
24   campuses throughout the region: Seattle, Tacoma and Bothell as well as Special, Archival, and
25   Distinctive Collections, one of the largest collections of its kind in the Pacific Northwest. As
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       DECLARATION OF LIZABETH                          2             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       (BETSY) WILSON
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 1   Dean, I have fiduciary responsibility for the Libraries as well as development and oversight of
 2   the Libraries strategic plan.
 3            6.    The University of Washington is a state institution of higher education in the
 4   State of Washington. In fall 2019, the University of Washington had 42,544 enrolled
 5   undergraduate students and 16,847 enrolled graduate and professional students. The University
 6   of Washington’s three campuses offer more than 636 degree options across 312 programs.
 7            7.    The UW Libraries first became aware of the sale in January 2020 through the
 8   media.
 9            8.    After learning of the sale, UW along with several other universities in the
10   Pacific Northwest sent a letter asking the federal government to reconsider its decision to sale
11   the National Archives at Seattle. A true and correct copy of that letter is attached hereto as
12   Exhibit 1. This letter represents voices from six different academic institutions throughout the
13   region, expressing the import of NARA and its proximity for research specifically and
14   inherently connected to the people and environment of the Pacific Northwest. The letter
15   provides extensive details and examples of the negative impact moving the NARA Archives
16   would have, essentially preventing scholars and community members alike from accessing
17   records and completing critical research work across disciplines. The leadership expressed a
18   shared concern over moving culturally significant archives even farther away from the
19   indigenous and local communities whose histories are preserved within NARA, an act that is
20   particularly grievous given the lack of community engagement, planning and discourse that
21   would typically be required when considering a move of this magnitude. The federal
22   government did not respond to the letter.
23            9.    The announcement of the sale of the facility that houses the National Archives
24   at Seattle threatens to inflict immediate and ongoing harm on UW its faculty, and its students.
25   As a public university, access to the National Archives directly impacts our ability to educate
26   scholars and the public as well as our mission to preserve and enhance knowledge.




       DECLARATION OF LIZABETH                          3             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       (BETSY) WILSON
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 1           10.      This regional NARA facility contains historical records spanning across
 2   numerous federal agencies, including the Department of Interior, the Bureau of Indian Affairs
 3   (inclusive of all reservation communities in the Pacific Northwest and Alaska), the Indian
 4   Health Service, Bureau of Land Management, Federal Court Records, and many others. These
 5   records contain valuable information—available nowhere else—for generations of current and
 6   future researchers on topics related to American Indians, environmental issues, the expansion
 7   of the United States in the far West and Pacific, federal power, immigration, and public lands,
 8   to name a few. Only a very small portion of these records have been digitized or even
 9   microfilmed.
10           11.      Physical access to the National Archives at Seattle is critical for the
11   development of scholarship at UW. Moving the records housed at the NARA facility out of
12   Washington will effectively eliminate UW’s access to these materials. The vast majority of the
13   materials utilized by UW have not been digitized, and UW simply does not have the resources
14   to provide the transportation and travel costs to its faculty and students who would need to
15   travel to other states for their research.
16           12.      Moreover, the notion that digitization could be a “workaround” solution to
17   access these NARA records is not based in reality given the time and cost that would be
18   required to do so, and is not supported by NARA’s track record in that area thus far. For
19   instance, according to the Journal of Western Archives, 1 less than 1 percent of the 7,800 cubic
20   feet of the Alaska National Archives have been digitized since the project started in 2014,
21   which includes documents that cannot be digitized. In my experience, some of these materials
22   are too fragile to be sent through a scanner, others may not render a high quality image, such
23   as maps from the Bureau of Land Management and the Bureau of Public Roads that are too
24   wide or long to fit into scanners.
25           1
               Llewellyn, Megan E. and Buchanan, Sarah A. (2020) "Will the Last Archivist in Seattle Please Turn
     Out the Lights: Value and the National Archives," Journal of Western Archives: Vol. 11: Iss. 1, Article 7,
26   available at https://digitalcommons.usu.edu/westernarchives/vol11/iss1/7.




       DECLARATION OF LIZABETH                                4                ERROR! AUTOTEXT ENTRY NOT DEFINED.
       (BETSY) WILSON
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1            13.     In addition, the loss of this regional branch of NARA would greatly hamper
2    research activity at the UW. The Seattle facility is used on a regular basis by University of
3    Washington students, faculty, and staff as well as the broader public in the Pacific Northwest.
4    Researchers of all levels have a network of regional history available to them in the Seattle
5    area. Removal of the National Archives at Seattle will sever NARA from this network of rich
6    resources for Pacific Northwest research. UW Researchers rely on the proximity of NARA’s
7    federal records to other complementary, related collections held in these regional facilities;
8    closing NARA would greatly limit their ability to access important historical records on a wide
9    range of subjects.
10           14.     The records housed at NARA provide critical primary sources to support research
11   and writing across disciplines. UW Librarians frequently (weekly) refer researchers to NARA
12   for materials that we do not have in our own collections and archives. Common subject areas
13   UW Libraries refers to NARA include records related to the military, local Native American
14   history related to tribal rights and treaties, Census/demography, family history, natural resources,
15   law/justice/civil rights or the local built environment. Other popular subjects frequently referred
16   to NARA are records relating to the WWII Japanese Internment in the Seattle area, and the
17   Chinese Exclusion Act. The interconnectedness between UW Special Collections and NARA
18   relating to tribal history, treaties and administration is also a significant and critical relationship
19   many researchers rely upon.
20           15.     Librarians in Special Collections also regularly assist researchers who visit the
21   UW to use primary sources in conjunction with NARA collections. The complementarity of the
22   two collections enables researchers both domestic and international who visit Seattle to do in-
23   depth research on topics relating to U.S. history. In particular, trade agreements with Pacific Rim
24   countries, public policy relating to the tenures of Senators Jackson and Magnuson and the
25   Hanford Nuclear Reservation are frequent research topics.
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       DECLARATION OF LIZABETH                            5              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       (BETSY) WILSON
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1           16.     As librarians, we at UW Libraries are often a starting point for research and
2    discovery. We guide people through an often complex network of records and systems to
3    identify the resources that are going to be most helpful in answering the research question.
4    Often the final product takes many years to complete. Closure of the Seattle Archives would
5    disrupt ongoing research that relies on the proximity of NARA to its Pacific Northwest
6    constituents. NARA is a central resource for multiple states throughout the region. It is highly
7    utilized, and its staff have years of experience and institutional knowledge that cannot be
8    replicated with an out-of-state facility and staff far removed from the local context. It is
9    imperative that these histories remain within reach of those who utilize them most, to support
10   the pursuit of knowledge where it is most relevant and applicable - here in the Pacific
11   Northwest.
12          17.     UW faculty and students also heavily rely on access to the Seattle NARA facility
13   to further their research and scholarship endeavors. For instance, Professor Linda Nash from the
14   UW Department of History has used and continues to use the records located at the NARA
15   Seattle facility in her own research on environmental and cultural history. Professor Nash has
16   utilized this material in her publications in major history journals, such as her 2000 article in the
17   Journal of American History titled “The Changing Experience of Nature: Historical Encounters
18   with a Northwest River.” Professor Nash is currently finishing a book manuscript, funded by an
19   NEH grant and under contract to Oxford University Press, that relies heavily on material from
20   the NARA-Seattle archives by following American water engineers in the decades immediately
21   after World War II as they moved between Washington's Columbia Basin and Afghanistan's
22   Helmand Valley. Having a major collection of archival resources in the local area has allowed
23   Professor Nash to pursue research while teaching, rather than limiting her research to the summer
24   or infrequent research quarters.
25          18.     Additionally, UW Department of History Professor Michel Kucher teaches
26   classes that often requires utilization of the records at the Seattle NARA facility. Using these




       DECLARATION OF LIZABETH                           6              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       (BETSY) WILSON
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 1   records, students research the history of topics such as the history of land use, national parks,
 2   federal cleanup projects, or architectural history of federal buildings or buildings built or
 3   restored with federal funds, such as the initial surveys that led to the creation of the UW Seattle
 4   campus. Professor Kucher’s students have used these records to investigate, for instance, the
 5   agricultural history of the South Sound, and various environmental projects such as EPA
 6   actions and illegal dumping in the region. These research projects would halt without physical
 7   access to the records at the Seattle NARA facility, as only a miniscule percent of these records
 8   have been digitized.
 9           19.     Many graduate students, including most graduate students studying U.S. history
10   at UW, make use of the National Archives at Seattle facility at some point in their careers, for
11   research papers, journal articles, or their dissertations. For instance, one UW PhD candidate’s
12   thesis focused on the 1968 case of Mexican-American Federation-Washington v. Naff, where
13   Mexican Americans in Yakima Valley sued the county, claiming that English literacy tests
14   were being used to deny their right to vote. Although some information about the case exists
15   online, the actual court documents do not; they were instead generated by the District Court
16   for the Eastern District of Washington, where the case was filed, but never digitized. The actual
17   case records, including transcripts, are housed at the Seattle NARA facility. Had these records
18   been moved, this student would likely not have had access to these critically important primary
19   source court documents.
20           20.     Having substantial local archival resources has helped UW to recruit top
21   applicants who are interested in pursuing research based in the Western United States. Because
22   UW does not have the resources to provide travel budgets for its graduate students, losing this
23   major local resource would be nothing short of devastating to students’ development and
24   potential for success in the field.
25           21.     UW librarians also use the facility for their own research, for both current and
26   past efforts. For instance, Professor Cass Hartnett, a UW Librarian for Government




       DECLARATION OF LIZABETH                           7              ERROR! AUTOTEXT ENTRY NOT DEFINED.
       (BETSY) WILSON
                                                                                                      565
1    Publications, Maps, Microforms & Newspapers, teaches LIS526, Government Publications, at
2    the Information School. In this course, students—whose coursework involves visiting the
3    Seattle NARA facility—uniformly come back to class reporting a much more profound
4    understanding of the scope of government functions.
5            22.     In addition, UW libraries rely on the Seattle NARA Archives & Records Center
6    for their focused, comprehensive government agency archives, just as public and academic
7    libraries in the 5-state Pacific Northwest rely on the UW Libraries for deep, research level
8    collections and expertise. UW librarians are contacted on a weekly basis by researchers,
9    students, and faculty who are often searching for primary documents and records. The staff
10   work with them—who are physically located in the Northwest—to determine the location of
11   the materials that are needed to ensure that the time and resources spent going to different
12   libraries and facilities, including the NARA facility, are minimized. The topics of research
13   vary, from law and civil rights to military records and family history and other areas in
14   between. Both UW-affiliated individuals and members of the public are referred to the NARA
15   facility on a regular basis.
16           23.     Additionally, UW utilizes a number of records at the Seattle NARA facility in
17   connection with certain agricultural, recreational, and conservation-related federal programs.
18   For instance, the UW Department of History, through the work of Professor Bruce Hevly,
19   utilizes non-digitized records housed as the Seattle facility in connection with their research
20   projects involving the Hanford nuclear site. These records bear on controversial topics related
21   to public health, and the conditions under which the federal government will abandon the
22   Hanford site to state responsibility. And while the Department of Energy has previously
23   promised to make the Hanford records available on line (via a Declassified Document Retrieval
24   System), this service disappeared after only a couple of years and the records are no longer
25   accessible in a digital form.
26




       DECLARATION OF LIZABETH                         8             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       (BETSY) WILSON
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 1          24.     Additionally, the UW currently has a partnership with the National Oceanic and
 2   Atmospheric Administration (NOAA) to digitize Civil War-era handwritten U.S. Navy
 3   logbooks and muster rolls. The digitization of these logbooks will allow researchers and
 4   climate scientists to recover ships’ positions, weather records, oceanographic data, and other
 5   historical information, and make important observations about weather patterns of the past and
 6   present. Moving the records would make them inaccessible for continued research, especially
 7   when there is a need to consult the original. Moving the records would also eliminate the
 8   opportunity for interested volunteers with extensive local knowledge from assisting with the
 9   project equating to a significant loss of knowledge and expertise that would be critical to the
10   project.
11          25.     Researching sites for landmark designation also frequently requires access to the
12   records at the NARA Seattle facility, as well, for properties with ties to federal agencies, such as
13   the UW’s Shell House, built during WWI by the U.S. Navy as an airplane hangar.
14          26.     Moreover, moving the records to other locations deprives UW and others of the
15   localized knowledge of the curators and archivists at the Seattle facility. Over time, curators
16   and archivists acquire knowledge and expertise of local complementary collections. Based on
17   their experience they are able to make recommendations to help researchers quickly navigate
18   through various record groups containing relevant documents. In addition, the professional
19   camaraderie that exists between historians, curators and archivists is an important community
20   when researching novel topics. Such a loss would further frustrate UW’s ability to find and
21   locate the records critical to furthering its scholarship and educational missions.
22          27.     Finally, losing access to the records at NARA would also severely damage
23   UW’s mission. The primary mission of the University of Washington is the preservation,
24   advancement, and dissemination of knowledge, complimentary to the mission of the UW
25   Libraries to advance discovery and enrich the quality of life by connecting people with
26   knowledge. UW scholars represent a diversity of expertise with many programs and courses




       DECLARATION OF LIZABETH                           9             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       (BETSY) WILSON
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 1   specifically tied to the culture and environment of the Pacific Northwest. In addition to the
 2   university’s highly accomplished history department, the College of the Environment is
 3   supported by public and private funding of more than $173 million annually to support
 4   renowned research on climate, ecology, and natural resource management among other areas
 5   of interest. UW’s American Indian Studies Center at the University of Washington established
 6   in 1970, is one of only a handful of similar academic centers in the US. UW knows by the
 7   frequency and types of UW referrals to NARA, how valuable these archives are to the students,
 8   faculty and community members who come to us on a regular basis in search of knowledge
 9   held within NARA. Removing access to this vital resource is in direct conflict of these
10   missions where preservation and access is imperative to discovery.
11
12

13   I declare under penalty of perjury that the foregoing is true and correct.
14
15   DATED this _5__ day of _January______, 2021___ at Seattle, WA.
16

17

18
19                                                 Lizabeth (Betsy) Wilson
                                                   Vice Provost for Digital Initiatives and Dean of
20                                                 University Libraries
                                                   University of Washington
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       DECLARATION OF LIZABETH                          10             ERROR! AUTOTEXT ENTRY NOT DEFINED.
       (BETSY) WILSON
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Exhibit 1




            569
February 27, 2020


Russell Vought                                    Emily Murphy
Acting Director                                   Administrator
Office of Management and Budget                   General Services Administration
725 17th Street, NW                               1800 F Street, NW
Washington, DC 20503                              Washington, DC 20405

Adam Bodner                                       David Ferriero
Executive Director                                Archivist
Public Buildings Reform Board                     National Archives and Records Administration
1800 F Street, NW, Room 5116                      8601 Adelphi Road
Washington, DC 20405                              College Park, MD 20740

Dear Acting Director Vought, Administrator Murphy, Director Bodner, and Archivist Ferriero,

We write as the chief librarians of the largest research universities in the Pacific Northwest to express
how the sale of the Federal Archives and Records Center located at 6125 Sand Point Way NE, in
Seattle, Washington, would damage our institutions and the communities and states we serve. The sale
of the center, initially proposed by the Public Buildings Reform Board and recently approved by the
Office of Management and Budget, would hurt and diminish the mission and activities of our
institutions. Moreover, we are also deeply concerned by the process by which the decision to sell the
facility was reached. We ask that you reconsider the decision to sell the facility until after further
consultation with impacted communities to take public concerns into consideration.


Loss of Access to Historical Information and Records for Students, Researchers and the Public

The federal government has been entrusted with these historical archival documents. Access is
essential, particularly for those most interested in ensuring that these documents help to tell and
preserve our national and regional history, for learning, and teaching. The proposed relocation will
make these documents even less accessible to scholars and the public, especially our tribal partners.

Pacific Northwest student and faculty research and scholarship will be harmed by this closure. As public
universities, access to archives is essential to our ability to educate scholars and the public as well as our
mission to preserve and enhance knowledge.

Access to original records in their context – While it has long been a goal to make more records
accessible through digitization, digital representations cannot always replace the importance of the
original documents. Some documents are important primarily because of their informational value,
whereas others also have artifactual value which cannot be reproduced. Moreover, physically handling
records and being able to understand each document in connection with other related documents will
be a potential loss as those communities losing their records will be further distanced from their
histories.

The concerns about the closure of the facility and the relocation of the records are not hypothetical.
The following examples illustrate the real impact that would be caused by the relocation of the records.


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    •   University of Washington (UW)

Service to and utilization by UW and the public: The Seattle NARA facility is used on a regular basis by
University of Washington students, faculty, and staff as well as the broader public in the Northwest.

Researchers of all levels have a complex of regional history available to them in the Seattle area.
Individual and groups of researchers planning trips to Seattle can consult with a multitude of archival
resources relating to the Pacific Northwest region including those at the University of Washington
Libraries Special Collections, the Museum of History and Industry (MOHAI), the Seattle Municipal
Archives, and the National Archives, just to name a few. Removal of the National Archives at Seattle will
sever the National Archives and Records Administration (NARA) from this network of rich resources for
Pacific Northwest research. Researchers—local, national and international—rely on the proximity of
NARA’s federal records to other complementary, related collections held in these regional facilities;
closing NARA would greatly limit their ability to access important historical records on a wide range of
subjects.

In addition, UW librarians are contacted by researchers, students, and faculty who are often searching
for primary documents and records. The staff work with them—who are physically located in the
Northwest—to determine the location of the materials that are needed to ensure that the time and
resources spent going to different libraries and facilities, including the NARA facility, are minimized. The
topics of research vary, from law and civil rights to military records and family history and other areas in
between. Both UW-affiliated individuals and members of the public are referred to the NARA facility on
a regular basis. Even UW librarians use the facility for their own research, for both current and past
efforts.

Impact on Students: More locally, most of graduate students studying U.S. history at UW make use of
these archives at some point in their careers, for research papers, journal articles, or their dissertations.
In addition, having substantial local archival resources has helped the university to recruit top applicants
who are interested in pursuing research based in the Western United States. Because graduate
students, including those at UW, have very little travel funding, losing this major local resource would be
nothing short of devastating to students’ development and potential for success in the field.


    •   Washington State University (WSU)

Making Historical Documents Accessible: WSU’s Center for Digital Scholarship and Curation (CDSC) is
currently planning to digitize documents held at the NARA facility in Seattle for the Plateau Peoples’
Web Portal making them easily accessible to the public.

The curriculum in the Plateau Peoples’ Web Portal has been created by Tribal representatives from each
of the partner Tribes. The basis of the curriculum is primary source material from national and regional
repositories including the Smithsonian Institution, the Library of Congress, Washington State University's
Manuscripts, Archives and Special Collections, Gonzaga University Archives and Special Collections and
the Northwest Museum of Arts and Culture. The curriculum is meant to aid educators and learners in
various settings both formal and informal and to help Washington State’s public comply with Senate Bill
5433, which requires tribal histories be taught in every grade.

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Providing our educators access to these records exposes them to information on the history of the
Plateau tribes throughout the inland northwest. These materials will be selected by our tribal partners
and will include the work WSU faculty and students are doing with the Colville and Yakima Nations.
However, this work will be cost prohibitive if the collections are moved out of state.

In addition, WSU’s Dr. Melissa Parkhurst used the student records at NARA extensively to chronicle the
powerful uses of music in the assimilation-based curriculum at Chemawa Indian School, the oldest
continuously operating federal boarding school. Stories from Chemawa students, 1880-2014, are
documented in the book, To Win the Indian Heart: Music at Chemawa Indian School. Over 30,000
students have attended Chemawa, an institution that has intimately impacted tribal families and
communities across the west. This project would not have been possible without access to the archives
at Sand Point.

Learning from History: The cultural and multigenerational effects of Indian boarding schools on one
family’s history is the subject of a new exhibit in WSU’s Manuscripts, Archives and Special Collection.
Dr. Robbie Paul curated the current exhibit in the WSU Libraries department of Manuscripts, Archives,
and Special Collections (MASC) titled “Grandfather’s Trunk, Spirit of Survival: Three Generations of the
Paul Family’s Native American Boarding School Experience.” Through access of the public documents at
NARA, Dr. Paul pieced together key details of her family’s experience by consulting boarding school
records in Seattle’s Sand Point facility. Connecting our community to their native heritage, Dr. Paul is
able to highlight the experiences of her family in Indian boarding schools where trauma occurred and
share the early history of her great-great-grandfather, Chief Ut-Sin-Malikan, the first to see the loss of
the old Native American ways and of Nez Perce identity in his lifetime. Highlighting these experiences
are not only connecting the community to the lives of the native people, but educating on the actions of
our past so they don’t happen again. Without access to the NARA records, this exhibit at WSU’s Terrell
Library would not have happened.


    •   Oregon State University (OSU)

Critical resource for faculty research. Oregon State University faculty researchers in the liberal arts
fields of history and anthropology have relied on the Seattle NARA facility over the past 20 years. For
example, the Seattle NARA facility served as a critical resource, providing a rich trove of sources, for the
writing of American Forestry: A History of National, State, and Private Cooperation (1985), a work
focused on federal fire policy and relations between federal agencies, state governments, and private
corporations in the Pacific Northwest. Among the many archives, both national and regional, providing
primary source materials, the Seattle Branch was the equal of regional materials for the Southeast
Region in Atlanta, the Rocky Mountain Region in Denver, and the forestry related materials in the Pacific
Region offices, then in San Bruno, California.

Relocation Impact on Research Costs and Expenses: OSU faculty describe the Seattle NARA archivists
as exemplary, with the necessary in-depth knowledge of the collections. The demonstrated knowledge
of the archivists has proven essential time and again to assist visiting researchers efficiently and
effectively navigate the collections to review and recover missing parts of the region’s tribal histories
from the 19th and 20th centuries. The archivists’ deep familiarity with the facility help faculty understand
how the archives are structured to help them prepare in advance and to optimize their time reviewing
the collection at the facility itself. Based on faculty experiences at the Seattle NARA facility, there is a

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common sentiment that the value of the Seattle facility would best be measured by the importance of
regional access to the comprehensive collection of records to be accessed when needed, and the
importance of knowledgeable archivists with deep familiarity of the structure and content of the
collections to facilitate review and public engagement, not by the amount of time that researchers
spend at the facility itself. Relocating the facility will disrupt these essential values of the Seattle NARA
facility and further challenge the cost-effective access of these important public records for
understanding and communicating Northwest history.

Impact on Students. Just as important, as a result of its relative proximity to campus, countless
numbers of Oregon State University graduate students with very limited travel funds have made
important use of the Seattle archives over the decades.


    •   University of Oregon (UO)

Impact on Undergraduate Research: Undergraduate classes have conducted research on Northern
Paiute History and the indigenous people of the Great Basin, which includes southeastern Oregon. In
recent years, more than twenty undergraduate students have traveled to Seattle to perform research
on-site, some supported with fellowships and grants, as an integral experience in their development as
scholars. Their work at the NARA Seattle facility has supported their publication of peer-reviewed
articles; presentations at local, regional, and national academic conferences; and completion of
independent, faculty-mentored undergraduate research projects submitted as writing samples for
successful graduate school applications. The loss of this regional archive will diminish opportunities for
student development and learning across many disciplines. It will become prohibitively expensive for
undergraduate training to include experience working with the National Archives, the most significant
archive of historical materials in the nation.

Threatening doctoral training: The University of Oregon and the Coquille Indian Tribe developed the
Southwest Oregon Research Project (SWORP) in collaboration with the Smithsonian Institution. Access
to materials housed in Seattle not only documented tribal governance and the history of Oregon’s
Southwestern tribes but also enabled nearly twenty people to earn graduate degrees, including fourteen
PhDs and six master’s degree, from the University of Oregon. Access to archival materials and the ability
to collaborate easily with tribal leaders was essential. Moving the materials from the region, which is
already geographically isolated in terms of travel costs, will harm advanced students’ access to
materials, scholars, and tribes. In an era when the public has rightly expressed concern about the
increased cost of higher education, moving archival materials to two distant archives, each more than
one thousand miles away, will dramatically increase research costs for those studying the history of the
Pacific Northwest and the development and administration of federal policy in the region, adding to the
financial burden of graduate education. About a third of current UO graduate students in history have
research activities that depend upon the archives.

University-Public Collaborations: A faculty member has for more than twenty years worked closely with
the Basque communities in Oregon, Idaho, and Nevada, sharing extensive source materials housed in
Seattle. This work, and similar project to broaden public access to archival materials, will no longer be
possible if the collections in Seattle are spread to archives in southern California and Missouri. The very
act of moving these records to distant archives means that researchers studying the history of the
Pacific Northwest will have no access to vital records for a period of years, while they are readied for
shipment, shipped, unpacked, and inventoried. Thus, even ignoring the additional cost and time

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involved in traveling to distant archives, for a long period of time, none of these vital records will be
available at all. That means important research cannot be done, which will impact graduate students
who are currently researching and writing dissertations and faculty scholars who are writing books on
the history of the Pacific Northwest. At present, the archives in Seattle are vital resources for the
research of nine doctoral history students at the University of Oregon, who are depending on the Seattle
records center to be able to graduate and launch their careers. Moreover, a faculty research project
about Oregon’s public lands, which has engaged rural community members throughout the state, will be
significantly delayed. Moving the archives will have a dramatic impact on the ability of these scholars to
complete their research within externally imposed deadlines and thwart the research of even more
scholars of the Pacific Northwest moving forward.


    •   University of Alaska (UA)

Making Alaska records more inaccessible: The National Archives facility in Anchorage, Alaska, was
closed in 2014 and the records from that location were relocated to Seattle. This was a blow to the
region and researchers interested in the history of Alaska, which was a federal territory between its
purchase from Russia in 1867 and when it achieved statehood in 1959. With the pending move of
materials from Seattle to California as a result of this sale, Alaska records will now be even further away
from their source. Since Seattle is the repository for records created by Federal agencies in Alaska,
Idaho, Oregon, and Washington, citizens from all of these states, including the students and faculty at
the University of Alaska, will be impacted as they will have to travel much further to see most records
since only a small percentage of these are digitized.

The removal of records from the state to a location even farther away, will make it much more
challenging for Alaskan researchers to access all of the resources they need. Alaskans also express
discontent with the move, which exports our own history to facilities where there are no subject
specialists to assist those in need of information, making it harder to find. Locking up information in far-
flung repositories is the opposite of the current trend of making archives more accessible and usable to
everyone.

Alaska records have been moved before: We must also note that, when the decision was made in 2014
to close the Anchorage facility, NARA leadership indicated at that time that the records would be
digitized, and that an effort would be made to reach out to stakeholders to prioritize records for
processing. To date, no update has been provided regarding the digitization process.

If the sale of the property and the relocation of the materials do occur, the University of Alaska
recommends that portions of the proceeds from the sale of the facility be used to subsidize researcher
travel costs and for digitization of archival collections to make them publicly on line.




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Lack of Consultation with Stakeholders

In addition to the negative impact the sale would have on our institutions collectively, as noted above,
we are also troubled by the lack of local consultation with communities in Seattle and in the Pacific
Northwest more broadly. The PBRB’s own initial submission dated October 31 states, in part, that

        “The Board has undertaken extensive effort to work with local and state officials [emphasis
        added] as well as Members of Congress for each recommended property to ensure the Board’s
        solution and the ultimate sale meet the needs of the local community and return value to the
        federal government…”

Furthermore, the board’s amended recommendation list from December 27 states as Step 5 of the
process to developing the list of targeted facilities that the PBRB, “Solicit[ed] input from stakeholders
and public,” [emphasis added] including seeking municipal engagement.

As members of the stakeholder community—both in physical proximity as well as being the users of the
facility—we respectfully disagree that the stakeholders were appropriately consulted. While we
acknowledge that the legislation that created the PBRB does not call for a public comment period, we
believe that the stakeholders should have been engaged in a public and meaningful manner.

By contrast, the final December 27 recommendations state that, with respect to future outreach:

        The PBRB and GSA will actively solicit input from the developer community [emphasis added] and
        work with city officials to understand and clarify redevelopment plans for this site. By reducing
        uncertainty around future entitlement, and increasing certainty around transaction timelines,
        qualified developers can increase the amount paid for the property.

We further note that while the public meeting held in the Los Angeles area on July 24 was actually held
at the very same Laguna Niguel facility that was targeted for sale and included representatives from the
City of Laguna Niguel on the agenda, no outreach of that kind occurred in the Pacific Northwest. As the
federal records facility representing four entire states, we believe that similar outreach and consultation
efforts should have taken place.




                                                                                                            575
Conclusion

While we can appreciate the desire and need to consolidate federal facilities, for the reasons outlined
above, we ask that you reconsider your decision to close the Federal Archives and Records Center and
request that you engage in a more consultative process with the stakeholders.

Sincerely,




Lizabeth Wilson                                         Jay Staratt
Dean, University Libraries                              Dean, Libraries
University of Washington                                Washington State University




Faye A. Chadwell                                        Mark Watson
Donald and Delpha Campbell University Librarian         Interim Dean, Libraries
Oregon State University                                 University of Oregon




Karen Jensen                                            Stephen Rollins
Director of Libraries                                   Dean, Consortium Library
University of Alaska Fairbanks                          University of Alaska Anchorage


Cc:     Washington Congressional Delegation
        Oregon Congressional Delegation
        Alaska Congressional Delegation




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8                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
9
     STATE OF WASHINGTON, et al.,                         NO.
10
                               Plaintiff,                 DECLARATION OF DR. JOSH
11                                                        WISNIEWSKI
            v.
12
     RUSSELL VOUGHT, et al.,
13
                               Defendants,
14
            I, Dr. Josh Wisniewski, declare as follows:
15
            1.     I am an anthropologist for the Port Gamble S’Klallam Tribe and Jamestown
16
     S’Klallam Tribe, signatories to the 1855 Point No Point Treaty with the United States. I am
17
     over the age of 18 and competent to testify. I make this Declaration based on my personal
18
     knowledge.
19
            2.     I received a Ph.D. in anthropology from the University of Alaska Fairbanks in
20
     2011, having published my dissertation, “Come on Ugzruk, Let Me Win: Experience,
21
     Relationality, and Knowing in Kigiqtaamiut Hunting and Ethnography.” I taught as an
22
     Adjunct Professor of Anthropology for the University of Alaska in 2009 and 2010, and have
23
     taught in the same capacity at Northwest Indian College from 2012 to present. I began work
24
     for the Port Gamble S’Klallam Tribe as the Tribe’s anthropologist in 2010. From 2011 to
25
     2015, I also served as the Port Gamble S’Klallam Tribe’s Tribal Historic Preservation Officer
26

      DECLARATION OF DR. JOSH                        1            Galanda Broadman PLLC
      WISNIEWSKI                                                  8606 35th Avenue NE, Ste. L1
                                                                  Mailing: P.O. Box 15146
                                                                  Seattle, WA 98115
                                                                  (206) 557-7509
                                                                                                 577
1
     (THPO), I helped the Port Gamble S’Klallam Tribe create the THPO office in 2011. I
2
     currently serve as an anthropological consultant for both the Port Gamble S’Klallam Tribe
3
     and Jamestown S’Klallam Tribe, as I have since 2015.
4
            3.      Since at least 2001 I have extensively researched and utilized historical
5
     records on file with the U.S. National Archives and Records Administration (NARA) to
6
     carry out research in the following areas of importance to the Port Gamble S’Klallam and
7
     Jamestown S’Klallam Tribes and other Pacific Northwest indigenous peoples: the impacts of
8
     colonization in Native American and Alaska Native communities; Native American and
9
     Alaska Native subsistence hunting and fishing practices; Treaty Rights; and Commercial
10
     Fisheries.
11
            4.      Beginning in 2001, through 2003 while studying for my Master of Arts in
12
     Anthropology at the University of Alaska Anchorage and working for the U.S. Army Corps
13
     of Engineers, I conducted anthropological research at the former National Archives facility at
14
     Anchorage. This anthropological research at that facility examined the impacts of federal
15
     Civil Aeronautics Administration (CAA), later the FAA airfields and field stations in rural
16
     Alaska, based on case studies of five Alaska Native Villages. I researched Federal Aviation
17
     Administration (FAA) records at the National Archives facility at Anchorage from 2001 to
18
     2003, culminating in a Master's Thesis entitled “Enclaves and outposts: FAA field stations
19
     and mechanisms of state formation in rural Alaska contexts” completed in 2005. This
20
     research also resulted in a monograph published by the U.S. Army Corps of Engineers
21
     entitled: “Understanding the effects of FAA Field Stations on Rural Alaska: Perspectives
22
     from Employees and Communities.”
23
            5.      In 2014, the National Archives facility at Anchorage, which opened in 1990,
24
     was closed and its records were moved to the National Archives facility in Seattle, which was
25
     of devastating impact to the Alaskan anthropological and historical research community and
26

      DECLARATION OF DR. JOSH                        2             Galanda Broadman PLLC
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                                                                   (206) 557-7509
                                                                                                  578
1
     Alaska Native villages and corporations. Practically speaking, that closure has resulted in a
2
     loss of access to historical records for anthropologists, Alaska Native Tribes and tribal
3
     members as well Alaska Native corporations, non-profits, and shareholders.
4
            6.      I have conducted extensive anthropological research at the current National
5
     Archives facility at Seattle since 2010. My research at that NARA facility began when I
6
     helped the Port Gamble S’Klallam Tribe create its Tribal Historic Preservation Office
7
     Program (THPO) for purposes of cultural resource conservation and preservation including
8
     the identification and protection natural and cultural places and landscapes of historic
9
     significance to the S’Klallam Peoples. For that work, I was paid by the Tribe with U.S.
10
     Department of the Interior program funds for Natural Resources and Cultural Resources
11
     conservation and research, as well as U.S. National Park Service Tribal Historic Preservation
12
     Grant monies. My research included but was not limited to locating, retrieving, and
13
     inventorying Annual Reports to the Commissioner of Indian Affairs (ARCIA) and other
14
     historic records generated by federal Indian agents in the Pacific Northwest dating back to
15
     Treaty times in the mid-1850s. From 2011 to 2015, I visited the National Archives facility at
16
     Seattle for research purposes at least annually, if not bi-annually. On at least three occasions,
17
     I spent two work weeks conducting anthropological research at that facility. My research at
18
     the facility was instrumental in the development and operation of the Port Gamble S’Klallam
19
     THPO office and subsequent research in support of the conservation and preservation of
20
     cultural resources of importance to the Port Gamble S'Klallam Tribe, including Traditional
21
     Cultural Properties (TCPs).
22
            7.      From 2013 to 2015, I utilized the National Archives facility at Seattle to
23
     research and affirm S’Klallam Treaty hunting and conservation rights, specifically historic
24
     S’Klallam use areas on the Olympic Peninsula. My research involved locating, retrieving,
25
     and inventorying mid-nineteenth century Treaty records, most notably correspondence,
26

      DECLARATION OF DR. JOSH                          3             Galanda Broadman PLLC
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                                                                     Seattle, WA 98115
                                                                     (206) 557-7509
                                                                                                    579
 1
     journals, minutes, reports, and maps generated by George Gibbs an early ethnographer of
 2
     Tribes in western Washington, Secretary of the Western Washington Treaty Commission and
 3
     surveyor. In 2015, I produced a report on my research findings on behalf of the Port Gamble
 4
     S’Klallam Tribe and Jamestown S'Klallam Tribe entitled “Review and Critique of WDFW’s
 5
     Methodology and Conclusion Regarding S’Klallam Hunting, Including Additional Evidence
 6
     of S’Klallam Hunting on Western Olympic Peninsula.” From 2013 to 2015, I visited the
 7
     National Archives facility at Seattle for research purposes over at least 21 days. On at least
 8
     two occasions, I spent an entire work week conducting anthropological research at that
 9
     facility. For that work I was also paid by the Tribe with U.S. Department of the Interior
10
     program funds for Natural Resources and Cultural Resources conservation and research.
11
            8.      From 2015 to 2017, I utilized the National Archives facility at Seattle in
12
     connection with a U.S. Naval Facilities Engineering Command contract with the Port
13
     Gamble S’Klallam Tribe. My work, which was also undertaken for the Jamestown S’Klallam
14
     Tribes, was commissioned pursuant to Section 110 of the National Historic Preservation Act
15
     and involved documenting historic properties associated S’Klallam use and occupancy of so-
16
     called Naval Magazine Indian Island in Jefferson County. My research involved locating,
17
     retrieving, and inventorying mid to late nineteenth and early twentieth century
18
     correspondence and annual reports generated by federal Indian agents assigned to the
19
     S’Klallam Peoples, including agents originally assigned to a Port Townsend federal field
20
     office. In 2017, I published my research findings to the U.S. Navy in a report entitled
21
     “Evaluation of S’Klallam and Chemakum Places of Historical and Cultural Significance at
22
     Naval Magazine Indian Island, Jefferson County, Washington.” My research is being used to
23
     identify, conserve and preserve historic S’Klallam Traditional S'Klallam places, landscapes,
24
     archeological sites on Indian Island including former village sites and culturally significant
25
     shellfish and plant harvesting sites on Naval Magazine Indian Island. From 2015 to 2017, I
26

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     visited the National Archives facility at Seattle for research purposes over at least twenty
2
     days. On at least two occasions, I spent an entire work week conducting anthropological
3
     research at that facility. I estimate over fifty percent of my research findings for the U.S.
4
     Navy were derived from my anthropological research at the National Archives facility at
5
     Seattle.
6
                9.    From 2013 to 2017, I also visited the National Archives facility at Seattle for
7
     other federally funded anthropological research. I undertook anthropological research there
8
     for the Port Gamble S’Klallam Tribe and/or Jamestown S’Klallam Tribe regarding historic
9
     S’Klallam Treaty hunting, and conservation on the Olympia Peninsula. I also conducted
10
     anthropological research there for the Port Gamble S’Klallam Tribe in connection with a
11
     U.S. Army Corps of Engineers permit for a debris cleanup along Port Gamble Bay pursuant
12
     to Section 106 of the NHPA. I prepared a summary TCP evaluation for the Port Gamble
13
     S’Klallam Tribe in regard to the Army Corps’ permit. For these research projects, I visited
14
     the National Archives facility at Seattle at least quarterly from 2013 to 2017.
15
                10.   If the historic records currently stored and preserved at the National Archives
16
     facility at Sand Point in Seattle are moved out of the region, the Tribes will suffer significant
17
     hardship and financial burden to carry out historical research for the purposes of Treaty and
18
     federal conservation and historic and cultural preservation and the protection. The Tribes
19
     would lose access to that facility and the records stored there both during and after any
20
     records relocation process, which would impact my ability to help the Port Gamble and
21
     Jamestown S’Klallam Tribes with their ongoing conservation and research work. Movement
22
     of the archives out of the region would require increased travel costs, lodging, per diem, and
23
     related expenses. These costs are currently much lower due the physical location of the
24
     National Archives in Northeast Seattle. In reality, closing that facility would prevent or
25
     inhibit Tribal use of the National Archives for research and conservation objectives.
26

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            11.     To carry out historical research at the National Archives I rely upon
2
     knowledgeable NARA staff who possess specific experience and expertise in the regional
3
     collections at the Sand Point archives. This includes utilizing materials such as Indian Claims
4
     Commission (ICC) reports and findings and materials from different regional Indian
5
     Agencies and census data. Often times I have needed a specific original document that
6
     should be in a certain collection based on the document type. On more than one occasion
7
     NARA archivists have assisted in finding that document, which I could not find myself
8
     because it was filed in a different or lesser known collection based on historic circumstances.
9
     Access to archival staff familiar with specific regional collections is a critical dimension of
10
     conducting research in the National Archives. Moving the regional collection out of the
11
     Pacific Northwest will inhibit researchers such as myself from conducting conservation and
12
     historic and cultural preservation research for federally recognized Tribes and their federal
13
     program partners. This will not just impact the Port Gamble and Jamestown S'Klallam Tribes
14
     but also all federally recognized Tribes in the Pacific Northwest region and Alaska.
15
            I declare under penalty of perjury that the foregoing is true and correct.
16
            DATED this 4th day of January, 2021 at Seldovia, Alaska.
17

18
19

20
                                                             ___________________
21                                                           DR. JOSH WISNIEWSKI
                                                             Anthropologist
22                                                           Port Gamble S’Klallam Tribe and
23                                                           Jamestown S’Klallam Tribe

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